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                         ORAL ARGUMENT NOT YET SCHEDULED

                                          No. 21-3072
                    (consolidated with Nos. 21-3073, 21-3078, 22-3016, 23-3015)

                                                In the

                    United States Court of Appeals
                                 for the District of Columbia Circuit
                                          _______________

                             UNITED STATES OF AMERICA,

                                                         Appellee,

                                                  v.

                       SEAN COATES, WILLIAM K. SWEENEY,
                    JEROME MARTIN, JR., AND SAMUEL CARSON,

                                                         Appellants.
                                          _______________

                                         On Appeal from the
                       United States District Court for the District of Columbia
                          (Nos. 1:98-cr-00329-RCL-002, -003, -004, -006)
                                          _______________

                               APPELLANTS’ APPENDIX

                                         Volume I of V




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                                                                                                                                   APPEAL,CAT B

                                                   U.S. District Court
                                        District of Columbia (Washington, DC)
                             CRIMINAL DOCKET FOR CASE #: 1:98-cr-00329-RCL All Defendants


  Case title: UNITED STATES OF AMERICA v. HILL et al                                      Date Filed: 09/18/1998

  Related Cases: 1:13-cv-01022-RCL
                 1:08-cv-00336-RCL
                 1:08-cv-00398-RCL
                 1:08-cv-00278-RCL
                 1:08-cv-00321-RCL


  Assigned to: Chief Judge Royce C. Lamberth

  Defendant (1)
  VINCENT HILL                                                              represented by Bravitt Cola Manley , Jr.
  LEWISBURG                                                                                120 Saddle St
  U.S. PENITENTIARY                                                                        New Market
  Inmate Mail/Parcels                                                                      New Market, AL 35761
  P.O. BOX 1000                                                                            202-262-7505
  LEWISBURG, PA 17837                                                                      Email: bravittmanley@verizon.net
  TERMINATED: 01/29/2002                                                                   TERMINATED: 01/29/2002
  also known as                                                                            LEAD ATTORNEY
  VITO                                                                                     ATTORNEY TO BE NOTICED
                                                                                           Designation: Retained

                                                                                          Christopher Michael Davis
                                                                                          DAVIS & DAVIS
                                                                                          1350 Connecticut Avenue, NW
                                                                                          Suite 202
                                                                                          Washington, DC 20036
                                                                                          (202) 234-7300
                                                                                          Fax: (202) 830-0056
                                                                                          Email: cmdavisdc@gmail.com
                                                                                          TERMINATED: 01/29/2002
                                                                                          LEAD ATTORNEY
                                                                                          ATTORNEY TO BE NOTICED
                                                                                          Designation: CJA Appointment

  Pending Counts                                                                          Disposition
                                                                                          The deft. is sentenced to Life, said sentence to run
                                                                                          consecutively with each other and concurrently to all
                                                                                          other counts; followed by 5 years supervised release, to
                                                                                          run concurrently to each other and concurrently to all
                                                                                          other counts. A special assessm ent of $100.00 is imposed
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
                                                                                          on each count and is due immediately. A fine of
  Conspiracy to Distribute and Possess with Intent to
                                                                                          $500,000.00 on count 1rrs is due immediately.
  Distribute Controlled Substance.
                                                                                          Resentence: the deft. is sentenced to Life on counts 1rrs
  (1rrs)
                                                                                          and 2rrs, to run concurrently to each other; followed by 5
                                                                                          yea rs supervised release, to run concurrently to each
                                                                                          other and concurrently to all other counts. A special
                                                                                          assessment of $100.00 on each count is due immediately.
                                                                                          A fine of $500,000.00 on count 1rrs is due immediately.
  18:1962(d) RACKETEERING - NARCOTICS;                                                    The deft. is sentenced to Life, said sentence to run
  Conspiracy to Participate in Racketeer Influenced                                       consecutively with each other and concurrently to all
  Corrput Organization.                                                                   other counts; followed by 5 years supervised release, to
  (2rrs)                                                                                  run concurrently to each other and concurrently to all
                                                                                          other counts. A special assessm ent of $100.00 is imposed
                                                                                          on each count and is due immediately. A fine of
                                                                                          $500,000.00 on count 1rrs is due immediately.
(Page 10 of Total)
                                                                         App 1
         USCA Case #21-3072              Document #2077668   Filed: 10/01/2024
                                                               Resentence:                 Pageto11
                                                                           the deft. is sentenced Lifeof
                                                                                                       on150
                                                                                                         counts 1rrs
                                                               and 2rrs, to run concurrently to each other; followed by 5
                                                               yea rs supervised release, to run concurrently to each
                                                               other and concurrently to all other counts. A special
                                                               assessment of $100.00 on each count is due immediately.
                                                               A fine of $500,000.00 on count 1rrs is due immediately.
                                                               The deft. is sentenced to 20 years to life, to run
                                                               concurrently to all other counts; followed by 5 years
                                                               supervised release to run concurrently to counts 1rrs and
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;                2rrs and to all other counts. A special assessment of
  First Degree Murder While Armed.                             $100.00 is due immediately. Resentence: the deft. is
  (3rrs)                                                       sentenced to 20 years to life, to run consecutively to
                                                               counts 1rrs and 2rrs; followed by 5 years supervised
                                                               release, to run concurrently to all other counts. A special
                                                               assessment of $100.00 is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (46rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (47rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (48rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (49rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              The deft. is sentenced to 60 months, to run concurrently
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               by the counts and concurrently to all other counts;
  Controlled Substance; Aiding and Abetting.                   followed by 3 years supervised release, to run
  (50rrs)                                                      concurrently by the counts and concurrently to all other
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         USCA Case #21-3072              Document #2077668   Filed:
                                                               counts.10/01/2024
                                                                       A special assessmentPage   12;100.00
                                                                                            of &#036 of 150on each
                                                               count is due immediately. Resentence: the deft. is
                                                               sentenced to 60 months on counts 46rrs-52rrs, 54rrs
                                                               56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (51rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (52rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (54rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (56rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
                                                               on each count and is due immediately.
                                                               The deft. is sentenced to 60 months, to run concurrently
                                                               by the counts and concurrently to all other counts;
                                                               followed by 3 years supervised release, to run
                                                               concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -              counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of               count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                   sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (57rrs)                                                      56rrs-63rrs, to run concurrently to each other and to all
                                                               other counts; followed by 3 years supervised release on
                                                               each count, to ru n concurrently to each other and to all
                                                               other counts. A special assessment of $100.00 is imposed
(Page 12 of Total)                                             on each count and is due immediately.

                                                     App 3
         USCA Case #21-3072                Document #2077668   Filed: 10/01/2024
                                                                 The deft. is sentenced to 60Page
                                                                                             months,13  of concurrently
                                                                                                    to run  150
                                                                 by the counts and concurrently to all other counts;
                                                                 followed by 3 years supervised release, to run
                                                                 concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                 count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                     sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (58rrs)                                                        56rrs-63rrs, to run concurrently to each other and to all
                                                                 other counts; followed by 3 years supervised release on
                                                                 each count, to ru n concurrently to each other and to all
                                                                 other counts. A special assessment of $100.00 is imposed
                                                                 on each count and is due immediately.
                                                                 The deft. is sentenced to 60 months, to run concurrently
                                                                 by the counts and concurrently to all other counts;
                                                                 followed by 3 years supervised release, to run
                                                                 concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                 count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                     sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (59rrs)                                                        56rrs-63rrs, to run concurrently to each other and to all
                                                                 other counts; followed by 3 years supervised release on
                                                                 each count, to ru n concurrently to each other and to all
                                                                 other counts. A special assessment of $100.00 is imposed
                                                                 on each count and is due immediately.
                                                                 The deft. is sentenced to 60 months, to run concurrently
                                                                 by the counts and concurrently to all other counts;
                                                                 followed by 3 years supervised release, to run
                                                                 concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                 count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                     sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (60rrs)                                                        56rrs-63rrs, to run concurrently to each other and to all
                                                                 other counts; followed by 3 years supervised release on
                                                                 each count, to ru n concurrently to each other and to all
                                                                 other counts. A special assessment of $100.00 is imposed
                                                                 on each count and is due immediately.
                                                                 The deft. is sentenced to 60 months, to run concurrently
                                                                 by the counts and concurrently to all other counts;
                                                                 followed by 3 years supervised release, to run
                                                                 concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                 count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                     sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (61rrs)                                                        56rrs-63rrs, to run concurrently to each other and to all
                                                                 other counts; followed by 3 years supervised release on
                                                                 each count, to ru n concurrently to each other and to all
                                                                 other counts. A special assessment of $100.00 is imposed
                                                                 on each count and is due immediately.
                                                                 The deft. is sentenced to 60 months, to run concurrently
                                                                 by the counts and concurrently to all other counts;
                                                                 followed by 3 years supervised release, to run
                                                                 concurrently by the counts and concurrently to all other
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                counts. A special assessment of &#036 ;100.00 on each
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                 count is due immediately. Resentence: the deft. is
  Controlled Substance; Aiding and Abetting.                     sentenced to 60 months on counts 46rrs-52rrs, 54rrs
  (62rrs)                                                        56rrs-63rrs, to run concurrently to each other and to all
                                                                 other counts; followed by 3 years supervised release on
                                                                 each count, to ru n concurrently to each other and to all
                                                                 other counts. A special assessment of $100.00 is imposed
                                                                 on each count and is due immediately.
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                The deft. is sentenced to 60 months, to run concurrently
  POSSESSION; Possession with Intent to Distribute               by the counts and concurrently to all other counts;
  Controlled Substance; Aiding and Abetting.                     followed by 3 years supervised release, to run
  (63rrs)                                                        concurrently by the counts and concurrently to all other
                                                                 counts. A special assessment of &#036 ;100.00 on each
                                                                 count is due immediately. Resentence: the deft. is
                                                                 sentenced to 60 months on counts 46rrs-52rrs, 54rrs
(Page 13 of Total)                                               56rrs-63rrs, to run concurrently to each other and to all

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           USCA Case #21-3072                 Document #2077668   Filed:  10/01/2024
                                                                    other counts; followed by 3Page    14 of 150
                                                                                               years supervised release on
                                                                    each count, to ru n concurrently to each other and to all
                                                                    other counts. A special assessment of $100.00 is imposed
                                                                    on each count and is due immediately.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                 Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to               Remaining counts dismissed on oral motion of the
  Distribute Controlled Substances.                                 government.
  (1)
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with              Remaining counts dismissed on oral motion of the
  Intent to Distribute Controlled Substances.                       government.
  (1rs)
  18:1962(d) RACKETEERING; Conspiracy to Participate
                                                                    Remaining counts dismissed on oral motion of the
  in a Racketeer Influenced Corrupt Organization.
                                                                    government.
  (2)
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeering Influenced Corrupt                    Remaining counts dismissed on oral motion of the
  Organization.                                                     government.
  (2rs)
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
                                                                    Remaining counts dismissed on oral motion of the
  First Degree Murer While Armed.
                                                                    government.
  (3)
  22 DC Code 2401 and 3202; MURDER, FIRST
                                                                    Remaining counts dismissed on oral motion of the
  DEGREE; First-Degree Murder While Armed.
                                                                    government.
  (3rs)
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of                        Remaining counts dismissed on oral motion of the
  Racketeering Activity; Aiding and Abetting.                       government.
  (11rrs)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in                     Remaining counts dismissed on oral motion of the
  Aid of Racketeering Activity.                                     government.
  (12rs)
  22 DC Code 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                    Remaining counts dismissed on oral motion of the
  While Armed.                                                      government.
  (18rs)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of                        Remaining counts dismissed on oral motion of the
  Racketeering Activity; Aiding and Abetting.                       government.
  (19)
  18:1959(a)(3) and (5); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime In Aid of                        Remaining counts dismissed on oral motion of the
  Racketeering Activity.                                            government.
  (19rs)
  22 DC Code 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                    Remaining counts dismissed on oral motion of the
  While Armed.                                                      government.
  (20rs)
  22 D.C.C. 501 and 3202 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                    Remaining counts dismissed on oral motion of the
  While Armed.                                                      government.
  (21)
  18:1959(a)(3) and (5); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime In Aid of                        Remaining counts dismissed on oral motion of the
  Racketeering Activity.                                            government.
  (21rs)
(Page 14 of Total)
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         USCA Case
  18:1959(a)(3)&(5)      #21-3072
                    THREATENING         Document #2077668
                                TO COMMIT                            Filed: 10/01/2024          Page 15 of 150
  CRIME OF VIOLENCE; Violent Crime in Aid of                          Remaining counts dismissed on oral motion of the
  Racketeering Activity.                                              government.
  (23)
  22 D.C.C. 501 and 3202 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                      Remaining counts dismissed on oral motion of the
  While Armed.                                                        government.
  (24)
  18:1959(a)(3)&(5) THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of                          Remaining counts dismissed on oral motion of the
  Racketeering Activity.                                              government.
  (25)
  18:1959(a)(3) and (5); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of                          Remaining counts dismissed on oral motion of the
  Racketeering Activity.                                              government.
  (26rs)
  18:924C(c) VIOLENT CRIME/DRUGS/MACHINE
                                                                      Remaining counts dismissed on oral motion of the
  GUN; Use of a Firearm.
                                                                      government.
  (28rrs)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
                                                                      Remaining counts dismissed on oral motion of the
  GUN; Use of a Firearm.
                                                                      government.
  (35rs-47rs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;                          Remaining counts dismissed on oral motion of the
  Aiding and Abetting.                                                government.
  (40)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;                          Remaining counts dismissed on oral motion of the
  Aiding and Abetting.                                                government.
  (42-43)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of                           Remaining counts dismissed on oral motion of the
  Firearm During Crime of Violence or Dangerous Offense.              government.
  (48rs-58rs)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                              Dismissed from retyped indictment.
  (52s)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                      Remaining counts dismissed on oral motion of the
  Controlled Substances.                                              government.
  (59rs-75rs)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                              Dismissed from retyped indictment.
  (59s-60s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of            Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                          government.
  (61)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of            Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                          government.
  (63-64)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of            Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                          government.
  (65)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of            Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                          government.
  (66-68)
  22 DC Code 105 and 3204(b); FIREARMS AND                            Dismissed from retyped indictment.
  WEAPONS - CONCEALED WEAPON; Possession of

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                                                             App 6
  Firearm USCA     Case
          During Crime     #21-3072
                       of Violence          Document
                                   or Dangerous Offense. #2077668      Filed: 10/01/2024          Page 16 of 150
  (69s-70s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (71)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of a            Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (73)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (74-75)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Possession with                        Remaining counts dismissed on oral motion of the
  Intent to Distribute Controlled Substances.                           government.
  (76rs-77rs)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                        Dismissed from retyped indictment.
  Firearm During Crime of Violence or Dangerous Offense.
  (77s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (78)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (79)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (80)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (81)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession with Intent to Distribute and Distribution of              Remaining counts dismissed on oral motion of the
  Controlled Substances; Aiding and Abetting.                           government.
  (83)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of
                                                                        Dismissed from retyped indictment.
  Controlled Substances.
  (98s)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Possession with
                                                                        Dismissed from retyped indictment.
  Intent to Distribute Controlled Substances.
  (100s)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                            Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth
  Appeals court case number: 21-3078

  Defendant (2)
(Page 16 of Total)
                                                               App 7
  JEROME  USCA  Case
            MARTIN, JR. #21-3072   Document #2077668            Filed:
                                                   represented by      10/01/2024
                                                                  JEROME  MARTIN, JR. Page 17 of 150
  also known as                                                  Reg. No. 18894-083
  PIMP                                                           HAZELTON UNITED STATES PENITENTIARY
                                                                 P.O. Box 2000
                                                                 Bruceton Mills, WV 26525
                                                                 PRO SE

                                                                 Frances M. D'Antuono
                                                                 FRANCES M. D'ANTUONO, ATTORNEY AT LAW
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                                                                 Fax: (202) 544-6332
                                                                 Email: fdantuono@msn.com
                                                                 TERMINATED: 12/01/2012
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Retained

                                                                 Joanne Roney Hepworth
                                                                 LAW OFFICE OF JOANNE RONEY HEPWORTH
                                                                 74 White Oak Trail
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                                                                 PawPaw, WV 25434
                                                                 (304) 947-5034
                                                                 Fax: (304) 947-5426
                                                                 Email: jrhepworth@verizon.net
                                                                 TERMINATED: 01/02/2009
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: CJA Appointment

                                                                 John Longstreth
                                                                 K & L GATES LLP
                                                                 1601 K Street, NW
                                                                 Washington, DC 20006
                                                                 (202) 661-6271
                                                                 Fax: (202) 778-9100
                                                                 Email: john.longstreth@klgates.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Pro Bono

                                                                 Michael E. Lawlor
                                                                 BRENNAN MCKENNA & LAWLOR
                                                                 6305 Ivy Lane
                                                                 Suite 700
                                                                 Greenbelt, MD 20770
                                                                 (301) 474-0044
                                                                 Fax: (301) 474-5730
                                                                 Email: mlawlor@verizon.net
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: CJA Appointment

                                                                 Gwendolyn R. Waters
                                                                 MARYLAND OFFICE OF THE PUBLIC DEFENDER
                                                                 14735 Main Street
                                                                 Suite 272B
                                                                 Upper Marlboro, MD 20772
                                                                 (301) 952-2128
                                                                 Email: watersgwendolyn@gmail.com
                                                                 TERMINATED: 12/01/2012
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Pro Bono

                                                                 Tre Holloway
                                                                 K&L GATES LLP
                                                                 134 Meeting Street
(Page 17 of Total)                                               Suite 500

                                                  App 8
          USCA Case #21-3072                   Document #2077668   Filed: 10/01/2024
                                                                     Charleston, SC 29401       Page 18 of 150
                                                                     843-579-5600
                                                                     Fax: 843-579-5601
                                                                     Email: tre.holloway@klgates.com
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Retained

  Pending Counts                                                     Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to                Remaining counts are dismissed on oral motion of the
  Distribute Controlled Substances.                                  government.
  (1)
                                                                     The deft. is sentenced to Life imprisonment on each of
                                                                     counts 1rrs and 2rrs, to run concurrently with each other;
                                                                     followed by 5 years supervised release on each count, to
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
                                                                     run concurrently by the counts. A Fine of $500,000.00 is
  Conspiracy to Distribute and Possess with Intent to
                                                                     imposed on count 1rrs and is due immediately; to be paid
  Distribute Controlled Substance.
                                                                     through the U.S. Bureau of Prisons Inmate Financial
  (1rrs)
                                                                     Responsibility Program. Imposition of a fine on all other
                                                                     counts is waived. A special assessment of $100.00 is
                                                                     imposed on each count.
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with               Remaining counts are dismissed on oral motion of the
  Intent to Distribute Controlled Substances.                        government.
  (1rs)
  18:1962(d) RACKETEERING; Conspiracy to Participate
                                                                     Remaining counts are dismissed on oral motion of the
  in a Racketeer Influenced Corrupt Organization.
                                                                     government.
  (2)
                                                                     The deft. is sentenced to Life imprisonment on each of
                                                                     counts 1rrs and 2rrs, to run concurrently with each other;
                                                                     followed by 5 years supervised release on each count, to
  18:1962(d) RACKETEERING - NARCOTICS;
                                                                     run concurrently by the counts. A Fine of $500,000.00 is
  Conspiracy to Participate in Racketeer Influenced
                                                                     imposed on count 1rrs and is due immediately; to be paid
  Corrput Organization.
                                                                     through the U.S. Bureau of Prisons Inmate Financial
  (2rrs)
                                                                     Responsibility Program. Imposition of a fine on all other
                                                                     counts is waived. A special assessment of $100.00 is
                                                                     imposed on each count.
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeering Influenced Corrupt                     Remaining counts are dismissed on oral motion of the
  Organization.                                                      government.
  (2rs)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
  DEGREE; First Degree Murder While Armed; Aiding                    Remaining counts are dismissed on oral motion of the
  and Abetting.                                                      government.
  (7)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed; Aiding and Abetting.                                  government.
  (8)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
                                                                     The deft. is sentenced to 240 months to Life
  DEGREE; First Degree Murder While Armed; Aiding
                                                                     imprisonment, to run consecutively to counts 1rrs and
  and Abetting.
                                                                     2rrs. A special assessment of $100.00 is imposed.
  (8rrs)
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
                                                                     Remaining counts are dismissed on oral motion of the
  DEGREE; First-Degree Murder While Armed.
                                                                     government.
  (8rs)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed; Aiding and Abetting.                                  government.
  (9)
  22 D.C.C. 505(b), 105 ASSAULT OR IMPEDE AN
  OFFICER WITH WEAPON; Assaulting, Resisting and                     The deft. is sentenced to 40 to 120 months imprisonment,
  Interfering with a Police Officer with a Dangerous                 to run consecutively to counts 1rrs, 2rrs, and 8rrs. A
  Weapon; Aiding and Abetting.                                       special assessment of $100.00 is imposed.
  (9rrs) 18 of Total)
(Page
                                                           App 9
          USCA
  22 DC Code         Case
                105 and      #21-3072
                        505(b);                 Document #2077668
                                ASSAULT OR IMPEDE                   Filed: 10/01/2024          Page 19 of 150
  AN OFFICER WITH WEAPON; Assaulting, Resisting
  and Interfering with a Police Officer with a Dangerous
  Weapon.
  (9rs)
  22 D.C.C. 501, and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill;                    Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                               government.
  (10)
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
                                                                     Remaining counts are dismissed on oral motion of the
  DEGREE; First-Degree Murder While Armed.
                                                                     government.
  (10rs)
  22 DC Code 105,501,3202; ARMED ROBBERY; Assault
  with Intent to Kill While Armed.                                   Motion to dismiss; granted.
  (10s-12s)
  22 D.C.C. 505(b) and 105 ASSAULT OR IMPEDE AN
  OFFICER WITH WEAPON; Assaulting a Police Officer;                  Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                               government.
  (11)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed; Aiding and Abetting.                                  government.
  (12)
  22 D.C.C. 505(b) and 105 ASSAULT OR IMPEDE AN
  OFFICER WITH WEAPON; Assaulting a Police Officer;                  Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                               government.
  (13)
  22 DC Code 105 and 505(b); ASSAULT OR IMPEDE
  AN OFFICER WITH WEAPON; Assaulting, Resisting
  and Interfering with a Police Officer with a Dangerous             Motion to dismiss; granted.
  Weapon.
  (13s)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed; Aiding and Abetting.                                  government.
  (14)
  22 DC Code 105,501,3202; ARMED ROBBERY; Assault
  with Intent to Kill While Armed.                                   Motion to dismiss; granted.
  (14s)
  22 D.C.C. 505(b), 105 ASSAULT OR IMPEDE AN
  OFFICER WITH WEAPON; Assaulting a Police Officer;                  Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                               government.
  (15)
  22 DC Code 105 and 505(b); ASSAULT OR IMPEDE
  AN OFFICER WITH WEAPON; Assaulting, Resisting
  and Interfering with a Police Officer with a Dangerous             Motion to dismiss; granted.
  Weapon.
  (15s)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed; Aiding and Abetting.                                  government.
  (16)
  22 DC Code 105,501,3202; ARMED ROBBERY; Assault
  with Intent to Kill While Armed.                                   Motion to dismiss; granted.
  (16s)
  22 D.C.C. 505(b), 105 ASSAULT OR IMPEDE AN
  OFFICER WITH WEAPON; Assaulting a Police Officer;                  Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                               government.
  (17)
  22 D.C.C. 501 and 3202 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                     Remaining counts are dismissed on oral motion of the
  While Armed.                                                       government.
  (17rrs)
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                                                           App 10
           USCA
  18:1959(a)(3)    Case
                & (5)     #21-3072ACTIVITY,
                      RACKETERRING         Document #2077668        Filed: 10/01/2024
                                                                      The deft.                   Page
                                                                                is sentenced to 240 months20 of 150 to
                                                                                                           imprisonment,
  MAIMING; Violent Crime in Aid of Racketerring                       run concurrently with all other counts; followed by 5
  Activity.                                                           years supervised release. A special assessment of $100.00
  (18rrs)                                                             is imposed.
  22 DC Code 105,501,3202; ARMED ROBBERY; Assault
  with Intent to Kill While Armed.                                    Motion to dismiss; granted.
  (18s)
  22 DC Code 105 and 505(b); ASSAULT OR IMPEDE
  AN OFFICER WITH WEAPON; Assaulting, Resisting
  and Interfering with a Police Officer with a Dangerous              Motion to dismiss; granted.
  Weapon.
  (19s)
  22 DC Code 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                      Remaining counts are dismissed on oral motion of the
  While Armed.                                                        government.
  (24rs)
  22 D.C.C. 501 and 3202 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                      Remaining counts are dismissed on oral motion of the
  While Armed.                                                        government.
  (28)
  18:1959(a)(3)&(5) THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of                          Remaining counts are dismissed on oral motion of the
  Racketeering Activity.                                              government.
  (29)
                                                                      The deft. is sentenced to 60 months imprisonment, to run
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE
                                                                      consecutively to counts 1rrs, 2rrs, 8rrs and 9rrs; followed
  GUN; Use of a Firearm; Aiding and Abetting.
                                                                      by 5 years supervised release. A special assessment of
  (31rrs)
                                                                      $100.00 is imposed.
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
                                                                      Remaining counts are dismissed on oral motion of the
  GUN; Use of a Firearm.
                                                                      government.
  (35rs-47rs)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of Firearm During
                                                                      Remaining counts are dismissed on oral motion of the
  Crime of Violence or Dangerous Offense; Aiding and
                                                                      government.
  Abetting.
  (42rrs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;                          Remaining counts are dismissed on oral motion of the
  Aiding and Abetting.                                                government.
  (45)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of                           Remaining counts are dismissed on oral motion of the
  Firearm During Crime of Violence or Dangerous Offense.              government.
  (48rs-58rs)
                                                                      The deft. is sentenced to 60 months imprisonment on
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                     each of counts 49rrs, 53rrs, 55rrs and 64rrs, to run
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                      concurrently with each other and with all other counts;
  Controlled Substance; Aiding and Abetting.                          followed by 3 years supervised release with conditions on
  (49rrs)                                                             each count, to run concurrently by the counts. A special
                                                                      assessment of $100.00 is imposed on each count.
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                              Dismissed from retyped indictment.
  (52s)
                                                                      The deft. is sentenced to 60 months imprisonment on
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                     each of counts 49rrs, 53rrs, 55rrs and 64rrs, to run
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                      concurrently with each other and with all other counts;
  Controlled Substance; Aiding and Abetting.                          followed by 3 years supervised release with conditions on
  (53rrs)                                                             each count, to run concurrently by the counts. A special
                                                                      assessment of $100.00 is imposed on each count.
  21:841(a)(1) and 841(b)(1)(D); Aiding and Abetting                  The deft. is sentenced to 60 months imprisonment on
  NARCOTICS - SELL, DISTRIBUTE, OR DISPENSE;                          each of counts 49rrs, 53rrs, 55rrs and 64rrs, to run
  Distribution of Controlled Substance; Aiding and                    concurrently with each other and with all other counts;
  Abetting.                                                           followed by 3 years supervised release with conditions on
  (55rrs)
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                                                           App 11
           USCA Case #21-3072                   Document #2077668     Filed:  10/01/2024
                                                                        each count,                Page
                                                                                    to run concurrently     21counts.
                                                                                                        by the  of 150A special
                                                                        assessment of $100.00 is imposed on each count.
  22 D.C.C. 3204(b), 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of a Firearm                             Remaining counts are dismissed on oral motion of the
  During a Crime of Violence; Aiding and Abetting.                      government.
  (57)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of                        Remaining counts are dismissed on oral motion of the
  Controlled Substances.                                                government.
  (59rs-75rs)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                Dismissed from retyped indictment.
  (59s-60s)
                                                                        The deft. is sentenced to 60 months imprisonment on
  21:841(a)(1) and 841(b)(1)(D); 18:2 NARCOTICS -                       each of counts 49rrs, 53rrs, 55rrs and 64rrs, to run
  POSSESSION; Possession with Intent to Distribute                      concurrently with each other and with all other counts;
  Controlled Substance; Aiding and Abetting.                            followed by 3 years supervised release with conditions on
  (64rrs)                                                               each count, to run concurrently by the counts. A special
                                                                        assessment of $100.00 is imposed on each count.
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts are dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (65)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                        Dismissed from retyped indictment.
  Firearm During Crime of Violence or Dangerous Offense.
  (69s-70s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts are dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (70)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts are dismissed on oral motion of the
  Controlled Substance; Aiding and Abetting.                            government.
  (72)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Possession with                        Remaining counts are dismissed on oral motion of the
  Intent to Distribute Controlled Substances.                           government.
  (76rs-77rs)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                        Dismissed from retyped indictment.
  Firearm During Crime of Violence or Dangerous Offense.
  (77s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of              Remaining counts are dismissed on oral motion of the
  Controlled Substances; Aiding and Abetting.                           government.
  (85)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of
                                                                        Dismissed from retyped indictment.
  Controlled Substances.
  (98s)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Possession with
                                                                        Dismissed from retyped indictment.
  Intent to Distribute Controlled Substances.
  (100s)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                     Disposition
  None

  Highest
(Page  21Offense Level (Terminated)
          of Total)
                                                             App 12
  None   USCA Case #21-3072                    Document #2077668       Filed: 10/01/2024            Page 22 of 150

  Complaints                                                             Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth
  Appeals court case number: 22-3016

  Defendant (3)
  SAMUEL CARSON                                               represented by SAMUEL CARSON
  also known as                                                              R01182-748
  CHIN                                                                       TALLADEGA
                                                                             FEDERAL CORRECTIONAL INSTITUTION
                                                                             Inmate Mail/Parcels
                                                                             P.O. BOX 1000
                                                                             TALLADEGA, AL 35160
                                                                             PRO SE

                                                                         Alexandra Negin Christ
                                                                         HANSEN & CHRIST
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                                                                         Suite 201
                                                                         Washington, DC 20004
                                                                         (202) 638-6700
                                                                         Fax: (202) 638-4279
                                                                         Email: lexinegin@msn.com
                                                                         TERMINATED: 10/01/2001
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

                                                                         Edward Charles Sussman
                                                                         LAW OFFICES OF EDWARD C. SUSSMAN
                                                                         601 Pennsylvania Avenue, NW
                                                                         Suite 900- South Building
                                                                         Washington, DC 20004
                                                                         (202) 737-7110
                                                                         Fax: (202) 347-1999
                                                                         Email: edwardsussman@yahoo.com
                                                                         TERMINATED: 12/01/2012
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

                                                                         Gerald I. Fisher
                                                                         DISTRICT OF COLUMBIA SUPERIOR COURT
                                                                         500 Indiana Avenue, NW
                                                                         Room JM-420
                                                                         Washington, DC 20001
                                                                         (202) 879-8388
                                                                         Fax: 202-879-8327
                                                                         TERMINATED: 10/01/2001
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: Retained

                                                                         Joseph Edmund Beshouri
                                                                         Superior Court of the District of Columbia
                                                                         500 Indiana Ave, N.W.
                                                                         Washington, DC 20001
                                                                         (202) 255-9042
                                                                         Fax: (202) 638-4279
                                                                         Email: jbeshouri@aol.com
                                                                         TERMINATED: 10/01/2001
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment
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                                                          App 13
          USCA Case #21-3072                   Document #2077668   Filed: 10/01/2024             Page 23 of 150
                                                                    Kira Anne West
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                                                                    Washington, DC 20002
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                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: CJA Appointment

                                                                    Leonard L Long , Jr
                                                                    The Law Offices of Leonard L. Long, Jr.
                                                                    2028 4th Street, NE
                                                                    Washington, DC 20002
                                                                    (202) 747-3591
                                                                    Fax: (202) 635-0057
                                                                    Email: attorneyllong@aol.com
                                                                    TERMINATED: 04/02/1999
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: CJA Appointment

  Pending Counts                                                    Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to
                                                                    Dismissed on the oral motion of the government.
  Distribute Controlled Substances.
  (1)
                                                                    The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                                    25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                                    each other; followed by a term of 5 years supervised
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
                                                                    release on each count; all counts to run concurrently with
  Conspiracy to Distribute and Possess with Intent to
                                                                    each other. A spe cial assessment of $100.00 on each
  Distribute Controlled Substance.
                                                                    count is due immediately. The defendant shall pay a fine
  (1rrs)
                                                                    of $500,000.00 on count 1rrs, which is due immediately.
                                                                    Restitution in the amount of $9,513.60 to Renee Brown is
                                                                    due immediately.
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with
                                                                    Dismissed on the oral motion of the government.
  Intent to Distribute Controlled Substances.
  (1rs)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.                   Dismissed on the oral motion of the government.
  (2)
                                                                    The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                                    25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                                    each other; followed by a term of 5 years supervised
  18:1962(d) RACKETEERING - NARCOTICS;
                                                                    release on each count; all counts to run concurrently with
  Conspiracy to Participate in Racketeer Influenced
                                                                    each other. A spe cial assessment of $100.00 on each
  Corrput Organization.
                                                                    count is due immediately. The defendant shall pay a fine
  (2rrs)
                                                                    of $500,000.00 on count 1rrs, which is due immediately.
                                                                    Restitution in the amount of $9,513.60 to Renee Brown is
                                                                    due immediately.
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeering Influenced Corrupt
                                                                    Dismissed on the oral motion of the government.
  Organization.
  (2rs)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST                        The deft. is sentenced to 20 years to life; said sentence is
  DEGREE; First Degree Murder While Armed; Aiding                   run consecutively to each other and to counts 1rrs, 2rrs,
  and Abetting.                                                     22rrs, 25rrs, 26rrs and 27rrs. A special assessment of
  (4rrs)                                                            $100.00 on each count is due immediately.
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
  DEGREE; First-Degree Murder While Armed.                          Dismissed on the oral motion of the government.
  (4rs-5rs)

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          USCA
  22 D.C.C.         Case
             2401 and      #21-3072
                      3202 MURDER,       Document #2077668
                                   FIRST DEGREE;               Filed: 10/01/2024             Page 24 of 150
  First Degree Murder While Armed.                              Dismissed on the oral motion of the government.
  (5)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST                    The deft. is sentenced to 20 years to life; said sentence is
  DEGREE; First Degree Murder While Armed; Aiding               run consecutively to each other and to counts 1rrs, 2rrs,
  and Abetting.                                                 22rrs, 25rrs, 26rrs and 27rrs. A special assessment of
  (5rrs)                                                        $100.00 on each count is due immediately.
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
  First Degree Murder While Armed.                              Dismissed on the oral motion of the government.
  (6)
                                                                The deft. is sentenced to 20 years to life; said sentence is
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
                                                                run consecutively to each other and to counts 1rrs, 2rrs,
  First Degree Murder While Armed.
                                                                22rrs, 25rrs, 26rrs and 27rrs. A special assessment of
  (6rrs)
                                                                $100.00 on each count is due immediately.
  22 DC Code 2401, 3202; MURDER, FIRST DEGREE;
  First-Degree Murder While Armed.                              Dismissed on the oral motion of the government.
  (6rs-7rs)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
  DEGREE; First Degree Murder While Armed; Aiding
                                                                Dismissed on the oral motion of the government.
  and Abetting.
  (7)
                                                                The deft. is sentenced to 20 years to life; said sentence is
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
                                                                run consecutively to each other and to counts 1rrs, 2rrs,
  First Degree Murder While Armed.
                                                                22rrs, 25rrs, 26rrs and 27rrs. A special assessment of
  (7rrs)
                                                                $100.00 on each count is due immediately.
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST                    The deft. is sentenced to 20 years to life; said sentence is
  DEGREE; First Degree Murder While Armed; Aiding               run consecutively to each other and to counts 1rrs, 2rrs,
  and Abetting.                                                 22rrs, 25rrs, 26rrs and 27rrs. A special assessment of
  (8rrs)                                                        $100.00 on each count is due immediately.
  22 D.C.C. 501; 3202 AFFRAVATED OR FELONIOUS
  ASSAULT; Assault with Intent to Kill While Armed.             Dismissed on the oral motion of the government.
  (12rrs)
                                                                The deft. is sentenced to 5 years to life; said sentence is
  22 D.C.C. 501; 3202 AGGRAVATED OR FELONIOUS
                                                                to run consecutively to the sentence imposed on counts
  ASSAULT; Assault with Intent to Kill While Armed.
                                                                4rrs-8rrs. A special assessment of $100.00 is due
  (13rrs)
                                                                immediately.
  22 DC Code 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                Dismissed on the oral motion of the government.
  While Armed.
  (13rs)
                                                                The deft. is sentenced to 20 years; said sentence is to run
  18:1959(a)(3) & (5) RACKETEERING ACTIVITY,                    concurrently with the sentence imposed on all other
  MAIMING; Violent Crime in Aid of Racketerring                 counts; followed by 3 years of supervised release which
  Activity.                                                     is to run concurrently with the period of supervised
  (14rrs)                                                       release imposed on all other counts. A special assessment
                                                                of $100.00 is due immediately.
  22 DC Code 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                Dismissed on the oral motion of the government.
  While Armed.
  (16rs)
  18:1959(a)(3) and (5); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                Dismissed on the oral motion of the government.
  Racketeering Activity.
  (17rs)
  22 D.C.C. 501 and 3202; 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                Dismissed on the oral motion of the government.
  While Armed; Aiding and Abetting.
  (19rrs)
  22 D.C.C. 501, 3202 AGGRAVATED OR FELONIOUS
  ASSAULT; Assault with Intent to Kill While Armed.             Dismissed on the oral motion of the government.
  (20)
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,                 Dismissed on the oral motion of the government.
  MAIMING; Violent Crime in Aid of Racketeering
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                                                      App 15
  Activity;USCA    Case
           Aiding and      #21-3072
                      Abetting.           Document #2077668   Filed: 10/01/2024            Page 25 of 150
  (20rrs)
  18:1959(a)(3)&(5) THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                               Dismissed on the oral motion of the government.
  Rqacketeering Activity.
  (21)
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;                The deeft. is sentenced to 30 years, to run consecutively
  First Degree Murder While Armed.                             to the sentence imposed on counts 4rrs-8rrs and 13rrs. A
  (21rrs)                                                      special assessment of $100.00 is due immediately.
                                                               The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                               25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                               each other; followed by a term of 5 years supervised
  18:1959(a)(1) RACKETEERING ACTIVITY,
                                                               release on each count; all counts to run concurrently with
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                               each other. A spe cial assessment of $100.00 on each
  Racketeering Activity.
                                                               count is due immediately. The defendant shall pay a fine
  (22rrs)
                                                               of $500,000.00 on count 1rrs, which is due immediately.
                                                               Restitution in the amount of $9,513.60 to Renee Brown is
                                                               due immediately.
  22 D. C.C. 501, 501 and 3202 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                               Dismissed on the oral motion of the government.
  While Armed; Aiding and Abetting.
  (23rrs)
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                               Dismissed on the oral motion of the government.
  Racketeering Activity.
  (24rrs)
                                                               The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                               25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                               each other; followed by a term of 5 years supervised
  18:1959(a)(1) RACKETEERING ACTIVITY,
                                                               release on each count; all counts to run concurrently with
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                               each other. A spe cial assessment of $100.00 on each
  Racketeering Activity.
                                                               count is due immediately. The defendant shall pay a fine
  (25rrs)
                                                               of $500,000.00 on count 1rrs, which is due immediately.
                                                               Restitution in the amount of $9,513.60 to Renee Brown is
                                                               due immediately.
                                                               The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                               25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                               each other; followed by a term of 5 years supervised
  18:1959(a)(1) RACKETEERING ACTIVITY,
                                                               release on each count; all counts to run concurrently with
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                               each other. A spe cial assessment of $100.00 on each
  Racketeering Activity.
                                                               count is due immediately. The defendant shall pay a fine
  (26rrs)
                                                               of $500,000.00 on count 1rrs, which is due immediately.
                                                               Restitution in the amount of $9,513.60 to Renee Brown is
                                                               due immediately.
  22 DC Code 105, 501, 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                               Dismissed on the oral motion of the government.
  While Armed.
  (26rs)
                                                               The deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs,
                                                               25rrs, 26rrs, and 27rrs; all counts to run concurrently with
                                                               each other; followed by a term of 5 years supervised
  18:1959(a)(1) RACKETEERING ACTIVITY,
                                                               release on each count; all counts to run concurrently with
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                               each other. A spe cial assessment of $100.00 on each
  Racketeering Activity.
                                                               count is due immediately. The defendant shall pay a fine
  (27rrs)
                                                               of $500,000.00 on count 1rrs, which is due immediately.
                                                               Restitution in the amount of $9,513.60 to Renee Brown is
                                                               due immediately.
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                               Dismissed on the oral motion of the government.
  Aid of Racketeering Activity.
  (27rs)
  22 DC Code 2401, 3202; MURDER, FIRST DEGREE;
  First-Degree Murder While Armed.                             Dismissed on the oral motion of the government.
  (28rs)

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         USCA Case #21-3072               Document #2077668    Filed: 10/01/2024
                                                                 The deft.                   Pageto 26
                                                                           is sentenced to 5 years,     of 150
                                                                                                    run consecutively to
  18:924(c) VIOLENT CRIME/DRUGS/MACHINE GUN;                     counts 4rrs-8rrs, 13rrs and 21rrs; followed by 5 years of
  Use of a Firearm.                                              supervised release, which shall run concurrently with all
  (29rrs)                                                        counts where supervised release has been imposed. A
                                                                 special assessment of & #036;100.00 is due immediately.
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crimme in Aid of
                                                                 Dismissed on the oral motion of the government.
  Racketeering Activity.
  (29rs)
  22 DC Code 105, 501, 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                 Dismissed on the oral motion of the government.
  While Armed.
  (30rs)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                 Dismissed on the oral motion of the government.
  While Armed; Aiding and Abetting.
  (31)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                 Dismissed on the oral motion of the government.
  Aid of Racketeering Activity.
  (31rs)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                 Dismissed on the oral motion of the government.
  Racketeering Activity; Aiding and Abetting.
  (32)
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm; Aiding and Abetting.                    Dismissed on the oral motion of the government.
  (32rrs)
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crimme in Aid of
                                                                 Dismissed on the oral motion of the government.
  Racketeering Activity.
  (32rs)
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
  First Degree Murder While Armed.                               Dismissed on the oral motion of the government.
  (33)
                                                                 The deft. is sentenced to 20 years, to run consecutively to
                                                                 each other and to counts 4rrs-8rrs, 13rrs and 21rrs;
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                       followed by 5 years supervised release on each count
  GUN; Use of a Firearm; Aiding and Abetting.                    which shall run concurrently to all counts where
  (33rrs)                                                        supervised release has been imposed . A special
                                                                 assessment of $100.00 is imposed on each count and is
                                                                 due immediately.
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                 Dismissed on the oral motion of the government.
  Racketeering Activity.
  (33rs-34rs)
  18:1959(a)(1) THREATENING TO COMMIT CRIME
  OF VIOLENCE; Violent Crime in Aid of Racketeering
                                                                 Dismissed on the oral motion of the government.
  Activity.
  (34)
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm; Aiding and Abetting.                    Dismissed on the oral motion of the government.
  (34rrs)
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                 Dismissed on the oral motion of the government.
  While Armed; Aiding and Abetting.
  (35)
                                                                 The deft. is sentenced to 20 years, to run consecutively to
                                                                 each other and to counts 4rrs-8rrs, 13rrs and 21rrs;
  18:924Ci; 2 VIOLENT CRIME/DRUGS/MACHINE                        followed by 5 years supervised release on each count
  GUN; Use of a Firearm; Aiding and Abetting.                    which shall run concurrently to all counts where
  (35rrs)                                                        supervised release has been imposed . A special
                                                                 assessment of $100.00 is imposed on each count and is
                                                                 due immediately.
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                                                      App 17
  18:2 andUSCA      Case #21-3072
           924(c); VIOLENT            Document #2077668
                           CRIME/DRUGS/MACHINE                      Filed: 10/01/2024            Page 27 of 150
  GUN; Use of a Firearm.                                             Dismissed on the oral motion of the government.
  (35rs-47rs)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                     Dismissed on the oral motion of the government.
  Racketeering Activity; Aiding and Abetting.
  (36)
                                                                     The deft. is sentenced to 20 years, to run consecutively to
                                                                     each other and to counts 4rrs-8rrs, 13rrs and 21rrs;
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                           followed by 5 years supervised release on each count
  GUN; Use of a Firearm; Aiding and Abetting.                        which shall run concurrently to all counts where
  (36rrs)                                                            supervised release has been imposed . A special
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
                                                                     The deft. is sentenced to 20 years, to run consecutively to
                                                                     each other and to counts 4rrs-8rrs, 13rrs and 21rrs;
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                           followed by 5 years supervised release on each count
  GUN; Use of a Firearm; Aiding and Abetting.                        which shall run concurrently to all counts where
  (37rrs)                                                            supervised release has been imposed . A special
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of a Firearm
  During Crime of Violence or Dangerous Offense; Aiding              Dismissed on the oral motion of the government.
  and Abetting.
  (39rrs)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
                                                                     The deft. is sentenced to 5 years to 15 years on each
  CONCEALED WEAPON; Possession of Firearm During
                                                                     count which is to run concurrently with each other and to
  Crime of Violence or Dangerous Offense; Aiding and
                                                                     all other counts. A special assessment of $100.00 is
  Abetting.
                                                                     imposed on each count and is due immediately.
  (40rrs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                     Dismissed on the oral motion of the government.
  Aiding and Abetting.
  (41)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of Firearm During
  Crime of Violence or Dangerous Offense; Aiding and                 Dismissed on the oral motion of the government.
  Abetting.
  (43rrs)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
                                                                     The deft. is sentenced to 5 years to 15 years on each
  CONCEALED WEAPON; Possession of Firearm During
                                                                     count which is to run concurrently with each other and to
  Crime of Violence or Dangerous Offense; Aiding and
                                                                     all other counts. A special assessment of $100.00 is
  Abetting.
                                                                     imposed on each count and is due immediately.
  (44rrs)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of Firearm During
  Crime of Violence or Dangerous Offense; Aiding and                 Dismissed on the oral motion of the government.
  Abetting.
  (45rrs)
  18:924(c)(1); 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                     Dismissed on the oral motion of the government.
  Aiding and Abetting.
  (47)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                     Dismissed on the oral motion of the government.
  Aiding and Abetting.
  (48)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                     Dismissed on the oral motion of the government.
  Firearm During Crime of Violence or Dangerous Offense.
  (48rs-58rs)
  18:924(c)(1), 18:2 VIOLENT                                         Dismissed on the oral motion of the government.
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
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          USCA
  Aiding and       Case #21-3072
             Abetting.                         Document #2077668         Filed: 10/01/2024            Page 28 of 150
  (49)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                    Dismissed on the oral motion of the government.
  (52s)
  22 D.C.C. 3204(b) and 105 FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of a
  Firearm During a Crime of Violence; Aiding and                            Dismissed on the oral motion of the government.
  Abetting.
  (53)
  22 D.C.C. 3204(b) and 105 FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of a
  Firearm During a Crime of Violence; Aiding and                            Dismissed on the oral motion of the government.
  Abetting.
  (58-59)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                    Dismissed from retyped indictment.
  (59s-60s)
  22 D.C.C. 3204(b), 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of a Firearm
                                                                            Dismissed on the oral motion of the government.
  During a Crime of Violence; Aiding and Abetting.
  (60)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                            Dismissed from retyped indictment.
  Firearm During Crime of Violence or Dangerous Offense.
  (69s-70s)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                            Dismissed from retyped indictment.
  Firearm During Crime of Violence or Dangerous Offense.
  (77s)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                         Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                                Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth
  Appeals court case number: 21-3073

  Defendant (4)
  WILLIAM KYLE SWEENEY                                        represented by Eric Hans Kirchman
  also known as                                                              KIRCHMAN & KIRCHMAN
  DRAPER                                                                     15 West Montgomery Avenue
                                                                             Suite 205
                                                                             Rockville, MD 20850
                                                                             301-762-2909
                                                                             Fax: 202-204-6269
                                                                             Email: kirchlaw@gmail.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: CJA Appointment

                                                                            Jeffrey Brian O'Toole
                                                                            Bonner Kiernan Trebach & Crociata
                                                                            1233 20th Street, NW
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                                                           App 19
         USCA Case #21-3072               Document #2077668      Filed:  10/01/2024
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                                                                  Washington, DC 20036
                                                                  (202) 712-7000
                                                                  Fax: 202-712-7100
                                                                  Email: otoole@bonnerkiernan.com
                                                                  TERMINATED: 11/06/1998
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

                                                                  Jenifer Wicks
                                                                  BLIND JUSTICE LEGAL SERVICES CORPORATION
                                                                  PO Box 60585
                                                                  Washington, DC 20039
                                                                  202-839-5102
                                                                  Fax: 202-478-0867
                                                                  Email: jenifer@blindjusticedc.org
                                                                  TERMINATED: 12/16/2011
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

                                                                  Leonard L Long , Jr
                                                                  (See above for address)
                                                                  TERMINATED: 02/05/2002
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

                                                                  Paul B. DeWolfe
                                                                  20 Courthouse Square
                                                                  Suite 214
                                                                  Rockville, MD 20850
                                                                  (301) 309-6678
                                                                  Fax: (301)
                                                                  TERMINATED: 02/05/2002
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

                                                                  Shana Madigan
                                                                  SEYFARTH SHAW, LLP
                                                                  975 F Street, NW
                                                                  Washington, DC 20004
                                                                  202-270-3989
                                                                  Email: smadigan@seyfarth.com
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Steven Roy Kiersh
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                                                                  5335 Wisconsin Avenue, NW
                                                                  Suite 440
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                                                                  Email: skiersh@aol.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: CJA Appointment

  Pending Counts                                                  Disposition
                                                                  Oral motion of government to vacate counts 15rrs and
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
                                                                  41rrs, heard and granted. Count 15rrs merges with count
  Conspiracy to Distribute and Possess with Intent to
                                                                  16rrs and count 41rrs merges with count 30rrs. Oral
  Distribute Controlled Substances.
                                                                  motion of the government to dismiss remaining counts
  (1)
                                                                  granted.
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          USCA Case #21-3072                   Document #2077668       Filed: 10/01/2024
                                                                         The deft. is sentenced to lifePage   30 of on
                                                                                                        imprisonment 150
                                                                                                                       each of
                                                                         counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
                                                                         to run concurrently to each other. A supervised release
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;                             period of 5 years is imposed on each count and is to run
  Conspiracy to Distribute and Possess with Intent to                    concurrently by the co unts and concurrently to count
  Distribute Controlled Substance.                                       11rrs. A Fine of $500,000.00 is imposed on count 1rrs
  (1rrs)                                                                 and is due immediately. It shall be paid through the U.S.
                                                                         Bureau of Prisons Inmate Financial Responsibility
                                                                         Program. A special assessment of $100.00 is imp osed on
                                                                         each count and is due immediately.
                                                                         Oral motion of government to vacate counts 15rrs and
  21:846; CONSPIRACY TO DISTRIBUTE
                                                                         41rrs, heard and granted. Count 15rrs merges with count
  NARCOTICS; Conspiracy to Distribute and Possess with
                                                                         16rrs and count 41rrs merges with count 30rrs. Oral
  Intent to Distribute Controlled Substances.
                                                                         motion of the government to dismiss remaining counts
  (1rs)
                                                                         granted.
                                                                         Oral motion of government to vacate counts 15rrs and
  18:1962(d) RACKETEERING; Conspiracy to Participate                     41rrs, heard and granted. Count 15rrs merges with count
  in a Racketeer Influenced Corrupt Organization.                        16rrs and count 41rrs merges with count 30rrs. Oral
  (2)                                                                    motion of the government to dismiss remaining counts
                                                                         granted.
                                                                         The deft. is sentenced to life imprisonment on each of
                                                                         counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
                                                                         to run concurrently to each other. A supervised release
  18:1962(d) RACKETEERING - NARCOTICS;                                   period of 5 years is imposed on each count and is to run
  Conspiracy to Participate in Racketeer Influenced                      concurrently by the co unts and concurrently to count
  Corrput Organization.                                                  11rrs. A Fine of $500,000.00 is imposed on count 1rrs
  (2rrs)                                                                 and is due immediately. It shall be paid through the U.S.
                                                                         Bureau of Prisons Inmate Financial Responsibility
                                                                         Program. A special assessment of $100.00 is imp osed on
                                                                         each count and is due immediately.
                                                                         Oral motion of government to vacate counts 15rrs and
  18:1962(d); RACKETEERING; Conspiracy to                                41rrs, heard and granted. Count 15rrs merges with count
  Participate in Racketeer Influenced Corrupt Organization.              16rrs and count 41rrs merges with count 30rrs. Oral
  (2rs)                                                                  motion of the government to dismiss remaining counts
                                                                         granted.
                                                                         Oral motion of government to vacate counts 15rrs and
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
                                                                         41rrs, heard and granted. Count 15rrs merges with count
  DEGREE; First Degree Murder While Armed; Aiding
                                                                         16rrs and count 41rrs merges with count 30rrs. Oral
  and Abetting.
                                                                         motion of the government to dismiss remaining counts
  (10rrs)
                                                                         granted.
                                                                         Oral motion of government to vacate counts 15rrs and
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,
                                                                         41rrs, heard and granted. Count 15rrs merges with count
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                         16rrs and count 41rrs merges with count 30rrs. Oral
  Racketeering Activity; Aiding and Abetting.
                                                                         motion of the government to dismiss remaining counts
  (11rrs)
                                                                         granted.
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
  DEGREE; First-Degree Murder While Armed.
  (11rs)
                                                                         Oral motion of government to vacate counts 15rrs and
  18:2 and 1959(a)(3) and (5); RACKETEERING
                                                                         41rrs, heard and granted. Count 15rrs merges with count
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                         16rrs and count 41rrs merges with count 30rrs. Oral
  Aid of Racketeering Activity.
                                                                         motion of the government to dismiss remaining counts
  (12rs)
                                                                         granted.
                                                                         Oral motion of government to vacate counts 15rrs and
  22 D.C.C. 2401 and 3202; 105 MURDER, FIRST
                                                                         41rrs, heard and granted. Count 15rrs merges with count
  DEGREE; First Degree Murder While Armed; Aiding
                                                                         16rrs and count 41rrs merges with count 30rrs. Oral
  and Abetting.
                                                                         motion of the government to dismiss remaining counts
  (15rrs)
                                                                         granted.
  18:1959(a)(1); 2 RACKETEERING ACTIVITY,                                The deft. is sentenced to life imprisonment on each of
  MAIMING; Violent Crime in Aid of Racketeering                          counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
  Activity; Aiding and Abetting.                                         to run concurrently to each other. A supervised release
  (16rrs)                                                                period of 5 years is imposed on each count and is to run
                                                                         concurrently by the co unts and concurrently to count
                                                                         11rrs. A Fine of $500,000.00 is imposed on count 1rrs
                                                                         and is due immediately. It shall be paid through the U.S.
(Page 30 of Total)                                                       Bureau of Prisons Inmate Financial Responsibility

                                                              App 21
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                                                                  Program.                  Page
                                                                           A special assessment     31 ofis150
                                                                                                of $100.00  imp osed on
                                                                  each count and is due immediately.
                                                                  Oral motion of government to vacate counts 15rrs and
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
                                                                  41rrs, heard and granted. Count 15rrs merges with count
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                  16rrs and count 41rrs merges with count 30rrs. Oral
  Racketeering Activity; Aiding and Abetting.
                                                                  motion of the government to dismiss remaining counts
  (19)
                                                                  granted.
                                                                  Oral motion of government to vacate counts 15rrs and
  22 DC Code 105, 2401 and 3202; MURDER, FIRST                    41rrs, heard and granted. Count 15rrs merges with count
  DEGREE; First-Degree Murder While Armed.                        16rrs and count 41rrs merges with count 30rrs. Oral
  (22rs)                                                          motion of the government to dismiss remaining counts
                                                                  granted.
                                                                  Oral motion of government to vacate counts 15rrs and
  18:2 and 1959(a)(1); RACKETEERING ACTIVITY,
                                                                  41rrs, heard and granted. Count 15rrs merges with count
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                  16rrs and count 41rrs merges with count 30rrs. Oral
  Racketeering Activity.
                                                                  motion of the government to dismiss remaining counts
  (23rs)
                                                                  granted.
                                                                  The deft. is sentenced to life imprisonment on each of
                                                                  counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
                                                                  to run concurrently to each other. A supervised release
  18:1959(a)(1) RACKETEERING ACTIVITY,                            period of 5 years is imposed on each count and is to run
  MURDER/KIDNAPPING; Violent Crime in Aid of                      concurrently by the co unts and concurrently to count
  Racketeering Activity.                                          11rrs. A Fine of $500,000.00 is imposed on count 1rrs
  (25rrs)                                                         and is due immediately. It shall be paid through the U.S.
                                                                  Bureau of Prisons Inmate Financial Responsibility
                                                                  Program. A special assessment of $100.00 is imp osed on
                                                                  each count and is due immediately.
                                                                  Oral motion of government to vacate counts 15rrs and
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
                                                                  41rrs, heard and granted. Count 15rrs merges with count
  DEGREE; Assault with Intent to Kill While Armed;
                                                                  16rrs and count 41rrs merges with count 30rrs. Oral
  Aiding and Abetting.
                                                                  motion of the government to dismiss remaining counts
  (26)
                                                                  granted.
                                                                  The deft. is sentenced to life imprisonment on each of
                                                                  counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
                                                                  to run concurrently to each other. A supervised release
  18:1959(a)(1) RACKETEERING ACTIVITY,                            period of 5 years is imposed on each count and is to run
  MURDER/KIDNAPPING; Violent Crime in Aid of                      concurrently by the co unts and concurrently to count
  Racketeering Activity.                                          11rrs. A Fine of $500,000.00 is imposed on count 1rrs
  (26rrs)                                                         and is due immediately. It shall be paid through the U.S.
                                                                  Bureau of Prisons Inmate Financial Responsibility
                                                                  Program. A special assessment of $100.00 is imp osed on
                                                                  each count and is due immediately.
                                                                  Oral motion of government to vacate counts 15rrs and
  18:1959(a)(1), 18:2 THREATENING TO COMMIT
                                                                  41rrs, heard and granted. Count 15rrs merges with count
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                  16rrs and count 41rrs merges with count 30rrs. Oral
  Racketeering Activity; Aiding and Abetting.
                                                                  motion of the government to dismiss remaining counts
  (27)
                                                                  granted.
                                                                  The deft. is sentenced to life imprisonment on each of
                                                                  counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs; sentences
                                                                  to run concurrently to each other. A supervised release
  18:1959(a)(1) RACKETEERING ACTIVITY,                            period of 5 years is imposed on each count and is to run
  MURDER/KIDNAPPING; Violent Crime in Aid of                      concurrently by the co unts and concurrently to count
  Racketeering Activity.                                          11rrs. A Fine of $500,000.00 is imposed on count 1rrs
  (27rrs)                                                         and is due immediately. It shall be paid through the U.S.
                                                                  Bureau of Prisons Inmate Financial Responsibility
                                                                  Program. A special assessment of $100.00 is imp osed on
                                                                  each count and is due immediately.
                                                                  The deft. is sentenced to 5 years incarceration, to run
  18:924C(c) VIOLENT CRIME/DRUGS/MACHINE                          consecutively to all other counts; followed by 5 years
  GUN; Use of a Firearm.                                          supervised release, to run concurrently with all other
  (28rrs)                                                         counts. A special assessment of $100.00 is imposed and is
                                                                  due immediately.
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                        The deft. is sentenced to 20 years incarceration on each
  GUN; Use of a fiream; Aiding and Abetting.                      of counts 30rrs, 35rrs, 36rrs and 37rrs; to run
  (30rrs)                                                         consecutively to each other and to all other counts. A five
(Page 31 of Total)                                                year period of supervised release is imposed on each

                                                       App 22
         USCA Case #21-3072                 Document #2077668      Filed:
                                                                     count,10/01/2024          Page
                                                                           to run concurrently with      32 of
                                                                                                    all other    150A special
                                                                                                              counts.
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:1959(a)(1); RACKETEERING ACTIVITY,
                                                                     41rrs, heard and granted. Count 15rrs merges with count
  MURDER/KIDNAPPING; Violent Crimes in Aid of
                                                                     16rrs and count 41rrs merges with count 30rrs. Oral
  Racketeering Activity.
                                                                     motion of the government to dismiss remaining counts
  (32rs-34rs)
                                                                     granted.
                                                                     The deft. is sentenced to 20 years incarceration on each
                                                                     of counts 30rrs, 35rrs, 36rrs and 37rrs; to run
  18:924Ci; 2 VIOLENT CRIME/DRUGS/MACHINE                            consecutively to each other and to all other counts. A five
  GUN; Use of a Firearm; Aiding and Abetting.                        year period of supervised release is imposed on each
  (35rrs)                                                            count, to run concurrently with all other counts. A special
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE                       41rrs, heard and granted. Count 15rrs merges with count
  GUN; Use of a Firearm.                                             16rrs and count 41rrs merges with count 30rrs. Oral
  (35rs-47rs)                                                        motion of the government to dismiss remaining counts
                                                                     granted.
                                                                     The deft. is sentenced to 20 years incarceration on each
                                                                     of counts 30rrs, 35rrs, 36rrs and 37rrs; to run
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                           consecutively to each other and to all other counts. A five
  GUN; Use of a Firearm; Aiding and Abetting.                        year period of supervised release is imposed on each
  (36rrs)                                                            count, to run concurrently with all other counts. A special
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:1959(a)(1) THREATENING TO COMMIT CRIME
                                                                     41rrs, heard and granted. Count 15rrs merges with count
  OF VIOLENCE; Violent Crime in Aid of Racketeering
                                                                     16rrs and count 41rrs merges with count 30rrs. Oral
  Activity.
                                                                     motion of the government to dismiss remaining counts
  (37)
                                                                     granted.
                                                                     The deft. is sentenced to 20 years incarceration on each
                                                                     of counts 30rrs, 35rrs, 36rrs and 37rrs; to run
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                           consecutively to each other and to all other counts. A five
  GUN; Use of a Firearm; Aiding and Abetting.                        year period of supervised release is imposed on each
  (37rrs)                                                            count, to run concurrently with all other counts. A special
                                                                     assessment of $100.00 is imposed on each count and is
                                                                     due immediately.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:1959(a)(1) THREATENING TO COMMIT CRIME
                                                                     41rrs, heard and granted. Count 15rrs merges with count
  OF VIOLENCE; Violent Crime in Aid of Racketeering
                                                                     16rrs and count 41rrs merges with count 30rrs. Oral
  Activity.
                                                                     motion of the government to dismiss remaining counts
  (38)
                                                                     granted.
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -                      Oral motion of government to vacate counts 15rrs and
  CONCEALED WEAPON; Possession of a Firearm                          41rrs, heard and granted. Count 15rrs merges with count
  During Crime of Violence or Dangerous Offense; Aiding              16rrs and count 41rrs merges with count 30rrs. Oral
  and Abetting.                                                      motion of the government to dismiss remaining counts
  (38rrs)                                                            granted.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:1959(a)(1) THREATENING TO COMMIT CRIME
                                                                     41rrs, heard and granted. Count 15rrs merges with count
  OF VIOLENCE; Violent Crime in Aid of Racketeering
                                                                     16rrs and count 41rrs merges with count 30rrs. Oral
  Activity.
                                                                     motion of the government to dismiss remaining counts
  (39)
                                                                     granted.
                                                                     Oral motion of government to vacate counts 15rrs and
  18:924(c)(1), 18:2 VIOLENT
                                                                     41rrs, heard and granted. Count 15rrs merges with count
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                     16rrs and count 41rrs merges with count 30rrs. Oral
  Aiding and Abetting.
                                                                     motion of the government to dismiss remaining counts
  (40)
                                                                     granted.
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -                      Oral motion of government to vacate counts 15rrs and
  CONCEALED WEAPON; Possession of Firearm During                     41rrs, heard and granted. Count 15rrs merges with count
  Crime of Violence or Dangerous Offense; Aiding and                 16rrs and count 41rrs merges with count 30rrs. Oral
  Abetting.                                                          motion of the government to dismiss remaining counts
  (41rrs)                                                            granted.

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           USCA Case #21-3072                  Document #2077668        Filed: 10/01/2024
                                                                          Oral motion of governmentPage
                                                                                                   to vacate33 of 150
                                                                                                             counts 15rrs and
  18:924(c)(1); 18:2 VIOLENT
                                                                           41rrs, heard and granted. Count 15rrs merges with count
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                           16rrs and count 41rrs merges with count 30rrs. Oral
  Aiding and Abetting.
                                                                           motion of the government to dismiss remaining counts
  (44)
                                                                           granted.
  22 DC Code 105 and 3204(b); FIREARMS AND                                 Oral motion of government to vacate counts 15rrs and
  WEAPONS - CONCEALED WEAPON; Possession of                                41rrs, heard and granted. Count 15rrs merges with count
  Firearm During Crime of Violence or Dangerous                            16rrs and count 41rrs merges with count 30rrs. Oral
  Offenses.                                                                motion of the government to dismiss remaining counts
  (48rs-58rs)                                                              granted.
                                                                           Oral motion of government to vacate counts 15rrs and
  18:924(c)(1); 18:2 VIOLENT
                                                                           41rrs, heard and granted. Count 15rrs merges with count
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                           16rrs and count 41rrs merges with count 30rrs. Oral
  Aiding and Abetting.
                                                                           motion of the government to dismiss remaining counts
  (50-52)
                                                                           granted.
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                   Dismissed from retyped indictment.
  (52s)
                                                                           Oral motion of government to vacate counts 15rrs and
  22 D.C.C. 3204(b), 105 FIREARMS AND WEAPONS -
                                                                           41rrs, heard and granted. Count 15rrs merges with count
  CONCEALED WEAPON; Possession of a Firearm
                                                                           16rrs and count 41rrs merges with count 30rrs. Oral
  During a Crime of Violence; Aiding and Abetting.
                                                                           motion of the government to dismiss remaining counts
  (56)
                                                                           granted.
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                   Dismissed from retyped indictment.
  (59s-60s)
  22 DC Code 105 and 3204(b); FIREARMS AND                                 Oral motion of government to vacate counts 15rrs and
  WEAPONS - CONCEALED WEAPON; Possession of                                41rrs, heard and granted. Count 15rrs merges with count
  Firearm During Crime of Violence or Dangerous                            16rrs and count 41rrs merges with count 30rrs. Oral
  Offenses.                                                                motion of the government to dismiss remaining counts
  (69s-70s)                                                                granted.
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                            Dismissed from retyped indictment.
  Offenses.
  (77s)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                        Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                               Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (5)
  MAURICE PROCTOR                                             represented by Frederick James Sullivan
  TERMINATED: 12/20/2001                                                     MCCARTHY & SULLIVAN
  also known as                                                              12427 Sadler Lane
  POOPOO                                                                     Bowie, MD 20715
                                                                             (301) 464-0500
                                                                             Fax: (301) 464-0501
                                                                             Email: macsul@smart.net
                                                                             TERMINATED: 06/12/2000
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
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                                                          App 24
           USCA Case #21-3072                  Document #2077668       Filed: 10/01/2024
                                                                         Designation:             Page 34 of 150
                                                                                      CJA Appointment

                                                                         Howard F. Bramson
                                                                         717 D Street, NW
                                                                         Suite 300
                                                                         Washington, DC 20004
                                                                         (202) 639-8088
                                                                         TERMINATED: 12/20/2001
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: Retained

                                                                         Howard Bernard Katzoff
                                                                         LAW OFFICES OF HOWARD KATZOFF
                                                                         717 D Street, NW
                                                                         Suite 310
                                                                         Washington, DC 20004
                                                                         (202) 783-6414
                                                                         Fax: (202) 628-2881
                                                                         Email: katzoffh@aol.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

                                                                         John Anthony Briley , Jr.
                                                                         LAW OFFICES OF JOHN A. BRILEY, JR.
                                                                         6205 30th Street, NW
                                                                         Washington, DC 20015
                                                                         (202) 262-2292
                                                                         Fax: (202) 237-2102
                                                                         Email: attyjab@gmail.com
                                                                         TERMINATED: 06/12/2000
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: CJA Appointment

  Pending Counts                                                         Disposition
                                                                         Defendant sentenced to Sixty (60) months incarceration
  21:841(a)(1) and 841(b)(1)(B)(vii) and 846;
                                                                         pursuant to 11E(2)(c); to run concurrent to any other
  NARCOTICS - POSSESSION; Possession With Intent to
                                                                         sentence; followed by Four (4) years Supervised Release;
  Distribute a mixture or substance containing Marijuana.
                                                                         special assessment of $100.00 imposed due within first
  (1ss)
                                                                         year of Supervised Relea se.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                      Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to
                                                                         Dismissed upon oral motion of the government.
  Distribute Controlled Substances.
  (1)
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with
                                                                         Dismissed upon oral motion of the government.
  Intent to Distribute Controlled Substances.
  (1rs)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.                        Dismissed upon oral motion of the government.
  (2)
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeer Influenced Corrupt Organization.              Dismissed upon oral motion of the government.
  (2rs)
  22DC Code 105, 2401 and 3202; MURDER, FIRST
  DEGREE; First-Degree Murder While Armed.                               Dismissed upon oral motion of the government.
  (10rs)

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                                                              App 25
  18:2 andUSCA     Case
          1959(a)(3)        #21-3072
                      and (5);            Document #2077668
                               RACKETEERING                       Filed: 10/01/2024          Page 35 of 150
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                    Dismissed upon oral motion of the government.
  Aid of Racketeering Activity.
  (12rs)
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
  DEGREE; First-Degree Murder While Armed.                          Dismissed upon oral motion of the government.
  (14rs)
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                    Dismissed upon oral motion of the government.
  Racketeering Activity/
  (15rs)
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
  First Degree Murder While Armed.                                  Dismissed upon oral motion of the government.
  (18)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                    Dismissed upon oral motion of the government.
  Racketeering Activity; Aiding and Abetting.
  (19)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                            Dismissed upon oral motion of the government.
  (35rs-47rs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                    Dismissed upon oral motion of the government.
  Aiding and Abetting.
  (40)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                     Dismissed upon oral motion of the government.
  Offenses.
  (48rs-58rs)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                            Dismissed upon oral motion of the government.
  (52s)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                            Dismissed upon oral motion of the government.
  (59s-60s)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                     Dismissed upon oral motion of the government.
  Offenses.
  (69s-70s)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                     Dismissed upon oral motion of the government.
  Offenses.
  (77s)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                        Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth
  Appeals court case number: 21-3072

  Defendant (6)
  SEAN COATES                                            represented by SEAN COATES
  TERMINATED: 02/07/2002                                                Reg. No. 01181-748
  also known as                                                         CUMBERLAND
  BIRDY                                                                 FEDERAL CORRECTIONAL INSTITUTION
                                                                        Inmate Mail/Parcels
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          USCA Case #21-3072                   Document #2077668   Filed:  10/01/2024
                                                                     P.O. BOX 1000             Page 36 of 150
                                                                    CUMBERLAND, MD 21501
                                                                    PRO SE

                                                                    Frederick D. Jones , III
                                                                    LAW OFFICES OF FREDERICK J. JONES
                                                                    23317 Brewers Tavern Way
                                                                    Clarksburg, MD 20871
                                                                    (301) 916-4399
                                                                    Fax: (301) 916-4399
                                                                    TERMINATED: 12/01/2012
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: CJA Appointment

                                                                    Henry Winchester Asbill
                                                                    SCHERTLER ONORATO MEAD & SEARS
                                                                    555 13th Street NW
                                                                    Suite 500 West
                                                                    Washington, DC 20004
                                                                    202-628-4199
                                                                    Fax: 202-628-4177
                                                                    Email: hasbill@schertlerlaw.com
                                                                    TERMINATED: 02/07/2002
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: CJA Appointment

                                                                    Veronice A Holt , I
                                                                    Veronice A. Holt, ESQ.
                                                                    3003 Van Ness NW
                                                                    Ste W1111
                                                                    Washington, DC 20008
                                                                    202-244-2659
                                                                    Email: VERONICEHOLT@MSN.COM
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Retained

  Pending Counts                                                    Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to               Oral motion of the govt. to dismiss the remaining counts
  Distribute Controlled Substances.                                 granted.
  (1)
                                                                    The deft. is sentenced to Life imprisonment on each of
                                                                    counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run
                                                                    concurrently with each other; followed by 5 years
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;                        supervised release on each count, to run concurrently by
  Conspiracy to Distribute and Possess with Intent to               the counts. A Fine of $500,000.00 is imposed on count
  Distribute Controlled Substance.                                  1rrs and is due immediately; to be paid through the U.S.
  (1rrs)                                                            Bureau of Prisons Inmate Financial Responsibility
                                                                    Program. Imposition of a fine on all other counts is
                                                                    waived. A special assessment of $100.00 is imposed on
                                                                    each count and is due immediately.
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with              Oral motion of the govt. to dismiss the remaining counts
  Intent to Distribute Controlled Substances.                       granted.
  (1rs)
  18:1962(d) RACKETEERING; Conspiracy to Participate
                                                                    Oral motion of the govt. to dismiss the remaining counts
  in a Racketeer Influenced Corrupt Organization.
                                                                    granted.
  (2)
  18:1962(d) RACKETEERING - NARCOTICS;                              The deft. is sentenced to Life imprisonment on each of
  Conspiracy to Participate in Racketeer Influenced                 counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run
  Corrput Organization.                                             concurrently with each other; followed by 5 years
  (2rrs)                                                            supervised release on each count, to run concurrently by
                                                                    the counts. A Fine of $500,000.00 is imposed on count
                                                                    1rrs and is due immediately; to be paid through the U.S.
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                                                          App 27
          USCA Case #21-3072                   Document #2077668       Filed:
                                                                         Bureau10/01/2024          Page 37
                                                                                of Prisons Inmate Financial    of 150
                                                                                                            Responsibility
                                                                         Program. Imposition of a fine on all other counts is
                                                                         waived. A special assessment of $100.00 is imposed on
                                                                         each count and is due immediately.
  18:1962(d); RACKETEERING; Conspiracy to
                                                                         Oral motion of the govt. to dismiss the remaining counts
  Participate in Racketeer Influenced Corrupt Organization.
                                                                         granted.
  (2rs)
  22 D.C.C. 2401 and 3202, 105 MURDER, FIRST
  DEGREE; First Degree Murder While Armed; Aiding
                                                                         VERDICT OF NOT GUILTY.
  and Abetting.
  (10rrs)
                                                                         The deft. is sentenced to 240 months on counts 11rrs and
                                                                         24rrs, to run concurrently with each other and all other
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,
                                                                         counts; followed by 3 years supervised release on each
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                         count, to run concurrently by the counts and concurrently
  Racketeering Activity; Aiding and Abetting.
                                                                         with the remaining coun ts. A special assessment of
  (11rrs)
                                                                         $100.00 is imposed on each count and is due
                                                                         immediately.
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
                                                                         Oral motion of the govt. to dismiss the remaining counts
  DEGREE; First-Degree Murder While Armed.
                                                                         granted.
  (11rs)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in                          Oral motion of the govt. to dismiss the remaining counts
  Aid of Racketeering Activity.                                          granted.
  (12rs)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of                             Oral motion of the govt. to dismiss the remaining counts
  Racketeering Activity; Aiding and Abetting.                            granted.
  (19)
                                                                         The deft. is sentenced to 240 months on counts 11rrs and
                                                                         24rrs, to run concurrently with each other and all other
  18:1959(a)(3) & (5); 2 RACKETEERING ACTIVITY,
                                                                         counts; followed by 3 years supervised release on each
  MURDER/KIDNAPPING; Violent Crime in Aid of
                                                                         count, to run concurrently by the counts and concurrently
  Racketeering Activity.
                                                                         with the remaining coun ts. A special assessment of
  (24rrs)
                                                                         $100.00 is imposed on each count and is due
                                                                         immediately.
                                                                         The deft. is sentenced to Life imprisonment on each of
                                                                         counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run
                                                                         concurrently with each other; followed by 5 years
  18:1959(a)(1) RACKETEERING ACTIVITY,                                   supervised release on each count, to run concurrently by
  MURDER/KIDNAPPING; Violent Crime in Aid of                             the counts. A Fine of $500,000.00 is imposed on count
  Racketeering Activity.                                                 1rrs and is due immediately; to be paid through the U.S.
  (25rrs)                                                                Bureau of Prisons Inmate Financial Responsibility
                                                                         Program. Imposition of a fine on all other counts is
                                                                         waived. A special assessment of $100.00 is imposed on
                                                                         each count and is due immediately.
                                                                         The deft. is sentenced to Life imprisonment on each of
                                                                         counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run
                                                                         concurrently with each other; followed by 5 years
  18:1959(a)(1) RACKETEERING ACTIVITY,                                   supervised release on each count, to run concurrently by
  MURDER/KIDNAPPING; Violent Crime in Aid of                             the counts. A Fine of $500,000.00 is imposed on count
  Racketeering Activity.                                                 1rrs and is due immediately; to be paid through the U.S.
  (26rrs)                                                                Bureau of Prisons Inmate Financial Responsibility
                                                                         Program. Imposition of a fine on all other counts is
                                                                         waived. A special assessment of $100.00 is imposed on
                                                                         each count and is due immediately.
                                                                         The deft. is sentenced to Life imprisonment on each of
                                                                         counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run
                                                                         concurrently with each other; followed by 5 years
  18:1959(a)(1) RACKETEERING ACTIVITY,                                   supervised release on each count, to run concurrently by
  MURDER/KIDNAPPING; Violent Crime in Aid of                             the counts. A Fine of $500,000.00 is imposed on count
  Racketeering Activity.                                                 1rrs and is due immediately; to be paid through the U.S.
  (27rrs)                                                                Bureau of Prisons Inmate Financial Responsibility
                                                                         Program. Imposition of a fine on all other counts is
                                                                         waived. A special assessment of $100.00 is imposed on
(Page 37 of Total)                                                       each count and is due immediately.

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         USCA
  22 DC 105,       Case
             501 and 3202; #21-3072
                           AGGRAVATED ORDocument #2077668          Filed: 10/01/2024            Page 38 of 150
  FELONIOUS ASSAULT; Assault with Intent to Kill                    Oral motion of the govt. to dismiss the remaining counts
  While Armed.                                                      granted.
  (30rs)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in                     Oral motion of the govt. to dismiss the remaining counts
  Aid of Racketeering Activity.                                     granted.
  (31rs)
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crimes in Aid of                       Oral motion of the govt. to dismiss the remaining counts
  Racketeering Activity.                                            granted.
  (32rs-34rs)
                                                                    The deft. is sentenced to 240 months imprisonment on
                                                                    each of counts 34rrs, 35rrs, 36rrs and 37rrs, to run
  18:924(c); 2 VIOLENT CRIME/DRUGS/MACHINE                          consecutively to each other and to counts 1rrs, 2rrs, 25rrs,
  GUN; Use of a Firearm; Aiding and Abetting.                       26rrs, 27rrs and 28rrs; followed by 5 years supervised
  (34rrs)                                                           release on each count, to ru n concurrently by the counts.
                                                                    A special assessment of $100.00 is imposed on each
                                                                    count and is due immediately.
  22 D.C.C. 501 and 3202, 105 AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill                    Oral motion of the govt. to dismiss the remaining counts
  While Armed; Aiding and Abetting.                                 granted.
  (35)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
                                                                    Oral motion of the govt. to dismiss the remaining counts
  GUN; Use of a Firearm.
                                                                    granted.
  (35rs-47rs)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of                        Oral motion of the govt. to dismiss the remaining counts
  Racketeering Activity; Aiding and Abetting.                       granted.
  (36)
  22 D.C.C. 3204(b); 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of a Firearm
  During Crime of Violence or Dangerous Offense; Aiding             VERDICT OF NOT GUILTY.
  and Abetting.
  (38rrs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;                        Oral motion of the govt. to dismiss the remaining counts
  Aiding and Abetting.                                              granted.
  (40)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                    Oral motion of the govt. to dismiss the remaining counts
  Firearm During Crime of Violence or Dangerous
                                                                    granted.
  Offenses.
  (48rs-58rs)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;                        Oral motion of the govt. to dismiss the remaining counts
  Aiding and Abetting.                                              granted.
  (49)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                            Dismissed from retyped indictment.
  (52s)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                            Dismissed from retyped indictment.
  (59s-60s)
  22 D.C.C. 3204(b), 105 FIREARMS AND WEAPONS -
  CONCEALED WEAPON; Possession of a Firearm                         Oral motion of the govt. to dismiss the remaining counts
  During a Crime of Violence; Aiding and Abetting.                  granted.
  (60)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                     Dismissed from retyped indictment.
  Offenses.
  (69s-70s)

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          USCA
  22 DC Code       Case
              105 and      #21-3072
                      3204(b); FIREARMS AND Document #2077668              Filed: 10/01/2024          Page 39 of 150
  WEAPONS - CONCEALED WEAPON; Possession of
  Firearm During Crime of Violence or Dangerous                              Dismissed from retyped indictment.
  Offenses.
  (77s)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                          Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                                 Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (7)
  REGINALD DARNELL SWITZER                                      represented by Patrick M. Donahue
                                                                               THE DONAHUE LAW FIRM
                                                                               18 West Street
                                                                               Annapolis, MD 21401
                                                                               410-280-2023
                                                                               Email: pmd@thedonahuelawfirm.com
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: CJA Appointment

  Pending Counts                                                             Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to
  Distribute Controlled Substances.
  (1)
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with
  Intent to Distribute Controlled Substances.
  (1s)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.
  (2)
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeer Influenced Corrupt Organization.
  (2s)
  22 D.C.C. 2401 and 3202 MURDER, FIRST DEGREE;
  First Degree Murder While Armed.
  (4)
  22 DC Code 2401 and 3202; MURDER, FIRST
  DEGREE; First-Degree Murder While Armed.
  (4s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possssion With Intent to Distribute and Distribution of
  Controlled Substances; Aiding and Abetting.
  (84)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Possession with
  Intent to Distribute Controlled Substances.
  (99s-101s)

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           USCA Case #21-3072                  Document #2077668         Filed: 10/01/2024          Page 40 of 150
  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                        Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                               Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (8)
  WILLIAM HILL                                                 represented by Pleasant Sanford Brodnax , III
  TERMINATED: 06/01/2000                                                      LAW OFFICE OF PLEASANT S. BRODNAX, III
                                                                              1701 Pennsylvania Avenue, NW
                                                                              Suite 200
                                                                              Washington, DC 20006
                                                                              (202) 462-1100
                                                                              Fax: (202) 204-5165
                                                                              Email: PLEASANT.BRODNAX@GMAIL.COM
                                                                              TERMINATED: 06/01/2000
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED
                                                                              Designation: CJA Appointment

  Pending Counts                                                           Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to
                                                                           Dismissed upon oral motion of the government.
  Distribute Controlled Substances.
  (1)
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with
                                                                           Dismissed upon oral motion of the government.
  Intent to Distribute Controlled Substances.
  (1s)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.                          Dismissed upon oral motion of the government.
  (2)
  18:1962(d); RACKETEERING; Conspiracy to
  Participate in Racketeer Influence Corrupt Organization.                 Dismissed upon oral motion of the government.
  (2s)
  18:1959(a)(3)&(5), 18:2 THREATENING TO COMMIT
  CRIME OF VIOLENCE; Violent Crime in Aid of
                                                                           Dismissed upon oral motion of the government.
  Racketeering Activity; Aiding and Abetting.
  (30)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                           Dismissed upon oral motion of the government.
  Aid of Racketeering Activity.
  (39s)
  18:924(c)(1), 18:2 VIOLENT
  CRIME/DRUGS/MACHINE GUN; Use of a Firearm;
                                                                           Dismissed upon oral motion of the government.
  Aiding and Abetting.
  (46)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                        Disposition
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  18:2 andUSCA      Case #21-3072
           924(c); VIOLENT            Document #2077668
                           CRIME/DRUGS/MACHINE                              Filed: 10/01/2024           Page 41 of 150
  GUN; Use of a Firearm.                                                       Dismissed upon oral motion of the government.
  (51s-66s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
                                                                               Dismissed upon oral motion of the government.
  Controlled Substance; Aiding and Abetting.
  (72)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of a
                                                                               Dismissed upon oral motion of the government.
  Controlled Substance; Aiding and Abetting.
  (73)
  18:2 and 21:841(a)(1) and 841(b)(1)(D); NARCOTICS -
  SELL, DISTRIBUTE, OR DISPENSE; Distribution of
                                                                               Dismissed upon oral motion of the government.
  Controlled Substances.
  (81s-98s)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
                                                                               Dismissed upon oral motion of the government.
  Controlled Substances; Aiding and Abetting.
  (82)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                                   Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (9)
  PAUL FRANKLIN                                                  represented by Allen Howard Orenberg
  also known as                                                                 ORENBERG LAW FIRM, LLC
  DIRTY MEAT                                                                    200-A Monroe Street
                                                                                Suite 233
                                                                                Rockville, MD 20850
                                                                                301-807-3847
                                                                                Fax: 240-238-6701
                                                                                Email: aorenberg@orenberglaw.com
                                                                                LEAD ATTORNEY
                                                                                ATTORNEY TO BE NOTICED
                                                                                Designation: CJA Appointment

                                                                               Ralph Drury Martin
                                                                               MARTIN LAW FIRM
                                                                               Washington Office
                                                                               3511 30th Street NW
                                                                               Washington, DC 20008
                                                                               202-365-2333
                                                                               Email: rmartin@doumarmartin.com
                                                                               TERMINATED: 09/14/2004
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: CJA Appointment

                                                                               Reginald F. Martin , III
                                                                               DECEASED
                                                                               Suite 201
                                                                               387-5044
                                                                               TERMINATED: 09/14/2004
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: CJA Appointment

  Pending Counts                                                               Disposition

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          USCA Case
  21:846 CONSPIRACY      TO#21-3072            Document #2077668
                             DISTRIBUTE NARCOTICS;                      Filed: 10/01/2024       Page 42 of 150
  Conspiracy to Distribute and Possess with Intent to
  Distribute Controlled Substances.
  (1)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.
  (2)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
  Controlled Substance; Aiding and Abetting.
  (69)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
  Controlled Substance; Aiding and Abetting.
  (76-77)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
  Controlled Substance; Aiding and Abetting.
  (79)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
  Controlled Substance; Aiding and Abetting.
  (81)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                        Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                               Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (10)
  DONALD NICHOLS                                               represented by H. Heather Shaner
  also known as                                                               LAW OFFICES OF H. HEATHER SHANER
  HARD ROCK                                                                   1702 S Street, NW
                                                                              Washington, DC 20009
                                                                              (202) 265-8210
                                                                              Fax: (202) 332-8057
                                                                              Email: hhsesq@aol.com
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED
                                                                              Designation: CJA Appointment

  Pending Counts                                                           Disposition
  21:846 CONSPIRACY TO DISTRIBUTE NARCOTICS;
  Conspiracy to Distribute and Possess with Intent to
  Distribute Controlled Substances.
  (1)
  18:1962(d) RACKETEERING; Conspiracy to Participate
  in a Racketeer Influenced Corrupt Organization.
  (2)




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          USCA
  21:841(a)(1), 18:2Case    #21-3072
                    NARCOTICS                   Document #2077668
                                    - POSSESSION;                         Filed: 10/01/2024          Page 43 of 150
  Possession With Intent to Distribute and Distribution of
  Controlled Substance; Aiding and Abetting.
  (62)
  21:841(a)(1), 18:2 NARCOTICS - POSSESSION;
  Possession With Intent to Distribute and Distribution of
  Controlled Substances; Aiding and Abetting.
  (86-87)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                          Disposition
  None

  Highest Offense Level (Terminated)
  None

  Complaints                                                                 Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth

  Defendant (11)
  ERIK JONES                                                   represented by Danielle Courtney Jahn
  Reg. No. 06111-007                                                          FEDERAL PUBLIC DEFENDER FOR THE DISTRICT
  BEAUMONT LOW                                                                OF COLUMBIA
  FEDERAL CORRECTIONAL INSTITUTION                                            625 Indiana Ave, NW
  Inmate Mail/Parcels                                                         Suite 500
  P.O. BOX 26020                                                              Washington, DC 20004
  BEAUMONT, TX 77720                                                          (202) 208-7500
  TERMINATED: 10/02/2001                                                      Fax: (202) 501-3829
  also known as                                                               Email: dani_jahn@fd.org
  IRKY BERK                                                                   LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED
                                                                              Designation: Public Defender or Community Defender
                                                                              Appointment

                                                                             Joseph R. Conte
                                                                             JOSEPH R. CONTE
                                                                             8251 NW 15th Court
                                                                             Coral Springs, FL 33071
                                                                             202-236-1147
                                                                             Email: dcgunlaw@gmail.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: CJA Appointment

                                                                             Kenneth D Auerbach
                                                                             LAW OFFICE OF KENNETH D. AUERBACH
                                                                             8720 Georgia Avenue
                                                                             Suite 704
                                                                             Silver Spring, MD 20910
                                                                             (301) 585-5566
                                                                             Fax: 301-587-0847
                                                                             Email: ken.auerbach@yahoo.com
                                                                             TERMINATED: 04/26/1999
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: CJA Appointment

                                                                             Nathan I. Silver , II
                                                                             LAW OFFICES OF NATHAN I. SILVER
                                                                             6300 Orchid Drive
(Page 43 of Total)                                                           Bethesda, MD 20817

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           USCA Case #21-3072                  Document #2077668      Filed:
                                                                        (301) 10/01/2024
                                                                              229-0189           Page 44 of 150
                                                                       Fax: (301) 229-3625
                                                                       Email: nisquire@aol.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: CJA Appointment

                                                                       Richard Keith Gilbert
                                                                       LAW OFFICES OF RICHARD KEITH GILBERT
                                                                       100 M Street, SE
                                                                       Suite 600
                                                                       Washington, DC 20003
                                                                       (202) 749-8627
                                                                       Email: rkgesq@juno.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: CJA Appointment

                                                                       William C. Brennan , Jr.
                                                                       BRENNAN MCKENNA & LAWLOR, CHARTERED
                                                                       6305 Ivy Lane
                                                                       Suite 700
                                                                       Greenbelt, MD 20770
                                                                       (301) 474-0044
                                                                       Fax: (301) 474-5730
                                                                       Email: wbrennan@brennanmckenna.com
                                                                       TERMINATED: 12/27/1999
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: CJA Appointment

  Pending Counts                                                       Disposition
                                                                       Defendant sentenced to One Hundred and Twenty (120)
                                                                       months incarceration; to be served consecutive to any
  21:846; CONSPIRACY TO DISTRIBUTE                                     other sentence; followed by Five (5) years Supervised
  NARCOTICS; Conspiracy to Distribute and Possess with                 Release with conditions; special assessment of $100.00
  Intent to Distribute Controlled Substances.                          imposed due within first year of Supervised Release.
  (1)                                                                  Court Recommends defendant be incarcerated at Fort
                                                                       Dix, New Jersey or Cumberland, Maryland and drug
                                                                       treatment during incarceration.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                    Disposition
  18:1962(d); RACKETEERING; Conspiracy to
                                                                       Remaining counts dismissed upon motion of the
  Participate in Racketeer Influence Corrupt Organization.
                                                                       government.
  (2)
  22 DC Code 105, 501 and 3202; AGGRAVATED OR
                                                                       Remaining counts dismissed upon motion of the
  FELONIOUS ASSAULT; Assault with Intent to Kill.
                                                                       government.
  (24)
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
                                                                       Remaining counts dismissed upon motion of the
  DEGREE; First-Degree Murder While Armed.
                                                                       government.
  (25)
  18:1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of                           Remaining counts dismissed upon motion of the
  Racketeering Activity.                                               government.
  (26)
  22 DC Code 105, 2401 and 3202; MURDER, FIRST
                                                                       Remaining counts dismissed upon motion of the
  DEGREE; First-Degree Murder While Armed.
                                                                       government.
  (35)
  18:2 and 1959(a)(1); RACKETEERING ACTIVITY,
  MURDER/KIDNAPPING; Violent Crime in Aid of                           Remaining counts dismissed upon motion of the
  Racketeering Activity.                                               government.
  (36)
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  18:2 andUSCA     Case #21-3072
          924(c); VIOLENT            Document #2077668
                          CRIME/DRUGS/MACHINE                           Filed: 10/01/2024            Page 45 of 150
                                                                           Remaining counts dismissed upon motion of the
  GUN; Use of a Firearm.
                                                                           government.
  (51-66)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of                                Remaining counts dismissed upon motion of the
  Firearm During Crime of Violence or Dangerous Offense.                   government.
  (67-80)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                               Disposition
  None

  Assigned to: Chief Judge Royce C. Lamberth

  Defendant (12)
  RAYMOND WASHINGTON                                           represented by James Christopher Savage
  TERMINATED: 10/12/2001                                                      MONTGOMERY COUNTY ATTORNEY'S OFFICE
                                                                              Division of Public Interest Litigation
                                                                              101 Monroe Street, 3rd Street
                                                                              Rockville, MD 20850
                                                                              (240) 777-6779
                                                                              Fax: (240) 777-6771
                                                                              TERMINATED: 04/05/2000
                                                                              LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED
                                                                              Designation: CJA Appointment

                                                                           John James Carney
                                                                           5916 E 4th Street
                                                                           Tucson, AZ 85711
                                                                           (571) 218-7418
                                                                           Email: vetajohn@msn.com
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: CJA Appointment

                                                                           Teresa Alva
                                                                           FEDERAL PUBLIC DEFENDER FOR D.C.
                                                                           625 Indiana Avenue, NW
                                                                           Suite 550
                                                                           Washington, DC 20004
                                                                           (202) 208-7500
                                                                           TERMINATED: 04/05/2000
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED
                                                                           Designation: Public Defender or Community Defender
                                                                           Appointment

  Pending Counts                                                           Disposition
                                                                           Defendant sentenced to One Hundred and Eight (108)
  18:1962(d); RACKETEERING; Conspiracy to                                  months incarceration with credit for time served;
  Participate in Racketeer Influence Corrupt Organization.                 followed by Five (5) years Supervised Release with
  (2)                                                                      conditions; special assessment of $100.00 imposed due
                                                                           within the first year of Supervised Rel ease.

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                        Disposition
  21:846; CONSPIRACY TO DISTRIBUTE                                         Dismissed upon on oral motion of the government.
  NARCOTICS; Conspiracy to Distribute and Possess with
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  Intent to USCA
            DistributeCase   #21-3072
                       Controlled Substances.   Document #2077668         Filed: 10/01/2024             Page 46 of 150
  (1)
  22 DC Code 105, 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                             Dismissed upon on oral motion of the government.
  While Armed.
  (40)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                             Dismissed upon on oral motion of the government.
  Aid of Racketeering Activity.
  (41)
  22 DC Code 105, 501 and 3202; AGGRAVATED OR
  FELONIOUS ASSAULT; Assault with Intent to Kill
                                                                             Dismissed upon on oral motion of the government.
  While Armed.
  (42)
  18:2 and 1959(a)(3) and (5); RACKETEERING
  ACTIVITY, MURDER/KIDNAPPING; Violent Crime in
                                                                             Dismissed upon on oral motion of the government.
  Aid of Racketeering Activity.
  (43)
  18:2 and 924(c); VIOLENT CRIME/DRUGS/MACHINE
  GUN; Use of a Firearm.                                                     Dismissed upon on oral motion of the government.
  (51-66)
  22 DC Code 105 and 3204(b); FIREARMS AND
  WEAPONS - CONCEALED WEAPON; Possession of
                                                                             Dismissed upon on oral motion of the government.
  Firearm During Crime of Violence or Dangerous Offense.
  (67-80)

  Highest Offense Level (Terminated)
  Felony

  Complaints                                                                 Disposition
  None

  Assigned to: Judge Thomas Penfield Jackson

  Defendant (13)
  CLIFTON EDWARDS                                              represented by Nathan I. Silver , II
  TERMINATED: 12/12/2001                                                      (See above for address)
  also known as                                                               LEAD ATTORNEY
  MEECHEE                                                                     ATTORNEY TO BE NOTICED
                                                                              Designation: CJA Appointment

  Pending Counts                                                             Disposition
  33 DC Code 541(a)(1) and 549 (1981 ed.); NARCOTICS
                                                                             Defendant sentenced to not less than One (1) year or
  - POSSESSION; Possess with Intent to Distribute a
                                                                             more that Three (3) years incarceration to run
  quantity of Cocaine.
                                                                             concurrently with any sentence he is currently serving.
  (2s)

  Highest Offense Level (Opening)
  Felony

  Terminated Counts                                                          Disposition
  21:846; CONSPIRACY TO DISTRIBUTE
  NARCOTICS; Conspiracy to Distribute and Possess with
                                                                             Dismissed upon oral motion of the government.
  Intent to Distribute Controlled Substances.
  (1)
  21:841(a)(1) and 841(b)(1)(A)(iii); NARCOTICS -
  POSSESSION; Possession with Intent to Distribute and
  to Distribute mixtures and subtances containing a                          Dismissed upon oral motion of the government.
  detectable amount of Cocaine Base.
  (1s)

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  Highest Offense Level (Terminated)
  Felony

  Complaints                                                         Disposition
  None



  Plaintiff
  UNITED STATES OF AMERICA                            represented by Angela S. George
                                                                     U.S. DEPARTMENT OF JUSTICE
                                                                     Office of International Affairs
                                                                     1301 New York Avenue, NW
                                                                     Suite 835
                                                                     Washington, DC 20017
                                                                     (202) 514-4653
                                                                     Email: angela.george@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Assistant U.S. Attorney

                                                                     Anjali Chaturvedi
                                                                     BP
                                                                     1101 New York Avenue, NW
                                                                     Suite 700
                                                                     Washington, DC 20005
                                                                     (202) 346-8527
                                                                     Email: achaturvedi@nixonpeabody.com
                                                                     TERMINATED: 07/02/2010
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Assistant U.S. Attorney

                                                                     Barry Wiegand
                                                                     U.S. ATTORNEY'S OFFICE
                                                                     Special Proceedings Section
                                                                     555 Fourth Street, NW
                                                                     Washington, DC 20530
                                                                     (202) 252-7723
                                                                     Fax: (202) 514-8784
                                                                     Email: william.b.wiegand@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Assistant U.S. Attorney

                                                                     Carolyn Kolben
                                                                     AMPLITUDE LEGAL PLLC
                                                                     Special Proceedings
                                                                     2200 Pennsylvania Avenue, N.W.
                                                                     Fourth Floor
                                                                     East Wing
                                                                     Washignton, DC 20037
                                                                     202-819-0172
                                                                     Email: ckolben@amplitudelegal.com
                                                                     TERMINATED: 11/10/2010
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Assistant U.S. Attorney

                                                                     Ethan L. Carroll
                                                                     DOJ-USAO
                                                                     555 4th Street NW
                                                                     Washington, DC 20530
                                                                     202-252-7789
                                                                     Email: ethan.carroll@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
(Page 47 of Total)
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        USCA Case #21-3072   Document #2077668   Filed: 10/01/2024
                                                   Designation: Assistant U.S.Page
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(Page 48 of Total)                                 Peter Robert Zeidenberg

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  Date Filed   #      Docket Text
  09/18/1998       1 INDICTMENT filed against VINCNET HILL (1) count(s) 1, 2, 3, JEROME MARTIN (2) count(s) 1, 2, 7, 8, 9, 10, 11,
                     12, 13, 14, 15, SAMUEL CARSON (3) count(s) 1, 2, 5, 6, 7, WILLIAM KYLE SWEENEY (4) count(s) 1, 2, MAURICE
                     PROCTOR (5) count(s) 1, 2, SEAN COATES (6) count(s) 1, 2, REGINALD DARNELL SWITZER (7) count(s) 1, 2, 4,
                     WILLIAM HILL (8) count(s) 1, 2, PAUL FRANKLIN (9) count(s) 1, 2, DONALD NICHOLS (10) count(s) 1, 2. (erd)
                     (zjpb). (Entered: 10/20/1998)
  09/18/1998       1 CONTINUATION OF INDICTMENT entry against VINCNET HILL (1) count(s) 19, JEROME MARTIN (2) count(s)
                     16, 17, WILLIAM KYLE SWEENEY (4) count(s) 19, MAURICE PROCTOR (5) count(s) 18, 19, SEAN COATES (6)
                     count(s) 19s. (erd) (Entered: 10/20/1998)
  09/18/1998       1 CONTINUATION OF INDICTMENT entry against VINCNET HILL (1) count(s) 21, 23, 24, 25, 40, 42-43, 54-55,
                     JEROME MARTIN (2) count(s) 28, 29, 45, 57, SAMUEL CARSON (3) count(s) 20, 21, 31, 32, 33, 34, 35, 36, 41, 47,
                     48, 49, 53, 58-59, 60, WILLIAM KYLE SWEENEY (4) count(s) 26, 27, 37, 38, 39, 40, 44, 50-52, 56, MAURICE
                     PROCTOR (5) count(s) 40, SEAN COATES (6) count(s) 35, 36, 40, 49, 60, WILLIAM HILL (8) count(s) 30, 46. (erd)
                     (Entered: 10/21/1998)
  09/18/1998       1 CONTINUATION OF INDICTMENT entry against VINCNET HILL (1) count(s) 61, 63-64, 65, 66-68, 71, 73, 74-75,
                     78, 79, 80, 81, 83, JEROME MARTIN (2) count(s) 65, 70, 72, 85, REGINALD DARNELL SWITZER (7) count(s) 84,
                     WILLIAM HILL (8) count(s) 72, 73, 82, PAUL FRANKLIN (9) count(s) 69, 76-77, 79, 81, DONALD NICHOLS (10)
                     count(s) 62, 86-87. (erd) (Entered: 10/21/1998)
  09/18/1998          CASE ASSIGNED to Judge Thomas P. Jackson as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON,
                      WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                      WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS. (erd) (Entered: 10/21/1998)
  09/18/1998          BENCH WARRANT ISSUED by Magistrate Judge John M. Facciola for DONALD NICHOLS . (hsj) (Entered:
                      11/24/1998)
  09/18/1998          BENCH WARRANT ISSUED by Magistrate Judge John M. Facciola for PAUL FRANKLIN . (hsj) (Entered:
                      11/24/1998)
  09/22/1998       9 ORDER by Magistrate Judge John M. Facciola as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                     WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS : to unseal case (N) (erd) (Entered: 11/24/1998)
  09/22/1998          ARRAIGNMENT held before Magistrate Judge John M. Facciola as to, JEROME MARTIN (2) count(s) 1, 2, 7, 8, 9, 10,
                      11, 12, 13, 14, 15, 16, 17, 28, 29, 45, 57, 65, 70, 72, 85, SAMUEL CARSON (3) count(s) 1, 2, 5, 6, 7, 20, 21, 31, 32, 33,
                      34, 35, 36, 41, 47, 48, 49, 53, 58-59, 60, MAURICE PROCTOR (5) count(s) 1, 2, 18, 19, 40, REGINALD DARNELL
                      SWITZER (7) count(s) 1, 2, 4, 84, PAUL FRANKLIN (9) count(s) 1, 2, 69, 76-77, 79, 81, DONALD NICHOLS (10)
                      count(s) 1, 2, 62, 86-87: Bench warrants was executed. Attorney appearance for JEROME MARTIN JR., SAMUEL
                      CARSON, MAURICE PROCTOR, REGINALD DARNELL SWITZER, PAUL FRANKLIN, DONALD NICHOLS by
                      Joanne Roney Hepworth, Leonard Lamax Long, John Anthony Briley Jr., Patrick Donahue, Reginald F. Martin III, H.
                      Heather Shaner, respectively. Plea not guilty entered by JEROME MARTIN (2) count(s) 1, 2, 7, 8, 9, 10, 11, 12, 13, 14,
                      15, 16, 17, 28, 29, 45, 57, 65, 70, 72, 85, SAMUEL CARSON (3) count(s) 1, 5, 6, 7, 20, 21, 31, 32, 33, 34, 35, 36, 41,
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                     48, 49, 58-59, 60,Document  #2077668
                                       MAURICE PROCTOR                 Filed:
                                                       (5) count(s) 1, 2, 18, 19,10/01/2024     Page 50
                                                                                 40, REGINALD DARNELL    of 150
                                                                                                      SWITZER (7)
                     count(s) 1, 2, 4, 84, PAUL FRANKLIN (9) count(s) 1, 2, 69, 76-77, 79, 81, DONALD NICHOLS (10) count(s) 1, 2, 62,
                     86-87. Status hearing set for 9:30 10/2/98 for JEROME MARTIN JR., SAMUEL CARSON, MAURICE PROCTOR,
                     REGINALD DARNELL SWITZER, PAUL FRANKLIN, and DONALD NICHOLS. Oral motion by government for
                     detention hearing on all defendant's, heard and granted; Detention hearing set for 9:30 9/28/98 for JEROME MARTIN
                     JR., SAMUEL CARSON, MAURICE PROCTOR, REGINALD DARNELL SWITZER, PAUL FRANKLIN, and
                     DONALD NICHOLS. Defendants committed/commitment issued. Reporter: Pro-Typists, Inc. Tape: FS 110-98, Lines:
                     843-1327 (hsj) (Entered: 11/24/1998)
  09/22/1998    10 ORDER by Magistrate Judge John M. Facciola as to JEROME MARTIN JR. : of temporary detention pending hearing
                   pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    11 ORDER by Magistrate Judge John M. Facciola as to SAMUEL CARSON : of temporary detention pending hearing
                   pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    12 ORDER by Magistrate Judge John M. Facciola as to MAURICE PROCTOR : of temporary detention pending hearing
                   pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    13 ORDER by Magistrate Judge John M. Facciola as to REGINALD DARNELL SWITZER : of temporary detention
                   pending hearing pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    14 ORDER by Magistrate Judge John M. Facciola as to PAUL FRANKLIN : of temporary detention pending hearing
                   pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    15 ORDER by Magistrate Judge John M. Facciola as to DONALD NICHOLS : of temporary detention pending hearing
                   pursuant to Bail Reform Act (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    16 ORDER by Magistrate Judge John M. Facciola as to REGINALD DARNELL SWITZER : of temporary detention to
                   permit revocation of conditional release, deportation or exclusion (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    17 ORDER by Magistrate Judge John M. Facciola as to DONALD NICHOLS : of temporary detention to permit revocation
                   of conditional release, deportation or exclusion (N) (hsj) (Entered: 11/24/1998)
  09/22/1998    18 ATTORNEY APPEARANCE for JEROME MARTIN JR. by Joanne R. Hepworth. (hsj) (Entered: 11/24/1998)
  09/22/1998    19 ATTORNEY APPEARANCE for MAURICE PROCTOR by John A. Briley. (hsj) (Entered: 11/24/1998)
  09/22/1998    20 ATTORNEY APPEARANCE for REGINALD DARNELL SWITZER by Patrick Donahue. (hsj) (Entered: 11/24/1998)
  09/22/1998    21 ATTORNEY APPEARANCE for PAUL FRANKLIN by Ralph Drury Martin (hsj) (Entered: 11/24/1998)
  09/22/1998    22 ATTORNEY APPEARANCE for DONALD NICHOLS by H. Heather Shaner. (hsj) (Entered: 11/24/1998)
  09/22/1998    23 WARRANT returned executed as to DONALD NICHOLS on 9/22/98 . Return on bench warrant issued 9/18/98. (hsj)
                   (Entered: 11/24/1998)
  09/22/1998         DEFENDANT DONALD NICHOLS arrested. (hsj) (Entered: 11/24/1998)
  09/22/1998    24 WARRANT returned executed as to PAUL FRANKLIN on 9/22/98 . Return on bench warrant issued 9/18/98. (hsj)
                   (Entered: 11/24/1998)
  09/22/1998         DEFENDANT PAUL FRANKLIN arrested. (hsj) (Entered: 11/24/1998)
  09/25/1998    25 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, CCA North East Ohio, for production of
                   Vincent Kevin Hill, for hearing on 10/2/98, as to VINCNET HILL. Ordered by Judge Thomas P. Jackson . (hsj) (Entered:
                   11/24/1998)
  09/25/1998    26 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, Prince Georges County Detention Facility,
                   Upper Marlboro, Maryland, for production of William Kyle Sweeney, for hearing on 10/2/98, as to WILLIAM KYLE
                   SWEENEY. Ordered by Judge Thomas P. Jackson. (hsj) (Entered: 11/24/1998)
  09/25/1998    27 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, Prince Georges County Detention Facility,
                   Upper Marlboro, Maryland, for production of Sean Antwan Coates, for hearing on 10/2/98, as to SEAN COATES.
                   Ordered by Judge Thomas P. Jackson. (hsj) (Entered: 11/24/1998)
  09/25/1998    28 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, Fort Dix Federal Correctional Institute, Fort
                   Dix, New Jersey, for production of William Aaron Hill, for hearing on 10/2/98, as to WILLIAM HILL. Ordered by Judge
                   Thomas P. Jackson. (hsj) (Entered: 11/24/1998)
  09/28/1998         SCHEDULING NOTICE as to JEROME MARTIN JR., MAURICE PROCTOR, REGINALD DARNELL SWITZER,
                     DONALD NICHOLS : Detention hearing set for 9:30 9/28/98 for JEROME MARTIN JR., for MAURICE PROCTOR,
                     for REGINALD DARNELL SWITZER, for DONALD NICHOLS . before Magistrate Judge John M. Facciola . (hsj)
                     (Entered: 11/24/1998)
  09/28/1998         DETENTION HEARING before Magistrate Judge John M. Facciola as to SAMUEL CARSON: New counsel appointed;
                     motion by defendant for continuance to 9/30/98, heard and granted. Detention hearing continued for 1:45 9/30/98 for
                     SAMUEL CARSON. Defendant committed/commitment issued. Court Reporter: Pro-Typist, Inc. Tape: FS113-98, Lines
                     5747-5883 (hsj) (Entered: 11/24/1998)
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              30 ORDER by Magistrate Judge John M. Facciola as to MAURICE PROCTOR: committing defendant to the custody of the
                     U.S. Attorney General. (N) (hsj) (Entered: 11/24/1998)
  09/28/1998     31 ORDER by Magistrate Judge John M. Facciola as to REGINALD DARNELL SWITZER : committing defendant to the
                    custody of the U.S. Attorney General. (N) (hsj) (Entered: 11/24/1998)
  09/28/1998     32 ORDER by Magistrate Judge John M. Facciola as to DONALD NICHOLS : committing defendant to the custody of the
                    U.S. Attorney General. (N) (hsj) (Entered: 11/24/1998)
  09/29/1998     29 ORDER by Magistrate Judge John M. Facciola as to JEROME MARTIN JR. : committing defendant to the custody of
                    the U.S. Attorney General. (N) (hsj) (Entered: 11/24/1998)
  09/30/1998         DETENTION HEARING before Magistrate Judge John M. Facciola as to SAMUEL CARSON: Defendant waived
                     hearing; defendant held in pretrial detention; defendant reserves right to detention hearing at a later date. Defendant
                     committed/commitment issued. Court Reporter: Pro-Typists, Inc. Tape: 115-98, Lines 695- (hsj) (Entered: 11/24/1998)
  09/30/1998     33 ORDER by Magistrate Judge John M. Facciola as to SAMUEL CARSON : committing defendant to the custody of the
                    U.S. Attorney General. (N) (hsj) (Entered: 11/24/1998)
  09/30/1998         BENCH WARRANT ISSUED by Magistrate Judge John M. Facciola for SEAN COATES. (erd) (Entered: 12/11/1998)
  10/01/1998     34 DETENTION MEMORANDUM by Magistrate Judge John M. Facciola as to JEROME MARTIN JR., SAMUEL
                    CARSON, MAURICE PROCTOR, REGINALD DARNELL SWITZER, DONALD NICHOLS . (N) (hsj) (Entered:
                    11/24/1998)
  10/02/1998         ARRAIGNMENT held before Judge Thomas P. Jackson as to, VINCNET HILL (1) count(s) 1, 2, 3, 19, 21, 23, 24, 25,
                     40, 42-43, 54-55, 61, 63-64, 66-68, 71, 74-75, 78, 80, 65, 73, 79, 81, 83, WILLIAM KYLE SWEENEY (4) count(s) 1, 2,
                     19, 26, 27, 37, 38, 39, 40, 44, 50-52, 56, SEAN COATES (6) count(s) 1, 2, 19, 35, 36, 40, 49, 60 : Attorney appearance
                     for VINCNET HILL, WILLIAM KYLE SWEENEY, SEAN COATES by Christopher Michael Davis, Jeffrey Brian
                     O'Toole, Frederick D. Jones III, respectively. Plea not guilty entered by VINCNET HILL (1) count(s) 1, 2, 3, 19, 21, 23,
                     24, 25, 40, 42-43, 54-55, 61, 63-64, 66-68, 71, 74-75, 78, 80, 65, 73, 79, 81, 83, WILLIAM KYLE SWEENEY (4)
                     count(s) 1, 2, 19, 26, 27, 37, 38, 39, 40, 44, 50-52, 56, SEAN COATES (6) count(s) 1, 2, 19, 35, 36, 40, 49, 60.
                     Defendants Vincent Hill, William Kyle Sweeney, and Sean Coates referred to Magistrate Judge for detention hearing.
                     Status hearing set for 10:00 1/12/99 for VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, and DONALD
                     NICHOLS. Trial set for 10:00 1/12/99 and 10:00 5/4/99 for VINCNET HILL, JEROME MARTIN JR., SAMUEL
                     CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL
                     SWITZER, and DONALD NICHOLS. Government to file complex case motion promptly; oral motion of John Briley to
                     withdraw as counsel for defendant Maurice Proctor, heard and granted. Referred to Federal Public Defenders Service for
                     appointment of counsel. Defendants Samuel Carson and William Kyle Sweeney referred to Federal Public Defenders
                     Service for appointment of additional capital punishment attorneys; Federal Public Defenders Service called. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana (hsj) (Entered: 11/24/1998)
  10/05/1998     35 MOTION filed by USA as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    DONALD NICHOLS exclusion time under the Speedy Trial Act. (hsj) (Entered: 11/24/1998)
  10/05/1998     36 ORDER by Judge Thomas P. Jackson as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    DONALD NICHOLS : granting motion exclusion time from 10/2/98 until 1/12/99 under the Speedy Trial Act. [35-1] as
                    to VINCNET HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4),
                    MAURICE PROCTOR (5), SEAN COATES (6), REGINALD DARNELL SWITZER (7), WILLIAM HILL (8), PAUL
                    FRANKLIN (9), DONALD NICHOLS (10) (N) (xx) (Entered: 11/24/1998)
  10/05/1998         BENCH WARRANT ISSUED by Magistrate Judge John M. Facciola for WILLIAM KYLE SWEENEY. (erd) (Entered:
                     12/11/1998)
  10/05/1998     48 WARRANT returned executed as to WILLIAM KYLE SWEENEY on 10/5/98. Return on bench warrant issued 9/30/98.
                    (erd) (Entered: 12/11/1998)
  10/05/1998     49 WARRANT returned executed as to SEAN COATES on 10/5/98. Return on bench warrant issued 9/30/98. (erd)
                    (Entered: 12/11/1998)
  10/05/1998         DEFENDANT SEAN COATES arrested. (erd) (Entered: 12/11/1998)
  10/06/1998         ARRAIGNMENT held before Judge Thomas P. Jackson as to WILLIAM HILL (8) count(s) 1, 2, 30, 46, 72, 73, 82:
                     Attorney appearance for WILLIAM HILL by Pleasant S. Brodnax III. Plea not guilty entered by WILLIAM HILL (8)
                     count(s) 1, 2, 30, 46, 72, 73, 82. Status hearing set for 10:00 1/12/99; trial set for 10:00 5/4/99 for WILLIAM HILL.
                     Defendant waives his detention hearing. Defendant committed/commitment issued. Reporter: Phyllis Merana (hsj)
                     (Entered: 11/24/1998)
  10/06/1998     39 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Gerald Fisher as CJA counsel. Voucher No.:
                    D17613 Signed: 10/6/98 NPT 928/98 (hsj) (Entered: 11/25/1998)
  10/06/1998     40 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph Beshouri as CJA counsel. Voucher
                    No.: D17612 Signed 10/6/98 NPT 9/28/98 (hsj) (Entered: 11/25/1998)
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              54 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR appointing Frederick James Sullivan as CJA counsel.
                     Voucher No.: 1012700 Signed: 10/6/98 NPT 10/5/98 (hsj) (Entered: 01/04/1999)
  10/15/1998         DEFENDANT WILLIAM KYLE SWEENEY arrested. (erd) (Entered: 12/11/1998)
  10/19/1998     38 MOTION filed by WILLIAM KYLE SWEENEY for Paul DeWolfe to appear pro hac vice (hsj) (Entered: 11/24/1998)
  10/19/1998     50 CERTIFICATE of SERVICE by WILLIAM KYLE SWEENEY . (hsj) (Entered: 12/15/1998)
  10/21/1998      2 MOTION filed by SEAN COATES for order directing the Department of Corrections to allow defendant access to the
                    library at the jail facility (mlp) (zss). (Entered: 10/28/1998)
  10/29/1998      3 ORDER by Judge Thomas P. Jackson as to DONALD NICHOLS for expert services of Arnold Giesemann Voucher #:
                    0578441, Signed: 10/19/98, Rate: 20 HRS., @ $50.00 HR., $1,000.00. (erd) (Entered: 10/29/1998)
  10/29/1998      4 ORDER by Judge Thomas P. Jackson as to SEAN COATES for expert services of Charles Johnson Voucher #: 0617809,
                    Signed: 10/28/98, Rate: $35.00 HR.,$3,000.00. (erd) (Entered: 10/29/1998)
  11/03/1998     37 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel.
                    Voucher No.: 17647 Signed: 11/3/98 NPT 11/2/98 (hsj) (Entered: 11/24/1998)
  11/03/1998     41 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY Steven Kiersh as CJA counsel. Voucher No.:
                    18343 Signed: 11/3/98 NPT 11/2/98 (hsj) Modified on 11/25/1998 (Entered: 11/25/1998)
  11/04/1998      5 MOTION filed by WILLIAM KYLE SWEENEY to withdraw as attorney for WILLIAM KYLE SWEENEY (jf) (zss).
                    (Entered: 11/09/1998)
  11/04/1998     42 ORDER by Judge Thomas P. Jackson as to SEAN COATES : denying motion for order directing the Department of
                    Corrections to allow defendant access to the library at the jail facility [2-1] as to SEAN COATES (6) (N) (hsj) Modified
                    on 11/30/1998 (Entered: 11/27/1998)
  11/06/1998     43 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : granting motion to withdraw as attorney for
                    WILLIAM KYLE SWEENEY [5-1] attorney Jeffrey Brian O'Toole for WILLIAM KYLE SWEENEY as to WILLIAM
                    KYLE SWEENEY (4) (N) (hsj) Modified on 10/12/2000 (Entered: 11/27/1998)
  11/10/1998      6 REASSIGNMENT OF CRIMINAL CASE by WILLIAM KYLE SWEENEY. Judge Jackson recused from consideration
                    of Motion for appointment of counsel and motion to recuse; motions randomly reassigned to Judge Roberts for
                    determination. The remainer of the case will stay with Judge Jackson. (erd) (Entered: 11/13/1998)
  11/10/1998      7 ATTORNEY APPEARANCE for WILLIAM KYLE SWEENEY by Steven R. Kiersh (mlp) (Entered: 11/18/1998)
  11/10/1998     47 DEFENDANT(S) WILLIAM KYLE SWEENEY to Judge Roberts (Judge Jackson recused from consideration of motion
                    for appointment of counsel and motion to recuse; motions randomly reassigned to Judge Robers for determination). The
                    remainder of the case will stay with Judge Jackson. Reassigned by direction of the Calendar Committee. (erd) (Entered:
                    12/03/1998)
  11/14/1998     45 ORDER by Judge Richard W. Roberts as to WILLIAM KYLE SWEENEY : granting motion for Paul DeWolfe to appear
                    pro hac vice [44-1] as to WILLIAM KYLE SWEENEY (4) (N) (hsj) (Entered: 11/30/1998)
  11/18/1998      8 MOTION, ex parte, filed by WILLIAM KYLE SWEENEY for appointment of expert services (investigator) (mlp)
                    (Entered: 11/19/1998)
  11/18/1998     44 MOTION filed by WILLIAM KYLE SWEENEY for Paul DeWolfe to appear pro hac vice (hsj) Modified on 11/30/1998
                    (Entered: 11/25/1998)
  11/18/1998     46 LETTER filed by Steven R Kiersh and Paul DeWolfe dated 11/17/98 as to WILLIAM KYLE SWEENEY. Regarding
                    discovery and disclosure of items. (hsj) (znne). (Entered: 11/30/1998)
  12/14/1998     52 MOTION filed by MAURICE PROCTOR Requesting Court Ordered Return of Defendant to the District of Columbia.
                    (gdf) (Entered: 12/22/1998)
  12/15/1998     53 MOTION filed by WILLIAM KYLE SWEENEY to continue trial date. (hsj) (Entered: 12/28/1998)
  12/16/1998     51 ORDER by Judge Thomas P. Jackson as to VINCNET HILL appointing Christopher Davis as CJA counsel. Voucher No.:
                    0478341 Signed: 12/11/98 NPT 9/22/98 (hsj) (Entered: 12/22/1998)
  01/04/1999     55 MOTION filed by WILLIAM KYLE SWEENEY for leave to submit interim vouchers pursuant to the Criminal Justice
                    Act. (hsj) (Entered: 01/05/1999)
  01/04/1999    251 ORDER by Judge Thomas P. Jackson as to ERIK JONES: Granting motion to withdraw as counsel for defendant for Erik
                    Jones. The appearance of William C. Brennan, Jr. and Robert L. Lombardo of Knight, Manzi, Nussbaum & LaPlaca, P.A.
                    is stricken from the case; and that the appearance of Richard Gilbert remain in the case. (N) (hsj) (zss). (Entered:
                    01/19/2000)
  01/05/1999     56 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : granting motion for leave to submit interim
                    vouchers pursuant to the Criminal Justice Act. [55-1] as to WILLIAM KYLE SWEENEY (4) (N) (hsj) (Entered:
                    01/12/1999)
  01/12/1999     57 LETTER filed by JEROME MARTIN JR.dated 1/4/99. Regarding outstanding discovery. (hsj) (Entered: 01/15/1999)
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              60 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON, WILLIAM KYLE SWEENEY: that the trial date
                     previously scheduled for 5/4/99 is vacated, and shall be rescheduled at a later date. Defendants shall be arraigned on
                     superseding indictment if any, and further proceedings scheduled for 3/26/99 at 9:30. (See Order For Details). (N) (hsj)
                     (Entered: 01/20/1999)
  01/12/1999         STATUS HEARING before Judge Thomas P. Jackson as to VINCNET HILL, JEROME MARTIN JR., SAMUEL
                     CARSON, WILLIAM SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                     WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS: Status Hearing held: Government to file superseding
                     indictment. Arraignment/ Status hearing set for 9:30 3/19/99 for VINCNET HILL, JEROME MARTIN JR., SAMUEL
                     CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL
                     SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS. Motion of defendant #4, William Kyle
                     Sweeney to vacate trial, heard and granted. Trial date set for 5/4/99 is vacated and to be reset. Defendants to fie
                     submissions to the government in 90 Days re: death penalty. Appearance of Frederick Sullivan as counsel for defendant
                     #5 Maurice Proctor. Defendants committed/commitment issued. Defendant #5, Maurice Proctor not present. Reporter:
                     Phyllis Merana (hsj) (Entered: 01/21/1999)
  01/12/1999    61 ATTORNEY APPEARANCE for MAURICE PROCTOR by Frederick Sullivan. (hsj) (Entered: 01/21/1999)
  01/12/1999    62 RESPONSE by JEROME MARTIN JR. in opposition to motion to move trial date [53-1] and for severance by defendant
                   . (jf) (Entered: 01/26/1999)
  01/14/1999    58 MOTION filed by USA as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL for
                   exclusion of time under the Speedy Trial Act. (hsj) (Entered: 01/20/1999)
  01/14/1999    59 ORDER by Judge Thomas P. Jackson as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                   KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL:
                   that in accordance with 18: U.S.C. 3161(h)(8)(A), and (h)(8)(B)(ii), the period of time from 1/12/99 until 3/26/99 shall be
                   excluded from the computation of time within which to commence trial. (N) (hsj) (Entered: 01/20/1999)
  01/22/1999    63 MOTION filed by SEAN COATES for monthly interim payments for attorneys and private investigations appointed
                   pursuant to 18 U.S.C. 3006(A). (hsj) (Entered: 01/27/1999)
  01/25/1999    64 ORDER by Judge Thomas P. Jackson as to SEAN COATES: granting motion for monthly interim payments for attorneys
                   and private investigations appointed pursuant to 18 U.S.C. 3006(A). [63-1] as to SEAN COATES (6) (N) (hsj) (Entered:
                   01/28/1999)
  01/25/1999    76 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON : for expert services of Joseph Aronstamn, Voucher #
                   D21433, signed 1/12/99, Rate: 83 1/2 HRS., @ 60 HRS. (N) (erd) (Entered: 03/05/1999)
  01/26/1999    65 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR : denying as moot motion Requesting Court Ordered
                   Return of Defendant to the District of Columbia. [52-1] as to MAURICE PROCTOR (5) (N) (hsj) (Entered: 01/28/1999)
  01/28/1999    66 MOTION (ex parte) filed by VINCENT HILL for interim investigator payments (mlp) (Entered: 02/02/1999)
  02/02/1999    69 ORDER by Judge Thomas P. Jackson as to VINCNET HILL: beacuse of the difficulty and complexity of properly
                   investigating the above captioned matter, Dale Vaughn, and investigator approved in CJA voucher #0143352 may use the
                   following procedures to obtain interim payments during the course of his investigation of this case. (See Order for
                   Details) (N) (hsj) (Entered: 02/10/1999)
  02/02/1999    70 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON : Because of the expected length and complexity of the
                   proceedings in the above captioned matter, a federal capital case, Joseph Aronstamn, and investigator appointed under the
                   provisions of the Criminal Justice Act may use the following procedures to obtain interim payments during the course of
                   his employment. (See Order for Details) (N) (hsj) (Entered: 02/10/1999)
  02/04/1999    67 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/25/98,
                   3/26/93 Virginia Court. Signed: 1/21/99. Reporter: Vickie Pecord. (erd) (Entered: 02/04/1999)
  02/05/1999    68 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON voucher # D35468, Joseph Beshouri appointed as
                   counsel, amount $1537.50, signed 2/1/99 by Judge Jackson. (erd) (Entered: 02/08/1999)
  02/09/1999    71 MOTION filed by WILLIAM KYLE SWEENEY to compel discovery ; exhibits A-D (bjsp) (znne). (Entered:
                   02/10/1999)
  02/09/1999    73 ORDER by Judge Thomas P. Jackson as to VINCNET HILL: because of the expected length and complexity of the
                   proceedings in the above captioned matter, CJA appointed counsel and investigators may use the following procedures to
                   obtain interim payments during the course of their representation. (See Order for Details) (N) (hsj) (Entered: 02/22/1999)
  02/11/1999    72 ORDER by Judge Thomas P. Jackson as to VINCNET HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                   0143352, Signed: 2/11/99, Rate: $45.00 HRS., up to $1,000.00. (erd) (Entered: 02/12/1999)
  02/17/1999    75 ORDER by Judge Thomas P. Jackson as to VINCNET HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                   KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                   PAUL FRANKLIN, DONALD NICHOLS: order regarding interim payment. (N) (hsj) (Entered: 02/25/1999)


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              74 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel. Voucher No.:
                     0476662 Signed: 2/16/99 NPT 9/22/98 (hsj) (Entered: 02/24/1999)
  03/09/1999     77 NOTICE to the Court of Change in the Conditions of the Defendants' Confinement by USA as to VINCNET HILL,
                    JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR. (hsj) (Entered:
                    03/11/1999)
  03/09/1999    109 MOTION filed by VINCNET HILL to request hearing on change in the conditions of defendant Vincent Hill's
                    confinement (bjsp) (zss). (Entered: 03/19/1999)
  03/15/1999    107 RESPONSE by WILLIAM KYLE SWEENEY to change in location of pretrial confinement and request for emergency
                    hearing. (hsj) (zss). (Entered: 03/18/1999)
  03/16/1999     78 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/22/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Burns-Marshall. (erd) Modified on 03/16/1999 (Entered:
                    03/16/1999)
  03/16/1999     79 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 6/29/95
                    Superior Court # F08414-94. Signed: 3/12/99. Reporter: Lyndon Rust. (erd) Modified on 03/16/1999 (Entered:
                    03/16/1999)
  03/16/1999     80 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 6/20/95,
                    6/22/95, 7/28/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered: 03/16/1999)
  03/16/1999     81 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/27/94,
                    3/22/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered: 03/16/1999)
  03/16/1999     82 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 6/13/95
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Thomas Ronan. (erd) (Entered: 03/16/1999)
  03/16/1999     83 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 2/29/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Janet Wacay. (erd) (Entered: 03/16/1999)
  03/16/1999     84 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/12/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Sandra Tremel attn: James Holland. (erd) (Entered:
                    03/16/1999)
  03/16/1999     85 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 4/16/98
                    Superior Court Case # F7319-97. Signed: 3/12/99. Reporter: Darlean Sworinger. (erd) (Entered: 03/16/1999)
  03/16/1999     86 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 4/1/98,
                    4/13/98, 5/7/98, 7/6/98 Superior Court Case # F7319-97. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered:
                    03/16/1999)
  03/16/1999     87 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/22/98,
                    1/27/98, 2/2/98, 2/17/98 Superior Case # F7319-97. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered: 03/16/1999)
  03/16/1999     88 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/12/98,
                    1/13/98, 1/14/98 Superior Court Case # F7319-97. Signed: 3/12/99. Reporter: Laretta Kaczorowski. (erd) (Entered:
                    03/16/1999)
  03/16/1999     89 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/22/91,
                    4/2/91 Superior Court Case # M2515-91. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered: 03/16/1999)
  03/16/1999     90 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 8/31/95
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Linda Marshall. (erd) (Entered: 03/16/1999)
  03/16/1999     91 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                    10/24/95, 10/27/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered:
                    03/16/1999)
  03/16/1999     92 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                    10/21/96, 10/22/96, 10/23/96 Superior Court Case # F084140-94. Signed: 3/12/99. Reporter: Crystal Pilgrim. (erd)
                    (Entered: 03/16/1999)
  03/16/1999     93 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                    10/16/96, 10/17/96, 10/18/96 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Marian Calhoun. (erd)
                    (Entered: 03/16/1999)
  03/16/1999     94 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/15/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Carol Robinson. (erd) (Entered: 03/16/1999)
  03/16/1999     95 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/11/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Mark Schertzer. (erd) (Entered: 03/16/1999)
  03/16/1999     96 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/9/96
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: K. P. Hart. (erd) (zss). (Entered: 03/16/1999)
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              97 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/9/96,
                     3/18/96 Superior Court Case # F08414-94, Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered: 03/16/1999)
  03/16/1999     98 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/1/96,
                    3/4/96, 3/6/96, 3/11/96 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered:
                    03/16/1999)
  03/16/1999     99 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/27/94
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Cathryn Jones. (erd) (Entered: 03/16/1999)
  03/16/1999    100 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 12/6/94
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Naney Griffin. (erd) (Entered: 03/16/1999)
  03/16/1999    101 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/31/94
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Rose Mallichelle attn: James Holland. (erd) (Entered:
                    03/16/1999)
  03/16/1999    102 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/14/94
                    Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: C.R. Johnson. (erd) Modified on 04/22/1999 (zss).
                    (Entered: 03/16/1999)
  03/16/1999    103 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/9/95,
                    1/12/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Dianne Prifo. (erd) (zss). (Entered: 03/16/1999)
  03/16/1999    104 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                    11/23/94, 12/30/94, 1/4/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Court Clerk. (erd) (Entered:
                    03/16/1999)
  03/16/1999    105 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/23/94,
                    4/11/95, 3/26/96 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: Maria Allison. (erd) (zss). (Entered:
                    03/16/1999)
  03/16/1999    106 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 8/18/95,
                    12/4/95 Superior Court Case # F08414-94. Signed: 3/12/99. Reporter: D. Finneran attn: James Holland. (erd) (zss).
                    (Entered: 03/16/1999)
  03/16/1999    111 SUPPLEMENT to OPPOSITION to Change in Location of Pretrial Confinement and Request for Emergency Hearing by
                    WILLIAM KYLE SWEENEY . (hsj) (zss). (Entered: 03/23/1999)
  03/17/1999    110 MOTION filed by JEROME MARTIN JR. for leave to join in codefendants motions to request a hearing on change in
                    the conditions of defendant Vincent Hill's confinement [109-1] (hsj) (zss). (Entered: 03/22/1999)
  03/18/1999    108 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Mona Andrews, Access
                    Investigation Services Voucher #: 0607617, Signed: 3/11/99, Rate: 25 HRS. X $40.00 PH., $1,000.00. (erd) (Entered:
                    03/19/1999)
  03/19/1999    112 MOTION filed by REGINALD DARNELL SWITZER for review , and for revocation of detention order [31-2], dated
                    09/28/98 ; exhibits (3) (tb) (zss). (Entered: 03/24/1999)
  03/22/1999    113 MOTION filed by VINCENT HILL for discovery and inspection concerning government's use of informants, operatives
                    and cooperating individuals. (hsj) (zss). (Entered: 03/25/1999)
  03/22/1999    114 MOTION filed by VINCENT HILL for disclosure of exculpatory evidence and notice to the government of exculpatory
                    evidence requested concerning government's use of informants, operatives and cooperating individuals. (hsj) (zss).
                    (Entered: 03/25/1999)
  03/22/1999    136 TRANSCRIPT filed as to JEROME MARTIN JR. for hearing on sentencing before Judge T.S. Ellis, III, in the USDC for
                    the Eastern District of Virginia on 03/26/93, Criminal No. 92-488-A. Reporter: Vicky A. Pecord, CVR (tb) Modified on
                    04/09/1999 (zss). (Entered: 04/05/1999)
  03/22/1999    137 TRANSCRIPT filed as to JEROME MARTIN JR. for hearing on sentencing before Judge T.S. Ellis, III, in the USDC for
                    the Eastern District of Virginia on 01/25/93, Criminal No. 92-488-A. Reporter: Vicky A. Pecord, CVR (tb) Modified on
                    04/09/1999 (zss). (Entered: 04/05/1999)
  03/24/1999    135 STATUS REPORT to the Court Concerning Meeting with the Death Penalty Committee for the United States Attorney's
                    Office by WILLIAM KYLE SWEENEY. (hsj) (Entered: 03/29/1999)
  03/25/1999    132 RESPONSE by USA in opposition to motion to request hearing on change in the conditions of defendant Vincent Hill's
                    confinement [109-1] by VINCENT HILL . (tb) (Entered: 03/29/1999)
  03/25/1999    133 REPLY by USA as to WILLIAM KYLE SWEENEY to response regarding change in location of confinement 107 by
                    WILLIAM KYLE SWEENEY (tb) (Entered: 03/29/1999)
  03/25/1999    134 MOTION filed by SAMUEL CARSON to modify custody conditions , and for leave to join in motions regarding
                    conditions of confinement fileb by defendants HILL, SWEENEY and MARTIN [109-1] (tb) (Entered: 03/29/1999)
  03/25/1999    142 SUPERSEDING INDICTMENT filed against VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                    WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
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        USCA CaseWILLIAM
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                         HILL, ERIK          #2077668
                                    JONES, RAYMOND          Filed:
                                                   WASHINGTON,     10/01/2024
                                                               CLIFTON           Page HILL
                                                                       EDWARDS VINCENT 56 of(1)150
                                                                                                count(s)
                     1s, JEROME MARTIN (2) count(s) 1s, SAMUEL CARSON (3) count(s) 1s, WILLIAM KYLE SWEENEY (4) count(s)
                     1s, MAURICE PROCTOR (5) count(s) 1s, SEAN COATES (6) count(s) 1s, REGINALD DARNELL SWITZER (7)
                     count(s) 1s, WILLIAM HILL (8) count(s) 1s, ERIK JONES (11) count(s) 1, RAYMOND WASHINGTON (12) count(s)
                     1, CLIFTON EDWARDS (13) count(s) 1 (hsj) (zjpb). (Entered: 04/08/1999)
  03/25/1999   142 CONTINUATION OF INDICTMENT entry against VINCENT HILL (1) count(s) 2ss, 3ss, 22ss, 31ss, 32ss, 33ss, 34ss,
                   38ss, 51ss-66ss, 67ss-80ss, 81ss-98ss, 99ss-101ss, JEROME MARTIN (2) count(s) 2ss, 9ss, 10ss-12ss, 13ss, 14ss, 15ss,
                   16ss, 17ss, 18ss, 19ss, 20ss, 37ss, 51ss-66ss, 67ss-80ss, 81ss-98ss, 99ss-101ss, SAMUEL CARSON (3) count(s) 2ss, 5ss-
                   6ss, 7ss-8ss, 23ss, 29ss, 30ss, 42ss, 43ss, 44ss, 45ss, 46ss, 47ss, 48ss, 49ss-50ss, 51ss-66ss, 67ss-80ss (hsj) Modified on
                   04/09/1999 (Entered: 04/08/1999)
  03/25/1999   142 CONTINUATION OF INDICTMENT entry against WILLIAM KYLE SWEENEY (4) count(s) 2ss, 22ss, 35ss, 36ss,
                   48ss-50ss, 51ss-66ss, 67ss-80ss, MAURICE PROCTOR (5) count(s) 2ss, 20ss, 22ss, 27ss, 28ss, 51ss-66ss, 67ss-80ss,
                   SEAN COATES (6) count(s) 2ss, 22ss, 46ss, 47ss, 48ss-50ss, 51ss-66ss, 67ss-80ss, REGINALD DARNELL SWITZER
                   (7) count(s) 2ss, 4ss, 99ss-101ss. (hsj) (Entered: 04/09/1999)
  03/25/1999   142 CONTINUATION OF INDICTMENT entry against WILLIAM KYLE SWEENEY (4) count(s) 21ss, SEAN COATES
                   (6) count(s) 21ss. (hsj) (Entered: 04/09/1999)
  03/25/1999   142 CONTINUATION OF INDICTMENT entry against WILLIAM HILL (8) count(s) 2ss, 39ss, 51ss-66ss, 81ss-98ss, ERIK
                   JONES (11) count(s) 2, 24, 25, 26, 35, 36, 51-66, 67-80, RAYMOND WASHINGTON (12) count(s) 2, 40, 41, 42, 43,
                   51-66, 67-80. (hsj) Modified on 07/25/2000 (Entered: 04/09/1999)
  03/26/1999         ARRAIGNMENT held before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1s, 2s, 3s, 22s, 31s, 33s, 32s,
                     34s, 38s, 51s-66s, 67s-80s, 81s-98s, 99s-101s, JEROME MARTIN (2) count(s) 1s, 2s, 9s, 10s-12s, 14s, 16s, 18s, 13s,
                     15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s, 81s-98s, 99s-101s, SAMUEL CARSON (3) count(s) 1s, 2s, 5s-6s, 7s-8s, 23s,
                     29s, 30s, 42s, 46s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, 67s-80s, WILLIAM KYLE SWEENEY (4) count(s) 1s, 2s,
                     22s, 35s, 36s, 48s-50s, 51s-66s, 67s-80s, 21s, MAURICE PROCTOR (5) count(s) 1s, 2s, 20s, 22s, 28s, 27s, 51s-66s, 67s-
                     80s, SEAN COATES (6) count(s) 1s, 2s, 22s, 46s, 47s, 48s-50s, 51s-66s, 67s-80s, 21s, REGINALD DARNELL
                     SWITZER (7) count(s) 1s, 2s, 99s-101s, 4s, WILLIAM HILL (8) count(s) 1s, 2s, 39s, 51s-66s, 81s-98s: Plea not guilty
                     entered by, VINCENT HILL (1) count(s) 1s, 2s, 3s, 22s, 31s, 33s, 32s, 34s, 38s, 51s-66s, 67s-80s, 81s-98s, 99s-101s,
                     JEROME MARTIN (2) count(s) 1s, 2s, 9s, 10s-12s, 14s, 16s, 18s, 13s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s, 81s-98s,
                     99s-101s, SAMUEL CARSON (3) count(s) 1s, 2s, 5s-6s, 7s-8s, 23s, 29s, 30s, 42s, 46s, 43s, 47s, 44s, 45s, 48s, 49s-50s,
                     51s-66s, 67s-80s, WILLIAM KYLE SWEENEY (4) count(s) 1s, 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 67s-80s, 21s,
                     MAURICE PROCTOR (5) count(s) 1s, 2s, 20s, 22s, 28s, 27s, 51s-66s, 67s-80s, SEAN COATES (6) count(s) 1s, 2s, 22s,
                     46s, 47s, 48s-50s, 51s-66s, 67s-80s, 21s, REGINALD DARNELL SWITZER (7) count(s) 1s, 2s, 99s-101s, 4s,
                     WILLIAM HILL (8) count(s) 1s, 2s, 39s, 51s-66s, 81s-98s. Trial set for 5/4/99 is vacated; status hearing set for 9:30
                     5/21/99 for VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE
                     PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL. Counsel for the government to
                     submit to the Court in camera memoranda on movements of defendants, Vincent Hill (1), Jerome Martin (2), Samuel
                     Carson (3), Willima Kyle Sweeney (4), and Maurice Proctor (5). Government has until 5/27/99 to designate death penalty
                     on defendants #3-#4, #6. Defendants committed/commitment issued. Reporter: Phyllis Merana (hsj) Modified on
                     04/22/1999 (Entered: 04/21/1999)
  03/29/1999   115 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 4/16/98,
                   Superior Court number F7319-97. Signed: 3/26/99. Reporter: Darlene Swaringer. (erd) (Entered: 03/29/1999)
  03/29/1999   116 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/12/98,
                   1/13/98, 1/14/98 Superior Court case number F7319-97 . Signed: 3/26/99. Reporter: Laretta Kaczrowski. (erd) (zss).
                   (Entered: 03/29/1999)
  03/29/1999   117 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/22/98,
                   1/27/98, 2/2/98, 2/17/98, 4/1/98/ 4/13/98, 5/7/98, 7/6/98, Superior Court Case number F7319-97. Signed: 3/26/99.
                   Reporter: Court Clerk. (erd) (Entered: 03/29/1999)
  03/29/1999   118 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                   11/22/93, 1/31/92, 2/12/92, Superior Court Case number F962-92. Signed: 3/26/99. Reporter: Court Clerk. (erd)
                   (Entered: 03/29/1999)
  03/29/1999   119 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 2/25/92,
                   Superior Court Case number F962-92. Signed: 3/26/99. Reporter: Anne Maiors. (erd) (Entered: 03/29/1999)
  03/29/1999   120 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/20/92,
                   Superior Court Case number F962-92. Signed: 3/26/99. Reporter: Rose Mollichell attn. James Holland. (erd) (Entered:
                   03/29/1999)
  03/29/1999   121 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 11/6/92,
                   Superior Case number F962-92. Signed: 3/26/99. Reporter: Holland Waters. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999   122 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/29/92,
                   Superior Court case number F962-92. Signed: 3/26/99. Reporter: Diane Prifo. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999   123 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 5/12/98,
                   FS319-97. Signed: 3/26/99. Reporter: Elizabeth Graybill. (erd) (zss). (Entered: 03/29/1999)
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             124 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 6/23/98,
                      Superior Court case number F7319-97. Signed: 3/26/99. Reporter: Derrick Coney. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999    125 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 7/7/98,
                    Superior Court case number F7319-97. Signed: 3/26/99. Reporter: Larry Pavlish. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999    126 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 10/2/97,
                    Superior Court case number F7319-97. Signed: 3/26/99. Reporter: Thomas Ronan. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999    127 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 9/9/97,
                    9/16/97, 9/18/97, 9/24/97, 9/25/97, 1/7/98. Signed: 3/26/99. Reporter: Court Clerk. (erd) (Entered: 03/29/1999)
  03/29/1999    128 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                    11/24/98, Superior Court case number F7319-97. Signed: 3/26/99. Reporter: Crystal Pilgraim. (erd) (Entered:
                    03/29/1999)
  03/29/1999    129 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 5/11/98,
                    9/12/98, 7/30/98, 9/28/98, 8/13/98, 8/12/98. Signed: 3/26/99. Reporter: Court Clerk. (erd) (zss). (Entered: 03/29/1999)
  03/29/1999    130 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 6/25/98,
                    Superior Court case number F-2653-98. Signed: 3/26/99. Reporter: Derrick Coney. (erd) (Entered: 03/29/1999)
  03/29/1999    131 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 5/11/98,
                    5/12/98 Superior Court case number F-2653-98. Signed: 3/26/99. Reporter: Elizabeth Graybill. (erd) (zss). (Entered:
                    03/29/1999)
  03/29/1999    139 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR: That defendants' several objections, written and oral, to their recent
                    relocations from D.C. Jail to various institutions are overruled without prejudice, and that the government shall make its
                    ex parte submission further explicating its need to relocate defendants Vincent Hill, Jerome Martin, Samuel Carson,
                    William Sweeney, and Maurice Proctor. Status hearing set for 9:30 5/21/99 for VINCENT HILL, for JEROME MARTIN
                    JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR. (See Order for Details) (N)
                    (hsj) (Entered: 04/06/1999)
  03/29/1999    140 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL :
                    granting motion for exclusion of time under the Speedy Trial Act. [58-1] as to VINCENT HILL (1), JEROME MARTIN
                    (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), MAURICE PROCTOR (5), SEAN COATES (6),
                    REGINALD DARNELL SWITZER (7), WILLIAM HILL (8). The period of time from 3/26/99 until 5/21/99 shall be
                    excluded from the computation of time within which to commence trial. (N) (hsj) (Entered: 04/06/1999)
  03/29/1999    143 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL for
                    exclusion of time between 3/26/99 and 5/21/99 under the speedy trial act (bjsp) Modified on 04/15/1999 (Entered:
                    04/12/1999)
  03/29/1999    144 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS : for routine processing. (N) (hsj) (Entered:
                    04/13/1999)
  03/30/1999    141 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, FCI Beckley, for production of Erik Jones, for
                    hearing on April 9, 1999, as to VINCENT HILL, JEROME MARTIN JR., CARSON, WILLIAM KYLE SWEENEY,
                    MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN,
                    DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . Ordered by Judge Thomas
                    P. Jackson . (lkn) (Entered: 04/08/1999)
  03/30/1999          ARRAIGNMENT/DETENTION HEARING held before Magistrate Judge John M. Facciola as to CLIFTON
                      EDWARDS (13) count(s) 1: Attorney appearance for CLIFTON EDWARDS by, Nathan Silver. Plea not guilty entered by
                      CLIFTON EDWARDS (13) count(s) 1. Status hearing set before Judge Jackson for 9:30 4/9/99 for CLIFTON
                      EDWARDS. Oral motion by government for pretrial detention, heard and granted. Reporter: Pro-Typists, Inc. Tape: Ct
                      27-99-58; Lines: 1633-1926 (hsj) Modified on 05/26/1999 (Entered: 04/13/1999)
  03/30/1999    148 ATTORNEY APPEARANCE for CLIFTON EDWARDS by Nathan Silver. (hsj) (Entered: 04/13/1999)
  03/30/1999    149 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS : committing defendant to the custody of the U.S.
                    Attorney General. (N) (hsj) (Entered: 04/13/1999)
  03/31/1999    138 DETENTION MEMORANDUM by Magistrate Judge John M. Facciola as to CLIFTON EDWARDS. (N) (erd) (Entered:
                    04/06/1999)
  03/31/1999    152 NOTICE OF FILING by VINCENT HILL . ( Attachment: Letter to Mr. Wainstein). (jf) (Entered: 04/13/1999)
  04/02/1999    151 SUBSTITUTION OF COUNSEL for defendant SAMUEL CARSON , substituting Joseph Edmund Beshouri, Gerald I.
                    Fisher for attorney Leonard Lamax Long (jf) (Entered: 04/13/1999)
  04/06/1999    145 ORDER by Judge Thomas P. Jackson as to RAYMOND WASHINGTON appointing James Christopher Savage I as CJA
                    counsel. Voucher No.: 0476541 Signed: 4/6/99 NPT 3/30/99 (hsj) (Entered: 04/13/1999)
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             146 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS appointing Nathan I. Silver II as CJA counsel.
                      Voucher No.: 0476568 Signed: 4/6/99 NPT 3/30/99 (hsj) (Entered: 04/13/1999)
  04/06/1999    147 ORDER by Judge Thomas P. Jackson as to ERIK JONES appointing Kenneth D Auerbach as CJA counsel. Voucher No.:
                    0476561 Signed: 4/6/99 NPT 3/30/99 (hsj) (Entered: 04/13/1999)
  04/09/1999          ARRAIGNMENT held before Judge Thomas P. Jackson as to , ERIK JONES (11) count(s) 1, 2, 24, 25, 26, 35, 36, 51-
                      66, 67-80: Attorney appearance for ERIK JONES by Nathan I. Silver II. Plea not guilty entered by ERIK JONES (11)
                      count(s) 1, 2, 24, 25, 26, 35, 36, 51-66, 67-80. Status hearing set for 9:30 5/21/99 for ERIK JONES. Defendant
                      committed/commitment issued. Reporter: Phyllis Merana (hsj) Modified on 04/21/1999 (Entered: 04/21/1999)
  04/09/1999          STATUS HEARING before Judge Thomas P. Jackson as to CLIFTON EDWARDS: Status hearing set for 9:30 5/21/99
                      for CLIFTON EDWARDS. Defendant committed/commitment issued. Reporter: Phyllis Merana (hsj) (Entered:
                      04/21/1999)
  04/09/1999    156 ORDER by Judge Thomas P. Jackson as to ERIK JONES: That defendant Erik Jones shall complete his submission on
                    mitigation of death penalty eligibility to the United States Attorney for the District of Columbia on or before 6/30/99, at
                    which time the United States Attorney shall forward her recommendations with respect thereto to the United States
                    Department of Justice. Status hearing set for 9:30 5/21/99 for ERIK JONES. (N) (hsj) (Entered: 04/21/1999)
  04/12/1999    154 MOTION filed by USA as to ERIK JONES, CLIFTON EDWARDS for exclusion of time between 3/30/99 and 5/21/99
                    for defendant Edwards and between 4/9/99 and 5/21/99 for defendant Jones under the speedy trial act (tw) Modified on
                    04/30/1999 (Entered: 04/15/1999)
  04/13/1999    150 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                    0143352, Signed: 4/9/99, Rate: $45.00 PH., $1,000. (erd) (Entered: 04/13/1999)
  04/13/1999    153 MOTION filed by WILLIAM KYLE SWEENEY for bill of particulars (lkn) (Entered: 04/15/1999)
  04/13/1999    155 MOTION filed by WILLIAM KYLE SWEENEY to reconsider order of March 29, 1999 concerning objections to
                    relocation of defendant's place of pretrial confinement [139-1], [139-2] (tw) Modified on 04/30/1999 (Entered:
                    04/16/1999)
  04/19/1999          Prison Registration Number for VINCENT HILL : Reg.#: 21081-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for JEROME MARTIN JR.: Reg.#: 18894-083. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for SAMUEL CARSON : Reg.#: 22316-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for WILLIAM KYLE SWEENEY : Reg.#: 22388-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for MAURICE PROCTOR : Reg.#: 22374-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for SEAN COATES : Reg.#: 22389-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for REGINALD DARNELL SWITZER : Reg.#: 15164-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for WILLIAM HILL : Reg.#: 21126-016. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for ERIK JONES : Reg.#: 06111-007. (rew) (Entered: 04/19/1999)
  04/19/1999          Prison Registration Number for CLIFTON EDWARDS : Reg.#: 22722-016. (rew) (Entered: 04/19/1999)
  04/19/1999    159 ORDER by Judge Thomas P. Jackson as to ERIK JONES, CLIFTON EDWARDS : granting motion for exclusion of time
                    under the speedy trial act [154-1] as to ERIK JONES (11), CLIFTON EDWARDS (13) (See Order for Details) (N) (hsj)
                    (Entered: 04/27/1999)
  04/22/1999    157 ORDER by Judge Thomas P. Jackson as to SEAN COATES Appointing Barry Coburn as attorney, voucher # D 18347,
                    signed 4/20/99 npt 4/15/99. (erd) (Entered: 04/22/1999)
  04/22/1999    158 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as counsel, voucher # D17635,
                    signed 4/20/99 npt 9/22/98. (erd) (Entered: 04/22/1999)
  04/26/1999    160 NOTICE OF WITHDRAWAL of attorney Kenneth D Auerbach for ERIK JONES. (lkn) (Entered: 04/28/1999)
  04/28/1999    176 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                    services for Death Penalty Proceedings of William Sweeney Voucher #: D017684, attorney Jeffrey O'Toole. Signed:
                    4/27/99 npt 9/22/98. (erd) (Entered: 06/09/1999)
  04/29/1999    161 RESPONSE by plaintiff USA in opposition to defendant SWEENEY's motion for bill of particulars [153-1]; attachment
                    (1) (tw) (Entered: 04/30/1999)
  05/03/1999    162 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    March 22-35, 1999 in CR 98-71. Signed: 4/29/99. Reporter: Phyllis Merana. (erd) (Entered: 05/03/1999)
  05/03/1999    163 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on .
                    Signed: March 29-31, 1999, April 1, 6, 7, 8, 1999 in CR 98-71. Reporter: Phyllis Merana. (erd) (Entered: 05/03/1999)
  05/03/1999    164 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    4/12/99-End in CR 98-71. Signed: 4/29/99. Reporter: Phyllis Merana. (erd) (Entered: 05/03/1999)
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             165 MOTION filed by SAMUEL CARSON for order directing that defendant be transported. (hsj) (Entered: 05/12/1999)
  05/11/1999    177 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services of R.
                    Mickell Branham for Death Penalty Proceedings of Sean Coates. Voucher #: D18717, Signed: 6/7/99, Rate: $85.00 HR.,
                    100 HRS., $8,500.00. (hsj) (Entered: 06/14/1999)
  05/17/1999    167 NOTICE of REQUEST to the United States of Itemization of Evidence that may be Subject to Suppression by
                    WILLIAM KYLE SWEENEY. (hsj) (Entered: 05/25/1999)
  05/19/1999          BENCH WARRANT ISSUED by Magistrate Judge John M. Facciola for RAYMOND WASHINGTON . (hsj) (Entered:
                      05/26/1999)
  05/19/1999    169 WARRANT returned executed as to RAYMOND WASHINGTON on 5/19/99. Return on bench warrant issued 3/25/99.
                    (hsj) (Entered: 05/26/1999)
  05/19/1999          DEFENDANT RAYMOND WASHINGTON arrested. (hsj) (Entered: 05/26/1999)
  05/19/1999          ARRAIGNMENT held before Magistrate Judge Alan Kay as to , RAYMOND WASHINGTON (12) count(s) 1, 2, 40, 42,
                      41, 43, 51-66, 67-80: Attorney appearance for RAYMOND WASHINGTON by Teresa Alva. Bench Warrant
                      issued3/25/99 returned executed 5/19/99. Plea not guilty entered by RAYMOND WASHINGTON (12) count(s) 1, 2, 40,
                      42, 41, 43, 51-66, 67-80. Detention and Status hearing set for 9:30 5/21/99 before Judge Jackson for RAYMOND
                      WASHINGTON. Defendant committed/commitment issued. Reporter: Pro-Typists, Inc. Tape: Ct 27-99-81; Lines: 6367-
                      7046 and Ct 27-99-82; Lines: 1-60 (hsj) Modified on 05/27/1999 (Entered: 05/27/1999)
  05/21/1999    166 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS to quash
                    subpoena (tb) (Entered: 05/24/1999)
  05/21/1999    170 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES, ERIK
                    JONES: That the defendants Samuel Carson, William Sweeney, Sean Coates, and Erik Jones shall complete their
                    submissions on mitigation of death penalty eligibility to the United States Attorney for the District of Columbia on or
                    before 8/30/99. Status hearing set for 9:30 9/10/99 for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                    SEAN COATES, for ERIK JONES. (N) (hsj) (Entered: 05/28/1999)
  05/21/1999          STATUS HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL
                      CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES,
                      RAYMOND WASHINGTON, CLIFTON EDWARDS: Status hearing set for 9:30 9/10/99 for VINCENT HILL,
                      JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES,
                      WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. Possible death penalty
                      defendants Samuel Carson, William Kyle Sweeney, Sean Coates, and Erik Jones have until 8/30/99 for submissions.
                      Defendant Raymond Washington referred back to Magistrate Judge for detention hearing. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana (hsj) Modified on 05/28/1999 (Entered: 05/28/1999)
  05/24/1999    168 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                    EDWARDS excluding time pursuant to the Speedy Trial Act from 05/21/99 to 09/10/99 (tb) Modified on 05/26/1999
                    (Entered: 05/26/1999)
  05/25/1999    171 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, ERIK JONES,
                    RAYMOND WASHINGTON, CLIFTON EDWARDS : granting motion excluding time pursuant to the Speedy Trial Act
                    from 05/21/99 to 09/10/99 [168-1] as to VINCENT HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3),
                    WILLIAM KYLE SWEENEY (4), MAURICE PROCTOR (5), SEAN COATES (6), REGINALD DARNELL
                    SWITZER (7), ERIK JONES (11), RAYMOND WASHINGTON (12), (N) (hsj) (Entered: 06/02/1999)
  05/25/1999          DETENTION HEARING before Magistrate Judge Alan Kay as to RAYMOND WASHINGTON: Defendant
                      committed/commitment issued. Court Reporter: Pro-Typists, Inc. Tape: CT 27-99-86; Lines: 848-1372 (hsj) (Entered:
                      06/04/1999)
  05/25/1999    172 ORDER by Magistrate Judge Alan Kay as to CLIFTON EDWARDS : committing defendant to the custody of the U.S.
                    Attorney General. (N) (hsj) (Entered: 06/04/1999)
  06/07/1999    173 DETENTION MEMORANDUM by Magistrate Judge Alan Kay as to RAYMOND WASHINGTON . (N) (lpp) (Entered:
                    06/07/1999)
  06/08/1999    174 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 1/12/99,
                    3/26/99, 5/21/99. Signed: 6/8/99. Reporter: Phyllis Merana. (erd) (Entered: 06/08/1999)
  06/08/1999    175 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for expert services of Joan Farley Nyobe
                    Voucher #: 0617783, Signed: 6/8/99, Rate: $1,069.88. (erd) (Entered: 06/08/1999)
  06/15/1999    179 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : granting without prejudice motion of
                    government to quash subpoena [166-1] as to all defendants. (N) (jeb) Modified on 07/16/1999 (Entered: 06/16/1999)

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             178 ORDER by Judge Thomas P. Jackson as to VINCENT HILL authorizing transcript of proceeding held on 8/15/89.
                     Signed: 6/11/99. Reporter: Celestine Franklin, Superior Court. (erd) (Entered: 06/16/1999)
  06/22/1999    180 EX PARTE MOTION filed by SAMUEL CARSON for order directing that defendant be transported (lkn) (Entered:
                    06/25/1999)
  06/25/1999    181 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS for expert services of Ronnie Reece Voucher #:
                    0123332, Signed: 6/23/99, Rate: 50 HRS., UP TO $2,000. (erd) (Entered: 06/25/1999)
  06/30/1999    182 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS for date of 3/26/99. Reporter: Phyllis Merana (tth) (zss). (Entered: 07/06/1999)
  06/30/1999    183 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS for date of 5/21/99. Reporter: Phyllis Merana (tth) (zss). (Entered: 07/06/1999)
  06/30/1999    184 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS for date of 1/12/99. Reporter: Phyllis Merana (tth) (zss). (Entered: 07/06/1999)
  07/14/1999    185 NOTICE OF CHANGE OF ADDRESS by Steven R. Kiersh representing WILLIAM KYLE SWEENEY . New address:
                    717 D Stret, NW, Suite 400, Washington, DC 20004. (tb) (Entered: 07/19/1999)
  07/14/1999    186 MOTION filed by SAMUEL CARSON for issuance of Rule 17 subpoena to Chief of Police, Metropolitan Police Dept. ;
                    attachment (mlp) Modified on 07/20/1999 (Entered: 07/20/1999)
  07/23/1999    187 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    3/22/99-3/25/99, 3/29/99-4/1/99, 4/6/99-4/18/99, 4/12/99 to end. Signed: 7/22/99. Reporter: Phyllis Merana (xx)
                    (Entered: 07/29/1999)
  07/23/1999    188 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                    0143352, Signed: 7/2/99, Rate: $45 PH., UP TO $1,000. (xx) (Entered: 07/29/1999)
  07/23/1999    189 ORDER by Judge Thomas P. Jackson as to ERIK JONES appointing William C. Brennan as CJA counsel for Death
                    Penalty Proceedings. Voucher #: D17650 Signed: 7/22/99 NPT 5/14/99 (hsj) (Entered: 07/29/1999)
  07/23/1999    197 MOTION filed by USA as to SAMUEL CARSON to quash subpoena duces tecum issued to the Acting Chief of Human
                    Resources at the U.S. Dept. of Agriculture (mlp) (Entered: 08/30/1999)
  07/28/1999    194 RESPONSE by USA to motion for issuance of Rule 17 subpoena to Chief of Police, Metropolitan Police Dept. [186-1]
                    by SAMUEL CARSON (bjsp) (Entered: 08/12/1999)
  08/04/1999    190 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON authorizing transcript of proceeding held on 8/24/95,
                    10/11/95 (Superior Court). Signed: 7/22/99. Reporter: Tape. (erd) (Entered: 08/04/1999)
  08/04/1999    191 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON authorizing transcript of proceeding held on 8/9/94,
                    10/6/99 (Superior Court). Signed: 7/28/99. Reporter: Tape, Ms. Mallichelli. (erd) (Entered: 08/04/1999)
  08/06/1999    192 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                    Penalty Proceedings of Adele S. Johnson Voucher #: D18719, Signed: 7/28/99, Rate: $50.00 PH. 20 HRS. estimate,
                    $1,000.00. (erd) (Entered: 08/06/1999)
  08/10/1999    193 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS to quash
                    subpoena duces tecum addresses to medical examiner's office. (hsj) (Entered: 08/12/1999)
  08/16/1999    195 MOTION filed by VINCENT HILL to obtain mugshot and full body photograph. (hsj) (Entered: 08/18/1999)
  08/16/1999    196 NOTICE OF FILING by VINCENT HILL. (Attachment: letter). (hsj) (Entered: 08/18/1999)
  08/20/1999    198 ORDER by Judge Thomas P. Jackson as to ERIK JONES appointing Richard Keith Gilbert as CJA counsel for Death
                    Penalty Proceedings. Voucher #: D17519 Signed: 8/17/99 NPT 8/2/99 (hsj) (Entered: 08/31/1999)
  08/20/1999    199 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Henry Winchester Asbill as CJA counsel for
                    Death Penalty Proceedings. Voucher #: D17514 Signed: 8/17/88 NPT 8/2/99 (hsj) (Entered: 08/31/1999)
  09/10/1999    204 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS: The
                    Attorney General shall submit her death penalty recommendations to the Department of Justice no later than 10/12/99;
                    and that the United States Attorney shall render her decision on the death penalty recommendations no later than
                    11/12/99. The defendants' several oral motions respecting certain conditions of their detention at Warsaw, Virginia Jail
                    pending trial are denied. Status hearing set for 9:30 11/30/99 for VINCENT HILL, JEROME MARTIN JR., SAMUEL
                    CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL

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                                            FRANKLIN, DONALDFiled: 10/01/2024
                                                            NICHOLS,               Page 61WASHINGTON,
                                                                      ERIK JONES, RAYMOND  of 150
                     CLIFTON EDWARDS. (N) (hsj) (zss). (Entered: 09/29/1999)
  09/13/1999   200 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Mona Anderson (ACI) Voucher
                   #: 0607617, Signed: 9/2/99, Rate: $40.00 HR., X $1000.00. (erd) (zss). (Entered: 09/13/1999)
  09/13/1999   201 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                   0143352, Signed: 9/8/99, Rate: 45 PH., UP TO $1,000.00. (erd) (zss). (Entered: 09/13/1999)
  09/13/1999   202 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                   CLIFTON EDWARDS for exclusion of time under the Speedy Trial Act (tw) (zss). (Entered: 09/17/1999)
  09/24/1999   203 MOTION filed by SAMUEL CARSON requesting approval for defense counsel to travel to interview witness. (hsj)
                   (zss). (Entered: 09/29/1999)
  10/06/1999   205 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, FCI, Ft Dix, New Jersey, for production of
                   William Hill, for hearing on 11/30/99, as to WILLIAM HILL. Ordered by Judge Thomas P. Jackson. (hsj) (zss). (Entered:
                   10/14/1999)
  10/18/1999   206 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                   Penalty Proceedings of Sean Coates Voucher #: D18719, Signed: 10/15/99, Rate: $50.00 PH., 100 HRS., $5,000. (erd)
                   (zss). (Entered: 10/18/1999)
  10/18/1999   207 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                   10/23/99, No F-08414-94. Signed: 10/13/99. Reporter: Robert Tanner, Superior Court. (erd) Modified on 10/18/1999
                   (Entered: 10/18/1999)
  10/18/1999   208 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on
                   10/11/96, F08414-94. Signed: 10/13/99. Reporter: Mark Schertzer. (erd) (zss). (Entered: 10/18/1999)
  10/20/1999   209 MOTION filed by USA as to VINCENT HILL et al. to continue status hearing (bjsp) Modified on 11/15/1999 (zss).
                   (Entered: 11/05/1999)
  10/28/1999   228 MOTION filed by WILLIAM KYLE SWEENEY to compel production of mitigation materials prior to presenting oral
                   submission to the US Department of Justice concerning the death penalty (jf) (llk). (Entered: 12/05/1999)
  11/03/1999   210 MOTION filed by SEAN COATES for leave to join in Defendant Sweeney's Motion to Compel Production of Mitigation
                   Materials Prior to Presenting Oral Submission to the Unted States Department of Justice Concerning the Death Penalty.
                   (hsj) (zss). (Entered: 11/09/1999)
  11/03/1999   211 RESPONSE by USA to defendant's motion to compel production of mitigation material prior to presenting oral
                   submission to the United States Department of Justice concerning the death penalty. (lkn) (zss). (Entered: 11/10/1999)
  11/08/1999   218 RESPONSE in Opposition by USA as to SEAN COATES to motion for leave to join in Defendant Sweeney's Motion to
                   Compel Production of Mitigation Materials Prior to Presenting Oral Submission to the Unted States Department of
                   Justice Concerning the Death Penalty. [210-1] by SEAN COATES . (tb) (zss). (Entered: 11/17/1999)
  11/08/1999   219 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                   KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                   PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS :
                   granting motion to continue status hearing [209-1] as to VINCENT HILL (1) Status hearing set for 9:30 12/16/99 for
                   VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                   MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM HILL, for PAUL
                   FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for CLIFTON EDWARDS
                   . (N) (hsj) (zss). (Entered: 11/17/1999)
  11/10/1999   222 MOTION filed by SAMUEL CARSON for leave to join in co-defendant's Sweeney's Motion to Compel Production of
                   Mitigation Materials. (hsj) (zss). (Entered: 11/18/1999)
  11/12/1999   223 REPLY by WILLIAM KYLE SWEENEY to objection [211-1] by USA (hsj) (zss). (Entered: 11/22/1999)
  11/15/1999   224 MOTION filed by JEROME MARTIN JR. for release from incarceration due to violation of the Speedy Trial Act , and/or
                   for reconsideration of detention order. (hsj) (zss). (Entered: 11/22/1999)
  11/16/1999   212 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 4/12/96 Superior
                   Court F-3617-94. Signed: 11/16/99. Reporter: B. Herzfeld. (erd) (zss). (Entered: 11/16/1999)
  11/16/1999   213 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 5/10/94, Superior
                   Court F-3617-94. Signed: 11/16/99. Reporter: V. Holley. (erd) Modified on 11/16/1999 (Entered: 11/16/1999)
  11/16/1999   214 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 5/5/94, Superior
                   Court F2617-94. Signed: 11/16/99. Reporter: J.M. Wray. (erd) (Entered: 11/16/1999)
  11/16/1999   215 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 4/15/96, 4/16/96,
                   4/17/96, Superior Court F-3617-94. Signed: 11/16/99. Reporter: L. Burns Marshall. (erd) (zss). (Entered: 11/16/1999)

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             216 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 1/23/96, 1/24/96,
                      1/25/96, Superior Court F-3616-94. Signed: 11/16/99. Reporter: B. Herzfeld. (erd) (zss). (Entered: 11/16/1999)
  11/16/1999    217 ORDER by Judge Thomas P. Jackson as to ERIK JONES authorizing transcript of proceeding held on 11/28/94, Superior
                    Court, F-11375-94. Signed: 11/16/99. Reporter: M. Schertzer. (erd) (zss). (Entered: 11/16/1999)
  11/16/1999    225 SUR-REPLY by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS to defendant's
                    Motion to Compel Production of Mitigation Prior to Presenting Oral Submission to the United States Department of
                    Justice Concerning the Death Penalty. (hsj) (zss). (Entered: 11/23/1999)
  11/18/1999    220 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                    0143352, Signed: 11/15/99, Rate: 445.00 PH., $1,000. (erd) (Entered: 11/18/1999)
  11/18/1999    221 ORDER by Judge Thomas P. Jackson as to ERIK JONES for Ex Parte request for expert and other services for Death
                    Penalty Proceedings of Kristen Hughes Voucher #: D02939, Signed: 11/16/99, Rate: $3,000 (60 HRS. @ $50.00 HR. .
                    (erd) Modified on 11/18/1999 (zss). (Entered: 11/18/1999)
  11/18/1999    226 MOTION filed by ERIK JONES for leave to join in Co-Defendant Sweeney's Motion to Compel Production of
                    Mitigation Materials. (hsj) (zss). (Entered: 11/24/1999)
  11/19/1999    227 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES, ERIK
                    JONES: Denying Motions to Compel the Production of Certain Mitigation Materials. (N) (hsj) (zss). (Entered:
                    11/26/1999)
  11/30/1999    229 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS in limine to exclude time under the Speedy Trial Act (tb) (zss). (Entered: 12/09/1999)
  11/30/1999    230 MOTION filed by WILLIAM KYLE SWEENEY for pretrial hearing to determine the admissibility of testimony of each
                    proposed expert to be introduced on behalf of the United States at trial (tb) (zss). (Entered: 12/09/1999)
  12/02/1999    231 RESPONSE by USA in opposition to motion for release from incarceration due to violation of the Speedy Trial Act [224-
                    1] by JEROME MARTIN JR., motion for reconsideration of detention order. [224-2] by JEROME MARTIN JR. . (hsj)
                    (zss). (Entered: 12/09/1999)
  12/07/1999    234 MOTION filed by SEAN COATES for leave to join in motion for pretrial hearing to determine the admissibility of
                    testimony of each proposed expert to be introduced on behalf of the United States at trial [230-1] (hsj) (zss). (Entered:
                    12/14/1999)
  12/07/1999    235 NOTICE OF FILING by USA as to JEROME MARTIN JR. ( Attachment: Letter). (hsj) (zss). (Entered: 12/14/1999)
  12/07/1999    236 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND
                    WASHINGTON, CLIFTON EDWARDS: That in accordance with 18 U.S.C. 3161(h)(8)(A), and (h)(8)(B)(ii), the period
                    of time from 11/30/99 until 12/16/99 shall be excluded form the computation of time within which to commence trial
                    under the Speedy Trial Act for the defendants. (N) (hsj) (zss). (Entered: 12/15/1999)
  12/09/1999    237 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion for leave to join in motion for pretrial
                    hearing to determine the admissibility of testimony of each proposed expert to be introduced on behalf of the United
                    States at trial [230-1] [234-1] as to SEAN COATES (6) (N) (hsj) (zss). (Entered: 12/23/1999)
  12/10/1999    232 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan Voucher #:
                    0143352, Signed: 12/7/99, Rate: $45.00 PH. up to $1,000. (erd) (zss). (Entered: 12/10/1999)
  12/10/1999    233 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                    Penalty Proceedings of Donald Jones Voucher #: D018718, Signed: 11/29/99, Rate: $45.00 PH. 20 HRS., $900.00. (erd)
                    (Entered: 12/10/1999)
  12/14/1999    239 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : denying motion for release from incarceration due
                    to violation of the Speedy Trial Act [224-1] as to JEROME MARTIN (2), denying motion for reconsideration of
                    detention order. [224-2] as to JEROME MARTIN (2) (N) (hsj) (zss). (Entered: 01/03/2000)
  12/16/1999    240 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS : Trial
                    set for 10:00 9/5/00; motion hearing set for 10:00 2/25/00; motions due by 1/21/00; response to motion due by 2/18/00;
                    reply to response to motion due by 2/24/00 for VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                    WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                    WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                    EDWARDS. The 12/7/99 Order to exclude time under the Speedy Trial Act is extended until 9/5/00. (N) (hsj) (zss).
                    (Entered: 01/04/2000)
  12/16/1999          STATUS HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL
                      CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES,
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                      motions due by 1/21/00; response to motion due by 2/18/00 for VINCENT HILL, for JEROME MARTIN JR., SAMUEL
                      CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES,
                      RAYMOND WASHINGTON, CLIFTON EDWARDS. Defendants committed/commitment issued. Reporter: Phyllis
                      Merana (hsj) (Entered: 01/04/2000)
  12/16/1999    241 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : That the defendant Vincent Hill submit to the taking of
                    pulled head hair samples from his person. the taking of the samples shall occur in the U.S. Marshal Cellblock in the
                    District of Courthouse for the District of Columbia. (N) (hsj) (zss). (Entered: 01/04/2000)
  12/17/1999    238 ADDENDUM to its response to defendant Martin's motion for release from incarceration due to violations of the Speedy
                    Trial Act and/or for reconsideration of detention order by USA as to JEROME MARTIN JR. (hsj) (zss). (Entered:
                    01/03/2000)
  12/22/1999    242 RESPONSE by USA in opposition to motion to compel discovery [71-1] by WILLIAM KYLE SWEENEY . (hsj) (zss).
                    (Entered: 01/11/2000)
  12/27/1999    247 ATTORNEY APPEARANCE for ERIK JONES by Richard K. Gilbert. (hsj) (zss). (Entered: 01/14/2000)
  12/27/1999    248 MOTION filed by William C. Brennan and Robert L. Lombardo: to withdraw William C. Brennan as attorney for ERIK
                    JONES (hsj) (zss). (Entered: 01/14/2000)
  01/03/2000    249 MOTION filed by Henry Winchester Asbill, Frederick D. Jones III: to withdraw as counsel for for SEAN COATES (erd)
                    (zss). (Entered: 01/18/2000)
  01/03/2000    851 LETTER, dated 12/28/99 to Judge Jackson from Gerald I. Fisher and Steven R. Kiersh re: for authorization for two
                    attorneys for each of these two defts. filed as to SAMUEL CARSON, WILLIAM KYLE SWEENEY . FIAT by Judge
                    Thomas P. Jackson . (mlp) (zss). (Entered: 02/25/2002)
  01/04/2000    250 ORDER by Judge Thomas P. Jackson as to SEAN COATES: Granting motion to withdraw as counsel for defendant. The
                    appearance of Henry W. Asbill of Asbill, Junkin & Moffitt, Chtd. is stricken from the case; and that the appearance of
                    Frederick Jones remain in the case. (N) (hsj) (zss). (Entered: 01/19/2000)
  01/04/2000    252 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON, WILLIAM KYLE SWEENEY: That Defendant Carson
                    and Defendant Sweeney shall each be afforded co-counsel to be compensated under the Criminal Justice Act at a rate of
                    $75.00 per hour; and that attorneys Gerald I. Fisher and Paul DeWolfe, previously "learned" capital counsel for Messrs.
                    Carson and Sweeney, shall be permitted to remain as co-counsel for their respective clients. This order shall be effective
                    as of 12/17/99. (N) (hsj) (zss). (Entered: 01/19/2000)
  01/11/2000    243 ORDER by Judge Thomas P. Jackson as to ERIK JONES for expert services of Lonny Harden Voucher #: 0741160,
                    Signed: 1/4/00, Rate: $1,700, 17 HRS., @ $100 HR.. (erd) (Entered: 01/11/2000)
  01/13/2000    244 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    1/29/98, 3/6/98, PG County. Signed: 1/6/00. Reporter: Linda Anderson. (erd) (zss). (Entered: 01/13/2000)
  01/13/2000    245 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    2/3/98, PG County. Signed: 1/6/00. Reporter: Sherry Meredith. (erd) (zss). (Entered: 01/13/2000)
  01/13/2000    246 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    12/16/97, PG County. Signed: 12/21/99. Reporter: Chris Fauntleroy. (erd) (zss). (Entered: 01/13/2000)
  01/20/2000    255 JOINT MOTION filed by VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS as to
                    VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE
                    PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD
                    NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for extension of time in which to file
                    motions for severance and misjoinder. (hsj) (zss). (Entered: 02/14/2000)
  01/27/2000    253 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS : That
                    the defendants joint motion is granted for extension of time in which to file motions for severance and misjoinder. The
                    following shall be the revised schedule pertaining to the motions. Filing of joint defense motion due 1/31/00;
                    governments response to be filed 2/24/00; defense reply to be filed 2/24/00; hearing on motion set for 3/8/00 10:00 for
                    VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                    MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM HILL, for PAUL
                    FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for CLIFTON EDWARDS.
                    (N) (erd) (zss). (Entered: 02/09/2000)
  01/27/2000    267 ORDER by Judge Thomas P. Jackson as to ERIK JONES appointing Richard Gilbert as CJA counsel. Voucher No.:
                    0478582 Signed: 1/20/00 NPT 8/2/99 (erd) (zss). (Entered: 03/21/2000)
  02/03/2000    256 JOINT MOTION filed by VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS as to
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                     PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD
                     NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for additonal extension of time in
                     which to file Motions for severance and misjoinder. (hsj) (zss). (Entered: 02/18/2000)
  02/07/2000   254 MOTION filed by VINCENT HILL to sever counts (erd) (zss). (Entered: 02/11/2000)
  02/15/2000   258 MOTION filed by RAYMOND WASHINGTON requesting direction to the District of Columbia Detention Center. (hsj)
                   (zss). (Entered: 02/25/2000)
  02/15/2000   259 ORDER by Judge Thomas P. Jackson as to RAYMOND WASHINGTON : The District of Columbia Detention Center
                   allow inmate Raymond Washington to receive newly purchased footwear from his attorney. (N) (hsj) (zss). (Entered:
                   02/29/2000)
  02/24/2000   260 NOTICE OF CHANGE OF ADDRESS by Steven R. Kiersh representing WILLIAM KYLE SWEENEY. New address:
                   717 D Street, N.W., Suite #400, Washington, D.C. 20004. (hsj) (zss). (Entered: 03/07/2000)
  03/10/2000   261 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                   0143352, Signed: 3/6/00, Rate: $45.00 PH., $1,000.00. (erd) (Entered: 03/10/2000)
  03/10/2000   262 ORDER by Judge Thomas P. Jackson as to SEAN COATES for expert services of Adelle S. Johnson Voucher #:
                   0617946, Signed: 3/9/00, Rate: $50.00 HR., @ 40 HRS., $2,000. (erd) (Entered: 03/10/2000)
  03/15/2000   272 RESPONSE by USA in opposition to defendants' joint motion to sever counts and defendants as to VINCENT HILL (1),
                   WILLIAM SWEENEY (4), SAMUEL CARSON (3), JEROME MARTIN (2), ERIK JONES (11), SEAN COATES (6),
                   WILLIAM HILL (8). (su) (Entered: 04/03/2000)
  03/16/2000   269 MOTION filed by USA as to SAMUEL CARSON to quash subpoena duces tecum. (aet) (zss). (Entered: 03/28/2000)
  03/17/2000   263 MOTION filed by USA as to VINCENT HILL to quash subpoena duces tecum (cas) (Entered: 03/20/2000)
  03/17/2000   270 MOTION filed by USA as to VINCENT HILL to quash subpoena duces tecum (cas) (zss). (Entered: 03/29/2000)
  03/20/2000   268 MOTION filed by MAURICE PROCTOR for leave to join : motion to sever counts of defendants (13) count(s) 1 [266-
                   2], motion to sever counts of CLIFTON EDWARDS (13) count(s) 1 [265-2], motion to sever counts (13) count(s) 1 [264-
                   2], motion to sever counts [254-1] (cas) (zss). (Entered: 03/24/2000)
  03/20/2000   266 MOTION filed by CLIFTON EDWARDS for leave to file ; EXHIBIT: Defendant's motion to adopt, join and conform to
                   defendants' motions for severance and for relief from prejudicial joinder. (su) (zss). (Entered: 04/03/2000)
  03/20/2000   273 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS : granting motion for leave to file [266-1] as to
                   CLIFTON EDWARDS (13) (N) (erd) (zss). (Entered: 04/04/2000)
  03/20/2000   274 ORDER by Judge Thomas P. Jackson as to CLIFTON EDWARDS : That defendant Clifton Edwards shall be permitted
                   to late file motion to adopt, join and conform to defendant's motions for severance and for relief from prejudicial joinder.
                   (N) (erd) (zss). (Entered: 04/04/2000)
  03/21/2000   275 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR : granting motion for leave to join : motion to sever
                   counts of defendants (13) count(s) 1 [266-2], motion to sever counts of CLIFTON EDWARDS (13) count(s) 1 [265-2],
                   motion to sever counts (13) count(s) 1 [264-2], motion to sever counts [254-1] [268-1] as to MAURICE PROCTOR (5)
                   (N) (erd) (zss). (Entered: 04/10/2000)
  03/22/2000   276 REPLY by JEROME MARTIN JR. to government's opposition to defendant's joint motion to sever counts and
                   defendants; Attachments [272-1] by USA (erd) Modified on 04/11/2000 (zss). (Entered: 04/10/2000)
  03/23/2000         STATUS HEARING before Judge Thomas P. Jackson as to RAYMOND WASHINGTON : Defendant
                     committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 10/29/2001)
  03/24/2000         STATUS HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL
                     CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, ERIK JONES, RAYMOND
                     WASHINGTON, CLIFTON EDWARDS : Motion by Jerome Martin to sever; heard and denied. motion by Samuel
                     Carson to sever; heard and denied. Motion by Sean Coates to sever; heard and denied. Motion by Maurice Proctor to
                     sever; heard and denied. Motion by William Kyle Sweeney to sever; heard and denied. Motion by Erik Jones to sever;
                     heard and denied. Motion by Vincent Hill to sever; heard and denied. Governments motion to quash subpoena issued to
                     Joy Carlson and Custodian of Records, Bureau of Prisons; granted. Motion by Clifton Edwards to sever; granted. Motion
                     by William Kyle Sweeney for bill of particulars, denied. Motion by Samuel Carson for issuance of Rule 17 subpoena for
                     photo of James Montgomery, denied as moot. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd)
                     Modified on 06/08/2000 (Entered: 04/12/2000)
  03/24/2000   278 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                   KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                   PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS : That
                   the joint motion to sever counts and defendants 257 , filed by defendants William Sweeney, Samuel Carson, Jerome
                   Markin, Erik Jones, and Sean Coates, and adopted by counsel for Maurice Proctor 268 and Clifton Edwards 264 , is
                   granted as to Clifton Edwards and denied without prejudice as to all other defendants; that the motion to sever counts and
                   defendants, filed by counsel for Vincent Hill 254 is denied; granting motion to quash subpoena duces tecum [270-1] as to
                   VINCENT HILL (1) granting motion to quash subpoena duces tecum [263-1] as to VINCENT HILL (1) denying motion
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                     bill of particulars Document       #2077668
                                         [153-1] as to WILLIAM           Filed:
                                                               KYLE SWEENEY       10/01/2024
                                                                             (4) denying               Pageof65
                                                                                         motion for issuance     of17150
                                                                                                              Rule    subpoena
                     to Chief of Police, Metropolitan Police Dept. [186-1] as to SAMUEL CARSON (3); that the motion of the government to
                     quash the subpoena duces tecum issued to Dr. Jonathon Arden, Chief Medical Examiner of the D.C. Coroner's Office 193
                     is held in abeyance. (N) (erd) (zss). (Entered: 04/12/2000)
  03/31/2000    271 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                    Death Penalty Proceedings of ACI, Inc. Voucher #: D21459, Signed: 3/27/00, Rate: $60.00 HR., Per Interim Order. (erd)
                    (Entered: 04/03/2000)
  04/03/2000    264 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . (
                    Attachment: Correspondence dated 4/3/00 referencing 13 crime scene photographs that pertain to CPWL of Sam Carson
                    and Maurice Proctor). (su) (zss). (Entered: 04/07/2000)
  04/04/2000    277 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . (
                    Attachment: Correspondence Letter dated 4-3-00 to Joanne Hepworth, Esq., confirming receiving videotape evidence.)
                    (jdm) Modified on 04/14/2000 (zss). (Entered: 04/11/2000)
  04/05/2000    265 SUBSTITUTION OF COUNSEL for RAYMOND WASHINGTON , substituting John James Carney for attorney Teresa
                    Alva for RAYMOND WASHINGTON, attorney James Christopher Savage I for RAYMOND WASHINGTON as to
                    RAYMOND WASHINGTON (su) (zss). (Entered: 04/07/2000)
  04/11/2000    279 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS.( Attachment:
                    Letter dated 4-11-00 by AUSA Peter Zeidenberg to counsel referencing videotape evidence).(jdm) Modified on
                    04/20/2000 (zss). (Entered: 04/13/2000)
  04/13/2000    280 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 3/11/91 through
                    3/15/91. Signed: 4/4/00. Reporter: Rich Whalen (Superior Court J-1644-90. (erd) (Entered: 04/13/2000)
  04/13/2000    281 NOTICE OF FILING by USA as to VINCENT HILL. (Attachments: Letter dated 4-13-00 from AUSA Peter Zeidenberg
                    to counsel referencing nshing copying the final batch of videotapes. (cas) Modified on 04/20/2000 (zss). (Entered:
                    04/14/2000)
  04/13/2000    282 NOTICE OF FILING by USA as to CLIFTON EDWARDS. (Attachments: Letter dated 4-13-00 from AUSA, Peter
                    Zeidenberg to counsel referencing fingerprint reports. (cas) Modified on 04/20/2000 (zss). (Entered: 04/14/2000)
  04/13/2000    283 NOTICE OF FILING by USA as to JEROME MARTIN JR.; (ATTACHMENT) Letter dated 4-12-00 from AUSA, Peter
                    Zeindenberg to counsel in referencing documents that she requested. Attachments (1) (cas) Modified on 04/20/2000 (zss).
                    (Entered: 04/14/2000)
  04/14/2000    284 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachment:
                    Letter dated 4-14-00, from AUSU, Peter R. Zeidenberg to counsel, referencing finished copying videotapes.) (jdm)
                    Modified on 04/19/2000 (zss). (Entered: 04/17/2000)
  04/18/2000    285 NOTICE OF FILING by USA as to JEROME MARTIN JR.( Attachment: Letter dated April 18, 2000, from AUSA Peter
                    Zeidenberg, to counsel referencing the discovery material the government has provided). (jdm) Modified on 04/26/2000
                    (zss). (Entered: 04/20/2000)
  04/21/2000    287 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS .( Attachment:
                    Letter dated April 21, 2000, from AUSA Peter R. Zeidenberg, to Joanne Hepworth, referencing the financial records of
                    Jerome Martin, bate-stamped 901092-902302). (jdm) (zss). (Entered: 04/24/2000)
  04/21/2000    286 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for issuance
                    of pretrial subpoena pursuant to FED.R.CR.P. 17 (c) (cas) Modified on 04/26/2000 (zss). (Entered: 04/24/2000)
  05/04/2000    288 REPLY by WILLIAM KYLE SWEENEY to government's response to defendant's motion to compel discovery [71-1] by
                    WILLIAM KYLE SWEENEY. (jdm) Modified on 05/10/2000 (zss). (Entered: 05/08/2000)
  05/05/2000    289 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for an
                    anonymous jury. (jdm) (zss). (Entered: 05/09/2000)
  05/08/2000    290 NOTICE OF FILING by USA as to VINCENT HILL . ( Attachment: Letter to counsel for defendants, dated May 8,
                    2000, from AUSA Peter Zeidenberg regarding the introduction of evidence.). (aet) (zss). (Entered: 05/12/2000)
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             291 MOTION filed by WILLIAM KYLE SWEENEY for order granting leave to serve subpoenas upon two Assistant United
                     States Attorneys , and to compel their testimony at trial ; Exhibits 2. (cas) Modified on 05/17/2000 (zss). (Entered:
                     05/17/2000)
  05/17/2000    292 RESPONSE by WILLIAM KYLE SWEENEY in opposition to motion for issuance of pretrial subpoena pursuant to
                    FED.R.CR.P. 17 (c) [286-1] by plaintiff . (cas) Modified on 05/19/2000 (zss). (Entered: 05/17/2000)
  05/18/2000    293 MOTION filed by WILLIAM KYLE SWEENEY to compel discovery (cas) (llk). (Entered: 05/18/2000)
  05/18/2000    294 EX-PARTE MOTION filed by JEROME MARTIN JR. for the appointment of a second investigator (cas) (zss). (Entered:
                    05/19/2000)
  05/18/2000    295 REPLY by USA as to WILLIAM KYLE SWEENEY to in opposition to response [292-1] by WILLIAM KYLE
                    SWEENEY to Government's request for a pretrial subpoena pursuant to Federal R. Cr. P. 17 (c). (jdm) (zss). (Entered:
                    05/19/2000)
  05/22/2000    296 MOTION filed by WILLIAM KYLE SWEENEY to change location of confinement pending trial. (jdm) (zss). (Entered:
                    05/23/2000)
  05/22/2000    297 RESPONSE by WILLIAM KYLE SWEENEY in opposition to motion for an anonymous jury. [289-1] by USA . (jdm)
                    (zss). (Entered: 05/23/2000)
  05/24/2000    298 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                    #: 0617771, Signed: 5/22/00, Rate: 20 HRS., @ $50.00 HR., $1,000.00 (erd) (Entered: 05/24/2000)
  05/30/2000    299 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                    FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . (
                    Attachment: letter dated 5/30/00 to all defense counsel from AUSA, Peter Zeidenberg referencing a list of evidence
                    which he disclose pursuant to obligations under Brady). (su) (zss). (Entered: 05/31/2000)
  05/31/2000    300 MOTION filed by WILLIAM KYLE SWEENEY for a pre-trial hearing to determine the admissibility of video and audio
                    tapes. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    301 MOTION filed by WILLIAM KYLE SWEENEY for in camera review of Grand Jury testimony to determine the
                    existence of a racketeering enterprise. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    302 MOTION filed by WILLIAM KYLE SWEENEY for pretrial identification and production of Jencks material. (jdm)
                    (zss). (Entered: 05/31/2000)
  05/31/2000    303 MOTION filed by WILLIAM KYLE SWEENEY to disclose identities of each confidential informant regardless of
                    whether they will be called at trial. (jdm) (llk). (Entered: 05/31/2000)
  05/31/2000    304 MOTION filed by WILLIAM KYLE SWEENEY for notice of government's intention to use residual hearsay exception
                    under Rule 804(b)(5). (jdm) Modified on 06/13/2000 (llk). (Entered: 05/31/2000)
  05/31/2000    307 MOTION filed by WILLIAM KYLE SWEENEY to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s)
                    48s-50s ,and to strike overt acts , and Racketeering Act 70(a)-(g) of count two of the indictiment ,and to strike all
                    references to the triple murder in Temple Hills, Maryland. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    308 MOTION filed by WILLIAM KYLE SWEENEY for pretrial production of statements of persons who will not be called
                    as witnesses at trial. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    309 MOTION filed by WILLIAM KYLE SWEENEY for notice of government's intention to use residual hearsay exception
                    under Rule 803(24). (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    310 MOTION filed by WILLIAM KYLE SWEENEY for an order directing the government to give notice of its intention to
                    rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in futherance of the
                    conspiracy. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    311 MOTION filed by WILLIAM KYLE SWEENEY to identify witnesses with juvenile adjudications ,and pending juvenile
                    proceedings ,and to inspect juvenile files pursuant to Davis v. Alaska. (jdm) Modified on 06/13/2000 (zss). (Entered:
                    05/31/2000)
  05/31/2000    312 MOTION filed by WILLIAM KYLE SWEENEY for pretrial hearing to determine the existence of a conspiracy ,and to
                    determine the admissibility of co-conspirators statements. (jdm) (zss). (Entered: 05/31/2000)
  05/31/2000    305 MOTION filed by WILLIAM KYLE SWEENEY to suppress custodial statement(s) ,and request for evidentiary hearing;
                    Exhibit (1). (su) (llk). (Entered: 06/13/2000)
  05/31/2000    306 MOTION filed by WILLIAM KYLE SWEENEY to suppress physical evidence , and request for an oral hearing. (su)
                    (zss). (Entered: 06/13/2000)
  06/01/2000         STATUS HEARING before Judge Thomas P. Jackson as to WILLIAM HILL : Oral motion of government to dismiss
                     count(s); granted as to WILLIAM HILL (8) count(s) 1, 2, 30, 46, 72, 73, 82, 1s, 2s, 39s, 51s-66s, 81s-98s . Defendant
                     committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 06/13/2000)

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                     #21-3072 NOTICE
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                                     as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                          SWEENEY, MAURICE PROCTOR, SEAN COATES, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                          EDWARDS : Status hearing set for 6/8/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON,
                          for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES, for ERIK JONES, for RAYMOND
                          WASHINGTON, for CLIFTON EDWARDS . before Judge Thomas P. Jackson . (rew) (Entered: 06/02/2000)
   06/05/2000       319 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                        KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                        PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS :
                        ORDERED that the government's motion to join the indictments (97) is granted; , FURTHER ORDERED that trial of
                        Criminal No. 99-348 is set for 10:00 9/5/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON,
                        for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL
                        SWITZER, for WILLIAM HILL, for PAUL FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND
                        WASHINGTON, for CLIFTON EDWARDS, in conjunction with the trial of 98-329. (N) (jdm) (zss). (Entered:
                        06/21/2000)
   06/06/2000       313 MOTION filed by SEAN COATES for leave to join in: motion for pretrial hearing to determine the existence of a
                        conspiracy [312-1], motion to determine the admissibility of co-conspirators statements [312-2], motion to identify
                        witnesses with juvenile adjucations [311-1], motion pending juvenile proceedings [311-2], motion to inspect juvenile
                        files pursuant to Davis v. Alaska [311-3], motion for an order directing the government to give notice of its intention to
                        rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in futherance of the
                        conspiracy [310-1], motion for notice of government's intention to use residual hearsay exception under Rule 803(24)
                        [309-1], motion for pretrial production of statements of persons who will not be called as witnesses at trial [308-1],
                        motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s) 48s-50s [307-1], motion to strike overt acts
                        [307-2], motion Racketeering Act 70(a)-(g) of count two of the indictiment [307-3], motion to strike all references to the
                        triple murder in Temple Hills, Maryland. [307-4], motion for notice of government's intention to use residual hearsat
                        exception under Rule 804(b)(5) [304-1], motion to disclose identities of each confidential informant regardless of
                        whether they will be called at trial. [303-1], motion for pretrial identification and production of Jencks material [302-1],
                        motion for in camera review of Grand Jury testimony to determine the existence of a racketeering enterprise [301-1],
                        motion for a pre-trial hearing to determine the admissibility of video and audio tapes [300-1], motion for an anonymous
                        jury [289-1] (cas) (llk). (Entered: 06/07/2000)
   06/06/2000       314 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, MAURICE PROCTOR, SEAN COATES, ERIK JONES, RAYMOND WASHINGTON to admit out of
                        Court statements made by murdered witnesses. (jdm) (Entered: 06/13/2000)
   06/06/2000             STATUS HEARING before Judge Thomas P. Jackson as to RAYMOND WASHINGTON : Plea not guilty withdrawn as
                          to RAYMOND WASHINGTON (12) count(s) 2. Plea guilty entered by, RAYMOND WASHINGTON (12) count(s) 2.
                          Status hearing set for 9:30 11/8/00 for RAYMOND WASHINGTON. Defendant committed/commitment issued.
                          Reporter: Phyllis Merana (erd) (Entered: 10/29/2001)
   06/06/2000       793 PLEA AGREEMENT filed as to RAYMOND WASHINGTON. "Let this be filed by Judge Jackson" (erd) (Entered:
                        10/29/2001)
   06/06/2000       794 MOTION filed by USA as to RAYMOND WASHINGTON to unseal the file and record in this case for a limited purpose
                        (erd) (zss). (Entered: 10/29/2001)
   06/07/2000       315 RESPONSE by USA in opposition to motion to change location of confinement pending trial. [296-1] by WILLIAM
                        KYLE SWEENEY . (jdm) (Entered: 06/13/2000)
   06/07/2000             SCHEDULING NOTICE as to RAYMOND WASHINGTON : Status hearing set for 9:30 11/8/00 for RAYMOND
                          WASHINGTON. before Judge Thomas P. Jackson. (erd) (Entered: 10/29/2001)
   06/07/2000       795 ORDER by Judge Thomas P. Jackson as to RAYMOND WASHINGTON : granting motion to unseal the file and record
                        in this case for a limited purpose [794-1] as to RAYMOND WASHINGTON (12): That upon written request of the
                        government, the court reporter shall provide the government with a transcript of the plea proceedings in this case. (N)
                        (erd) (zss). (Entered: 10/29/2001)
   06/08/2000             STATUS HEARING in CR 99-348-3 before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR.,
                          SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial reset for 10:00
                          11/13/00; motion hearing set for 10:00 9/26/00 defendants motions due by 7/14/00; governments response to motion due
                          8/18/00; defendants reply to response to motion due by 9/8/00 for VINCENT HILL, for JEROME MARTIN JR., for
                          SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Motions
                          hearing set for 6/16/00 at 10:00 for WILLIAM KYLE SWEENEY. Defendants committed/commitment issued. Reporter:
                          Phyllis Merana (erd) (Entered: 06/15/2000)
   06/08/2000 318 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion for leave to join in: motion for pretrial
                   hearing to determine the existence of a conspiracy [312-1], motion to determine the admissibility of co-conspirators
                   statements [312-2], motion to identify witnesses with juvenile adjucations [311-1], motion pending juvenile proceedings
                   [311-2], motion to inspect juvenile files pursuant to Davis v. Alaska [311-3], motion for an order directing the
                   government to give notice of its intention to rely upon other crimes evidence regardless of whether the prior bad acts
                   were also uncharged acts in futherance of the conspiracy [310-1], motion for notice of government's intention to use
                   residual hearsay exception under Rule 803(24) [309-1], motion for pretrial production of statements of persons who will
(Page 67 of Total) not be called as witnesses at trial [308-1], motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s)
                                                                    App 58
         USCA Case48s-50s
                    #21-3072          Document
                          [307-1], motion              #2077668
                                          to strike overt                       Filed: 10/01/2024
                                                          acts [307-2], motion Racketeering                   Page
                                                                                            Act 70(a)-(g) of count two68  ofindictiment
                                                                                                                      of the 150
                       [307-3], motion to strike all references to the triple murder in Temple Hills, Maryland. [307-4], motion for notice of
                       government's intention to use residual hearsat exception under Rule 804(b)(5) [304-1], motion to disclose identities of
                       each confidential informant regardless of whether they will be called at trial. [303-1], motion for pretrial identification
                       and production of Jencks material [302-1], motion for in camera review of Grand Jury testimony to determine the
                       existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility of video and
                       audio tapes [300-1], motion for an anonymous jury [289-1] [313-1] by SEAN COATES (N) (cas) (zss). (Entered:
                       06/19/2000)
   06/08/2000     320 SCHEDULING ORDER by Judge Thomas P. Jackson Trial set for 10:00 11/13/00 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES, for REGINALD DARNELL SWITZER, for WILLIAM HILL, for PAUL FRANKLIN, for DONALD
                      NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for CLIFTON EDWARDS . Motion hearing set for
                      10:00 9/26/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                      SWEENEY, for MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM
                      HILL, for PAUL FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for
                      CLIFTON EDWARDS . Motions due by 7/14/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES, for REGINALD
                      DARNELL SWITZER, for WILLIAM HILL, for PAUL FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for
                      RAYMOND WASHINGTON, for CLIFTON EDWARDS . Response to motion due by 8/18/00 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for
                      SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM HILL, for PAUL FRANKLIN, for DONALD
                      NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for CLIFTON EDWARDS . Reply to response to
                      motion due by 9/8/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                      SWEENEY, for MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM
                      HILL, for PAUL FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for
                      CLIFTON EDWARDS .The December 16, 1999 Order to exclude time under the Speedy Trial Act extended until
                      11/13/00 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY,
                      for MAURICE PROCTOR, for SEAN COATES, for REGINALD DARNELL SWITZER, for WILLIAM HILL, for
                      PAUL FRANKLIN, for DONALD NICHOLS, for ERIK JONES, for RAYMOND WASHINGTON, for CLIFTON
                      EDWARDS . Defense shall submit its voir dire no later than 11/1/00, government shall submit its voir dire no later than
                      11/8/00. A hearing on defendant Sweeney's Motion to Compel Discovery, No. 1 is scheduled for 6/16/00, at 10:00. (N)
                      (jdm) (zss). (Entered: 06/21/2000)
   06/08/2000          STATUS HEARING before Judge Thomas P. Jackson as to ERIK JONES : Plea not guilty withdrawn as to ERIK JONES
                       (11) count(s) 1. Plea guilty entered by, ERIK JONES (11) count(s) 1. Status hearing set for 9:30 12/7/00 for ERIK
                       JONES. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 07/25/2000)
   06/08/2000     348 PLEA AGREEMENT filed as to ERIK JONES. "Let this be filed by Judge Jackson" (erd) (zss). (Entered: 07/25/2000)
   06/12/2000     316 ATTORNEY APPEARANCE for MAURICE PROCTOR by Howard F. Bramson (aet) (zss). (Entered: 06/13/2000)
   06/12/2000     796 MOTION filed by USA as to RAYMOND WASHINGTON to unseal the file and records in this case for a limited
                      purpose. (erd) (zss). (Entered: 10/29/2001)
   06/15/2000          SCHEDULING NOTICE as to WILLIAM KYLE SWEENEY : Motion hearing set for 10:00 6/16/00 for WILLIAM
                       KYLE SWEENEY . before Judge Thomas P. Jackson . (rew) (Entered: 06/15/2000)
   06/16/2000     317 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES excluding time pursuant to the Speedy Trial Act from September
                      5, 2000 until November 13, 2000. (jdm) (zss). (Entered: 06/19/2000)
   06/16/2000          MOTION HEARING before Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY, MAURICE PROCTOR :
                       granting in part, denying in part held in abeyance in part motion to compel discovery [71-1] as to WILLIAM KYLE
                       SWEENEY (4) granted motion for issuance of pretrial subpoena pursuant to FED.R.CR.P. 17 (c) [286-1] as to VINCENT
                       HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), MAURICE PROCTOR
                       (5), SEAN COATES (6), REGINALD DARNELL SWITZER (7), WILLIAM HILL (8), PAUL FRANKLIN (9),
                       DONALD NICHOLS (10), ERIK JONES (11), RAYMOND WASHINGTON (12), CLIFTON EDWARDS (13). Oral
                       motion by defendant MAURICE PROCTOR to submit motions by 7/21/00 is granted. Defendants
                       committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 06/22/2000)
   06/16/2000     321 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                      KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                      PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS:
                      Denying defendant's WILLIAM KYLE SWEENEY's motion to compel discovery without prejuidice, as to his request
                      for information from Assistant United States Attorneys Oscar Mayer and Lynn Liebowitz, and the remainder of the
                      motion is held in abeyance pending this Court's ex parte, in camera review, under seal, of the investigate file on
                      government witness, James Montgomery; and it is Further Ordered, that the government's motion for issuance of a Rule
                      17 (c) subpoena for medical records 286 is granted; and it is Further Ordered, that counsel's oral request to submit
                      motions on behalf of defendant Maurice Proctor by July 21, 2000 is granted. Motions due by 7/21/00 for MAURICE
                      PROCTOR . (N) (cas) (llk). (Entered: 06/23/2000)
   06/30/2000 322 GOVERNMENT'S NOTICE of Submission of EX Parte Materials to the Court Regarding James Montgomery as to
(Page 68 of Total) VINCENT HILL, JEROME MARTIN, SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR,
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                      COATES. (cas)             #2077668
                                    Modified on 07/21/2000               Filed: 10/01/2024
                                                           (llk). (Main Document                    Page (zss).
                                                                                 322 replaced on 8/22/2024) 69 of 150
                                                                                                                (Entered:
                      07/05/2000)
  07/12/2000    324 MOTION filed by MAURICE PROCTOR for an extension of time to file pretrial motions (cas) (zss). (Entered:
                    07/14/2000)
  07/12/2000    323 MOTION filed by MAURICE PROCTOR for leave to join in: motion to compel discovery [293-1], motion to suppress
                    custodial statement(s) [305-1], motion for notice of government's intention to use residual hearsay exception under Rule
                    804(b)(5) [304-1], motion to disclose identities of each confidential informant regardless of whether they will be called at
                    trial [303-1], motion for pretrial identification and production of Jencks material [302-1], motion for in camera review of
                    Grand Jury testimony to determine the existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to
                    determine the admissibility of video and audio tapes [300-1], motion to suppress physical evidence [306-1], motion to
                    inspect juvenile files pursuant to Davis v. Alaska [311-3], motion for an order directing the government to give notice of
                    its intention to rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in
                    futherance of the conspiracy [310-1], motion for notice of government's intention to use residual hearsay exception under
                    Rule 803(24) [309-1], motion for pretrial production of statements of persons who will not be called as witnesses at trial
                    [308-1], motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s) 48s-50s [307-1], motion for pretrial
                    hearing to determine the existence of a conspiracy [312-1], motion to determine the admissibility of co-conspirators
                    statements [312-2] (erd) (zss). (Entered: 07/26/2000)
  07/13/2000    345 MEMORANDUM AND ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR.,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD
                    DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND
                    WASHINGTON, CLIFTON EDWARDS : Ordered that the defendant Sweeney's motion to compel discovery, number 1,
                    is granted to the extent set forth above and otherwise denied, without prejudice; and it is further ordered that the
                    government retain in its possession, intact, one copy of the compilation of its investigative files examined by the Court in
                    camera for use in connection with any appeal of this case. (N) (aet) (llk). (Entered: 07/21/2000)
  07/13/2000    797 ORDER by Judge Thomas P. Jackson as to RAYMOND WASHINGTON : Granting motion to unseal the file and records
                    in this case for a limited purpose [796-1] as to RAYMOND WASHINGTON (12). That upon written request of the
                    government, the court report shall provide the government with a transcript of the plea proceedings in this case. (N) (erd)
                    (zss). (Entered: 10/29/2001)
  07/14/2000    332 MOTION filed by JEROME MARTIN JR. to extend time to file discovery related motions. (jdm) (zss). (Entered:
                    07/17/2000)
  07/14/2000    333 MOTION filed by JEROME MARTIN JR. to suppress statement(s) (jdm) (Entered: 07/17/2000)
  07/14/2000    334 MOTION filed by JEROME MARTIN JR. to suppress evidence (jdm) (Entered: 07/17/2000)
  07/14/2000    335 MOTION filed by JEROME MARTIN JR. to strike aliases from the indictment. (jdm) (Entered: 07/17/2000)
  07/14/2000    336 MOTION filed by JEROME MARTIN JR. to dismiss count(s) 1s, 2s of the indictment on fifth and sixth amendment
                    grounds. (jdm) Modified on 07/18/2000 (Entered: 07/17/2000)
  07/14/2000    337 MOTION filed by JEROME MARTIN JR. to dismiss count(s) as to JEROME MARTIN (2) count(s) 9s, 10s-12s, 14s,
                    16s, 18s, 13s, 15s, 17s, 19s, 20s of the indictment for prejudicial pre-accusatory delay, violations of statutes of limitations
                    and Speedy Trial provisions. (jdm) (Entered: 07/17/2000)
  07/14/2000    338 MOTION filed by JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES to
                    dismiss count(s) as to , JEROME MARTIN (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s,
                    SAMUEL CARSON (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, WILLIAM KYLE
                    SWEENEY (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN COATES (6) count(s) 2s, 22s, 46s, 47s, 48s-50s,
                    51s-66s, 21s, to strike all racketeering and VCAR counts from the indictment. (jdm) (zss). (Entered: 07/17/2000)
  07/14/2000    343 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR: granting motion for an extension of time to file
                    pretrial motions [324-1] by MAURICE PROCTOR (N) (cas) (zss). (Entered: 07/19/2000)
  07/14/2000    346 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR : granting join motion [323-1] as to MAURICE
                    PROCTOR (5) (N) (aet) (zss). (Entered: 07/21/2000)
  07/16/2000    325 MOTION filed by SAMUEL CARSON for notice of government's intention to use residual hearsay exception under FRE
                    (807). (cas) (zss). (Entered: 07/17/2000)
  07/16/2000    326 MOTION filed by SAMUEL CARSON for discovery of statements of codefendants and co-conspirators (cas) (zss).
                    (Entered: 07/17/2000)
  07/16/2000    327 MOTION filed by VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                    MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN,
                    DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for Bill of Particulars (cas)
                    (zss). (Entered: 07/17/2000)
  07/16/2000    328 MOTION filed by SAMUEL CARSON to compel disclosure of evidence subject to suppression under Fed. R.
                    Cim.P.12(b)(3) (cas) (llk). (Entered: 07/17/2000)
  07/16/2000    330 MOTION filed by SAMUEL CARSON to strike all aliases from the indictment (cas) (zss). (Entered: 07/17/2000)
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             331 NOTICE OF NON-FILING AND PRESERVATION OF RIGHT by SAMUEL CARSON. (su) (zss). (Entered:
                     07/24/2000)
  07/16/2000   329 MOTION filed by SAMUEL CARSON to dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s , to
                   compel disclosure of exculpatory evidence , and for additional sanctions due to violations of Brady V. Maryland. (su)
                   (zss). (Entered: 07/24/2000)
  07/17/2000   339 TRANSCRIPT filed as to ERIK JONES for date of June 8, 2000. Reporter: Phyllis Merana (jdm) (zss). (Entered:
                   07/17/2000)
  07/17/2000   340 THIRD MOTION filed by WILLIAM KYLE SWEENEY to compel discovery , and: # 1 Request for an oral hearing)
                   (jdm) (llk) (zss). (Entered: 07/17/2000)
  07/17/2000   341 RESPONSE by WILLIAM KYLE SWEENEY in opposition to motion to admit out of Court statements made by
                   murdered witnesses. [314-1] by USA . (jdm) (zss). (Entered: 07/17/2000)
  07/17/2000   342 MOTION filed by SAMUEL CARSON for leave to join in: motion to compel discovery [340-1], motion for notice of
                   government's intention to use residual hearsay exception under FRE (807) [325-1], motion for pretrial hearing to
                   determine the existence of a conspiracy [312-1], motion to identify witnesses with juvenile adjudications [311-1], motion
                   for an order directing the government to give notice of its intention to rely upon other crimes evidence regardless of
                   whether the prior bad acts were also uncharged acts in futherance of the conspiracy [310-1], motion for pretrial
                   production of statements of persons who will not be called as witnesses at trial [308-1], motion for notice of
                   government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1], motion to disclose identities of
                   each confidential informant regardless of whether they will be called at trial [303-1], motion for pretrial identification
                   and production of Jencks material [302-1], motion for in camera review of Grand Jury testimony to determine the
                   existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility of video and
                   audio tapes [300-1], motion to change location of confinement pending trial [296-1] ; motion to dismiss counts forty
                   eight, forty nine, fifty and to strike overt acts and racketeering act 7(a)-(g) of count two of the indictment and to strike all
                   references to the triple murder in Temple Hills, Maryland, motion by defenant Sweeney's opposition to government's
                   motion for anonymous jury; defendant Sweeney's opposition to government's motion to admit out of court statements by
                   murder witnesses. (cas) (zss). (Entered: 07/19/2000)
  07/20/2000   344 MOTION filed by WILLIAM KYLE SWEENEY to suppress identification testimony ,and to request for a pretrial
                   hearing. (jdm) (zss). (Entered: 07/21/2000)
  07/24/2000   347 MOTION filed by SEAN COATES for leave to late file pretrial motions, time for filing said motions having expired ;
                   EXHIBITS: Defendant's SEAN COATES' motion for reconsideration of his motion for severance; (2) Opposition to
                   government's motion to admit out of court statements made by murdered witnesses. (cas) Modified on 07/31/2000 (zss).
                   (Entered: 07/24/2000)
  07/24/2000   349 MOTION filed by VINCENT HILL for leave to join in motions of co-defendants: motion for pretrial hearing to
                   determine the existence of a conspiracy [312-1], motion for in camera review of Grand Jury testimony to determine the
                   existence of a racketeering enterprise [301-1], motion for pretrial production of statements of persons who will not be
                   called as witnesses at trial [308-1], motion to change location of confinement pending trial [296-1], motion for pretrial
                   identification and production of Jencks material [302-1], motion for a pre-trial hearing to determine the admissibility of
                   video and audio tapes [300-1], motion to identify witnesses with juvenile adjudications [311-1], motion for notice of
                   government's intention to use residual hearsay exception under Rule 803(24) [309-1], motion for notice of government's
                   intention to use residual hearsay exception under Rule 804(b)(5) [304-1], motion for an order directing the government to
                   give notice of its intention to rely upon other crimes evidence regardless of whether the prior bad acts were also
                   uncharged acts in futherance of the conspiracy [310-1] ; defendant William Sweeney's opposition to government's motion
                   for anonymous jury [297-1]; opposition to government's motion to admit out of court statements by murdered witnesses
                   [314-1]; joint motion of defendants Sweeney, Martin, Carson and Coates to strike all racketeering and Vcar counts from
                   the indictment [338-1]. (erd) Modified on 07/31/2000 (zss). (Entered: 07/25/2000)
  07/24/2000   350 MOTION filed by SEAN COATES for leave to join in: motion to suppress identification testimony [344-1], motion to
                   for a pretrial hearing [344-2], motion to compel discovery [340-1], motion request for an oral hearing [340-2], motion to
                   dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s [329-1], motion to compel disclosure of exculpatory
                   evidence [329-2], motion additional sanctions due to violations of Brady V. Maryland. [329-3], motion to strike all
                   aliases from the indictment [330-1], motion to compel disclosure of evidence subject to suppression under Fed. R.
                   Cim.P.12(b)(3) [328-1], motion for Bill of Particulars [327-1], motion for discovery of statements of codefendants and
                   co-conspirators [326-1], motion for notice of government's intention to use residual hearsay exception under FRE (807)
                   [325-1], motion to dismiss count(s) as to, JEROME MARTIN (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-
                   66s, 67s-80s, SAMUEL CARSON (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, WILLIAM
                   KYLE SWEENEY (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN COATES (6) count(s) 2s, 22s, 46s, 47s,
                   48s-50s, 51s-66s, 21s, to strike all racketeering and VCAR counts from the indictment [338-1], motion to dismiss
                   count(s) as to JEROME MARTIN (2) count(s) 9s, 10s-12s, 14s, 16s, 18s, 13s, 15s, 17s, 19s, 20s of the indictment for
                   prejudicial pre-accusatory delay, violations of statutes of limitations and Speedy Trial provisions. [337-1], motion to
                   dismiss count(s) 1s, 2s of the indictment on fifth and sixth amendment grounds [336-1], motion to strike aliases from the
                   indictment [335-1], motion to suppress evidence [334-1], motion to suppress statement(s) [333-1], motion to extend time
                   to file discovery related motions [332-1], motion for pretrial hearing to determine the existence of a conspiracy [312-1],
                   motion to determine the admissibility of co-conspirators statements [312-2], motion to identify witnesses with juvenile
                   adjudications [311-1], motion pending juvenile proceedings [311-2], motion to inspect juvenile files pursuant to Davis v.
                   Alaska [311-3], motion for an order directing the government to give notice of its intention to rely upon other crimes
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                             regardless ofDocument      #2077668
                                           whether the prior                      Filed: 10/01/2024
                                                             bad acts were also uncharged                        Page
                                                                                          acts in futherance of the     71 of[310-1],
                                                                                                                    conspiracy 150
                          motion for notice of government's intention to use residual hearsay exception under Rule 803(24) [309-1], motion for
                          pretrial production of statements of persons who will not be called as witnesses at trial [308-1], motion to dismiss
                          count(s) as to WILLIAM KYLE SWEENEY (4) count(s) 48s-50s [307-1], motion to strike overt acts [307-2], motion
                          Racketeering Act 70(a)-(g) of count two of the indictiment [307-3], motion to strike all references to the triple murder in
                          Temple Hills, Maryland [307-4], motion for notice of government's intention to use residual hearsay exception under
                          Rule 804(b)(5) [304-1], motion to disclose identities of each confidential informant regardless of whether they will be
                          called at trial [303-1], motion for pretrial identification and production of Jencks material [302-1], motion for in camera
                          review of Grand Jury testimony to determine the existence of a racketeering enterprise [301-1], motion for a pre-trial
                          hearing to determine the admissibility of video and audio tapes [300-1], motion to suppress physical evidence [306-1],
                          motion request for an oral hearing [306-2], motion to suppress custodial statement(s) [305-1], motion request for
                          evidentiary hearing; [305-2], motion to change location of confinement pending trial [296-1], motion to compel
                          discovery [293-1], motion for the appointment of a second investigator [294-1], motion for order granting leave to serve
                          subpoenas upon two Assistant United States Attorneys [291-1], motion to compel their testimony at trial [291-2], motion
                          for disclosure of exculpatory evidence [114-1], motion notice to the government of exculpatory evidence requested
                          concerning government's use of informants, operatives and cooperating individuals [114-2], motion for discovery and
                          inspection concerning government's use of informants, operatives and cooperating individuals [113-1], motion for interim
                          investigator payments [66-1], motion to continue trial date [53-1], motion for appointment of expert services
                          (investigator) [8-1] (erd) (zss). (Entered: 07/25/2000)
   07/25/2000       351 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Ellen S. Huvelle and issued to Warden, Federal
                        Correctional Institution, Petersburg, Virginia for production of ANTHONY PRYOR to testify on August 8, 2000, as to
                        VINCENT HILL . (jdm) (zss). (Entered: 08/01/2000)
   07/31/2000       352 EX PARTE MOTION filed by JEROME MARTIN JR. for medical procedure (cas) (zss). (Entered: 08/02/2000)
   08/15/2000       353 MOTION filed by MAURICE PROCTOR for leave to adopt and join in: opposition by defendant Sweeney to
                        government's motion to admit out of Court statements made by murdered witnesses; motion to suppress identification
                        testimony [344-1]; motion to dismiss count(s) as to, JEROME MARTIN (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s,
                        37s, 51s-66s, 67s-80s, SAMUEL CARSON (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s,
                        WILLIAM KYLE SWEENEY (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN COATES (6) count(s) 2s, 22s,
                        46s, 47s, 48s-50s, 51s-66s, 21s, to strike all racketeering and VCAR counts from the indictment [338-1], motion to
                        dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s) 48s-50s [307-1], motion to strike overt acts [307-2],
                        motion to compel discovery [293-1], motion by defendants Marbury for severance of defendants. (erd) (zss). (Entered:
                        08/16/2000)
   08/15/2000       354 MOTION filed by MAURICE PROCTOR to dismiss overt act thirty seven and to dismiss count(s) as to MAURICE
                        PROCTOR (5) count(s) 20s, 22s, 28s, 27s of the indictment or to sever counts of MAURICE PROCTOR (5) count(s)
                        20s, 22s, 28s, 27s of the indictment (erd) (zss). (Entered: 08/16/2000)
   08/17/2000       355 REPLY by USA as to VINCENT HILL, JEROME MARTIN JR., SEAN COATES, WILLIAM KYLE SWEENEY,
                        SAMUEL CARSON, MAURICE PROCTOR to defendant's SWEENEY'S and defendant COATES' Opposition to Admit
                        Out of Court Statements Made by Murdered Witnesses. (cas) (zss). (Entered: 08/18/2000)
   08/18/2000       360 RESPONSE by USA in opposition to defendant's pretrial motions. Attachments (3) (cas) (znne). (Entered: 08/23/2000)
   08/21/2000       356 MOTION filed PAUL B. DeWOLFE: to withdraw as attorney for WILLIAM KYLE SWEENEY (cas) (zss). (Entered:
                        08/21/2000)
   08/21/2000       357 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                        Peumandsend Creek Regional Jail for production of Denise M. Harris to testify on August 28, 2000, as to VINCENT
                        HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN
                        COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK
                        JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . (jdm) (zss). (Entered: 08/22/2000)
   08/22/2000       358 MOTION filed by JEROME MARTIN JR. consent motion to enlarge time to 8/25/00 for filing his opposition to the
                        governments motion to admit hearsay statements of murdered witnesses. (cas) (zss). (Entered: 08/23/2000)
   08/22/2000 359 MOTION filed by JEROME MARTIN JR. for leave to join in motion to suppress identification testimony [344-1],
                   motion to request for a pretrial hearing. [344-2], motion request for an oral hearing. [340-2], motion for leave to join in:
                   motion to compel discovery [340-1], motion for notice of government's intention to use residual hearsay exception under
                   FRE (807) [325-1], motion for pretrial hearing to determine the existence of a conspiracy [312-1], motion to identify
                   witnesses with juvenile adjudications [311-1], motion for an order directing the government to give notice of its intention
                   to rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in futherance of the
                   conspiracy [310-1], motion for pretrial production of statements of persons who will not be called as witnesses at trial
                   [308-1], motion for notice of government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1],
                   motion to disclose identities of each confidential informant regardless of whether they will be called at trial [303-1],
                   motion for pretrial identification and production of Jencks material [302-1], motion for in camera review of Grand Jury
                   testimony to determine the existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the
                   admissibility of video and audio tapes [300-1], motion to change location of confinement pending trial [296-1] [342-1],
                   motion to dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s [329-1], motion to compel disclosure of
                   exculpatory evidence [329-2], motion additional sanctions due to violations of Brady V. Maryland. [329-3], motion to
                   strike all aliases from the indictment [330-1], motion to compel disclosure of evidence subject to suppression under Fed.
(Page 71 of Total) R. Cim.P.12(b)(3) [328-1], motion for Bill of Particulars [327-1], motion for discovery of statements of codefendants and
                                                                    App 62
        USCA Caseco-conspirators
                   #21-3072 [326-1],
                                 Document        #2077668
                                     motion for notice                    Filed:to10/01/2024
                                                       of government's intention   use residual hearsay Page    72under
                                                                                                        exception   of 150
                                                                                                                        FRE (807).
                      [325-1], motion for pretrial hearing to determine the existence of a conspiracy [312-1], motion to determine the
                      admissibility of co-conspirators statements. [312-2], motion to identify witnesses with juvenile adjudications [311-1],
                      motion pending juvenile proceedings [311-2], motion to inspect juvenile files pursuant to Davis v. Alaska. [311-3],
                      motion for an order directing the government to give notice of its intention to rely upon other crimes evidence regardless
                      of whether the prior bad acts were also uncharged acts in futherance of the conspiracy. [310-1] , motion for notice of
                      government's intention to use residual hearsay exception under Rule 803(24). [309-1] , motion for pretrial production of
                      statements of persons who will not be called as witnesses at trial. [308-1] , motion to dismiss count(s) as to WILLIAM
                      KYLE SWEENEY (4) count(s) 48s-50s [307-1] , motion to strike overt acts [307-2] , motion Racketeering Act 70(a)-(g)
                      of count two of the indictiment [307-3] , motion to strike all references to the triple murder in Temple Hills, Maryland.
                      [307-4] , motion for notice of government's intention to use residual hearsay exception under Rule 804(b)(5). [304-1] ,
                      motion to disclose identities of each confidential informant regardless of whether they will be called at trial. [303-1] ,
                      motion for pretrial identification and production of Jencks material. [302-1] , motion for in camera review of Grand Jury
                      testimony to determine the existence of a racketeering enterprise. [301-1] , motion for a pre-trial hearing to determine the
                      admissibility of video and audio tapes. [300-1] , motion to suppress physical evidence [306-1] , motion request for an
                      oral hearing. [306-2] , motion to suppress custodial statement(s) [305-1] , motion request for evidentiary hearing; [305-2]
                      , motion to change location of confinement pending trial. [296-1] , motion to compel discovery [293-1] , motion for order
                      granting leave to serve subpoenas upon two Assistant United States Attorneys [291-1] , for leave to join in motion to
                      quash subpoena duces tecum issued to the Acting Chief of Human Resources at the U.S. Dept. of Agriculture [197-1] ,
                      motion for disclosure of exculpatory evidence [114-1] , motion notice to the government of exculpatory evidence
                      requested concerning government's use of informants, operatives and cooperating individuals. [114-2] , motion for
                      discovery and inspection concerning government's use of informants, operatives and cooperating individuals. [113-1] ,
                      motion for interim investigator payments [66-1] , motion to continue trial date. [53-1] (jdm) (zss). (Entered: 08/23/2000)
  08/22/2000    361 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : Granting Defendant Martin's Ex Parte Motion for
                    Blood to be Drawn to Determine Paternity. (N) (hsj) (zss). (Entered: 08/23/2000)
  08/22/2000    362 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : granting motion to extend time to file discovery
                    related motions [332-1] as to JEROME MARTIN (2). Discovery Related Motions, if any, due by 8/1/00 for JEROME
                    MARTIN JR. (N) (hsj) (zss). (Entered: 08/23/2000)
  08/25/2000    363 RESPONSE by JEROME MARTIN JR. in opposition to motion to admit out of Court statements made by murdered
                    witnesses. [314-1] by plaintiff. EXHIBITS (4). (cas) (zss). (Entered: 08/28/2000)
  08/28/2000    364 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : granting in part consent motion to enlarge time to
                    8/25/00 for filing his opposition to the governments motion to admit hearsay statements of murdered witnesses [358-1] as
                    to JEROME MARTIN (2) (N) (cas) Modified on 09/20/2000 (zss). (Entered: 08/31/2000)
  08/28/2000    365 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion for leave to late file pretrial motions, time
                    for filing said motions having expired [347-1] as to SEAN COATES (6) (N) (cas) (zss). (Entered: 08/31/2000)
  08/28/2000    366 MOTION filed by SEAN COATES for reconsideration of his motion for severance (cas) (zss). (Entered: 08/31/2000)
  08/28/2000    367 RESPONSE by SEAN COATES in opposition to motion to admit out of Court statements made by murdered witnesses
                    [314-1] by USA. (cas) (zss). (Entered: 08/31/2000)
  08/28/2000    370 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR : granting motion to sever counts of MAURICE
                    PROCTOR (5) count(s) 20s, 22s, 28s, 27s of the indictment [354-3] as to MAURICE PROCTOR (5) (N) (aet) (zss).
                    (Entered: 09/05/2000)
  08/28/2000    371 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion for leave to join in: motion to suppress
                    identification testimony [344-1], motion to for a pretrial hearing [344-2], motion to compel discovery [340-1], motion
                    request for an oral hearing [340-2], motion to dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s [329-
                    1], motion to compel disclosure of exculpatory evidence [329-2], motion additional sanctions due to violations of Brady
                    V. Maryland. [329-3], motion to strike all aliases from the indictment [330-1], motion to compel disclosure of evidence
                    subject to suppression under Fed. R. Cim.P.12(b)(3) [328-1], motion for Bill of Particulars [327-1], motion for discovery
                    of statements of codefendants and co-conspirators [326-1], motion for notice of government's intention to use residual
                    hearsay exception under FRE (807) [325-1], motion to dismiss count(s) as to, JEROME MARTIN (2) count(s) 1s, 2s, 9s,
                    16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s, SAMUEL CARSON (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s,
                    48s, 49s-50s, 51s-66s, WILLIAM KYLE SWEENEY (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN
                    COATES (6) count(s) 2s, 22s, 46s, 47s, 48s-50s, 51s-66s, 21s, to strike all racketeering and VCAR counts from the
                    indictment [338-1], motion to dismiss count(s) as to JEROME MARTIN (2) count(s) 9s, 10s-12s, 14s, 16s, 18s, 13s, 15s,
                    17s, 19s, 20s of the indictment for prejudicial pre-accusatory delay, violations of statutes of limitations and Speedy Trial
                    provisions. [337-1], motion to dismiss count(s) 1s, 2s of the indictment on fifth and sixth amendment grounds [336-1],
                    motion to strike aliases from the indictment [335-1], motion to suppress evidence [334-1], motion to suppress
                    statement(s) [333-1], motion to extend time to file discovery related motions [332-1], motion for pretrial hearing to
                    determine the existence of a conspiracy [312-1], motion to determine the admissibility of co-conspirators statements
                    [312-2], motion to identify witnesses with juvenile adjudications [311-1], motion pending juvenile proceedings [311-2],
                    motion to inspect juvenile files pursuant to Davis v. Alaska [311-3], motion for an order directing the government to give
                    notice of its intention to rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged
                    acts in futherance of the conspiracy [310-1], motion for notice of government's intention to use residual hearsay
                    exception under Rule 803(24) [309-1], motion for pretrial production of statements of persons who will not be called as
                    witnesses at trial [308-1], motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s) 48s-50s [307-1],
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        USCA Casemotion
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                        to strike overtDocument       #2077668
                                       acts [307-2], motion                   Filed: 10/01/2024
                                                            Racketeering Act 70(a)-(g)                       Page 73[307-3],
                                                                                       of count two of the indictiment of 150motion to
                       strike all references to the triple murder in Temple Hills, Maryland [307-4], motion for notice of government's intention
                       to use residual hearsay exception under Rule 804(b)(5) [304-1], motion to disclose identities of each confidential
                       informant regardless of whether they will be called at trial [303-1], motion for pretrial identification and production of
                       Jencks material [302-1], motion for in camera review of Grand Jury testimony to determine the existence of a
                       racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility of video and audio tapes
                       [300-1], motion to suppress physical evidence [306-1], motion request for an oral hearing [306-2], motion to suppress
                       custodial statement(s) [305-1], motion request for evidentiary hearing; [305-2], motion to change location of confinement
                       pending trial [296-1], motion to compel discovery [293-1], motion for the appointment of a second investigator [294-1],
                       motion for order granting leave to serve subpoenas upon two Assistant United States Attorneys [291-1], motion to
                       compel their testimony at trial [291-2], motion for disclosure of exculpatory evidence [114-1], motion notice to the
                       government of exculpatory evidence requested concerning government's use of informants, operatives and cooperating
                       individuals [114-2], motion for discovery and inspection concerning government's use of informants, operatives and
                       cooperating individuals [113-1], motion for interim investigator payments [66-1], motion to continue trial date [53-1],
                       motion for appointment of expert services (investigator) [8-1] [350-1] as to SEAN COATES (6) (N) (aet) (zss). (Entered:
                       09/05/2000)
  08/28/2000     372 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON : granting motion for leave to join in: motion to compel
                     discovery [340-1], motion for notice of government's intention to use residual hearsay exception under FRE (807) [325-
                     1], motion for pretrial hearing to determine the existence of a conspiracy [312-1], motion to identify witnesses with
                     juvenile adjudications [311-1], motion for an order directing the government to give notice of its intention to rely upon
                     other crimes evidence regardless of whether the prior bad acts were also uncharged acts in futherance of the conspiracy
                     [310-1], motion for pretrial production of statements of persons who will not be called as witnesses at trial [308-1],
                     motion for notice of government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1], motion to
                     disclose identities of each confidential informant regardless of whether they will be called at trial [303-1], motion for
                     pretrial identification and production of Jencks material [302-1], motion for in camera review of Grand Jury testimony to
                     determine the existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility
                     of video and audio tapes [300-1], motion to change location of confinement pending trial [296-1] [342-1] as to SAMUEL
                     CARSON (3) (N) (aet) (zss). (Entered: 09/05/2000)
  08/28/2000     373 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : granting motion for leave to join in motions of co-
                     defendants: motion for pretrial hearing to determine the existence of a conspiracy [312-1], motion for in camera review
                     of Grand Jury testimony to determine the existence of a racketeering enterprise [301-1], motion for pretrial production of
                     statements of persons who will not be called as witnesses at trial [308-1], motion to change location of confinement
                     pending trial [296-1], motion for pretrial identification and production of Jencks material [302-1], motion for a pre-trial
                     hearing to determine the admissibility of video and audio tapes [300-1], motion to identify witnesses with juvenile
                     adjudications [311-1], motion for notice of government's intention to use residual hearsay exception under Rule 803(24)
                     [309-1], motion for notice of government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1],
                     motion for an order directing the government to give notice of its intention to rely upon other crimes evidence regardless
                     of whether the prior bad acts were also uncharged acts in futherance of the conspiracy [310-1] [349-1] as to VINCENT
                     HILL (1) (N) (aet) (zss). (Entered: 09/05/2000)
  08/28/2000     371 MOTION JOINDER by SEAN COATES joining in motion to suppress identification testimony [344-1], joining in
                     motion to request for a pretrial hearing. [344-2], joining in motion request for an oral hearing. [340-2], joining in motion
                     to dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s [329-1], joining in motion to compel disclosure of
                     exculpatory evidence [329-2], joining in motion additional sanctions due to violations of Brady V. Maryland. [329-3],
                     joining in motion to strike all aliases from the indictment [330-1], joining in motion to compel disclosure of evidence
                     subject to suppression under Fed. R. Cim.P.12(b)(3) [328-1], joining in motion for Bill of Particulars [327-1], joining in
                     motion for discovery of statements of codefendants and co-conspirators [326-1], joining in motion for notice of
                     government's intention to use residual hearsay exception under FRE (807). [325-1], joining in motion to dismiss count(s)
                     as to , JEROME MARTIN (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s, SAMUEL CARSON (3)
                     count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, WILLIAM KYLE SWEENEY (4) count(s) 2s,
                     22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN COATES (6) count(s) 2s, 22s, 46s, 47s, 48s-50s, 51s-66s, 21s, to strike all
                     racketeering and VCAR counts from the indictment. [338-1], joining in motion to dismiss count(s) as to JEROME
                     MARTIN (2) count(s) 9s, 10s-12s, 14s, 16s, 18s, 13s, 15s, 17s, 19s, 20s of the indictment for prejudicial pre-accusatory
                     delay, violations of statutes of limitations and Speedy Trial provisions. [337-1], joining in motion to dismiss count(s) 1s,
                     2s of the indictment on fifth and sixth amendment grounds. [336-1], joining in motion to strike aliases from the
                     indictment. [335-1], joining in motion to suppress evidence [334-1], joining in motion to suppress statement(s) [333-1],
                     joining in motion for pretrial hearing to determine the existence of a conspiracy [312-1], joining in motion to determine
                     the admissibility of co-conspirators statements. [312-2], joining in motion to identify witnesses with juvenile
                     adjudications [311-1], joining in motion pending juvenile proceedings [311-2], joining in motion to inspect juvenile files
                     pursuant to Davis v. Alaska. [311-3], joining in motion for an order directing the government to give notice of its
                     intention to rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in
                     futherance of the conspiracy. [310-1], joining in motion for notice of government's intention to use residual hearsay
                     exception under Rule 803(24). [309-1], joining in motion for pretrial production of statements of persons who will not be
                     called as witnesses at trial. [308-1], joining in motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4)
                     count(s) 48s-50s [307-1], joining in motion to strike overt acts [307-2], joining in motion Racketeering Act 70(a)-(g) of
                     count two of the indictiment [307-3], joining in motion to strike all references to the triple murder in Temple Hills,
                     Maryland. [307-4], joining in motion for notice of government's intention to use residual hearsay exception under Rule
                     804(b)(5). [304-1], joining in motion to disclose identities of each confidential informant regardless of whether they will
                     be called at trial. [303-1], joining in motion for pretrial identification and production of Jencks material. [302-1], joining
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                                                                  App 64
          USCA Casein #21-3072          Document
                      motion for in camera             #2077668
                                           review of Grand                     Filed: the
                                                           Jury testimony to determine 10/01/2024            Page 74
                                                                                          existence of a racketeering     of 150
                                                                                                                      enterprise. [301-1],
                         joining in motion for a pre-trial hearing to determine the admissibility of video and audio tapes. [300-1], joining in
                         motion to suppress physical evidence [306-1], joining in motion request for an oral hearing. [306-2], joining in motion to
                         suppress custodial statement(s) [305-1], joining in motion request for evidentiary hearing; [305-2], joining in motion to
                         change location of confinement pending trial. [296-1], joining in motion to compel discovery [293-1], joining in motion
                         for the appointment of a second investigator [294-1], joining in motion for order granting leave to serve subpoenas upon
                         two Assistant United States Attorneys [291-1], joining in motion to compel their testimony at trial [291-2], joining in
                         motion to quash subpoena duces tecum issued to the Acting Chief of Human Resources at the U.S. Dept. of Agriculture
                         [197-1], joining in motion for disclosure of exculpatory evidence [114-1], joining in motion notice to the government of
                         exculpatory evidence requested concerning government's use of informants, operatives and cooperating individuals.
                         [114-2], joining in motion for discovery and inspection concerning government's use of informants, operatives and
                         cooperating individuals. [113-1], joining in motion for interim investigator payments [66-1], joining in motion to
                         continue trial date. [53-1], joining in motion for appointment of expert services (investigator) [8-1] (erd) (Entered:
                         09/28/2000)
   08/28/2000      372 MOTION JOINDER by SAMUEL CARSON joining in motion for pretrial hearing to determine the existence of a
                       conspiracy [312-1], joining in motion to determine the admissibility of co-conspirators statements [312-2], joining in
                       motion to identify witnesses with juvenile adjudications [311-1], joining in motion pending juvenile proceedings [311-2],
                       joining in motion to inspect juvenile files pursuant to Davis v. Alaska [311-3], joining in motion for an order directing the
                       government to give notice of its intention to rely upon other crimes evidence regardless of whether the prior bad acts
                       were also uncharged acts in futherance of the conspiracy [310-1], joining in motion for pretrial production of statements
                       of persons who will not be called as witnesses at trial [308-1], joining in motion for notice of government's intention to
                       use residual hearsay exception under Rule 804(b)(5) [304-1], joining in motion to disclose identities of each confidential
                       informant regardless of whether they will be called at trial [303-1], joining in motion for pretrial identification and
                       production of Jencks material [302-1], joining in motion for in camera review of Grand Jury testimony to determine the
                       existence of a racketeering enterprise [301-1], joining in motion for a pre-trial hearing to determine the admissibility of
                       video and audio tapes [300-1], joining in motion to change location of confinement pending trial [296-1] (erd) (Entered:
                       09/28/2000)
   08/28/2000      373 MOTION JOINDER by VINCENT HILL joining in motion for an order directing the government to give notice of its
                       intention to rely upon other crimes evidence regardless of whether the prior bad acts were also uncharged acts in
                       futherance of the conspiracy [310-1], joining in motion for notice of government's intention to use residual hearsay
                       exception under Rule 803(24) [309-1], joining in motion for pretrial production of statements of persons who will not be
                       called as witnesses at trial [308-1], joining in motion for notice of government's intention to use residual hearsay
                       exception under Rule 804(b)(5) [304-1], joining in motion for in camera review of Grand Jury testimony to determine the
                       existence of a racketeering enterprise [301-1], joining in motion for a pre-trial hearing to determine the admissibility of
                       video and audio tapes [300-1], joining in motion to change location of confinement pending trial [296-1], joining in
                       motion for pretrial hearing to determine the existence of a conspiracy [312-1], joining in motion to determine the
                       admissibility of co-conspirators statements [312-2], joining in motion to identify witnesses with juvenile adjudications
                       [311-1], joining in motion pending juvenile proceedings [311-2] (erd) (Entered: 09/28/2000)
   08/30/2000      375 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                       Greenville Correctional 901 Corrections Way, Jarrett, Virginia 23870 for production of David L. Chappell (Federal
                       Registration No. 277396 and DOB: 12/6/67) to testify on 10/10/00, as to VINCENT HILL. (hsj) (zss). (Entered:
                       09/08/2000)
   08/31/2000            Text not available. (Entered: 08/31/2000)
   09/01/2000      374 MOTION filed by VINCENT HILL to file out of time; EXHIBITS 1) motion to suppress evidence and statements 2)
                       motion to suppress identification. (cas) Modified on 09/13/2000 (zss). (Entered: 09/07/2000)
   09/01/2000      381 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Gerald Fisher as CJA counsel on 9/28/98 for
                       Death Penalty Proceedings. Signed: 9/1/00 (erd) (zss). (Entered: 09/12/2000)
   09/01/2000      382 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen, Signed: 9/1/00, Rate:
                       $2,279.50. (erd) (zss). (Entered: 09/12/2000)
   09/01/2000      383 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                       Death Penalty Proceedings of Samuel Carson Voucher #: 469305, Signed: 9/1/00, Rate: $2,313,98. (erd) (zss). (Entered:
                       09/12/2000)
   09/01/2000      384 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR appointing Frederick Sullivan as CJA counsel.
                       Voucher No.: 1012700 Signed: 10/6/98 NPT 10/5/98 (erd) (zss). (Entered: 09/12/2000)
   09/01/2000      392 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Vaughan & Vaughan, Inc. Voucher #:
                       0143352, Signed: 9/1/00 per court Order of 2/2/99, Rate: $955.30. (erd) (zss). (Entered: 09/13/2000)
   09/01/2000      400 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                       Voucher No.: 0476689 Signed: 9/1/00, order 2/9/99 & 2/16/99 (erd) (zss). (Entered: 09/19/2000)
   09/05/2000      399 REPLY by WILLIAM KYLE SWEENEY to government's opposition to motion to suppress custodial statements (cas)
                       (zss). (Entered: 09/15/2000)
   09/06/2000 376 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
(Page 74 of Total) Sussex One State Prison for production of CARLTON ROBINSON to testify on October 13, 2000, as to VINCENT
                                                                     App 65
        USCA CaseHILL
                   #21-3072           Document
                      . (jdm) (zss). (Entered:        #2077668
                                               09/08/2000)                     Filed: 10/01/2024           Page 75 of 150
  09/07/2000   394 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR appointing Howard Bramson as CJA counsel. Signed:
                   9/7/00 NPT 5/20/00 (erd) (zss). (Main Document 394 replaced on 8/27/2024) (zss). (Entered: 09/13/2000)
  09/08/2000   377 REPLY by WILLIAM KYLE SWEENEY to government's opposition to the defendant's Rico motions. (jdm) (zss).
                   (Entered: 09/11/2000)
  09/08/2000   380 REPLY by JEROME MARTIN JR., to the government's omnibus opposition to defendant's pretrial motions. (jdm) (zss).
                   (Entered: 09/12/2000)
  09/08/2000   385 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Paul B. DeWolfe as CJA counsel
                   for Death Penalty Proceedings (date of order 11/2/98). Signed: 9/8/00 (erd) (zss). (Entered: 09/12/2000)
  09/08/2000   388 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                   services for Death Penalty Proceedings of Benjamin H. Dinolt Voucher #: D187S3-013, Signed: 9/8/00, Rate: $4,017.24.
                   (erd) (zss). (Entered: 09/12/2000)
  09/08/2000   404 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : granting motion to file out of time; [374-1] by VINCENT
                   HILL Motions due or before 9/18/00 for VINCENT HILL . (N) (cas) (zss). (Entered: 09/19/2000)
  09/09/2000   386 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Charles Roach, Jr. Voucher #:
                   0143338011, Signed: 9/8/00, Rate: $2,790.00. (erd) (zss). (Entered: 09/12/2000)
  09/09/2000   387 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                   #: 0617771-003, Signed: 9/8/00, Rate: $4,025.00. (erd) (Entered: 09/12/2000)
  09/11/2000   378 SECOND MOTION filed by WILLIAM KYLE SWEENEY to suppress identification testimony (cas) (zss). (Entered:
                   09/11/2000)
  09/11/2000   379 RESPONSE by USA in opposition to motion for reconsideration of his motion for severance [366-1] by SEAN COATES
                   . (cas) (zss). (Entered: 09/11/2000)
  09/11/2000   389 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of Sam Carson, Voucher #: D-21433-020, Signed: 9/11/00, Rate: $3,082.49. (erd) (zss).
                   (Entered: 09/13/2000)
  09/11/2000   390 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick D. Jones as CJA counsel for Death
                   Penalty Proceedings. Signed: 9/11/00 NPT 9/22/98 (erd) (zss). (Entered: 09/13/2000)
  09/11/2000   391 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                   Death Penalty Proceedings. Voucher #: 000620000002 Signed: 9/11/00 Appointment date 11/7/98 (erd) (Entered:
                   09/13/2000)
  09/11/2000   393 RESPONSE by USA in opposition to defendant Vincent Hill's motion to suppress identification and suppress evidence
                   and statements. (erd) (zss). (Entered: 09/13/2000)
  09/12/2000   397 SUPPLEMENTAL REPLY by JEROME MARTIN JR. to the government's opposition to defendants' pretrial motions
                   [360-1] by USA; Exhibits (1) (cas) Modified on 09/14/2000 (zss). (Entered: 09/14/2000)
  09/13/2000   396 SUPPLEMENTAL MEMORANDUM OF LAW by WILLIAM SWEENEY in opposition to the government's motion to
                   admit out of Court statements of murdered witnesses [314-1] by USA (cas) Modified on 09/28/2000 (zss). (Entered:
                   09/13/2000)
  09/13/2000   398 SUPPLEMENTAL CASE LAW IN SUPPORT OF MOTION by WILLIAM KYLE SWEENEY to compel discovery
                   [293-1] by WILLIAM KYLE SWEENEY. Attachments (1). (cas) (zss). (Entered: 09/14/2000)
  09/13/2000   401 ORDER by Judge Thomas P. Jackson as to WILLIAM HILL appointing Pleasant Brodnax, III as CJA counsel. Signed:
                   9/13/00 NPT 10/6/99 (erd) (zss). (Entered: 09/19/2000)
  09/13/2000   402 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Jeffrey O'Toole on 4/27/99 NPT
                   9/22/98 as CJA counsel for Death Penalty Proceedings. Voucher #: D17684 Signed: 9/13/00 (erd) (zss). (Entered:
                   09/19/2000)
  09/13/2000   405 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis 12/11/98 NPT 9/2/98 as CJA
                   counsel. Voucher No.: 0478341 Signed: 9/13/00 (erd) (zss). (Entered: 09/19/2000)
  09/14/2000   403 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen, Signed: 9/14/00, Rate:
                   $2,647.50. (erd) (zss). (Entered: 09/19/2000)
  09/20/2000   406 MEMORANDUM by USA in opposition to motion to dismiss overt acts [354-1] by MAURICE PROCTOR. (cas)
                   Modified on 10/06/2000 (zss). (Entered: 09/21/2000)
  09/21/2000   407 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden, FCI
                   Butner (Low) for production of CHARLES WYNN or CHRISTOPHER WYNN to testify on October 10, 2000, as to
                   VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE
                   PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD
                   NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS . (jdm) (zss). (Entered: 09/22/2000)
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  09/25/2000
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             408 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Leonard Lamax Long as CJA
                     counsel for Death Penalty Proceedings. Signed: 9/25/00 NPT 9/11/00 (erd) (Entered: 09/26/2000)
  09/25/2000   409 MEMORANDUM by JEROME MARTIN JR of specific requests under adopted motion to disclose identities of each
                   confidential informant regardless of whether they will be called at trial. (cas) (llk). (Entered: 09/26/2000)
  09/25/2000   410 MEMORANDUM by JEROME MARTIN JR of specific items requested under his adopted third motion to compel
                   discovery. (cas) (llk). (Entered: 09/26/2000)
  09/25/2000   411 MEMORANDUM in opposition by USA to defendant SWEENEY'S second motion to suppress identification testimony
                   [378-1] by WILLIAM KYLE SWEENEY . (cas) (zss). (Entered: 09/26/2000)
  09/26/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Motion hearing set for 10:00 9/27/00 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for
                     SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered: 09/26/2000)
  09/26/2000   412 SUPPLEMENTAL MOTION filed by SAMUEL CARSON to compel disclosure of exculpatory evidence Attachments
                   (1) (cas) (llk). (Entered: 09/27/2000)
  09/26/2000   429 ATTORNEY APPEARANCE for WILLIAM KYLE SWEENEY by Leonard L. Long. (jdm) (zss). (Entered: 10/19/2000)
  09/27/2000   413 MOTION filed by MAURICE PROCTOR to compel discovery Attachments (Letter from Howard F. Bramson defense
                   counsel dated 9/20/00 to AUSA Peter Zeidenberg pertaining to Brady demands on discovery. (cas) (zss). (Entered:
                   09/27/2000)
  09/27/2000   414 SUPPLEMENTAL MOTION filed by SAMUEL CARSON for bill of particulars of unindicted crimes which the
                   government intends to prove at trial (cas) (zss). (Entered: 09/27/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to VINCENT HILL : Governments motion to quash subpoena
                     duces tecum addresses to medical examiner's office; denied as moot as to Vincent Hill, Jerome Martin, Jr., Samuel
                     Carson, William Kyle Sweeney, Maurice Proctor, Sean Coates, Reginald Darnell Switzer, William Hill, Paul Franklin,
                     Donald Nichols, Erik Jones, Raymond Washington, Clifton Edwards 193 ; Governments motion to quash subpoena duces
                     tecum issued to the Acting Chief of Human Resources at the U.S. Department of Agriculture as to Samuel Carson 197 ;
                     Motion by Vincent Hill to suppress evidence and statements and motion to suppress identification denied. granted motion
                     to admit out of Court statements made by murdered witnesses as to Robert Smith and Kevin Hart [314-1] as to
                     VINCENT HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), MAURICE
                     PROCTOR (5), SEAN COATES (6), ERIK JONES (11), RAYMOND WASHINGTON (12), granted motion for an
                     anonymous jury [289-1] as to VINCENT HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM KYLE
                     SWEENEY (4), MAURICE PROCTOR (5), SEAN COATES (6), REGINALD DARNELL SWITZER (7), WILLIAM
                     HILL (8), PAUL FRANKLIN (9), DONALD NICHOLS (10), ERIK JONES (11), RAYMOND WASHINGTON (12),
                     CLIFTON EDWARDS (13) Counsel to submit suggested jury questions by 11/1/00 for VINCENT HILL. Motions
                     hearing continued to 9/27/00 at 10:00. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd)
                     Modified on 10/11/2000 (Entered: 10/10/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to JEROME MARTIN JR.: denied without prejudice motion
                     (joint) to dismiss count(s) as to, JEROME MARTIN (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s,
                     SAMUEL CARSON (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, WILLIAM KYLE
                     SWEENEY (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, SEAN COATES (6) count(s) 2s, 22s, 46s, 47s, 48s-50s,
                     51s-66s, 21s, to strike all racketeering and VCAR counts from the indictment [338-1] as to JEROME MARTIN (2),
                     SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6); Governments motion to quash
                     subpoena duces tecum address to medical examiner's office; denied as moot as to Vincent Hill, Jerome Martin, Jr.,
                     Samuel Carson, William Kyle Sweeney, maurice Proctor, Sean Coates, Reginal Darnell Switzer, William Hill, Paul
                     Franklin, Donald Nichols, Erik Jones, Raymond Washington, Clifton Edwards 193 ; Governments motion to quash
                     subpoena duces tecum issued to the Acting Chief of Human Resources at the U.S. Department of Agriculture as to
                     Samuel Carson 197 ; granted motion for an anonymous jury 289 as to Vincent Hill, Jerome Martin, Samuel Carson,
                     William Kyle Sweeney, Maurice Proctor, Sean Coates, Reginal Darness Switzer, William Hill, Paul Franklin, Donald
                     Nichols, Erik Jones, Raymond Washington, Clifton Edwards; granted motion to dismiss count(s) as to JEROME
                     MARTIN (2) count(s) 10s-12s, 14s, 16s, 18s, 13s, 15s, 19s, and denied as to all other respects of the indictment for
                     prejudicial pre-accusatory delay, violations of statutes of limitations and Speedy Trial provisions [337-1] as to JEROME
                     MARTIN (2) denied motion to dismiss count(s) 1s, 2s of the indictment on fifth and sixth amendment grounds [336-1] as
                     to JEROME MARTIN (2) denied motion to strike aliases from the indictment [335-1] as to JEROME MARTIN (2)
                     denied motion to suppress evidence [334-1] as to JEROME MARTIN (2) denied as moot motion to suppress statement(s)
                     and denied as to certain statements [333-1] as to JEROME MARTIN (2) Counsel to submit suggested jury questions by
                     11/1/00 for JEROME MARTIN JR. . Motions hearing continued to 9/27/00 at 10:00. Defendant committed/commitment
                     issued. Reporter: Phyllis Merana (erd) (Entered: 10/10/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to SAMUEL CARSON : Denied joint motion without
                     prejudice to dismiss counts as to, Jerome Martin (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80,
                     Samuel Carson (3) count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 48s, 49s-50s, 51s-66s, William Kyle Sweeney Kyle
                     Sweeney (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, Sean Coates (6) count(s) 2s, 22s, 46s, 47s, 48s-50s, 51s-
                     66s, 21s, to strike all racketeering and VCAR counts from the indictment 338 ; Governments motion to quash subpoena
                     duces tecum address to medical examiner's office; denied as moot as to Vincent Hill, Jerome Martin, Jr., Samuel Carson,
(Page 76 of Total)   William Kyle Sweeney, Maurice Proctor, Sean Coates, Reginald Darnell Switzer, William Hill, Paul Franklin, Donald

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                          Erik Jones, Raymond     #2077668
                                              Washington,                 Filed:
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                                                                              ; Governments            Page
                                                                                            motion to quash   77 of duces
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                     issued to the Acting Chief of Human Resources at the U.S. Department of Agriculture as to Samuel Carson 197 ; granted
                     motion for an anonymous jury 289 as to Vincent Hill, Jerome Martin, Samuel Carson, William Kyle Sweeney, Maurice
                     Proctor, Sean Coates, Reginald Darnell Switzer, William Hill, Paul Franklin, Donald Nichols, Erik Jones, Raymond
                     Washington, Clifton Edwards; denied motion for discovery of statements of codefendants and co-conspirators [326-1] as
                     to SAMUEL CARSON (3) denied motion additional sanctions due to violations of Brady V. Maryland [329-3] as to
                     SAMUEL CARSON (3) denied motion for notice of government's intention to use residual hearsay exception under FRE
                     (807) [325-1] as to SAMUEL CARSON (3) denied motion to dismiss count(s) as to SAMUEL CARSON (3) count(s) 5s-
                     6s, 7s-8s [329-1] by SAMUEL CARSON denied motion to compel disclosure of evidence subject to suppression under
                     Fed. R. Cim.P.12(b)(3) [328-1] as to SAMUEL CARSON (3) denied motion for Bill of Particulars [327-1] as to
                     VINCENT HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), MAURICE
                     PROCTOR (5), SEAN COATES (6), REGINALD DARNELL SWITZER (7), WILLIAM HILL (8), PAUL FRANKLIN
                     (9), DONALD NICHOLS (10), ERIK JONES (11), RAYMOND WASHINGTON (12), CLIFTON EDWARDS (13)
                     denied motion to strike all aliases from the indictment [330-1] as to SAMUEL CARSON (3) denied motion for Bill of
                     Particulars [327-1] by defendantss, denied motion for discovery of statements of codefendants and co-conspirators [326-
                     1] by SAMUEL CARSON Counsel to submit suggested jury questions by 11/1/00 for SAMUEL CARSON. Motions
                     hearing continued to 9/27/00 at 10:00. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd)
                     Modified on 10/11/2000 (Entered: 10/10/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : Denied without prejudice
                     joint motion by Jerome Martin Jr., Samuel Carson, William Kyle Sweeney, Sean Coates to dismiss count(s) as to, Jerome
                     Martin (2) count(s) 1s, 2s, 9s, 16s, 15s, 17s, 19s, 20s, 37s, 51s-66s, 67s-80s, Samuel Carson (3) count(s) 2s, 5s-6s, 7s-8s,
                     30s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, William Kyle Sweeney (4) count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s,
                     21s, Sean Coates (6) count(s) 2s, 22s, 46s, 47s, 48s-50s, 51s-66s, 21s, to strike all racketeering and VCAR counts from
                     the indictment 338 ; Governments motion to quash subpoena duces addresses to medical examiner's office; denied as
                     moot as to Vincent Hill, Jerome Martin, Jr., Samuel Carson, William Kyle Sweeney, Maurice Proctor, Sean Coates,
                     Reginald Darnell Switzer, William Hill, Paul Franklin, Donald Nichols, Erik Jones, Raymond Washington, Clifton
                     Edwards 193 ; Governments; granting motion for an anonymous jury 289 ; denied motion to suppress identification
                     testimony [344-1] as to WILLIAM KYLE SWEENEY (4), denied motion to suppress physical evidence [306-1] as to
                     WILLIAM KYLE SWEENEY (4), denied motion to suppress custodial statement(s) [305-1] as to WILLIAM KYLE
                     SWEENEY (4) denied without prejudice motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4) count(s)
                     48s-50s [307-1] as to WILLIAM KYLE SWEENEY (4), denied motion for pretrial identification and production of
                     Jencks material [302-1] as to WILLIAM KYLE SWEENEY (4), denied without prejudice as moot motion to identify
                     witnesses with juvenile adjudications [311-1] as to WILLIAM KYLE SWEENEY (4), denied without prejudice as moot
                     motion pending juvenile proceedings [311-2] as to WILLIAM KYLE SWEENEY (4), denied without prejudice as moot
                     motion to inspect juvenile files pursuant to Davis v. Alaska [311-3] as to WILLIAM KYLE SWEENEY (4) denied
                     motion for an order directing the government to give notice of its intention to rely upon other crimes evidence regardless
                     of whether the prior bad acts were also uncharged acts in futherance of the conspiracy [310-1] as to WILLIAM KYLE
                     SWEENEY (4), denied motion for pretrial production of statements of persons who will not be called as witnesses at trial
                     [308-1] as to WILLIAM KYLE SWEENEY (4), denied motion to disclose identities of each confidential informant
                     regardless of whether they will be called at trial [303-1] as to WILLIAM KYLE SWEENEY (4) denied as moot motion
                     for notice of government's intention to use residual hearsay exception under Rule 803(24) [309-1] as to WILLIAM
                     KYLE SWEENEY (4), denied as moot motion for notice of government's intention to use residual hearsay exception
                     under Rule 804(b)(5) [304-1] as to WILLIAM KYLE SWEENEY (4), denied motion for in camera review of Grand Jury
                     testimony to determine the existence of a racketeering enterprise [301-1] as to WILLIAM KYLE SWEENEY (4), denied
                     motion for pretrial hearing to determine the admissibility of testimony of each proposed expert to be introduced on behalf
                     of the United States at trial [230-1] as to WILLIAM KYLE SWEENEY (4) granted motion regarding Robert Smith,
                     denied in all other respects [340-2] as to WILLIAM KYLE SWEENEY (4), denied motion for pretrial hearing to
                     determine the existence of a conspiracy [312-1] as to WILLIAM KYLE SWEENEY (4), denied motion to determine the
                     admissibility of co-conspirators statements [312-2] as to WILLIAM KYLE SWEENEY (4) denied as moot motion to
                     suppress identification testimony [378-1] as to WILLIAM KYLE SWEENEY (4) granted motion to change location of
                     confinement pending trial. [296-1] as to WILLIAM KYLE SWEENEY (4) denied motion for order granting leave to
                     serve subpoenas upon two Assistant United States Attorneys [291-1] as to WILLIAM KYLE SWEENEY (4), denied
                     motion to compel their testimony at trial [291-2] as to WILLIAM KYLE SWEENEY (4) Counsel to submit suggested
                     jury questions by 11/1/00 for WILLIAM KYLE SWEENEY. Motions hearing continued at 10:00 9/27/00. Defendant
                     committed/commitment issued. Reporter: Phyllis Merana (erd) Modified on 10/11/2000 (Entered: 10/11/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to MAURICE PROCTOR : Governments motion to quash
                     subpoena duces tecum address to medical examiner's office; denied as moot as to vincent Hill, Jerome Marin, Jr., Samuel
                     Carson, William Kyle Sweeney, Maurice Proctor, Sean Coates, Reginald Darnell Switzer, William Hill, Paul Franklin,
                     Donald Nichols, Erik Jones, Raymond Washington, Clifton Edwards 193 ; granted motion for an anonymous jury 289 as
                     to Vincent Hill (1), Jerome Martin (2), Samuel Carson (3), William Kyle Sweeney (4), Maurice Proctor (5), Sean Coates
                     (6), Reginald Darnell Switzer (7), William Hill (8), Paul Franklin (9), Donald Nichols (10), Erik Jones (11), Raymond
                     Washington (12), Clifton Edwards (13); denied motion to compel discovery [413-1] as to MAURICE PROCTOR (5)
                     Counsel to submit suggested jury questions by 11/1/00 for MAURICE PROCTOR. Motions hearing continued to 9/27/00
                     at 10:00. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 10/11/2000)
  09/27/2000         MOTION HEARING before Judge Thomas P. Jackson as to SEAN COATES : Motion (joint) filed by Jerome Martin Jr.,
                     Samuel Carson, William Jerome Martin, Sean Coates to dismiss counts denied without prejudice as to Jerome Martin Jr.,
                     count(s) 20s, 37s, 51s-66s, 67s-80s, Samuel Carson count(s) 2s, 5s-6s, 7s-8s, 30s, 43s, 47s, 44s, 48s, 49s-50s, 51s-66s,
                     William Kyle Sweeney count(s) 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 21s, Sean Coates count(s) 2s, 22s, 46s, 47s, 48s-50s,
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                          21s, to strikeDocument
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                      subpoena duces tecum address to medical examiner's office; denied as moot as to Vincent Hill, Jerome Martin, Jr.,
                      Samuel Carson, William Kyle Sweeney, Maurice Proctor, Sean Coates, Reginald darnell Switzer, William Hill, Paul
                      Franklin, Donald Nichols, Erik Jones, Raymond Washington, Clifton Edwards 193 ; granted motion to admit out of Court
                      statements made my murdered witnesses as to Robert Smith and Kevin Hart 314 as to Vincent Hill (1), Jerome Martin
                      (2), Samuel Carson (3), William Kyle Sweeney (4), Maurice Proctor (5), Sean Coates (6), Erik Jones (11), Raymond
                      Washington (12); granted motion for an anonymous jury 289 as to Vincent Hill (1), Jerome Martin (2), Samuel Carson
                      (3), William Kyle Sweeney (4), Maurice Proctor (5), Sean Coates (6), Reginald Darnell Switzer (7), William Hill (8),
                      Paul Franklin (9), Donald Nichols (10), Erik Jones (11), Raymond Washington (12), Clifton Edwards (13); denied motion
                      for reconsideration of his motion for severance [366-1] as to SEAN COATES (6) Counsel to submit suggested jury
                      questions by 11/1/00 for SEAN COATES. Motions hearing continued to 9/27/00 at 10:00. Defendant
                      committed/commitment issued. Reporter: Phyllis Merana (erd) Modified on 10/12/2000 (Entered: 10/11/2000)
  09/28/2000    435 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS : that
                    proposed juror questionnaires and special instrructions to the jury venire regarding the questionnaires are due by
                    November 1, 2000. (N) (jdm) (zss). (Entered: 10/30/2000)
  09/28/2000    436 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : granting motion for leave to join: motion for notice
                    of government's intention to use residual hearsay exception under FRE (807) [325-1], motion for pretrial hearing to
                    determine the existence of a conspiracy [312-1], motion to identify witnesses with juvenile adjudications [311-1], motion
                    for an order directing the government to give notice of its intention to rely upon other crimes evidence regardless of
                    whether the prior bad acts were also uncharged acts in futherance of the conspiracy [310-1], motion for pretrial
                    production of statements of persons who will not be called as witnesses at trial [308-1], motion for notice of
                    government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1], motion to disclose identities of
                    each confidential informant regardless of whether they will be called at trial [303-1], motion for pretrial identification
                    and production of Jencks material [302-1], motion for in camera review of Grand Jury testimony to determine the
                    existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility of video and
                    audio tapes [300-1], motion to change location of confinement pending trial [296-1] [342-1], motion to dismiss count(s)
                    as to SAMUEL CARSON (3) count(s) 5s-6s, 7s-8s [329-1], motion to compel disclosure of exculpatory evidence [329-
                    2], motion additional sanctions due to violations of Brady V. Maryland [329-3], motion to strike all aliases from the
                    indictment [330-1], motion to compel disclosure of evidence subject to suppression under Fed. R. Cim.P.12(b)(3) [328-
                    1], motion for Bill of Particulars [327-1], motion for discovery of statements of codefendants and co-conspirators [326-
                    1], motion for notice of government's intention to use residual hearsay exception under FRE (807) [325-1], motion for
                    pretrial hearing to determine the existence of a conspiracy [312-1], motion to determine the admissibility of co-
                    conspirators statements. [312-2], motion to identify witnesses with juvenile adjudications [311-1], motion pending
                    juvenile proceedings [311-2], motion to inspect juvenile files pursuant to Davis v. Alaska [311-3], motion for an order
                    directing the government to give notice of its intention to rely upon other crimes evidence regardless of whether the prior
                    bad acts were also uncharged acts in futherance of the conspiracy [310-1], motion for notice of government's intention to
                    use residual hearsay exception under Rule 803(24) [309-1], motion for pretrial production of statements of persons who
                    will not be called as witnesses at trial [308-1], motion to dismiss count(s) as to WILLIAM KYLE SWEENEY (4)
                    count(s) 48s-50s [307-1], motion to strike overt acts [307-2], motion Racketeering Act 70(a)-(g) of count two of the
                    indictiment [307-3], motion to strike all references to the triple murder in Temple Hills, Maryland [307-4], motion for
                    notice of government's intention to use residual hearsay exception under Rule 804(b)(5) [304-1], motion to disclose
                    identities of each confidential informant regardless of whether they will be called at trial [303-1], motion for pretrial
                    identification and production of Jencks material [302-1], motion for in camera review of Grand Jury testimony to
                    determine the existence of a racketeering enterprise [301-1], motion for a pre-trial hearing to determine the admissibility
                    of video and audio tapes [300-1], motion to suppress physical evidence [306-1], motion request for an oral hearing [306-
                    2], motion to suppress custodial statement(s) [305-1], motion request for evidentiary hearing; [305-2], motion to change
                    location of confinement pending trial [296-1], motion to compel discovery [293-1] as to JEROME MARTIN (2) (N) (erd)
                    (zss). (Entered: 10/30/2000)
  09/28/2000    451 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS :
                    denying motion for bill of particulars of unindicted crimes which the government intends to prove at trial [414-1] as to
                    SAMUEL CARSON (3), denying motion to compel disclosure of exculpatory evidence [412-1] as to SAMUEL
                    CARSON (3), denying motion to request for a pretrial hearing. [344-2] as to WILLIAM KYLE SWEENEY (4), denying
                    motion to compel disclosure of exculpatory evidence [329-2] as to SAMUEL CARSON (3), denying motion to quash
                    subpoena duces tecum issued to the Acting Chief of Human Resources at the U.S. Dept. of Agriculture [197-1] as to
                    SAMUEL CARSON (3) (N) (aet) (llk). (Entered: 11/06/2000)
  09/29/2000    415 Government's Submission Regarding KEVIN HART and ROBERT B. SMITH as to VINCENT HILL, JEROME
                    MARTIN JR., SEAN COATES, WILLIAM KYLE SWEENEY, SAMUEL CARSON, MAURICE PROCTOR . (cas)
                    (zss). (Entered: 10/02/2000)
  09/29/2000    420 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Paul B. DeWolfe on 11/2/98 as
                    CJA counsel for Death Penalty Proceedings. Voucher #: D 17522 Signed: 9/29/00 (xx) (zss). (Entered: 10/05/2000)
  10/01/2000    445 SUPPLEMENTAL Submission Regarding Shooting of ROBERT SMITH at Hope Village; attachments (7) by USA to
                    (cas) (zss). (Entered: 11/02/2000)
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             416 SUPPLEMENTAL MEMORANDUM in support of it's motion for anonymous jury by USA. (cas) (zss). (Entered:
                      10/04/2000)
  10/04/2000    417 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Alexandra Negin Christ as CJA counsel.
                    Signed: 10/4/00 NPT 9/11/00 (erd) (zss). (Entered: 10/05/2000)
  10/04/2000    418 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth, order signed 2/9/99 &
                    2/16/99 as CJA counsel. Voucher No.: 0476689 Signed: 10/4/00 (erd) (zss). (Entered: 10/05/2000)
  10/04/2000    419 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR appointing Frederick Sullivan on 10/9/95 NPT
                    10/5/98 as CJA counsel. Voucher No.: 1012700 Signed: 10/4/00 (erd) (zss). (Entered: 10/05/2000)
  10/04/2000    421 ORDER by Judge Thomas P. Jackson as to VINCENT HILL: that defendant Martin's request for specific items under his
                    adopted third motion to compel discovery [#410] is denied and that Martin's specific requests under his adopted motion
                    to disclose identities of each confidential information regardless of whether they will be called at trial [#409] is denied,
                    the defndant Martin's oral motion for relief regarding the government's disclosure of his medical records to defense
                    counsel is denied and that the government shall place defendant Martin's medical records under seal to prevent further
                    disclosures and that counsel are subject to this sealing order. This ORDER is also docket in CR 99-348.(N) (cas)
                    (Entered: 10/10/2000)
  10/10/2000    422 MOTION filed by WILLIAM KYLE SWEENEY for reconsideration of motion for order authorizing defendant to
                    compel the testimony of two Assistant United States Attorneys ; Exhibit (1). (jdm) (zss). (Entered: 10/10/2000)
  10/13/2000    423 JOINT MOTION by WILLIAM KYLE SWEENEY for order authorizing receipt of motions hearing transcript (cas)
                    (zss). (Entered: 10/16/2000)
  10/13/2000    424 JOINT MOTION by WILLIAM KYLE SWEENEY for order authorizing receipt of daily copy of trial transcripts (cas)
                    (zss). (Entered: 10/16/2000)
  10/16/2000    425 RESPONSE by USA in opposition to motion for reconsideration of motion for order authorizing defendant to compel the
                    testimony of two Assistant United States Attorneys [422-1] by WILLIAM KYLE SWEENEY. (cas) (Entered:
                    10/16/2000)
  10/16/2000    426 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY: that each counsel for each defendant is
                    authorized to receive a copy of September 26 and 27, 2000 Motions Hearing transcript. The transcript is to be produced
                    in disk form, in paper form and multipage with index form. (N) (cas) (Entered: 10/18/2000)
  10/16/2000    427 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY: that each counsel for each defendant is
                    authorized to receive a daily copy of the trial transcript. The transcript is to be produced in disk from, in paper from and
                    multipage with index from. (N) (cas) (Entered: 10/18/2000)
  10/18/2000    428 Government's Submission Regarding Shooting of Robert Smith at Hope Village by USA as to VINCENT HILL . (cas)
                    (Entered: 10/19/2000)
  10/18/2000    430 NOTICE OF FILING by VINCENT HILL. (Attachment: Letter from defense counsel Christopher M. Davis to AUSA
                    Peter R. Zeidenberg regarding results of examination and report of investigation). ). (cas) (zss). (Entered: 10/19/2000)
  10/23/2000    432 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                    Penalty Proceedings of Sean Coates, Signed: 10/23/00, Rate: $1,000 or $45.00 PH., estimate 20 HRS.. (erd) Modified on
                    10/27/2000 (Entered: 10/27/2000)
  10/23/2000    433 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                    services for Death Penalty Proceedings of William Kyle Voucher #: D18753-14, per court order of 2/9/909 Signed:
                    10/23/00, Rate: $3768.48. (erd) Modified on 10/27/2000 (zss). (Entered: 10/27/2000)
  10/23/2000    434 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Dale Vaughan Voucher #: 0143352,
                    Signed: 10/23/00, Rate: $3484.50. (erd) (Entered: 10/27/2000)
  10/25/2000    431 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                    Northeast Ohio Correctional, 2240 Hubbard Road, Youngstown, OH 44505 for production of KELVIN MCGOWAN to
                    testify on 11/18/00, as to VINCENT HILL . (cas) (zss). (Entered: 10/26/2000)
  10/25/2000    437 SUPPLEMENTAL MEMORANDUM by USA as to VINCENT HILL, JEROME MARTIN, SEAN COATES,
                    WILLIAM SWEENEY, SAM CARSON and MAURICE PROCTOR. (cas) (zss). (Entered: 10/31/2000)
  10/25/2000    441 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel for Death
                    Penalty Proceedings. Signed: 10/25/00 (erd) (Entered: 11/01/2000)
  10/25/2000    442 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan, Signed:
                    10/25/00, Rate: $45.00 PH.. (erd) (zss). (Entered: 11/01/2000)
  10/26/2000    440 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                    Death Penalty Proceedings. Voucher #: 000620000002 Signed: 10/26/00 (erd) (zss). (Entered: 11/01/2000)
  10/27/2000    438 REPLY by WILLIAM KYLE SWEENEY to the government's opposition to WILLIAM SWEENEY'S motion for
                    reconsideration of motion for order authorizing defendant to compel the testimony of two assistant United States
                    Attorney's [425-1] by USA (cas) (zss). (Entered: 10/31/2000)
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             439 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                      #: 0617771, Signed: 10/31/00, Rate: $3755.00. (erd) (zss). (Entered: 11/01/2000)
  10/31/2000    485 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Services
                    Voucher #: 927000007-03, Signed: 10/31/00 NPT 6/10/00, Rate: $2,741.80. (erd) (zss). (Entered: 11/29/2000)
  11/01/2000    443 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    March 22-23,30, May 20, 24-25, June 1, 1999. Signed: 11/1/00, Daily not approved. Reporter: Phyllis Merna. (erd)
                    (Entered: 11/01/2000)
  11/01/2000    444 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    Sept. 26-27, 2000. Signed: 11/1/00, Daily not approved. Reporter: Phyllis Merana. (erd) (Entered: 11/01/2000)
  11/01/2000    446 JURY INSTRUCTIONS by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, GARY PRICE. (cas) (zjpb). (Entered: 11/02/2000)
  11/01/2000    447 PROPOSED CONFIDENTIAL JUROR QUESTIONNAIRE by VINCENT HILL, JEROME MARTIN JR., SAMUEL
                    CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, GARY PRICE. (cas) (zss).
                    (Entered: 11/02/2000)
  11/01/2000    448 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 9/26/00. Reporter: Phyllis Merana (cas) (zss). (Entered:
                    11/02/2000)
  11/01/2000    449 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 9/27/00. Reporter: Phyllis Merana (cas) (Entered:
                    11/02/2000)
  11/01/2000    453 ORDER by Judge Thomas P. Jackson as to RAYMOND WASHINGTON appointing John Carney as CJA counsel.
                    Signed: 11/1/00 (erd) (Entered: 11/08/2000)
  11/02/2000    450 MOTION filed by WILLIAM KYLE SWEENEY to admit into evidence the Maryland grand jury testimony of two
                    unavailable witnesses who were introduced by the state's attorney for Prince George's County ; Exhibits (5) (cas) (llk).
                    (Entered: 11/03/2000)
  11/03/2000    455 MOTION filed by SAMUEL CARSON for leave to join in motion for reconsideration of motion for order authorizing
                    defendant to compel the testimony of two Assistant United States Attorneys [422-1] (cas) (zss). (Entered: 11/08/2000)
  11/03/2000    470 ATTORNEY APPEARANCE for SAMUEL CARSON by Lexi Negin Christ. (erd) (zss). (Entered: 11/21/2000)
  11/06/2000    452 MOTION filed by SAMUEL CARSON for leave to join in motion to admit into evidence the Maryland grand jury
                    testimony of two unavailable witnesses who were introduced by the state's attorney for Prince George's County [450-1]
                    (cas) (zss). (Entered: 11/07/2000)
  11/07/2000    454 MOTION filed by MAURICE PROCTOR for continuance of his trial from the currently scheduled date (cas) (zss).
                    (Entered: 11/08/2000)
  11/07/2000    494 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON : granting motion for leave to join in motion for order
                    that United States Marshall Service provide suitable housing for defendant within 30 mile radius of District Court during
                    trial [461-1], motion for modification of conditions of detention [461-2] [475-1] as to SAMUEL CARSON (3) (N) (jdm)
                    (zss). (Entered: 12/08/2000)
  11/08/2000    456 RESPONSE by USA in opposition to motion for continuance of his trial from the currently scheduled date [454-1] by
                    MAURICE PROCTOR; Exhibits (8). (jdm) (zss). (Entered: 11/09/2000)
  11/08/2000    457 MOTION filed by VINCENT HILL to compel production of dead alibi witness grand jury transcript , and also to admit it
                    into evidence at trial ; Exhibits (3) (jdm) (llk). (Entered: 11/13/2000)
  11/08/2000    458 SUPPLEMENTAL RESPONSE by VINCENT HILL in opposition to USA motion to admit out of Court statement made
                    by murdered witness. (jdm) (zss). (Entered: 11/13/2000)
  11/08/2000          STATUS HEARING before Judge Thomas P. Jackson as to RAYMOND WASHINGTON : Defendant failed to appear.
                      Sentence set for 9:30 2/2/01 for RAYMOND WASHINGTON. Reporter: Phyllis Merana (erd) (Entered: 10/29/2001)
  11/08/2000          SCHEDULING NOTICE as to RAYMOND WASHINGTON : Status hearing set for 9:30 2/2/01 for RAYMOND
                      WASHINGTON. before Judge Thomas P. Jackson. (erd) (Entered: 10/29/2001)
  11/09/2000    459 REPLY by MAURICE PROCTOR to response in opposition to [456-1] by USA (jdm) (zss). (Entered: 11/13/2000)
  11/13/2000    497 LETTER filed by MAURICE PROCTOR regarding new counsel. FIAT by Judge Thomas P. Jackson . (cas) (zss).
                    (Entered: 12/12/2000)
  11/14/2000          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/15/00 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/14/2000)

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             460 PROPOSED ADDITIONAL VOIR DIRE by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                     WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                     EDWARDS (jdm) (zss). (Entered: 11/15/2000)
  11/14/2000   462 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   6/8/00. Signed: 11/14/00. Reporter: Phyllis Merana. (erd) (Entered: 11/17/2000)
  11/14/2000   463 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of SAMUEL CARSON Voucher #: D-21433, Signed: 11/14/00, Rate: $4,373.34. (erd) (zss).
                   (Entered: 11/17/2000)
  11/14/2000   465 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                   04, Signed: 11/14/00, Rate: $3147.50. (erd) (Entered: 11/17/2000)
  11/14/2000   466 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Charles Roach Voucher #:
                   0143338, Signed: 11/14/00, Rate: $2,980.20. (erd) (zss). (Entered: 11/17/2000)
  11/14/2000   467 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of SAMUEL CARSON Voucher #: D-21433, Signed: 11/14/00, Rate: $1,394.01. (erd) (zss).
                   (Entered: 11/17/2000)
  11/15/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/20/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/15/2000)
  11/15/2000   461 MOTION filed by VINCENT HILL for order that United States Marshall Service provide suitable housing for defendant
                   within 30 mile radius of District Court during trial , and for modification of conditions of detention (jdm) (zss). (Entered:
                   11/16/2000)
  11/15/2000         VOIR DIRE begun as to, VINCENT HILL (1) count(s) 1s, 2s, 3s, 22s, 31s, 33s, 32s, 34s, 38s, 51s-66s, 67s-80s, 81s-98s,
                     99s-101s, JEROME MARTIN (2) count(s) 1s, 2s, 9s, 17s, 20s, 37s, 51s-66s, 67s-80s, 81s-98s, 99s-101s, SAMUEL
                     CARSON (3) count(s) 1s, 2s, 5s-6s, 7s-8s, 23s, 29s, 30s, 42s, 46s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, 67s-80s,
                     WILLIAM KYLE SWEENEY (4) count(s) 1s, 2s, 22s, 35s, 36s, 48s-50s, 51s-66s, 67s-80s, 21s, MAURICE PROCTOR
                     (5) count(s) 1s, 2s, 20s, 22s, 28s, 27s, 51s-66s, 67s-80s, SEAN COATES (6) count(s) 1s, 2s, 22s, 46s, 47s, 48s-50s, 51s-
                     66s, 67s-80s, 21s. Defendants Vincent Hill, Jerome Martin, Samuel Carson and William Kyle Sweeney appearance
                     waived during jury filling out questionnaire. Defendants Maurice Proctor and Sean Coates elect to be present during jury
                     filling out questionnaire. (erd) Modified on 01/29/2001 (Entered: 01/10/2001)
  11/15/2000         STATUS HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR : Motion hearing set for 3:00 11/17/00 for VINCENT HILL, for JEROME MARTIN
                     JR., for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR. Defendants committed/commitment issued.
                     Reporter: Phyllis Merana (erd) (Entered: 01/29/2001)
  11/16/2000   468 SUPPLEMENT TO MOTION filed by VINCENT HILL for order that United States Marshal Service provide suitable
                   housing for defendant within 30 mile radius of District of Columbia , and for modification of conditions of detention
                   (cas) (zss). (Entered: 11/18/2000)
  11/16/2000   469 RESPONSE by USA in opposition to motion for order that United States Marshall Service provide suitable housing for
                   defendant within 30 mile radius of District Court during trial [461-1] by HILL, MARTIN, and PROCTOR'S motion for
                   modification of conditions of detention [461-2] by HILL, MARTIN, and PROCTOR'S; attachments (1) (cas) (zss).
                   (Entered: 11/18/2000)
  11/16/2000   474 ADDITIONAL REQUESTED JURY VOIR DIRE QUESTION by SAMUEL CARSON (cas) (zss). (Entered:
                   11/27/2000)
  11/16/2000   475 MOTION filed by SAMUEL CARSON for leave to join in motion for order that United States Marshall Service provide
                   suitable housing for defendant within 30 mile radius of District Court during trial [461-1], motion for modification of
                   conditions of detention [461-2] (cas) (zss). (Entered: 11/27/2000)
  11/16/2000   478 MOTION filed by JEROME MARTIN JR. for leave to join in codefendant's Hill's motion for order that United States
                   Marshall Service provide suitable housing for defendant within 30 mile radius of District Court during trial [461-1] (cas)
                   (zss). (Entered: 11/28/2000)
  11/16/2000   481 RESPONSE by USA in opposition to motion to admit into evidence the Maryland grand jury testimony of two
                   unavailable witnesses who were introduced by the state's attorney for Prince George's County [450-1] by WILLIAM
                   KYLE SWEENEY . (cas) (zss). (Entered: 11/28/2000)
  11/16/2000   488 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : granting motions of defendants CARSON and PROCTOR
                   to adopt and join HILL'S motion to provide suitable housing for defendant within 30 mile of District of Columbia [468-
                   1] by VINCENT HILL (N) (cas) (zss). (Entered: 11/29/2000)
  11/17/2000   464 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of SAMUEL CARSON Voucher #: D-21433, Signed: 11/14/00, Rate: $4,757.01. (erd) (zss).
                   (Entered: 11/17/2000)
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                                   as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/27/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/17/2000)
  11/17/2000   471 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                   KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES: denying motion for order that United States Marshal
                   Service provide suitable housing for defendant within 30 mile radius of District of Columbia [468-1] as to VINCENT
                   HILL (1), denying motion modification of conditions of detention [468-2] as to VINCENT HILL (1) (N) (hsj) (zss).
                   (Entered: 11/22/2000)
  11/17/2000   472 NOTICE OF APPEAL filed by VINCENT HILL from order [471-1] filed on: 11/17/00 and entered on: 11/22/00. Appeal
                   references VINCENT HILL (1) count(s) 1s, 2s, 3s, 22s, 31s, 33s, 32s, 34s, 38s, 51s-66s, 67s-80s, 81s-98s, 99s-101s.
                   Counsel and defendant(s) notified. Docketing statement: not received. NO FEE: CJA (hsj) (zss). (Entered: 11/22/2000)
  11/17/2000   476 JOINT MOTION by SAMUEL CARSON, MAURICE PROCTOR in limine to exclude items seized during the arrest of
                   April 7, 1992 (cas) (zss). (Entered: 11/28/2000)
  11/17/2000   477 MOTION filed by SEAN COATES to adopt and join motion by defendant's HILL, PROCTOR, and MARTIN for an
                   order l that United States Marshall Service provide suitable housing for defendant within 30 mile radius of District Court
                   during trial [461-1] (cas) (zss). (Entered: 11/28/2000)
  11/17/2000   479 MOTION filed by MAURICE PROCTOR for leave to join in motion for order that United States Marshall Service
                   provide suitable housing for defendant within 30 mile radius of District Court during trial [461-1] (cas) (zss). (Entered:
                   11/28/2000)
  11/17/2000   482 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motionto adopt and join motion by defendant's
                   HILL, PROCTOR, and MARTIN for an order l that United States Marshall Service provide suitable housing for
                   defendant within 30 mile radius of District Court during trial [461-1] [477-1] by SEAN COATES (N) (cas) (zss).
                   (Entered: 11/28/2000)
  11/17/2000   483 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. :granting motion for leave to join in codefendant's
                   Hill's motion for order that United States Marshall Service provide suitable housing for defendant within 30 mile radius
                   of District Court during trial [461-1] [478-1] by JEROME MARTIN JR. (N) (cas) (zss). (Entered: 11/28/2000)
  11/17/2000   487 DUPLICATE ORDER DOCKETED AS NUMBER (471) (cas) Modified on 12/07/2000 (zss). (Entered: 11/29/2000)
  11/17/2000   489 DUPLICATE DOCUMENT FILED DOCEKTED AS NUMBER (472) (erd) Modified on 12/07/2000 (zss). (Entered:
                   11/30/2000)
  11/17/2000   491 SUPPLEMENTAL Pleading in opposition to the motion to admit out of Court statements made by murdered witnesses.
                   [314-1] by USA . (cas) (zss). (Entered: 12/04/2000)
  11/17/2000         MOTION HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL
                     CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : Defendants SAMUEL CARSON
                     and SEAN COATES appearance waived for this motion hearing. Heard and denied motion for order that United States
                     Marshall Service provide suitable housing for defendant within 30 mile radius of District Court during trial and joined by
                     defendants JEROME HILL, SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR and SEAN
                     COATES [461-1] as to VINCENT HILL, JEROME MARTIN, WILLIAM KYLE SWEENEY and MAURICE
                     PROCTOR. Defendants committed/commitment issued. Reporter: Beverly Byrne (erd) (Entered: 01/30/2001)
  11/20/2000   480 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion nunc pro tunc to 11/17/00 to adopt and
                   join motion by defendant's HILL, PROCTOR, and MARTIN for an order l that United States Marshall Service provide
                   suitable housing for defendant within 30 mile radius of District Court during trial [461-1] [477-1] by SEAN COATES
                   (N) (cas) (zss). (Entered: 11/28/2000)
  11/20/2000   484 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Clicks Professional Copy Service,
                   Signed: 11/20/00, Rate: Approval of Services already obtained. (erd) (Entered: 11/29/2000)
  11/20/2000   486 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   10/7/98, 10/18/98 Case No. F5485-96. Signed: 11/20/00. Reporter: Lisa Bankins. (erd) (Entered: 11/29/2000)
  11/21/2000   492 NOTICE OF APPEAL filed by SAMUEL CARSON from order [471-1] filed on: 11/17/00 denying adopted motion for
                   order that the U.S. Marshal Service provide suitable housing for defendant with 30 mile radius and entered on: 11/29/00.
                   Appeal references SAMUEL CARSON. Counsel and defendant(s) notified. Docketing statement: not received. NO FEE:
                   CJA (erd) (zss). (Entered: 12/06/2000)
  11/22/2000   473 TRANSMITTED PRELIMINARY RECORD on appeal [472-1] by VINCENT HILL to U.S. Court of Appeals and
                   Counsel, as to VINCENT HILL. Docketing Statement not received. (hsj) (zss). (Entered: 11/22/2000)
  11/27/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/28/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/27/2000)

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                      DIRE before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : resumed and continued to 11/28/00 at 10:00.
                     Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 01/30/2001)
  11/28/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/29/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/28/2000)
  11/28/2000         VOIR DIRE before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : resumed and continued to 11/29/00 at 10:00.
                     Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered:
                     01/30/2001)
  11/29/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 11/30/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/29/2000)
  11/29/2000   505 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                   Penalty Proceedings of Sean Coates Voucher #: D018719, Signed: 11/29/00, Rate: $2866.42. (erd) (zss). (Entered:
                   12/20/2000)
  11/29/2000         VOIR DIRE before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : resumed and continued to 11/30/00 at 10:00.
                     Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered:
                     01/30/2001)
  11/30/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 12/4/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 11/30/2000)
  11/30/2000   490 TRANSMITTED PRELIMINARY RECORD on appeal [489-1] by VINCENT HILL to U.S. Court of Appeals and
                   Counsel, as to VINCENT HILL. Docketing Statement not received. (erd) (zss). (Entered: 11/30/2000)
  12/05/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 12/6/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 12/05/2000)
  12/06/2000   493 TRANSMITTED PRELIMINARY RECORD on appeal [492-1] by SAMUEL CARSON to U.S. Court of Appeals and
                   Counsel, as to SAMUEL CARSON. Docketing Statement not received. (erd) (zss). (Entered: 12/06/2000)
  12/06/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 12/11/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 12/06/2000)
  12/06/2000   495 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carrikk V, Crynbaugh, Signed:
                   12/6/00, Rate: $2,340.00. (erd) (zss). (Entered: 12/12/2000)
  12/06/2000   496 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                   Death Penalty Proceedings. Voucher #: 000620000002 Signed: 12/6/00 (erd) (zss). (Entered: 12/12/2000)
  12/11/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 12/12/00 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 12/11/2000)
  12/11/2000   499 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                   Greenville Correctional, 901 Corrections Way, Jarrett, Virginia 23870, for production of David L. Chappell, (Federal
                   Reg. No. 277396 and DOB: 12/6/67) to testify on 12/29/00, as to VINCENT HILL, et al. (hsj) (zss). (Entered:
                   12/14/2000)
  12/11/2000   500 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 12/11/00 (erd) (zss). (Entered: 12/14/2000)
  12/11/2000         VOIR DIRE before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : resumed and continued to 12/12/00 at 10:00.
                     Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered:
                     01/30/2001)
  12/12/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 12/13/00 for VINCENT HILL, for JEROME
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        USCA CaseMARTIN
                  #21-3072         Document
                        JR., for SAMUEL      #2077668
                                        CARSON, for WILLIAM KYLEFiled: 10/01/2024
                                                                 SWEENEY,              Page 84 for
                                                                           for MAURICE PROCTOR, of SEAN
                                                                                                   150
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 12/12/2000)
  12/12/2000   498 MOTION filed by SAMUEL CARSON, WILLIAM KYLE SWEENEY to adjust schedule in order to accommodate a
                   monthly haircut at Loudoun County Detention Center (jdm) (zss). (Entered: 12/13/2000)
  12/13/2000         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/4/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 12/13/2000)
  12/13/2000         VOIRD DIRE resumed and completed JURY SELECTION before Judge Thomas P. Jackson as to, VINCENT HILL (1)
                     count(s) 1s, 2s, 3s, 22s, 31s, 33s, 32s, 34s, 38s, 51s-66s, 67s-80s, 81s-98s, 99s-101s, JEROME MARTIN (2) count(s) 1s,
                     2s, 9s, 17s, 20s, 37s, 51s-66s, 67s-80s, 81s-98s, 99s-101s, SAMUEL CARSON (3) count(s) 1s, 2s, 5s-6s, 7s-8s, 23s, 29s,
                     30s, 42s, 46s, 43s, 47s, 44s, 45s, 48s, 49s-50s, 51s-66s, 67s-80s, WILLIAM KYLE SWEENEY (4) count(s) 1s, 2s, 22s,
                     35s, 36s, 48s-50s, 51s-66s, 67s-80s, 21s, MAURICE PROCTOR (5) count(s) 1s, 2s, 20s, 22s, 28s, 27s, 51s-66s, 67s-80s,
                     SEAN COATES (6) count(s) 1s, 2s, 22s, 46s, 47s, 48s-50s, 51s-66s, 67s-80s, 21s : Jury selection begun and continued to
                     10:00 1/4/01. Defendants committed/commitment issued. reporter Phyllis Merana a.m., Beverly Byrne p.m. (erd)
                     (Entered: 01/30/2001)
  12/14/2000   501 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel for Death
                   Penalty Proceedings. Signed: 12/14/00 (erd) (Entered: 12/14/2000)
  12/14/2000   502 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                   #: 0617771, Signed: 12/14/00, Rate: $285.00. (erd) (zss). (Entered: 12/14/2000)
  12/14/2000   503 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan, Signed:
                   12/14/00, Rate: $1,619.25. (erd) (Entered: 12/14/2000)
  12/14/2000   504 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of Samuel Carson Voucher #: D-21433, Signed: 12/14/00, Rate: $6,262.48. (erd) (zss).
                   (Entered: 12/14/2000)
  12/14/2000   506 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 6/8/00. Reporter: Phyllis Merana, 6816 U.S.
                   Courthouse 3rd & Constitution Ave, N.W. (cas) (zss). (Entered: 12/21/2000)
  12/22/2000   512 USCA # 00-3128 assigned for appeal [492-1] by SAMUEL CARSON (erd) (zss). (Entered: 01/10/2001)
  12/22/2000   513 USCA # 00-3118 assigned for appeal [472-1] by VINCENT HILL (erd) (zss). (Entered: 01/10/2001)
  01/02/2001   507 REPLY by WILLIAM KYLE SWEENEY to the government's memorandum in opposition to defendant SWEENEY'S
                   motion for admission of grand jury testimony of unavailable witnesses [481-1] by USA (cas) (llk). (Entered: 01/03/2001)
  01/02/2001   508 MEMORANDUM by WILLIAM KYLE SWEENEY in support of petition for writs of habeas corpus ad testificandum.
                   (cas) (zss). (Entered: 01/03/2001)
  01/03/2001   509 REPLY by VINCENT HILL to government opposition to admission of MICHEAL JENIFER'S grand jury testimony;
                   exhibits (2) (cas) (llk). (Entered: 01/04/2001)
  01/03/2001   510 MOTION filed by JEROME MARTIN JR. in limine (hsj) (zss). (Entered: 01/05/2001)
  01/04/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/8/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/04/2001)
  01/04/2001   517 RETYPED INDICTMENT filed for VINCENT HILL (1): Former count 1s is now count 1rs. Former count 2s is now
                   count 2rs. Former count 3s is now count 3rs. Former count 22s is now count 12rs. Former count 31s is now count 18rs.
                   Former count 32s is now count 19rs. Former count 33s is now count 20rs. Former count 34s is now count 21rs. Former
                   count 38s is now count 26rs. Former count 51s is now count 35rs. Former count 53s is now count 36rs. Former count 54s
                   is now count 37rs. Former count 55s is now count 38rs. Former count 56s is now count 39rs. Former count 57s is now
                   count 40rs. Former count 58s is now count 41rs. Former count 61s is now count 42rs. Former count 62s is now count
                   43rs. Former count 63s is now count 44rs. Former count 64s is now count 45rs. Former count 65s is now count 46rs.
                   Former count 66s is now count 47rs. Former count 67s is now count 48rs. Former count 68s is now count 49rs. Former
                   count 71s is now count 50rs. Former count 72s is now count 51rs. Former count 73s is now count 52rs. Former count 74s
                   is now count 53rs. Former count 75s is now count 54rs. Former count 76s is now count 55rs. Former count 78s is now
                   count 56rs. Former count 79s is now count 57rs. Former count 80s is now count 58rs. Former count 81s is now count
                   59rs. Former count 82s is now count 60rs. Former count 83s is now count 61rs. Former count 84s is now count 62rs.
                   Former count 85s is now count 63rs. Former count 86s is now count 64rs. Former count 87s is now count 65rs. Former
                   count 88s is now count 66rs. Former count 89s is now count 67rs. Former count 90s is now count 68rs. Former count 91s
                   is now count 69rs. Former count 92s is now count 70rs. Former count 93s is now count 71rs. Former count 94s is now
                   count 72rs. Former count 95s is now count 73rs. Former count 96s is now count 74rs. Former count 97s is now count
                   75rs. Former count 99s is now count 76rs. Former count 101s is now count 77rs. JEROME MARTIN (2): Former count
                   1s is now count 1rs. Former count 2s is now count 2rs. Former count 9s is now count 8rs. Former count 17s is now count
                   9rs. Former count 20s is now count 10rs. Former count 37s is now count 24rs. Former count 51s is now count 35rs.
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        USCA CaseFormer
                   #21-3072           Document
                        count 53s is now count 36rs. #2077668
                                                     Former count 54s is nowFiled: 10/01/2024
                                                                            count 37rs. Former count 55sPage   85 of38rs.
                                                                                                        is now count  150 Former
                      count 56s is now count 39rs. Former count 57s is now count 40rs. Former count 58s is now count 41rs. Former count 61s
                      is now count 42rs. Former count 62s is now count 43rs. Former count 63s is now count 44rs. Former count 64s is now
                      count 45rs. Former count 65s is now count 46rs. Former count 66s is now count 47rs. Former count 67s is now count
                      48rs. Former count 68s is now count 49rs. Former count 71s is now count 50rs. Former count 72s is now count 51rs.
                      Former count 73s is now count 52rs. Former count 74s is now count 53rs. Former count 75s is now count 54rs. Former
                      count 76s is now count 55rs. Former count 78s is now count 56rs. Former count 79s is now count 57rs. Former count 80s
                      is now count 58rs. Former count 81s is now count 59rs. Former count 82s is now count 60rs. Former count 83s is now
                      count 61rs. Former count 84s is now count 62rs. Former count 85s is now count 63rs. Former count 86s is now count
                      64rs. Former count 87s is now count 65rs. Former count 88s is now count 66rs. Former count 89s is now count 67rs.
                      Former count 90s is now count 68rs. Former count 91s is now count 69rs. Former count 92s is now count 70rs. Former
                      count 93s is now count 71rs. Former count 94s is now count 72rs. Former count 95s is now count 73rs. Former count 96s
                      is now count 74rs. Former count 97s is now count 75rs. Former count 99s is now count 76rs. Former count 101s is now
                      count 77rs. . (erd) (zjpb). (Additional attachment(s) added on 6/4/2024: # 1 Attachment) (zss). (Entered: 01/30/2001)
  01/04/2001    517 RETYPED INDICTMENT filed for SAMUEL CARSON (3): Former count 1s is now count 1rs. Former count 2s is now
                    count 2rs. Former count 5s is now count 4rs. Former count 6s is now count 5rs. Former count 7s is now count 6rs.
                    Former count 8s is now count 7rs. Former count 23s is now count 13rs. Former count 29s is now count 16rs. Former
                    count 30s is now count 17rs. Former count 42s is now count 26rs. Former count 43s is now count 27rs. Former count 44s
                    is now count 28rs. Former count 45s is now count 29rs. Former count 46s is now count 30rs. Former count 47s is now
                    count 31rs. Former count 48s is now count 32rs. Former count 49s is now count 33rs. Former count 50s is now count
                    34rs. Former count 51s is now count 35rs. Former count 53s is now count 36rs. Former count 54s is now count 37rs.
                    Former count 55s is now count 38rs. Former count 56s is now count 39rs. Former count 57s is now count 40rs. Former
                    count 58s is now count 41rs. Former count 61s is now count 42rs. Former count 62s is now count 43rs. Former count 63s
                    is now count 44rs. Former count 64s is now count 45rs. Former count 65s is now count 46rs. Former count 66s is now
                    count 47rs. Former count 67s is now count 48rs. Former count 68s is now count 49rs. Former count 71s is now count
                    50rs. Former count 72s is now count 51rs. Former count 73s is now count 52rs. Former count 74s is now count 53rs.
                    Former count 75s is now count 54rs. Former count 76s is now count 55rs. Former count 78s is now count 56rs. Former
                    count 79s is now count 57rs. Former count 80s is now count 58rs. WILLIAM KYLE SWEENEY (4): Former count 1s is
                    now count 1rs. Former count 2s is now count 2rs. Former count 21s is now count 11rs. Former count 22s is now count
                    12rs. Former count 35s is now count 22rs. Former count 36s is now count 23rs. Former count 48s is now count 32rs.
                    Former count 49s is now count 33rs. Former count 50s is now count 34rs. Former count 51s is now count 35rs. Former
                    count 53s is now count 36rs. Former count 54s is now count 37rs. Former count 55s is now count 38rs. Former count 56s
                    is now count 39rs. Former count 57s is now count 40rs. Former count 58s is now count 41rs. Former count 61s is now
                    count 42rs. Former count 62s is now count 43rs. Former count 63s is now count 44rs. Former count 64s is now count
                    45rs. Former count 65s is now count 46rs. Former count 66s is now count 47rs. Former count 67s is now count 48rs.
                    Former count 68s is now count 49rs. Former count 71s is now count 50rs. Former count 72s is now count 51rs. Former
                    count 73s is now count 52rs. Former count 74s is now count 53rs. Former count 75s is now count 54rs. Former count 76s
                    is now count 55rs. Former count 78s is now count 56rs. Former count 79s is now count 57rs. Former count 80s is now
                    count 58rs. MAURICE PROCTOR (5): Former count 1s is now count 1rs. Former count 2s is now count 2rs. Former
                    count 20s is now count 10rs. Former count 22s is now count 12rs. Former count 27s is now count 14rs. Former count 28s
                    is now count 15rs. Former count 51s is now count 35rs. Former count 53s is now count 36rs. Former count 54s is now
                    count 37rs. Former count 55s is now count 38rs. Former count 56s is now count 39rs. Former count 57s is now count
                    40rs. Former count 58s is now count 41rs. Former count 61s is now count 42rs. Former count 62s is now count 43rs.
                    Former count 63s is now count 44rs. Former count 64s is now count 45rs. Former count 65s is now count 46rs. Former
                    count 66s is now count 47rs. Former count 67s is now count 48rs. Former count 68s is now count 49rs. Former count 71s
                    is now count 50rs. Former count 72s is now count 51rs. Former count 73s is now count 52rs. Former count 74s is now
                    count 53rs. Former count 75s is now count 54rs. Former count 76s is now count 55rs. Former count 78s is now count
                    56rs. Former count 79s is now count 57rs. Former count 80s is now count 58rs. SEAN COATES (6): Former count 1s is
                    now count 1rs. Former count 2s is now count 2rs. Former count 21s is now count 11rs. Former count 22s is now count
                    12rs. Former count 46s is now count 30rs. Former count 47s is now count 31rs. Former count 48s is now count 32rs.
                    Former count 49s is now count 33rs. Former count 50s is now count 34rs. Former count 51s is now count 35rs. Former
                    count 53s is now count 36rs. Former count 54s is now count 37rs. Former count 55s is now count 38rs. Former count 56s
                    is now count 39rs. Former count 57s is now count 40rs. Former count 58s is now count 41rs. Former count 61s is now
                    count 42rs. Former count 62s is now count 43rs. Former count 63s is now count 44rs. Former count 64s is now count
                    45rs. Former count 65s is now count 46rs. Former count 66s is now count 47rs. Former count 67s is now count 48rs.
                    Former count 68s is now count 49rs. Former count 71s is now count 50rs. Former count 72s is now count 51rs. Former
                    count 73s is now count 52rs. Former count 74s is now count 53rs. Former count 75s is now count 54rs. Former count 76s
                    is now count 55rs. Former count 78s is now count 56rs. Former count 79s is now count 57rs. Former count 80s is now
                    count 58rs. (erd) Modified on 01/30/2001 (Entered: 01/30/2001)
  01/04/2001          JURY SELECTION before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs,
                      20rs, 21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs,
                      35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs,
                      26rs, 27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs,
                      2rs, 11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs,
                      15rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs : Jury selection begun and concluded;
                      20 jurors selected, but not sworn. Trial set for 10:00 1/8/01. Defendants committed/commitment issued. reporter Phyllis
                      Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)

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        USCA CaseSTATUS
  01/04/2001
                   #21-3072     Document #2077668           Filed: 10/01/2024    Page 86 of 150
                        HEARING (USED TO ADMINISTRATIVELY CLOSE COUNTS OMITTED FROM RETYNED
                     INDICTMENT) before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES : to dismiss count(s) as to, VINCENT HILL (1)
                     count(s) 52s, 59s-60s, 69s-70s, 77s, 98s, 100s, JEROME MARTIN (2) count(s) 52s, 59s-60s, 69s-70s, 77s, 98s, 100s,
                     SAMUEL CARSON (3) count(s) 52s, 59s-60s, 69s-70s, 77s, WILLIAM KYLE SWEENEY (4) count(s) 52s, 59s-60s,
                     69s-70s, 77s, MAURICE PROCTOR (5) count(s) 52s, 59s-60s, 69s-70s, 77s, SEAN COATES (6) count(s) 52s, 59s-60s,
                     69s-70s, 77s . Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd)
                     (Entered: 01/31/2001)
  01/08/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/9/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/08/2001)
  01/08/2001   511 OBJECTIONS by SAMUEL CARSON to government's proposed notebook to be provided to jurors for the purpose of
                   taking notes during trial and request that plain, blank materials be provided to jurors for notetakingi; exhibits (1) (cas)
                   (zss). (Entered: 01/09/2001)
  01/08/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 20, juror number 18 excused. Jury sworn; trial begun and continued to 10:00 1/9/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for
                     SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd)
                     Modified on 01/30/2001 (Entered: 01/30/2001)
  01/09/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/10/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/09/2001)
  01/09/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 19. Trial resumed and continued to 10:00 1/10/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/30/2001)
  01/10/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/11/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/10/2001)
  01/10/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 19, juror number 11 excused. Trial resumed and continued to 10:00 1/11/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES. Defendants committed/commitment issued. Reporter: Merana a.m., Phyllis Merana p.m. (erd) (Entered:
                     01/31/2001)
  01/11/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/16/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/11/2001)
  01/11/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, 52s, WILLIAM KYLE SWEENEY (4) count(s) 1rs,
                     2rs, 11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs,
                     15rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs :
                     Same jury of 18. Trial resumed and continued to 10:00 1/16/01 for VINCENT HILL, for JEROME MARTIN JR., for
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        USCA CaseSAMUEL
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                        CARSON,Document
                               for WILLIAM#2077668          Filed: 10/01/2024
                                          KYLE SWEENEY, for MAURICE                 Page
                                                                     PROCTOR, for SEAN   87 ofDefendants
                                                                                       COATES. 150
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/16/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/22/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/16/2001)
  01/19/2001   530 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, Federal Correctional Institution P.O. BOX
                   90026, for production of THEODORE R. WATSON, for hearing on 01/24/01, as to VINCENT HILL . Ordered by Judge
                   Royce C. Lamberth. (cas) (zss). (Entered: 02/15/2001)
  01/22/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/23/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/22/2001)
  01/22/2001   515 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 1/22/01 (erd) (zss). (Entered: 01/30/2001)
  01/22/2001   516 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Warren Levicoff, Signed: 1/22/01
                   NPT 1/12/01, Rate: $50.00 HR., $1,000. (xx) (Entered: 01/30/2001)
  01/22/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 18. Trial resumed and continued to 10:00 1/23/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/22/2001   531 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                   Calvert County Detention Center for production of LATRENDA FLEMING to testify on January 31, 2001, as to
                   VINCENT HILL . (jdm) (zss). (Entered: 02/15/2001)
  01/23/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/24/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/23/2001)
  01/23/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 18. Trial resumed and continued to 10:00 1/24/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/24/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/25/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/24/2001)
  01/24/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 18. Trial resumed and continued to 10:00 1/25/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/25/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/26/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/25/2001)
  01/25/2001   514 UNOPPOSED MOTION filed by VINCENT HILL to compel production of KIMBERLY RICHARDSON'S medical
                   records (cas) (zss). (Entered: 01/26/2001)
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  01/25/2001
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                      TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 18. Trial resumed and continued to 10:00 1/29/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/25/2001    532 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : granting motion to compel production of KIMBERLY
                    RICHARDSON'S (DOB 10-12-71) medical records, generated as a result of treatment fort a gunshot wound incurred on
                    September 23, 1994 [514-1] as to VINCENT HILL (1) (N) (jdm) (zss). (Entered: 02/15/2001)
  01/26/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/29/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/26/2001)
  01/29/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/30/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/29/2001)
  01/29/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 18; juror number 15 excused. Trial resumed and continued to 10:00 1/30/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) Modified
                      on 01/31/2001 (Entered: 01/31/2001)
  01/29/2001    522 MOTION filed by MAURICE PROCTOR to compel discovery ; attachments (cas) (zss). (Entered: 02/01/2001)
  01/30/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 1/31/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 01/30/2001)
  01/30/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 1/31/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 01/31/2001)
  01/31/2001    521 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                    006, Signed: 1/31/01, Rate: $3265.13. (erd) (zss). (Entered: 02/01/2001)
  01/31/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury; juror number 6 not present, trial continued. Trial resumed and continued to 10:00 2/1/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for
                      SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd)
                      (Entered: 02/02/2001)
  02/01/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/5/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/01/2001)
  02/01/2001    518 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph Beshouri as CJA counsel for Death
                    Penalty Proceedings. Voucher #: D-17612 Signed: 2/1/01 (erd) (zss). (Entered: 02/01/2001)
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  02/01/2001
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             519 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Voucher No.:
                     0478341 Signed: 2/1/01 (erd) (zss). (Entered: 02/01/2001)
  02/01/2001    520 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                    Death Penalty Proceedings. Voucher #: 010105000010 Signed: 2/1/01 (erd) (zss). (Entered: 02/01/2001)
  02/01/2001    523 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                    Penalty Proceedings of Adele Johnson Voucher #: D018719-004, Signed: 2/1/01, Rate: $2247.28. (erd) (zss). (Entered:
                    02/01/2001)
  02/01/2001    524 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll Crumbaugh Voucher #:
                    0617771, Signed: 2/1/01, Rate: $2035.00. (erd) (zss). (Entered: 02/01/2001)
  02/01/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/5/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/14/2001)
  02/01/2001    545 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                    Voucher No.: 0476689 Signed: 2/1/01 (erd) (Entered: 03/02/2001)
  02/05/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/6/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/05/2001)
  02/05/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/6/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/14/2001)
  02/06/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/7/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/06/2001)
  02/06/2001    525 MOTION filed by JEROME MARTIN JR. in limine (cas) (zss). (Entered: 02/08/2001)
  02/06/2001    526 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                    07, Signed: 2/6/01, Rate: $4,176.91. (erd) (zss). (Entered: 02/09/2001)
  02/06/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/7/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/14/2001)
  02/07/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/8/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/07/2001)
  02/07/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/8/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL

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        USCA CaseCARSON,
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                         for WILLIAM        #2077668
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                                                              PROCTOR,               Page
                                                                        for SEAN COATES.    90 of 150
                                                                                         Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/14/2001)
  02/08/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/12/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/08/2001)
  02/08/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/12/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/14/2001)
  02/12/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/13/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/12/2001)
  02/12/2001   527 MOTION filed by SAMUEL CARSON for mistrial , and and severance regarding testimony of witness THERODORE
                   WATSON ; attachments (cas) (zss). (Entered: 02/13/2001)
  02/12/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/13/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 02/26/2001)
  02/13/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/14/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/13/2001)
  02/13/2001   528 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   2/5/01 through 2/25/01. Signed: 2/13/01 (Daily). Reporter: Beverly Byrne. (erd) Modified on 02/15/2001 (Entered:
                   02/15/2001)
  02/13/2001   529 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   2/5/01 through 2/23/01. Signed: 2/13/01 (Daily). Reporter: Phyllis Merana. (erd) (Entered: 02/15/2001)
  02/13/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/14/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/26/2001)
  02/14/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/15/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/14/2001)
  02/14/2001   537 RESPONSE by USA in opposition to motion for mistrial [527-1] by SAMUEL CARSON, motion and severance
                   regarding testimony of witness THERODORE WATSON [527-2] by SAMUEL CARSON; Appendix (cas) (zss).
                   (Entered: 02/22/2001)
  02/14/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/15/01 for VINCENT HILL, for JEROME MARTIN JR., for
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                                                                     PROCTOR, for SEAN   91 ofDefendants
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                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/26/2001)
  02/15/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/21/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/15/2001)
  02/15/2001   540 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                   1229000004-004, Signed: 2/15/01, Rate: $2840.45. (erd) (zss). (Entered: 02/26/2001)
  02/15/2001   541 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Services
                   Voucher #: 927000007-06, Signed: 2/15/01, Rate: $2207.75. (erd) (zss). (Entered: 02/26/2001)
  02/15/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                     35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                     jury of 17. Trial resumed and continued to 10:00 2/21/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 02/26/2001)
  02/20/2001   533 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   7/21/97 Superior Court Case No. F11189-96 (James Montgomery), before Judge Davis; Signed: 2/20/01. (erd) Modified
                   on 02/21/2001 (Entered: 02/21/2001)
  02/20/2001   534 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   5/2/97, 6/5/97, 6/11/97, 8/8/997, 1/8/98, 3/13/98, 10/19/94 Superior Court Case No. MS013-96 James Montgomery,
                   before Judge Beck, signed: 2/20/01. (erd) (Entered: 02/21/2001)
  02/20/2001   535 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   5/14/98, Superior Court Case No. M3162-98 (William Bumbrey), before Judge Terrell. Signed: 2/20/01. (erd) (Entered:
                   02/21/2001)
  02/20/2001   536 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                   10/19/94, Superior Court Case No. F00353-92 (James Montgomery), before Judge Weisbert, Signed: 2/20/01. (erd)
                   (Entered: 02/21/2001)
  02/21/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/22/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/21/2001)
  02/21/2001   538 MOTION filed by VINCENT HILL to exclude prior consistent statement (cas) (zss). (Entered: 02/23/2001)
  02/21/2001   543 MOTION filed by MAURICE PROCTOR to suppress physical evidence (cas) (zss). (Entered: 02/28/2001)
  02/21/2001   544 RESPONSE by MAURICE PROCTOR in opposition to the government's motion to admit out of court statements of
                   murdered witnesses. (cas) (zss). (Entered: 02/28/2001)
  02/21/2001   552 LETTER filed by VINCENT HILL. Regarding visitation procedures now in effect at the Central Virginia Regional Jail in
                   Orange, Virginia. . (cas) (zss). (Entered: 03/13/2001)
  02/22/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/26/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/22/2001)
  02/22/2001   539 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel for Death
                   Penalty Proceedings. Signed: 2/22/01 (erd) (zss). (Entered: 02/26/2001)
  02/22/2001   548 JOINT REQUEST by VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                   MAURICE PROCTOR, SEAN COATES for order allowing food from cafeteria to be provided to defendant's for lunch
                   (cas) (zss). (Entered: 03/06/2001)
  02/23/2001   542 UNOPPOSED MOTION filed by WILLIAM KYLE SWEENEY to compel production of ARTHUR RICE'S Medical
                   Records (cas) (zss). (Entered: 02/26/2001)
  02/26/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/27/01 for VINCENT HILL, for JEROME
                     MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                     COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/26/2001)
  02/26/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
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                                                       SAMUEL CARSON (3)Filed:
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                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 2/27/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) Modified on 03/06/2001
                      (Entered: 03/06/2001)
  02/27/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 2/28/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/27/2001)
  02/27/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 2/28/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/06/2001)
  02/28/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 3/1/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 02/28/2001)
  02/28/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury & of 17. Trial resumed and continued to 10:00 3/1/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m., Beverly Byrne p.m. (erd) (Entered: 03/06/2001)
  02/28/2001    550 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : that a subpoena duces tecum be issued
                    compelling D.C. General Hospital to produce a medical records of Arthur Rice (DOB: 05/08/70), generated as a result of
                    treatment for a gunshot wound incurred in 1991. (N) (cas) (zss). (Entered: 03/08/2001)
  03/01/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 3/5/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 03/01/2001)
  03/01/2001    546 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for expert services of ACI, Inc. Voucher #: D21433-025,
                    Signed: 3/1/01, Rate: $2017.20. (erd) (zss). (Entered: 03/02/2001)
  03/01/2001    547 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for expert services of ACI, Inc. Voucher #: D21435-026,
                    Signed: 3/1/01, Rate: $1764.85. (erd) (zss). (Entered: 03/02/2001)
  03/01/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 3/5/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) Modified on 03/06/2001
                      (Entered: 03/06/2001)
  03/05/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES : Trial set for 10:00 3/6/01 for VINCENT HILL, for JEROME
                      MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN
                      COATES . before Judge Thomas P. Jackson . (rew) (Entered: 03/05/2001)
  03/05/2001    549 MEMORANDUM of LAW by USA regarding admissibilty of plea transcripts. (jdm) (zss). (Entered: 03/08/2001)
  03/05/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
(Page 92 of Total)
                                                               App 83
        USCA Case47rs,
                   #21-3072            Document
                       48rs-58rs, 59rs-75rs, 76rs-77rs,#2077668
                                                       SAMUEL CARSON (3)Filed:
                                                                        count(s)10/01/2024              Page
                                                                                 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs,93 of 17rs,
                                                                                                                   16rs, 15026rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury 17. Trial resumed and continued to 10:00 3/6/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/19/2001)
  03/06/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/7/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      03/06/2001)
  03/06/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : ATTORNEY FOR DEFENDANT MAURICE PROCTOR (5) NOT PRESENT.
                      DEFENDANT MAURICE PROCTOR SEVERED FROM CASE. Same jury of 17. Trial resumed and continued to 10:00
                      3/7/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                      MAURICE PROCTOR, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana
                      a.m./Beverly Byrne p.m. (erd) (Entered: 05/03/2001)
  03/07/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/12/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/07/2001)
  03/07/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 3/12/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/19/2001)
  03/08/2001    551 NOTICE OF FILING by VINCENT HILL, JEROME MARTIN JR., SEAN COATES, WILLIAM KYLE SWEENEY,
                    SAMUEL CARSON . ( Attachment: Letter concerning FBI 302S). (cas) (zss). (Entered: 03/09/2001)
  03/09/2001          SCHEDULING NOTICE as to RAYMOND WASHINGTON : Status hearing set for 9:30 9/27/01 for RAYMOND
                      WASHINGTON. before Judge Thomas P. Jackson. (erd) (Entered: 10/29/2001)
  03/12/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/13/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/12/2001)
  03/12/2001    553 MOTION filed by VINCENT HILL for order to government to remove nameplates from photographs displayed to
                    witnesses (cas) (zss). (Entered: 03/13/2001)
  03/12/2001    554 MOTION filed by SAMUEL CARSON for production of documents relating to JAMES MONTGOMERY ; attachments
                    (cas) (zss). (Entered: 03/13/2001)
  03/12/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 3/13/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/19/2001)
  03/13/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/14/01 before Judge Thomas P. Jackson (bh) (Entered: 03/13/2001)
  03/13/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
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        USCA Case35rs-47rs,
                   #21-3072 48rs-58rs, Document
                                       SEAN COATES#2077668                  Filed:
                                                   (6) count(s) 1rs, 2rs, 11rs, 12rs, 10/01/2024
                                                                                      30rs, 31rs, 32rs-34rs, Page   9448rs-58rs
                                                                                                             35rs-47rs, of 150: Same
                      jury of 17. Trial resumed and continued to 10:00 3/14/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/26/2001)
  03/14/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/15/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/14/2001)
  03/14/2001    563 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, GARY PRICE : denying joint motion for order allowing
                    food from cafeteria to be provided to defendant's for lunch [548-1] by defendants (N) (cas) (zss). (Entered: 03/23/2001)
  03/14/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, MAURICE PROCTOR (5) count(s) 1rs, 2rs, 10rs, 12rs, 14rs, 15rs,
                      35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-34rs, 35rs-47rs, 48rs-58rs : Same
                      jury of 17. Trial resumed and continued to 10:00 3/15/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for MAURICE PROCTOR, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 03/26/2001)
  03/15/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/19/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/15/2001)
  03/15/2001    559 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                    3/19/01 (erd) (zss). (Entered: 03/21/2001)
  03/15/2001    560 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                    DEEP MEADOW CORRECTIONAL FACILITY for production of TERRENCE ANTHONY MOORE (Fed. Reg. No.
                    23466016. INMATE #287704I AND dob 07/01/69) to testify on 3/27/01, as to VINCENT HILL, et al. . (cas) (zss).
                    (Entered: 03/21/2001)
  03/19/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/20/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/19/2001)
  03/19/2001    558 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Services
                    Voucher #: 927000007, Signed: 3/19/01, Rate: $2,514.82. (erd) (zss). (Entered: 03/21/2001)
  03/19/2001    568 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    7/30/96 Superior Court Case No. M5013-96 Signed: 3/19/01. Reporter: Clerk of Courts. (erd) (Entered: 04/03/2001)
  03/19/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 17; juror number 5 excused. Trial resumed and continued to 10:00 3/20/01 for
                      VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN
                      COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) Modified
                      on 05/02/2001 (Entered: 04/17/2001)
  03/20/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 3/21/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 03/20/2001)
  03/20/2001          SCHEDULING NOTICE as to ERIK JONES : Status hearing set for 9:30 3/21/01 for ERIK JONES . before Judge
                      Thomas P. Jackson . (rew) (Entered: 03/20/2001)
  03/20/2001    555 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                    008, Signed: 3/20/01, Rate: $2,690.80. (erd) (zss). (Entered: 03/20/2001)
  03/20/2001    556 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                    1229000004-003, Signed: 3/20/01, Rate: $2,798.76. (erd) (zss). (Entered: 03/20/2001)
  03/20/2001    557 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                    services for Death Penalty Proceedings of William Sweeney Voucher #: D18753-18, Signed: 3/20/01, Rate: $1,851.27.
                    (erd) (zss). (Entered: 03/20/2001)
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        USCA Case
  03/20/2001
                  #21-3072        Document #2077668                 Filed: 10/01/2024         Page 95 of 150
             561 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                     Mar. 6-22, 20001. Signed: 3/20/01 (Daily). Reporter: Beverly Byrne. (erd) (Entered: 03/22/2001)
  03/20/2001    562 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    Mar. 6-22, 20001. Signed: 3/30/01 (Daily). Reporter: Phyllis Merana. (erd) (Entered: 03/22/2001)
  03/20/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury & of 16. Trial resumed and continued to 10:00 3/21/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  03/21/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 3/22/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 03/21/2001)
  03/21/2001         STATUS HEARING before Judge Thomas P. Jackson as to ERIK JONES : Defendant not in Court. ERIK JONES
                     referred for pre-sentence investigation report , Presentence/Sentence set for 9:30 9/24/01 for ERIK JONES Sentence set
                     for 9:30 10/1/01 for ERIK JONES. Reporter: Phyllis Merana (erd) (Entered: 04/25/2001)
  03/21/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of of 16. Trial resumed and continued to 10:00 3/22/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  03/22/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/2/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     03/22/2001)
  03/22/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/2/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  03/30/2001    569 ATTORNEY APPEARANCE for MAURICE PROCTOR by Howard B. Katzoff. (cas) (zss). (Entered: 04/03/2001)
  04/02/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/3/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     04/02/2001)
  04/02/2001    564 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR appointing Howard Bernard Katzoff as CJA counsel.
                    Signed: 4/2/01 NPT 3/23/01 (erd) (Entered: 04/03/2001)
  04/02/2001    565 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Charles Roach, Jr. Voucher #:
                    0143338, Signed: 4/2/01, Rate: $8,133.98. (erd) (zss). (Entered: 04/03/2001)
  04/02/2001    566 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Service
                    Voucher #: 92700000-9, Signed: 4/2/01, Rate: $4,194.58. (erd) (zss). (Entered: 04/03/2001)
  04/02/2001    567 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick D. Jones as CJA counsel for Death
                    Penalty Proceedings. Signed: 4/2/01 (erd) (Entered: 04/03/2001)
  04/02/2001    570 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                    #: 0617771-009, Signed: 4/2/01, Rate: $2,930.00. (erd) (zss). (Entered: 04/06/2001)
  04/02/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/3/01 for VINCENT HILL, for
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        USCA CaseJEROME
                   #21-3072     Document
                        MARTIN JR.,          #2077668
                                    for SAMUEL                  Filed:
                                               CARSON, for WILLIAM     10/01/2024
                                                                    KYLE               Page
                                                                         SWEENEY, for SEAN   96 of Defendants
                                                                                           COATES. 150
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/03/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/4/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     04/03/2001)
  04/03/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/4/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/04/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/5/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     04/04/2001)
  04/04/2001   571 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph Beshouri as CJA counsel for Death
                   Penalty Proceedings. Signed: 4/4/01 (erd) (Entered: 04/06/2001)
  04/04/2001   572 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of San Carson. Voucher #: D-21433, Signed: 4/4/01, Rate: $1,130.73. (erd) (zss). (Entered:
                   04/06/2001)
  04/04/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 56, 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/5/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/05/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/9/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     04/05/2001)
  04/05/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/9/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/09/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/10/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 04/09/2001)
  04/09/2001         JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/10/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                     committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/10/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 2:00 4/11/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                     CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                     04/10/2001)
  04/10/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
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        USCA Case27rs,
                   #21-3072
                       28rs, 29rs, 30rs,Document       #2077668
                                        31rs, 32rs, 33rs-34rs,                   Filed:
                                                               35rs-47rs, 48rs-58rs,    10/01/2024
                                                                                     WILLIAM          Page
                                                                                             KYLE SWEENEY     97 of 150
                                                                                                          (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 2:00 4/11/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/11/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 4/12/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 04/11/2001)
  04/11/2001    584 WRIT OF HABEAS CORPUS AD TESTIFICANDUM ordered by Judge Thomas P. Jackson and issued to Warden,
                    Federal Correctional Institution, Otisville New York for production of James Brian Rochester to testify on 4/30/01, as to
                    VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE
                    PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD
                    NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (erd) (zss). (Entered: 04/23/2001)
  04/11/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16. Trial resumed and continued to 10:00 4/12/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (erd) (Entered: 05/02/2001)
  04/12/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 4/17/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 04/12/2001)
  04/12/2001    573 NOTICE OF FILING by USA as to VINCENT HILL . ( Attachment: Letter regarding witness statements from AUSA
                    Peter R. Zeidenberg to Steven R. Kiersh) attachment. (cas) (zss). (Entered: 04/13/2001)
  04/13/2001    575 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    April 2-19, 2001 a.m. sessions. Signed: 4/13/01, Daily. Reporter: Phyllis Merana. (erd) Modified on 04/19/2001
                    (Entered: 04/19/2001)
  04/13/2001    576 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    April 2-19, 2001 p.m. sessions. Signed: 4/13/01 Daily. Reporter: Beverly Byrne. (erd) (Entered: 04/19/2001)
  04/17/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 4/18/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 04/17/2001)
  04/17/2001    574 MOTION filed by JEROME MARTIN JR. for a ruling on defendant and for instruction to the the jury that questions of
                    the government are not evidence and may not be considered in their delibrations (cas) (zss). (Entered: 04/18/2001)
  04/17/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/18/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 05/03/2001
                      (Entered: 05/02/2001)
  04/18/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 4/19/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 04/18/2001)
  04/18/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16 Trial resumed and continued to 10:00 4/19/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne. (rew) Modified on 05/03/2001 (Entered:
                      05/02/2001)

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        USCA CaseSCHEDULING
  04/19/2001
                   #21-3072 NOTICE
                               Document     #2077668           Filed: 10/01/2024     Page 98 of 150
                                   as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/23/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 04/19/2001)
  04/19/2001   577 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Voucher #: 1229000004-006,
                   Signed: 4/19/01, Rate: $3,574.90. (erd) (zss). (Entered: 04/20/2001)
  04/19/2001   578 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                   services for Death Penalty Proceedings of Benjamin H. Dinolt Voucher #: D18753-19, Signed: 4/19/01, Rate: $2,417.66.
                   (erd) (zss). (Entered: 04/20/2001)
  04/19/2001   579 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Voucher No.:
                   0478341 Signed: 4/19/01 (erd) (Entered: 04/20/2001)
  04/19/2001   580 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of SAMUEL CARSON. Voucher #: D-21433-028, Signed: 4/19/01, Rate: $407.50. (erd)
                   (zss). (Entered: 04/20/2001)
  04/19/2001   581 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                   009, Signed: 4/19/01, Rate: $2,909.60. (erd) (zss). (Entered: 04/20/2001)
  04/19/2001   582 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 4/19/01 (erd) (zss). (Entered: 04/20/2001)
  04/19/2001   583 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                   Death Penalty Proceedings. Voucher #: 010105000010 Signed: 4/17/01 (erd) (zss). (Entered: 04/20/2001)
  04/19/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/23/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                     committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 05/03/2001
                     (Entered: 05/03/2001)
  04/23/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/24/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 04/23/2001)
  04/23/2001   585 CERTIFIED COPY of Judgment filed in USCA, dated 3/8/01, referencing appeal [492-1], appeal [472-1] as to
                   VINCENT HILL, SAMUEL CARSON Affirming the district court's order filed 11/17/00 as to VINCENT HILL,
                   SAMUEL CARSON. USCA # 00-3118, 00-3128 (erd) (zss). (Entered: 04/24/2001)
  04/23/2001         JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/24/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                     committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  04/24/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/25/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 04/24/2001)
  04/24/2001         JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                     21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                     47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                     27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                     11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                     34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/25/01 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                     committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  04/25/2001         SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES : Trial set for 10:00 4/26/01 for VINCENT HILL, for JEROME MARTIN JR., for
                     SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                     (Entered: 04/25/2001)
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        USCA CaseJURY
  04/25/2001
                   #21-3072        Document #2077668                    Filed: 10/01/2024             Page 99 of 150
                      TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/26/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitment issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 05/03/2001
                      (Entered: 05/02/2001)
  04/26/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 4/30/01 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 04/26/2001)
  04/26/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 4/30/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  04/30/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 5/1/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      04/30/2001)
  04/30/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/1/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  04/30/2001     586 MOTION filed by VINCENT HILL for mistrial , or, alternatively for an evidentiary hearing (jdm) (zss). (Entered:
                     05/03/2001)
  05/01/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 5/2/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      05/01/2001)
  05/01/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/2/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  05/02/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 10:00 5/3/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      05/02/2001)
  05/02/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/3/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
  05/03/2001          JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
(Page 99 of Total)
                                                                App 90
          USCA Case11rs,
                    #21-3072
                         12rs, 22rs, 23rs,Document       #2077668
                                           32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN Filed:
                                                                                 COATES10/01/2024
                                                                                        (6) count(s) 1rs, 2rs,Page    10030rs,
                                                                                                               11rs, 12rs, of 31rs,
                                                                                                                               15032rs-
                          34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/7/01 for VINCENT HILL, for
                          JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                          committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/03/2001)
   05/03/2001       589 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                        4/23/01 through 5/10/01 a.m. . Signed: 5/3/01, Daily. Reporter: Phyllis Merana. (erd) Modified on 05/09/2001 (Entered:
                        05/09/2001)
   05/03/2001       590 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                        4/23/01 through 5/10/01 p.m.. Signed: 5/3/01, Daily. Reporter: Beverly Byrne. (erd) Modified on 05/09/2001 (Entered:
                        05/09/2001)
   05/07/2001             JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                          21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                          47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                          27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                          11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                          34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/8/01 for VINCENT HILL, for
                          JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                          committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/07/2001)
   05/07/2001       591 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                        1229000004-007, Signed: 5/7/01, Rate: $2,941.92. (erd) (zss). (Entered: 05/09/2001)
   05/07/2001       592 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 92700000-
                        0010, Signed: 5/7/01, Rate: $2,780.10. (erd) (zss). (Entered: 05/09/2001)
   05/08/2001             JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                          21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                          47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                          27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                          11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                          34rs, 35rs-47rs, 48rs-58rs : Same jury of 16, Trial resumed and continued to 10:00 5/9/01 for VINCENT HILL, for
                          JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                          committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly By (rew) (Entered: 05/08/2001)
   05/08/2001       587 EX-PARTE MOTION filed by VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                        FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS for joint
                        meeting of all defendants and their attorneys (cas) (zss). (Entered: 05/09/2001)
   05/08/2001       588 MOTION filed by SAMUEL CARSON in limine to exclude evidence relating to the cellular telephone recovered from
                        MR. CARSON'S jail cell during a search in 1999 (cas) (zss). (Entered: 05/09/2001)
   05/09/2001             JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                          21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                          47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                          27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                          11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                          34rs, 35rs-47rs, 48rs-58rs : juror 14 not present, Trial continued to 10:00 5/14/01 for VINCENT HILL, for JEROME
                          MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . . Defendants
                          committed/commitments issued. Reporter: Phyllis Merana (rew) (Entered: 05/09/2001)
   05/10/2001       593 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                        services for Death Penalty Proceedings of Benjamin Dinoht Voucher #: D1853-20, Signed: 5/10/01, Rate: $2,961.83.
                        (erd) (zss). (Entered: 05/15/2001)
   05/14/2001             JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                          21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                          47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                          27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                          11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                          34rs, 35rs-47rs, 48rs-58rs : juror#14 not present and excused; Trial resumed and continued to 10:00 5/15/01 for
                          VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN
                          COATES . Defendants committed/commitments issued. Reporter: Phyllis Merana a.m. Beverly Byrne p.m. (rew)
                          (Entered: 05/14/2001)
   05/14/2001       594 MOTION filed by SAMUEL CARSON for remedy for governments' failure to provide exculpatory impeachment
                        material in a timely manner relating to witness DEMETRIUS HUNTER (cas) (llk). (Entered: 05/16/2001)
   05/15/2001       JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                    21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                    47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
(Page 100 of Total) 27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                                                                    App 91
        USCA Case11rs,
                  #21-3072
                       12rs, 22rs, 23rs,Document       #2077668
                                         32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN Filed:
                                                                               COATES10/01/2024
                                                                                      (6) count(s) 1rs, 2rs,Page    10130rs,
                                                                                                             11rs, 12rs, of 31rs,
                                                                                                                             15032rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/16/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . . Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/15/2001)
  05/15/2001     595 MOTION (UNOPPOSED) filed by VINCENT HILL to compel production of KIMBERLY RICHARDSON'S medical
                     records (cas) (zss). (Entered: 05/16/2001)
  05/16/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/17/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/16/2001)
  05/16/2001     603 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Services
                     Voucher #: 927000007, Signed: 5/16/01, Rate: $7,053.36. (erd) (zss). (Entered: 05/29/2001)
  05/17/2001           JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/21/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/17/2001)
  05/17/2001     596 MOTION filed by SAMUEL CARSON to preclude government from eliciting statements allegedly made by codefendant
                     WILLIAM SWEENEY to ROBERT SMITH which incriminate SAMUEL CARSON (cas) (zss). (Entered: 05/17/2001)
  05/21/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/22/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/21/2001)
  05/21/2001     597 RESPONSE by USA in opposition to motion to preclude government from eliciting statements allegedly made by
                     codefendant WILLIAM SWEENEY to ROBERT SMITH which incriminate SAMUEL CARSON [596-1] by SAMUEL
                     CARSON . (cas) (zss). (Entered: 05/22/2001)
  05/21/2001     598 MOTION filed by SAMUEL CARSON in limine to preclude the government from presenting a summary witness at the
                     conclusion of the government's case-in-chief. (cas) (zss). (Entered: 05/22/2001)
  05/22/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/23/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 05/22/2001
                       (Entered: 05/22/2001)
  05/22/2001     599 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                     PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS : That
                     the government's motion for issuance of a pretrial subpoena is granted. The government may subpoena the medical
                     records of Popa Mark Phillip in order to obtain evidence of injuries suffered in the course of assaults allegedly committed
                     by the defendant in the instant case. The subpoena shall be made returnable for 5/23/01 in order to permit the government
                     to provide to all defense counsel discovery of any and all medical records it intends to introduce at trial. (N) (erd) (zss).
                     (Entered: 05/23/2001)
  05/22/2001     600 MOTION filed by USA as to CLIFTON EDWARDS for issuance of pretrial subpoena pursuant to FED R. CR. P. 17 (c)
                     (cas) (zss). (Entered: 05/23/2001)
  05/23/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
(Page 101 of Total)
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        USCA Case11rs,
                  #21-3072
                       12rs, 22rs, 23rs,Document       #2077668
                                         32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN Filed:
                                                                               COATES10/01/2024
                                                                                      (6) count(s) 1rs, 2rs,Page    10230rs,
                                                                                                             11rs, 12rs, of 31rs,
                                                                                                                             15032rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and concluded . Defendants committed/commitments issued.
                       Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/23/2001)
  05/24/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/29/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/24/2001)
  05/25/2001     601 RESPONSE by plaintiff USA in opposition to motion for mistriali or alternatively for an evidentiary hearing [586-1] by
                     VINCENT HILL . (cas) (zss). (Entered: 05/29/2001)
  05/25/2001     602 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES to quash subpoena directed to custodian of records at the general counsel's officer for the
                     United States Department of Justice ; attachment's (cas) (zss). (Entered: 05/29/2001)
  05/29/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 5/30/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/29/2001)
  05/29/2001     606 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                     #: 0617771-011, Signed: 5/29/01, Rate: $3,025.00. (erd) (zss). (Entered: 06/13/2001)
  05/30/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and the Government rests and continued to 10:30 6/4/01 for
                       defendant's motions to dismiss for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for
                       WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitments issued. Reporter: Phyllis
                       Merana a.m./Beverly Byrne p.m. (rew) (Entered: 05/30/2001)
  06/04/2001           JURY TRIAL before Judge Thomas P. Jackson as to , VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : jury not present, Trial resumed on defendant's motions to dismiss heard and taken under
                       advisement and trial continued to 10:00 6/6/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                       CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitments issued.
                       Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/04/2001)
  06/05/2001     604 RESPONSE by USA in opposition to defendant's motions for judgment of acquittal (cas) (zss). (Entered: 06/06/2001)
  06/05/2001     607 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                     #: 0617771-012, Signed: 6/5/01, Rate: $3,025.75. (erd) (zss). (Entered: 06/13/2001)
  06/05/2001     608 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                     011, Signed: 6/5/01, Rate: $3,470.80. (erd) (zss). (Entered: 06/13/2001)
  06/05/2001     610 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                     May 14-19, 2001. Signed: 6/5/01. Reporter: Beverly Byrne. (erd) (Entered: 06/14/2001)
  06/05/2001     611 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                     May 14-29, 2001. Signed: 6/5/01. Reporter: Phyllis Merana. (erd) (Entered: 06/14/2001)




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        USCA CaseJURY
  06/06/2001
                  #21-3072        Document #2077668                   Filed: 10/01/2024             Page 103 of 150
                      TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 6/11/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 06/07/2001
                       (Entered: 06/06/2001)
  06/07/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : Trial set for 10:00 6/11/01 for VINCENT HILL, for JEROME MARTIN JR., for
                       SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                       (Entered: 06/07/2001)
  06/07/2001     605 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY to quash subpoena a directed to the United States parole commission and PAM POSCH (cas) (Entered:
                     06/08/2001)
  06/11/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 2:00 6/12/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/11/2001)
  06/11/2001     609 MEMORANDUM by JEROME MARTIN JR. in opposition to motion to quash subpoena a directed to the United States
                     parole commission and PAM POSCH [605-1] by plaintiff (cas) (zss). (Entered: 06/13/2001)
  06/12/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 10:00 6/13/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/12/2001)
  06/12/2001     612 RESPONSE by JEROME MARTIN JR. as to JEROME MARTIN JR. to in opposition to response by the government in
                     opposition to the motion for judgment of acquittal [604-1] (cas) (zss). (Entered: 06/14/2001)
  06/12/2001     613 GOVENRMENT'S NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                     WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                     EDWARDS ; attachment's (final jury instructions) (cas) (bj). (Entered: 06/15/2001)
  06/13/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, Trial resumed and continued to 2:00 6/14/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES, Defendants
                       committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrney p.m. (rew) (Entered: 06/13/2001)
  06/14/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                       21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                       47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                       27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                       11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                       34rs, 35rs-47rs, 48rs-58rs : Same jury of 15, juror #2 excused, Trial resumed and continued to 10:00 6/18/01 for
                       VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN
                       COATES. Defendants committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew)
                       Modified on 06/14/2001 (Entered: 06/14/2001)
  06/14/2001     614 NOTICE OF FILING by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL
                     FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachment:
                     Government's proposed verdict). (erd) (zss). (Entered: 06/19/2001)


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        USCA Case
  06/14/2001
                  #21-3072       Document #2077668                 Filed: 10/01/2024              Page 104 of 150
             617 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                      1229000004-008, Signed: 6/14/01, Rate: $5,033.34. (erd) (zss). (Entered: 06/26/2001)
  06/14/2001     618 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick D. Jones as CJA counsel for Death
                     Penalty Proceedings. Signed: 6/14/01 (erd) (Entered: 06/26/2001)
  06/14/2001     619 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                     services for Death Penalty Proceedings of William Kyle Sweeney Voucher #: D18753-21, Signed: 6/14/01, Rate:
                     $5,907.04. (erd) (Entered: 06/26/2001)
  06/14/2001     620 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                     Voucher No.: 0476689 Signed: 6/14/01 (erd) (Entered: 06/26/2001)
  06/14/2001     631 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                     Death Penalty Proceedings. Voucher #: 010105000010 Signed: 6/14/01 (erd) (zss). (Entered: 07/18/2001)
  06/15/2001     615 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES to modify trial schedule (erd) (zss). (Entered: 06/25/2001)
  06/18/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed and continued to 10:00 6/19/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/18/2001)
  06/19/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed and continued to 10:00 6/20/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/19/2001)
  06/20/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed and continued to 10:00 6/21/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/20/2001)
  06/20/2001     622 ORDER by Judge Thomas P. Jackson appointing attorney Bravitt C. Manley, Jr. for material witness Lawrence Davis.
                     Signed: 6/20/01 (erd) (zss). (Entered: 07/02/2001)
  06/20/2001     625 FINANCIAL Affidavit filed as to Lawrence A. Davis (material witness). (erd) (zss). (Entered: 07/10/2001)
  06/21/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed and continued to 10:00 6/25/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                      committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/21/2001)
  06/21/2001     616 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                     services for Death Penalty Proceedings of William Kyle Sweeney Voucher #: D21495, Signed: 6/21/01, Rate: 1,137.67.
                     (erd) (zss). (Entered: 06/26/2001)
  06/21/2001     623 ATTORNEY APPEARANCE for witness LAWERENCE A. DAVIS by Bravitt Cola Manley Jr. (cas) (zss). (Entered:
                     07/05/2001)
  06/25/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed and all defendants rest and defendants 1,2,3,6 voluntarily
                      absent themselves from the trial, trial continued to 9:00 6/26/01 for VINCENT HILL, for JEROME MARTIN JR., for
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                  #21-3072    Document
                        CARSON, for WILLIAM#2077668
                                            KYLE SWEENEY, for Filed: 10/01/2024
                                                              SEAN COATES.            Page 105 of 150
                                                                           Defendants committed/commitments
                      issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) Modified on 06/25/2001 (Entered: 06/25/2001)
  06/25/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Trial set for 9:00 6/11/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      06/25/2001)
  06/25/2001    621 PROPOSED ADDITIONAL JURY INSTRUCTIONS by defendant VINCENT HILL, defendant JEROME MARTIN JR.,
                    defendant SAMUEL CARSON, defendant WILLIAM KYLE SWEENEY, defendant SEAN COATES as to VINCENT
                    HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES (cas) (bj).
                    (Entered: 06/26/2001)
  06/26/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed, Government's closing argument begun and continued to 1:00
                      6/27/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY,
                      for SEAN COATES. Defendants committed/commitments issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m.
                      (rew) Modified on 06/27/2001 (Entered: 06/26/2001)
  06/27/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed, government's closing argument resumed and concluded,
                      defendant's closing arguments begun and continued to 10:00 6/28/01 for VINCENT HILL, for JEROME MARTIN JR.,
                      for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitments
                      issued. Reporter: Phyllis Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/27/2001)
  06/27/2001    624 ORDER by Magistrate Judge John M. Facciola appointing Bravitt C. Manley, Jr. as CJA counsel for Lawrence A. Davis
                    (Material Witness). Voucher No.: Signed: 6/27/01 NPT 6/20/01 (xx) (Entered: 07/09/2001)
  06/28/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rs, 2rs, 3rs, 12rs, 18rs, 19rs, 20rs,
                      21rs, 26rs, 35rs-47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, JEROME MARTIN (2) count(s) 1rs, 2rs, 8rs, 9rs, 10rs, 24rs, 35rs-
                      47rs, 48rs-58rs, 59rs-75rs, 76rs-77rs, SAMUEL CARSON (3) count(s) 1rs, 2rs, 4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs,
                      27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, WILLIAM KYLE SWEENEY (4) count(s) 1rs, 2rs,
                      11rs, 12rs, 22rs, 23rs, 32rs-34rs, 35rs-47rs, 48rs-58rs, SEAN COATES (6) count(s) 1rs, 2rs, 11rs, 12rs, 30rs, 31rs, 32rs-
                      34rs, 35rs-47rs, 48rs-58rs : Same jury of 14, Trial resumed, a.m. jury instructions, p.m. defendant's closing arguments
                      resumed and continued to 10:00 7/2/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for
                      WILLIAM KYLE SWEENEY, for SEAN COATES . Defendants committed/commitments issued. Reporter: Phyllis
                      Merana a.m./Beverly Byrne p.m. (rew) (Entered: 06/28/2001)
  06/28/2001    627 JURY INSTRUCTION PROPOSALS by JEROME MARTIN JR. (erd) (zss). (Entered: 07/12/2001)
  06/28/2001    628 JURY INSTRUCTION PROPOSALS by JEROME MARTIN JR. (erd) (zss). (Entered: 07/12/2001)
  06/28/2001    629 OBJECTIONS by SAMUEL CARSON to proposed jury instructions and proposed instructions. (erd) (zss). (Entered:
                    07/16/2001)
  07/02/2001    637 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    June 4-29, 2001. Signed: 7/2/01. Reporter: Phyllis Merana. (erd) (Entered: 07/18/2001)
  07/02/2001    638 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                    June 4-29, 2001. Signed: 7/2/01. Reporter: Beverly Byrne. (erd) (Entered: 07/18/2001)
  07/02/2001    760 RETYPED INDICTMENT filed against VINCENT HILL (1) count(s) 1rr, 2rr, 3rr, 11rr, JEROME MARTIN (2) count(s)
                    1rr, 2rr, 8rr, 9rr, 17rr, 18rr, SAMUEL CARSON (3) count(s) 1rr, 2rr, 4rr, 5rr, 6rr, 7rr, 8rr, 12rr, 13rr, 14rr, 19rr, 20rr, 21rr,
                    WILLIAM KYLE SWEENEY (4) count(s) 1rr, 2rr, 10rr, 11rr, 15rr, 16rr, SEAN COATES (6) count(s) 1rr, 2rr, 10rr, 11rr.
                    (erd) Modified on 11/08/2001 (zjpb). (Entered: 10/03/2001)
  07/02/2001    760 CONTINUATION OF REYPTED INDICTMENT entry against VINCENT HILL (1) count(s) 28rr, JEROME MARTIN
                    (2) count(s) 31rr, 42rr, SAMUEL CARSON (3) count(s) 22rr, 23rr, 24rr, 25rr, 26rr, 27rr, 29rr, 32rr, 33rr, 34rr, 35rr, 36rr,
                    37rr, 39rr, 40rr, 43rr, 44rr, 45rr, WILLIAM KYLE SWEENEY (4) count(s) 25rr, 26rr, 27rr, 28rr, 30rr, 35rr, 36rr, 37rr,
                    38rr, 41rr, SEAN COATES (6) count(s) 24rr, 25rr, 26rr, 27rr, 34rr, 38rr.(erd) Modified on 11/08/2001 (Entered:
                    10/29/2001)
  07/02/2001    760 CONTINUATION OF RETYPED INDICTMENT entry against VINCENT HILL (1) count(s) 46rr, 47rr 48rr, 49rr, 50rr,
                    51rr, 52rr, 54rr, 56rr, 57rr, 58rr, 59rr, 60rr, 61rr, 62rr, 63rr, JEROME MARTIN (2) count(s) 49rr, 53rr, 55rr, 64rr. (erd)
                    (Entered: 11/08/2001)


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        USCA CaseJURY
  07/02/2001
                  #21-3072        Document #2077668                   Filed: 10/01/2024             Page 106 of 150
                      TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 14. Trial resumed and continued to 9:30
                       7/3/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                       SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m./Miller Reporting Co., Pam
                       Briggle p.m. (erd) (Entered: 11/19/2001)
  07/03/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : Trial set for 9:30 7/5/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                       CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                       07/03/2001)
  07/03/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 23rrs, 28rrs, 35rrs-37rrs, 45rrs : Same jury of 14. Defendants closing
                       resumed and concluded. Government closing rebuttal begun and continued to 10:00 7/5/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants
                       committed/commitment issued. Reporter: Phyllis Merana a.m., Miller Reporting Co., Chris Bisko p.m. (xx) (Entered:
                       07/24/2002)
  07/05/2001           JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 14. Trial resumed and continued to 10:00
                       7/9/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                       SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana a.m./Miller Reporting Co., Chris
                       Bisko p.m. (erd) (Entered: 11/19/2001)
  07/09/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : Trial set for 9:30 7/10/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                       CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                       07/09/2001)
  07/09/2001     626 Defendant, WILLIAM SWEENEY'S, Proposed Insertion to the RICO Instruction. (cas) (zss). (Entered: 07/11/2001)
  07/09/2001     630 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, SEAN COATES : that the adjudication of contempt of Christopher M. Davis, Esq. of June 21, 2001,
                     is hereby vacated, and the fine imposed remitted. (N) (erd) (zss). (Entered: 07/16/2001)
  07/09/2001           JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 14. Trial resumed and concluded; alternate
                       jurors excused. Jury deliberations begun and continued to 9:30 7/10/01 for VINCENT HILL, for JEROME MARTIN JR.,
                       for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment
                       issued. Reporter: Phyllis Merana a.m./Miller Reporting Co., Chris Bitsko p.m. (erd) Modified on 11/19/2001 (Entered:
                       11/19/2001)
  07/10/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Jury deliberations resumed and continued
                       to 9:30 7/11/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                       SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                       11/19/2001)
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        USCA CaseJURY
  07/11/2001
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                      TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Jury deliberations resumed and continued
                       to 9:30 7/12/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                       SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                       11/19/2001)
  07/12/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : Trial,jury deliberations, set for 9:30 7/16/01 for VINCENT HILL, for JEROME MARTIN
                       JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson .
                       (rew) (Entered: 07/12/2001)
  07/12/2001           JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Jury deliberations resumed and continued
                       to 9:30 7/16/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                       SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) Modified
                       on 11/19/2001 (Entered: 11/19/2001)
  07/13/2001     738 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, SEAN COATES: That the adjudications of contempt of Jonathan Zucker, Esquire of 2//6/01 and
                     5/21/01 are hereby vacated, and the fines imposed are remitted. (N) (hsj) (zss). (Entered: 07/20/2001)
  07/16/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/17/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                       Thomas P. Jackson . (rew) (Entered: 07/16/2001)
  07/16/2001           JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Trial resumed and continued to 9:30
                       7/17/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY,
                       for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 11/19/2001)
  07/17/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/18/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                       Thomas P. Jackson . (rew) (Entered: 07/17/2001)
  07/17/2001     632 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dr. John E. Adams, Signed:
                     7/17/01, Rate: $600.00. (erd) (Entered: 07/18/2001)
  07/17/2001     633 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of William Welch, Signed:
                     7/17/01, Rate: $660.00. (erd) (Entered: 07/18/2001)
  07/17/2001     634 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                     7/17/01 (erd) (zss). (Entered: 07/18/2001)
  07/17/2001     635 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                     Death Penalty Proceedings. Voucher #: 010105000010 Signed: 7/17/01 (erd) (zss). (Entered: 07/18/2001)
  07/17/2001     636 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                     7/17/01 (erd) (zss). (Entered: 07/18/2001)
  07/17/2001           JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Jury deliberations resumed and continued
                       to 9:30 7/18/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
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        USCA CaseSWEENEY,
                  #21-3072       Document
                          for SEAN          #2077668
                                   COATES. Defendants             Filed: 10/01/2024
                                                      committed/commitment                     Page
                                                                           issued. Reporter: Phyllis   108(erd)
                                                                                                     Merana of 150
                                                                                                                (Entered:
                      11/19/2001)
  07/18/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/19/01 for VINCENT HILL, for
                      JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                      Thomas P. Jackson . (rew) (Entered: 07/18/2001)
  07/18/2001          JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                      47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                      count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                      2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                      33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                      10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                      1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 12. Jury deliberations resumed and continued
                      to 9:30 7/19/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                      SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                      11/19/2001)
  07/19/2001          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Juror #3 not present, jury deliberations continued to 7-23-01 at 9:30 am for VINCENT
                      HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES .
                      before Judge Thomas P. Jackson . (rew) (Entered: 07/19/2001)
  07/19/2001    639 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/13/00. Reporter: Phyllis Merana (erd) Modified on
                    07/20/2001 (zss). (Entered: 07/20/2001)
  07/19/2001    640 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/15/00 Reporter: Phyllis Merana (erd) Modified on
                    07/20/2001 (Entered: 07/20/2001)
  07/19/2001    641 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/27/00. Reporter: Phyllis Merana (erd) Modified on
                    07/20/2001 (zss). (Entered: 07/20/2001)
  07/19/2001    642 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/28/00. Reporter: Phyllis Merana (erd) Modified on
                    07/20/2001 (zss). (Entered: 07/20/2001)
  07/19/2001    643 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/29/00. Reporter: Phyllis Merana (erd) (zss).
                    (Entered: 07/20/2001)
  07/19/2001    644 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 11/30/00. Reporter: (erd) (zss). (Entered: 07/20/2001)
  07/19/2001    645 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/4/00. Reporter: Phyllis Merana (erd) (zss). (Entered:
                    07/20/2001)
  07/19/2001    646 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/5/00. Reporter: Phyllis Merana (erd) (zss). (Entered:
                    07/20/2001)
  07/19/2001    647 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/6/00. Reporter: Phyllis Merana (erd) (zss). (Entered:
                    07/20/2001)
  07/19/2001    648 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/11/00. Reporter: Phyllis Merana (erd) (zss).
                    (Entered: 07/20/2001)
  07/19/2001    649 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/12/00. Reporter: Phyllis Merana (erd) (zss).
                    (Entered: 07/20/2001)
  07/19/2001    650 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 12/13/00. Reporter: Phyllis Merana (erd) (zss). (zss).
                    (Entered: 07/20/2001)
  07/19/2001    651 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/4/01. Reporter: Phyllis Merana (erd) Modified on
                    07/20/2001 (zss). (Entered: 07/20/2001)

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             652 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/8/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                      07/20/2001)
  07/19/2001   653 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/9/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   654 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/10/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   655 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/11/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   656 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/22/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   657 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/23/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   658 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/24/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   659 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/25/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   660 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/29/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   661 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/30/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   662 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 1/31/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   663 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/28/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   664 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/27/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   665 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/26/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   666 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/15/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   667 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/14/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   668 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/13/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   669 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/12/01. Reporter: Phyllis Merana (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   670 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/8/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)

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             671 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/7/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                      07/20/2001)
  07/19/2001   672 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/6/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered:
                   07/20/2001)
  07/19/2001   673 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/5/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   674 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 2/1/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   675 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 3/1/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   676 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 3/5/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   677 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 3/6/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   678 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/7/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   679 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/12/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   680 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/13/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   681 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/14/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   682 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/15/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   683 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/19/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   684 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/20/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   685 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/21/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   686 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 3/22/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   687 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/2/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   688 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/3/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   689 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/4/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   690 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/9/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   691 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/10/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
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             692 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES for date of 4/17/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   693 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/18/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   694 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/23/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   695 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/24/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   696 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/25/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   697 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/26/01. Reporter: Phyllis Merana (erd) (zss). (Main Document 697 replaced on
                   7/10/2023) (zss). (Entered: 07/20/2001)
  07/19/2001   698 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 4/30/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   699 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 5/1/01. Reporter: Phyllis Merana (erd) (zss). (Entered:
                   07/20/2001)
  07/19/2001   700 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/2/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   701 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of Phyllis Merana. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   702 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/7/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   703 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/8/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   704 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/9/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   705 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/14/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   706 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/15/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   707 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/16/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   708 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/17/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   709 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/21/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   710 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/22/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   711 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/23/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   712 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/29/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   713 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 5/30/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   714 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/4/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   715 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/6/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zjpb). (Entered:
                   07/20/2001)



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             716 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES for date of 6/11/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zjpb).
                      (Entered: 07/20/2001)
  07/19/2001   717 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/13/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   718 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/18/01. Reporter: Phyllis Merana (erd) Modified on 07/20/2001 (zss). (Entered:
                   07/20/2001)
  07/19/2001   719 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/19/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   720 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/20/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   721 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/21/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   722 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/25/01. Reporter: Phyllis Merana (erd) (zjpb). (Entered: 07/20/2001)
  07/19/2001   723 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/26/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   724 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/27/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   725 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 6/28/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   726 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 7/2/01 (AM). Reporter: Phyllis Merana (erd) (zss).
                   (Entered: 07/20/2001)
  07/19/2001   727 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/2/01 (PM). Reporter: Miller Reporting Co., Pamela Briggle (erd) (zjpb).
                   (Entered: 07/20/2001)
  07/19/2001   728 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/3/01 (AM). Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   729 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/3/01 (PM). Reporter: Miller Reporting Co., Thomas Bitsko (erd) (zss).
                   (Entered: 07/20/2001)
  07/19/2001   730 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, PAUL FRANKLIN for date of 7/5/01 (AM). Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   731 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/5/01 (PM). Reporter: Miller Reporting Co., Thomas Bitsko (erd) (zss).
                   (Entered: 07/20/2001)
  07/19/2001   732 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/9/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   733 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/10/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   734 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/11/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   735 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/12/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   736 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/16/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001   737 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 7/19/01. Reporter: Phyllis Merana (erd) (zss). (Entered: 07/20/2001)
  07/19/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                      47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                      count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                      2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                      33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
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        USCA Case10rrs,
                  #21-3072             Document
                        11rrs, 15rrs, 16rrs,            #2077668
                                             25rrs, 26rrs,                         Filed:
                                                           27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 10/01/2024            Page
                                                                                              37rrs, 38rrs, 41rrs, SEAN   113 of
                                                                                                                        COATES (6)150
                                                                                                                                  count(s)
                        1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury; jurur number three (3) not present. Jury
                        deliberations resumed and continued to 9:30 7/23/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL
                        CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter:
                        Phyllis Merana (erd) (Entered: 11/19/2001)
  07/20/2001      739 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                      #: 0617771-013, Signed: 7/20/01, Rate: $4,720.95. (erd) (zss). (Entered: 07/23/2001)
  07/20/2001      740 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                      1229000004-009, Signed: 7/20/01, Rate: $3,907.29. (erd) (zss). (Entered: 07/23/2001)
  07/20/2001      741 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                      services for Death Penalty Proceedings of Benjamin H. Dinolt Voucher #: D18753-22, Signed: 7/20/01, Rate: $5,417.60.
                      (erd) (zss). (Entered: 07/23/2001)
  07/23/2001            SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/24/01 for VINCENT HILL, for
                        JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                        Thomas P. Jackson . (rew) (Entered: 07/23/2001)
  07/23/2001            JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                        47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                        count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                        2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                        33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                        10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                        1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury. Jury deliberations resumed and continued to
                        9:30 7/23/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                        SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                        11/19/2001)
  07/24/2001            SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, SEAN COATES :jury deliberations resumed and continued 9:30 7/25/01 for VINCENT HILL, for JEROME
                        MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas
                        P. Jackson . (rew) (Entered: 07/24/2001)
  07/24/2001            JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                        47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                        count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                        2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                        33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                        10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                        1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury. Jury deliberations resumed and continued to
                        9:30 7/25/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                        SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                        11/19/2001)
  07/25/2001            SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, SEAN COATES : jury deliberations resumed and respited to 9:30 7/26/01 for VINCENT HILL, for
                        JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                        Thomas P. Jackson . (rew) (Entered: 07/25/2001)
  07/25/2001      742 MOTION filed by SAMUEL CARSON for mistrial (hsj) (zss). (Entered: 07/26/2001)
  07/25/2001      743 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for expert services of William N. Welch
                      Voucher #: 0631878, Signed: 7/25/01, Rate: $2,994.60. (erd) (zss). (Entered: 07/30/2001)
  07/25/2001            JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                        47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                        count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                        2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                        33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                        10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                        1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury; juror number three (3) excused pursuant to Rule
                        23(b). Jury deliberations resumed and continued to 9:30 7/26/01 for VINCENT HILL, for JEROME MARTIN JR., for
                        SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment
                        issued. Reporter: Phyllis Merana (erd) (Entered: 11/19/2001)
  07/26/2001            SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                        SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/30/01 for VINCENT HILL, for
                        JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                        Thomas P. Jackson . (rew) (Entered: 07/26/2001)

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                      TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 11rrs, 28rrs, 46rrs,
                       47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs,
                       2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs,
                       33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                       1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued
                       to 9:30 7/30/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                       SWEENEY, for SEAN COATES. PARTIAL VERDICT of guilty rendered as to, VINCENT HILL (1) count(s) 1rrs,
                       JEROME MARTIN (2) count(s) 1rrs, WILLIAM KYLE SWEENEY (4) count(s) 1rrs. Defendant
                       committed/commitment issued. Reporter: Miller Reporting Co., Judy Brown (erd) (Entered: 11/19/2001)
  07/30/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 7/31/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                       Thomas P. Jackson . (rew) (Entered: 07/30/2001)
  07/30/2001     744 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for date of 7/26/01. Reporter: Judy Brown, Miller Reporting Company. (hsj) (zjpb).
                     (Entered: 07/31/2001)
  07/30/2001     745 PROPOSED FINDINGS OF FACT and CONCLUSIONS OF LAW by VINCENT HILL, JEROME MARTIN JR.,
                     SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES . (hsj) (zss). (Entered: 08/01/2001)
  07/30/2001     746 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 92-700000-
                     12, Signed: 7/30/01, Rate: $9,842.99. (erd) (zss). (Entered: 08/01/2001)
  07/30/2001     749 MOTION filed by JEROME MARTIN JR. for leave to join in motion for mistrial [742-1] (hsj) (zss). (Entered:
                     08/01/2001)
  07/30/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 2rrs, 3rrs, 11rrs, 28rrs, 46rrs, 47rrs,
                       48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs, 2rrs,
                       4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs,
                       34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs,
                       15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30
                       7/31/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY,
                       for SEAN COATES. Defendants committed/commitment issued. Reporter: Miller Reporting Co., Judy Brown (erd)
                       (Entered: 11/19/2001)
  07/31/2001           SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                       SWEENEY, SEAN COATES : jury deliberations resumed and continued to 9:30 8/1/01 for VINCENT HILL, for
                       JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge
                       Thomas P. Jackson . (rew) (Entered: 07/31/2001)
  07/31/2001     750 MOTION filed by JEROME MARTIN JR. for defenant JEROME MARTIN'S request for ruling on motions for judgment
                     of acquittal. (hsj) (zss). (Entered: 08/02/2001)
  07/31/2001     751 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for date of 7/24/01. Reporter: Phyllis Merana (hsj) (zss). (Entered: 08/02/2001)
  07/31/2001     752 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for date of 7/25/01. Reporter: Phyllis Merana (hsj) (zss). (Entered: 08/02/2001)
  07/31/2001     753 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for date of 7/30/01. Reporter: Judy Brown, Miller Reporting Company (hsj) (zss).
                     (Entered: 08/02/2001)
  07/31/2001           JURY TRIAL before Judge Thomas P. Jackson as to VINCENT HILL (1) count(s) 2rrs, 3rrs, 11rrs, 28rrs, 46rrs, 47rrs,
                       48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                       count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs, 2rrs,
                       4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs,
                       34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs,
                       15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs,
                       10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30
                       8/1/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                       SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) Modified on 02/22/2002
                       (Entered: 11/19/2001)
  08/01/2001     747 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick D. Jones as CJA counsel for Death
                     Penalty Proceedings. Signed: 8/1/01 (erd) (Entered: 08/01/2001)


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             748 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph E. Beshouri as CJA counsel for Death
                      Penalty Proceedings. Signed: 8/1/01 (erd) (Entered: 08/01/2001)
  08/01/2001          JURY TRIAL before Judge Thomas P. Jackson as to, VINCENT HILL (1) count(s) 2rrs, 3rrs, 11rrs, 28rrs, 46rrs, 47rrs,
                      48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs, JEROME MARTIN (2)
                      count(s) 100s, 1rrs, 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s)
                      1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs,
                      32rrs, 33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs,
                      10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s)
                      1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued
                      to 9:30 8/2/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE
                      SWEENEY, for SEAN COATES. Jury polled. VERDICT of guilty rendered as to, VINCENT HILL (1) count(s) 2rrs,
                      3rrs, 46rrs, 47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs. Sentence set
                      for 9:30 10/12/01 for VINCENT HILL. VINCENT HILL referred for pre-sentence investigation report . VERDICT of
                      not guilty rendered as to, VINCENT HILL (1) count(s) 11rrs, 28rrs. Defendants committed/commitment issued.
                      Reporter: Miller Reporting Co., Judy Brown (erd) Modified on 02/22/2002 (Entered: 11/19/2001)
  08/02/2001          SCHEDULING NOTICE as to VINCENT HILL : Sentence set for 9:30 10/12/01 for VINCENT HILL . before Judge
                      Thomas P. Jackson . (rew) (Entered: 08/02/2001)
  08/02/2001          SCHEDULING NOTICE as to JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                      COATES : jury deliberations resumed and continued to 9:30 8/6/01 for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered:
                      08/02/2001)
  08/02/2001     754 MOTION filed by WILLIAM KYLE SWEENEY for leave to join in motion for mistrial [742-1] (hsj) (zss). (Entered:
                     08/03/2001)
  08/02/2001     755 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for date of 8/1/01. Reporter: Phyllis Merana (hsj) (zss). (Entered: 08/03/2001)
  08/02/2001          JURY TRIAL before Judge Thomas P. Jackson as to, JEROME MARTIN (2) count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs,
                      42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs,
                      19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs,
                      44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs,
                      35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs
                      : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/6/01 for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter:
                      Phyllis Merana (erd) Modified on 02/22/2002 (Entered: 11/19/2001)
  08/03/2001          STATUS HEARING before Judge Thomas P. Jackson as to RAYMOND WASHINGTON : RAYMOND WASHINGTON
                      referred for pre-sentence investigation report. Defendant not present. Phyllis Merana (erd) (Entered: 10/29/2001)
  08/06/2001     756 MOTION filed by VINCENT HILL for leave to join in codefendants'motion for new trial. (hsj) (zss). (Entered:
                     08/08/2001)
  08/06/2001          JURY TRIAL before Judge Thomas P. Jackson as to, JEROME MARTIN (2) count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs,
                      42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs,
                      19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs,
                      44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs,
                      35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs
                      : Same jury of 11. Trial resumed and continued to 9:30 8/7/01 for JEROME MARTIN JR., for SAMUEL CARSON, for
                      WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter: Phyllis
                      Merana (erd) (Entered: 11/19/2001)
  08/07/2001          JURY TRIAL before Judge Thomas P. Jackson as to, JEROME MARTIN (2) count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs,
                      42rrs, 49rrs, 53rrs, 55rrs, 64rrs, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs,
                      19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs, 37rrs, 39rrs, 40rrs, 43rrs,
                      44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs,
                      35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs
                      : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/8/01 for JEROME MARTIN JR., for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. PARTIAL VERDICT of guilty rendered as to,
                      JEROME MARTIN (2) count(s) 2rrs, 8rrs, 9rrs, 17rrs, 18rrs, 31rrs, 42rrs, 49rrs, 53rrs, 55rrs, 64rrs. Sentence set for 9:30
                      10/29/01 for JEROME MARTIN JR. . Presentence set for 9:30 10/22/01 for JEROME MARTIN JR. JEROME MARTIN
                      JR. referred for pre-sentence investigation report . Defendants committed/commitment issued. Reporter: Phyllis Merana
                      (erd) (Entered: 11/19/2001)
  08/08/2001     757 NOTICE OF WAIVER OF RIGHT to Appear at further trial matters by JEROME MARTIN JR. (hsj) (zss). (Entered:
                     08/09/2001)
  08/08/2001     758 OBJECTIONS by SAMUEL CARSON to government's proposed findings of fact and conclusions of law. (hsj) (zss).
                     (Entered: 08/09/2001)

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             759 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES for date of 8/7/01. Reporter: Thomas C. Bitsko, Miller Reporting Company. (hsj) (zss).
                      (Entered: 08/09/2001)
  08/08/2001          JURY TRIAL before Judge Thomas P. Jackson as to, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs,
                      8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs,
                      37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs,
                      26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs,
                      25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/9/01 for SAMUEL
                      CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment issued. Reporter:
                      Phyllis Merana (erd) (Entered: 11/19/2001)
  08/09/2001   761 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 8/9/01 (erd) (zss). (Entered: 08/14/2001)
  08/09/2001   762 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of Sam Carson Voucher #: D-21433-029, Signed: 8/9/01, Rate: $490.50. (erd) (zss). (Entered:
                   08/14/2001)
  08/09/2001   763 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                   Death Penalty Proceedings of Sam Carson Voucher #: D-21433-030, Signed: 8/9/01, Rate: $382.70. (erd) (zss). (Entered:
                   08/14/2001)
  08/09/2001   764 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 8/9/01 (erd) (zss). (Entered: 08/14/2001)
  08/09/2001          JURY TRIAL before Judge Thomas P. Jackson as to, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs,
                      8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs,
                      37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs,
                      26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs,
                      25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/13/01 for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendant VINCENT HILL present for
                      deliberations only. Defendants committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 11/19/2001)
  08/13/2001          SCHEDULING NOTICE as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES : jury
                      deliberations resumed and continued to 9:30 8/14/01 for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                      SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered: 08/13/2001)
  08/13/2001          JURY TRIAL before Judge Thomas P. Jackson as to, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs,
                      8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs,
                      37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs,
                      26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs,
                      25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/14/01 for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendants committed/commitment
                      issued. Reporter: Phyllis Merana (erd) (Entered: 11/19/2001)
  08/14/2001          SCHEDULING NOTICE as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES : jury
                      deliberations resumed and continued to 9:30 8/15/01 for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for
                      SEAN COATES . before Judge Thomas P. Jackson . (rew) (Entered: 08/14/2001)
  08/14/2001          JURY TRIAL before Judge Thomas P. Jackson as to, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs,
                      8rrs, 12rrs, 13rrs, 14rrs, 19rrs, 20rrs, 21rrs, 22rrs, 23rrs, 24rrs, 25rrs, 26rrs, 27rrs, 29rrs, 32rrs, 33rrs, 34rrs, 35rrs, 36rrs,
                      37rrs, 39rrs, 40rrs, 43rrs, 44rrs, 45rrs, WILLIAM KYLE SWEENEY (4) count(s) 2rrs, 10rrs, 11rrs, 15rrs, 16rrs, 25rrs,
                      26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs,
                      25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30 8/15/01 for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. Defendant VINCENT HILL present for
                      jury verdict only. VERDICT of guilty rendered as to, SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs,
                      8rrs, 13rrs, 14rrs, 21rrs, 22rrs, 25rrs, 26rrs, 27rrs, 29rrs, 33rrs, 35rrs, 36rrs, 37rrs, 40rrs, 44rrs. Sentence set for 9:30
                      11/9/01 for SAMUEL CARSON. SAMUEL CARSON referred for pre-sentence investigation report . VERDICT of not
                      guilty rendered as to, SAMUEL CARSON (3) count(s) 12rrs, 19rrs, 23rrs, 24rrs, 32rrs, 34rrs, 39rrs, 43rrs, 45rrs.
                      Defendants committed/commitment issued. Reporter: Miller Reporting Co., Jon Hundley (erd) (Entered: 11/19/2001)
  08/15/2001          SCHEDULING NOTICE as to SEAN COATES : jury deliberations continued to 9:30 8/16/01 for SEAN COATES .
                      before Judge Thomas P. Jackson . (rew) (Entered: 08/15/2001)
  08/15/2001   765 TRANSCRIPT filed as to VINCENT HILL, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES for
                   date of 8/14/01. Reporter: Jon Hundley, Miller Reporting Company. (hsj) (zss). (Entered: 08/17/2001)
  08/15/2001          JURY TRIAL before Judge Thomas P. Jackson as to, WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs, 10rrs, 11rrs,
                      15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 38rrs, 41rrs, SEAN COATES (6) count(s) 1rrs, 2rrs,
                      10rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 38rrs : Same jury of 11. Jury deliberations resumed and continued to 9:30
                      8/16/01 for WILLIAM KYLE SWEENEY, for SEAN COATES. VERDICT of guilty rendered as to, WILLIAM KYLE
                      SWEENEY (4) count(s) 2rrs, 11rrs, 15rrs, 16rrs, 25rrs, 26rrs, 27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs, 41rrs. Sentence set
                      for 9:30 11/20/01 for WILLIAM KYLE SWEENEY. WILLIAM KYLE SWEENEY referred for pre-sentence
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                                   VERDICT of not guilty rendered as to, Filed:
                                                                         WILLIAM10/01/2024
                                                                                  KYLE SWEENEYPage    11710rrs,
                                                                                               (4) count(s) of 150
                                                                                                                38rrs.
                      Defendant SAMUEL CARSON present for deliberations and verdicts only. Defendants committed/commitment issued.
                      Reporter: Miller Reporting Co., Jon Hundley (erd) (Entered: 11/19/2001)
  08/15/2001          STATUS HEARING before Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL
                      CARSON, WILLIAM KYLE SWEENEY, SEAN COATES : Motions for new trial due by 11/1/01 for VINCENT HILL,
                      for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES.
                      Defendants committed/commitment issued. Reporter: Miller Reporting Co., Jon Hundley (erd) (Entered: 11/19/2001)
  08/16/2001    766 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for date of 8/15/01. Reporter: Jon Hundley, Miller Reporting Company. (hsj) (zss).
                    (Entered: 08/17/2001)
  08/16/2001    778 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, MAURICE PROCTOR : Nunc pro tunc to 7/26/01, that all defendants motions for new trial due by
                    11/1/01 for VINCENT HILL, for JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY,
                    for SEAN COATES. (N) (erd) (zss). (Entered: 09/24/2001)
  08/16/2001    779 MEMORANDUM AND ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR.,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES : That defendants' motions for a mistrial are
                    denied. (N) (erd) (zss). (Entered: 09/24/2001)
  08/16/2001          JURY TRIAL before Judge Thomas P. Jackson as to, SEAN COATES (6) count(s) 1rrs, 2rrs, 10rrs, 11rrs, 24rrs, 25rrs,
                      26rrs, 27rrs, 34rrs, 38rrs, 23rrs, 28rrs, 35rrs-37rrs, 45rrs : Same juryof 11. Jury deliberations resumed and concluded; jury
                      polled, and discharged. VERDICT of guilty rendered as to, SEAN COATES (6) count(s) 1rrs, 2rrs, 11rrs, 24rrs, 25rrs,
                      26rrs, 27rrs, 23rrs, 28rrs, 34rrs, 35rrs-37rrs, 45rrs. Sentence set for 9:30 11/29/01 for SEAN COATES. SEAN COATES
                      referred for pre-sentence investigation report . VERDICT of not guilty rendered as to, SEAN COATES (6) count(s) 10rrs,
                      38rrs. Defendants VINCENT HILL, SAMUEL CARSON and WILLIAM KYLE SWEENEY present for deliberations
                      and verdict only. Defendant committed/commitment issued. Reporter: Miller Reporting Co. Jon Hundley (erd) (Entered:
                      11/19/2001)
  08/16/2001    810 VERDICT FORM as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                    SEAN COATES (erd) (zjpb). (Entered: 11/20/2001)
  08/20/2001    767 TRANSCRIPT filed as to VINCENT HILL, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES for
                    date of 8/16/01. Reporter: Miller Reporting Co., Inc- Jon Hundley (aet) (zss). (Entered: 08/27/2001)
  08/28/2001    768 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                    8/28/01 (erd) (zss). (Entered: 09/10/2001)
  08/30/2001          SCHEDULING NOTICE as to SAMUEL CARSON : Presentence/Sentence set for 9:30 11/9/01 for SAMUEL CARSON
                      before Judge Thomas P. Jackson . (rew) (Entered: 08/30/2001)
  08/30/2001          SCHEDULING NOTICE as to WILLIAM KYLE SWEENEY : Presentence/Sentence set for 9:30 11/20/01 for
                      WILLIAM KYLE SWEENEY before Judge Thomas P. Jackson . (rew) (Entered: 08/30/2001)
  08/30/2001          SCHEDULING NOTICE as to JEROME MARTIN JR. : Presentence hearing set for 9:30 10/22/01 for JEROME
                      MARTIN JR. . Sentence set for 9:30 10/29/01 for JEROME MARTIN JR. . before Judge Thomas P. Jackson . (rew)
                      (Entered: 08/30/2001)
  08/30/2001          SCHEDULING NOTICE as to SEAN COATES : Presentence/Sentence set for 9:30 11/29/01 for SEAN COATES before
                      Judge Thomas P. Jackson . (rew) (Entered: 08/30/2001)
  09/05/2001    769 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                    #: 0617771-014, Signed: 9/5/01, Rate: $1925.00. (erd) (zss). (Entered: 09/10/2001)
  09/05/2001    770 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                    Death Penalty Proceedings. Voucher #: 010105000010 Signed: 9/5/01 (erd) (zss). (Entered: 09/10/2001)
  09/05/2001    771 ORDER by Judge Thomas P. Jackson as to VINCENT HILL for expert services of Shawn Allen Voucher #: 927000005-
                    01, Signed: 9/5/01, Rate: $10,000.00. (erd) (zss). (Entered: 09/10/2001)
  09/05/2001    772 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Dale Vaughan Voucher #:
                    1229000004-F, Signed: 9/5/01, Rate: $8019.00. (erd) (zss). (Entered: 09/10/2001)
  09/07/2001    775 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Litigation Support Services,
                    Signed: 9/7/01, Rate: $1,500 or 30 HRS @ $50.00. (erd) (Entered: 09/18/2001)
  09/11/2001    773 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Jospeh Beshouri as CJA counsel for Death
                    Penalty Proceedings. Signed: 9/11/01 (erd) (Entered: 09/18/2001)
  09/11/2001    774 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing JoannE Hepworth as CJA counsel.
                    Voucher No.: 0476689 Signed: 9/11/01 (erd) (Entered: 09/18/2001)
  09/12/2001          SCHEDULING NOTICE as to MAURICE PROCTOR : Status hearing set for 9:30 9/19/01 for MAURICE PROCTOR .
                      before Judge Thomas P. Jackson . (rew) (Entered: 09/12/2001)

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                                  as to SEAN COATES : Sentence reset for 9:30 2/7/01 for SEAN COATES . before Judge
                      Thomas P. Jackson . (rew) (Entered: 09/17/2001)
  09/17/2001          SCHEDULING NOTICE as to WILLIAM KYLE SWEENEY : Sentence set for 9:30 2/5/02 for WILLIAM KYLE
                      SWEENEY . before Judge Thomas P. Jackson . (rew) (Entered: 09/17/2001)
  09/17/2001          SCHEDULING NOTICE as to SAMUEL CARSON : Sentence set for 9:30 1/30/02 for SAMUEL CARSON . before
                      Judge Thomas P. Jackson . (rew) (Entered: 09/17/2001)
  09/17/2001          SCHEDULING NOTICE as to JEROME MARTIN JR. : Sentence set for 9:30 1/24/02 for JEROME MARTIN JR. .
                      before Judge Thomas P. Jackson . (rew) (Entered: 09/17/2001)
  09/17/2001          SCHEDULING NOTICE as to VINCENT HILL : Sentence set for 9:30 1/16/02 for VINCENT HILL . before Judge
                      Thomas P. Jackson . (rew) (Entered: 09/17/2001)
  09/18/2001    776 MOTION filed by WILLIAM KYLE SWEENEY to conduct post-trial interview of trial jurors. (hsj) (zss). (Entered:
                    09/19/2001)
  09/18/2001    777 MOTION filed by WILLIAM KYLE SWEENEY to conduct post-trial voir dire of trial jurors. (hsj) (zss). (Entered:
                    09/20/2001)
  09/19/2001          STATUS HEARING before Judge Thomas P. Jackson as to MAURICE PROCTOR : Status hearing set for 9:30 11/20/01
                      for MAURICE PROCTOR. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                      10/02/2001)
  09/19/2001          SCHEDULING NOTICE as to RAYMOND WASHINGTON : Status hearing set for 9:30 10/12/01 for RAYMOND
                      WASHINGTON. before Judge Thomas P. Jackson. (erd) (Entered: 10/29/2001)
  09/21/2001          SCHEDULING NOTICE as to ERIK JONES : Sentence set for 2:00 9/24/01 for ERIK JONES . before Judge Thomas P.
                      Jackson . (rew) (Entered: 09/21/2001)
  09/21/2001          SCHEDULING NOTICE as to MAURICE PROCTOR : Status hearing set for 9:30 11/20/01 for MAURICE PROCTOR
                      . before Judge Thomas P. Jackson . (rew) (Entered: 09/21/2001)
  09/21/2001    780 MOTION filed by WILLIAM KYLE SWEENEY to extend time to 12/15/01 to file motion for new trial. (hsj) (zss).
                    (Entered: 09/24/2001)
  09/25/2001    785 WRIT OF HABEAS CORPUS AD PROSEQUENDUM issued to Warden, Allenwood Federal Correction, for production
                    of Clifton D. Edwards, for hearing on 10/15/01, as to CLIFTON EDWARDS. Ordered by Judge Thomas P. Jackson. (erd)
                    (zss). (Entered: 10/03/2001)
  09/26/2001    781 RESPONSE by USA in opposition to motion to extend time to 12/15/01 to file motion for new trial. [780-1] by
                    WILLIAM KYLE SWEENEY . (aet) (zss). (Entered: 09/27/2001)
  09/27/2001    782 RESPONSE by USA in opposition to motion to conduct post-trial voir dire of trial jurors. [777-1] by WILLIAM KYLE
                    SWEENEY . (hsj) (zss). (Entered: 09/28/2001)
  10/01/2001    783 ORDER by Judge Thomas P. Jackson as to MAURICE PROCTOR for expert services of Adrian Bean (Litigation
                    Support Services) Voucher #: 927000007-S, Signed: 10/1/01, Rate: $2,194.74. (erd) (Entered: 10/02/2001)
  10/01/2001    786 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, SEAN COATES : granting in part, all defendants shall file motions for a new trial [780-1] as to
                    WILLIAM KYLE SWEENEY (4) Motions due by 11/8/01 for VINCENT HILL, for JEROME MARTIN JR., for
                    SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. (N) (erd) Modified on 10/10/2001 (zss).
                    (Entered: 10/10/2001)
  10/01/2001          SENTENCING by Judge Thomas P. Jackson for ERIK JONES (11) count(s) 1. Defendant sentenced to One Hundred and
                      Twenty (120) months incarceration; to be served consecutive to any other sentence; followed by Five (5) years
                      Supervised Release with conditions; special assessment of $100.00 imposed due within first year of Supervised Release.
                      Court Recommends defendant be incarcerated at Fort Dix, New Jersey or Cumberland, Maryland and drug treatment
                      during incarceration. Count(s) 2, 24, 25, 26, 35, 36, 51-66, 67-80 dismissed upon motion of the government. Defendant
                      committed/commitment issued. Court Reporter: Phyllis Merana (erd) (Entered: 11/20/2001)
  10/01/2001          PRESENTENCE HEARING before Judge Thomas P. Jackson as to ERIK JONES : Defendant committed/commitment
                      issued. Reporter: Phyllis Merana (erd) (Entered: 11/20/2001)
  10/01/2001    807 RECEIPT and Acknowledgment of Presentence Investigation Report by ERIK JONES. (erd) (zss). (Entered: 11/20/2001)
  10/01/2001    808 RECEIPT and Acknowledgment of Presentence Investigation Report by USA as to ERIK JONES. (erd) (zss). (Entered:
                    11/20/2001)
  10/02/2001          SCHEDULING NOTICE as to CLIFTON EDWARDS : Status hearing set for 9:30 10/15/01 for CLIFTON EDWARDS .
                      before Judge Thomas P. Jackson . (rew) (Entered: 10/02/2001)
  10/02/2001    784 MOTION filed by SAMUEL CARSON for leave to join in motion to conduct post-trial voir dire of trial jurors. [777-1]
                    (hsj) (zss). (Entered: 10/03/2001)

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             809 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to ERIK JONES.
                       (erd) (Additional attachment(s) added on 2/26/2024: # 1 SOR) (zss). (Entered: 11/20/2001)
  10/04/2001     791 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON : granting motion for leave to join in motion to conduct
                     post-trial voir dire of trial jurors [777-1] [784-1] as to SAMUEL CARSON (3) (N) (erd) (zss). (Entered: 10/23/2001)
  10/04/2001     791 MOTION JOINDER by SAMUEL CARSON joining in motion to conduct post-trial voir dire of trial jurors [777-1] (erd)
                     Modified on 10/23/2001 (Entered: 10/23/2001)
  10/09/2001     788 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                     Death Penalty Proceedings of SAMUEL CARSON. Voucher #: D-21433-031, Signed: 10/9/01, Rate: $709.87. (erd)
                     (Entered: 10/18/2001)
  10/10/2001     787 REPLY by WILLIAM KYLE SWEENEY to in opposition to response [782-1] by USA (hsj) (zss). (Entered: 10/11/2001)
  10/12/2001           STATUS HEARING before Judge Thomas P. Jackson as to RAYMOND WASHINGTON : Oral motion of government to
                       unseal case; heard and granted. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                       10/29/2001)
  10/12/2001           SENTENCING by Judge Thomas P. Jackson for RAYMOND WASHINGTON (12) count(s) 2. Defendant sentenced to
                       One Hundred and Eight (108) months incarceration with credit for time served; followed by Five (5) years Supervised
                       Release with conditions; special assessment of $100.00 imposed due within the first year of Supervised Release. Count(s)
                       1, 40, 41, 42, 43, 51-66, 67-80 dismissed upon on oral motion of the government. Defendant committed/commitment
                       issued. Court Reporter: Phyllis Merana (erd) (Entered: 10/29/2001)
  10/15/2001     789 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                     Death Penalty Proceedings. Voucher #: 010912000001 Signed: 10/15/01 (erd) (Entered: 10/18/2001)
  10/15/2001     790 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                     Penalty Proceedings of SEAN COATES Voucher #: D018719-D05, Signed: 10/15/01, Rate: $1,388.02. (erd) (Entered:
                     10/18/2001)
  10/15/2001           STATUS HEARING before Judge Thomas P. Jackson as to CLIFTON EDWARDS : Status hearing set for 9:30 11/20/01
                       for CLIFTON EDWARDS. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                       10/29/2001)
  10/15/2001     812 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to RAYMOND
                     WASHINGTON. (erd) (Additional attachment(s) added on 2/26/2024: # 1 SOR) (zss). (Entered: 11/26/2001)
  10/17/2001           SCHEDULING NOTICE as to CLIFTON EDWARDS : Status hearing set for 9:30 11/20/01 for CLIFTON EDWARDS .
                       before Judge Thomas P. Jackson . (rew) (Entered: 10/17/2001)
  10/17/2001     792 MOTION filed by VINCENT HILL for leave to join in co-defendants' motions for new trial and to interview dimissed
                     juror (erd) (zss). (Entered: 10/23/2001)
  10/22/2001     801 ORDER by Judge Thomas P. Jackson as to VINCENT HILL : granting motion for leave to join in co-defendants' motions
                     for new trial and to interview dimissed juror [792-1] as to VINCENT HILL (1) (N) (erd) (zss). (Entered: 11/02/2001)
  10/23/2001     798 ORDER by Judge Thomas P. Jackson as to ERIK JONES appointing Joseph Roll Conte as CJA counsel for Death
                     Penalty Proceedings. Signed: 10/23/01 (erd) (Entered: 10/30/2001)
  10/26/2001     799 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. for expert services of Carroll V. Crumbaugh Voucher
                     #: 0617771, Signed: 10/26/01, Rate: $11,465.05. (erd) (Entered: 10/30/2001)
  10/30/2001     800 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY authorizing transcript of proceeding held on
                     July 2, 3, 5, 24, 26, 30 2001, August 7, 14, 15, 16 2001. Signed: 10/30/01. Reporter: Miller Reporting Co.. (erd) (Entered:
                     10/30/2001)
  11/08/2001     802 MOTION filed by SAMUEL CARSON for new trial (aet) (zss). (Entered: 11/13/2001)
  11/08/2001     803 MOTION filed by WILLIAM KYLE SWEENEY for new trial (aet) (zss). (Entered: 11/13/2001)
  11/08/2001     804 MOTION filed by JEROME MARTIN JR. for leave to join in motion for new trial [803-1], motion for new trial [802-1]
                     filed by codefendants (aet) (zss). (Entered: 11/13/2001)
  11/08/2001     805 MOTION filed by JEROME MARTIN JR. for new trial (aet) (zss). (Entered: 11/13/2001)
  11/13/2001     806 MOTION filed by SEAN COATES for leave to late-file motion to adopt all post-trial motions for new trial, arguments
                     and objections filed by co-defendants (aet) (zss). (Entered: 11/15/2001)
  11/19/2001     813 ORDER by Judge Thomas P. Jackson as to SEAN COATES : granting motion for leave to late-file motion to adopt all
                     post-trial motions for new trial, arguments and objections filed by co-defendants [806-1] as to SEAN COATES (6) (N)
                     (erd) (zss). (Entered: 11/28/2001)
  11/19/2001     814 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. : granting motion for leave to join in motion for new
                     trial [803-1], motion for new trial [802-1] filed by codefendants [804-1] as to JEROME MARTIN (2) (N) (erd) (zss).
                     (Entered: 11/28/2001)

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             814 MOTION JOINDER by JEROME MARTIN JR. joining in motion for new trial [803-1], joining in motion for new trial
                      [802-1] (erd) Modified on 11/28/2001 (Entered: 11/28/2001)
  11/20/2001          STATUS HEARING before Judge Thomas P. Jackson as to CLIFTON EDWARDS : Status hearing set for 9:30 11/28/01
                      for CLIFTON EDWARDS. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                      11/29/2001)
  11/21/2001     811 MOTION filed by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES to extend time to 1/7/02 to file its opposition to defendants' motion for new trial. (hsj) (zss).
                     (Entered: 11/23/2001)
  11/21/2001     821 ORDER by Judge Thomas P. Jackson as to SEAN COATES : Granting defendants motion to adopt and join all post trial
                     motions for new trial, argments and objections filed by co-defendants. (N) (erd) (zss). (Entered: 12/13/2001)
  11/27/2001     815 SUPERSEDING INFORMATION filed against CLIFTON EDWARDS (13) count(s) 1s, 2s. (hsj) (zss). (Entered:
                     11/29/2001)
  11/27/2001     816 PLEA AGREEMENT filed as to CLIFTON EDWARDS . (hsj) (zss). (Entered: 11/29/2001)
  11/27/2001     822 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, SEAN COATES : granting motion to extend time to 1/7/02 to file its opposition to defendants'
                     motion for new trial [811-1] as to VINCENT HILL (1), JEROME MARTIN (2), SAMUEL CARSON (3), WILLIAM
                     KYLE SWEENEY (4), SEAN COATES (6) Governments response to motion due by 1/7/02 for VINCENT HILL, for
                     JEROME MARTIN JR., for SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES. (N) (erd)
                     (zss). (Entered: 12/18/2001)
  11/28/2001          STATUS HEARING before Judge Thomas P. Jackson as to MAURICE PROCTOR : Status hearing continued for
                      12/5/01 for MAURICE PROCTOR. Defendant committed/commitment issued. Reporter: William McAllister (erd)
                      (Entered: 11/29/2001)
  11/28/2001          ARRAIGNMENT held before Judge Thomas P. Jackson as to CLIFTON EDWARDS (13) count(s) 1s, 2s : Attorney
                      appearance for CLIFTON EDWARDS by Nathan Silver. Plea guilty entered by CLIFTON EDWARDS (13) count(s) 2s.
                      Defendant is currently serving a sentence. The Court will use the last presentence report to move the sentencing.
                      Sentence set for 9:30 12/6/01 for CLIFTON EDWARDS. Defendant committed/commitment issued. Reporter: William
                      McAllister (erd) (Entered: 12/04/2001)
  11/28/2001     818 WAIVER of Trial by Jury as to CLIFTON EDWARDS. Approved by Judge Thomas P. Jackson. (erd) (zss). (Entered:
                     12/13/2001)
  11/28/2001     819 WAIVER OF INDICTMENT filed by CLIFTON EDWARDS. Approved by Judge Thomas P. Jackson. (erd) (zss).
                     (Entered: 12/13/2001)
  11/28/2001     820 PLEA AGREEMENT filed as to CLIFTON EDWARDS. "Let this be filed by Judge Jackson" (erd) (zss). (Entered:
                     12/13/2001)
  12/03/2001          SCHEDULING NOTICE as to MAURICE PROCTOR : Status hearing set for 9:30 12/20/01 for MAURICE PROCTOR
                      . before Judge Thomas P. Jackson . (rew) (Entered: 12/03/2001)
  12/04/2001     817 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                     Death Penalty Proceedings. Voucher #: 011019000015 Signed: 12/4/01 (erd) (Entered: 12/11/2001)
  12/10/2001          SCHEDULING NOTICE as to CLIFTON EDWARDS : Sentence set for 9:30 12/12/01 for CLIFTON EDWARDS .
                      before Judge Thomas P. Jackson . (rew) (Entered: 12/10/2001)
  12/12/2001          SENTENCING by Judge Thomas P. Jackson for CLIFTON EDWARDS (13) count(s) 2s. Defendant sentenced to not less
                      than One (1) year or more that Three (3) years incarceration to run concurrently with any sentence he is currently serving.
                      Count(s) 1s, 1 dismissed upon oral motion of the government. Defendant committed/commitment issued. Court Reporter:
                      Phyllis Merana (erd) (Entered: 01/09/2002)
  12/13/2001     823 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to CLIFTON
                     EDWARDS. (erd) (zss). (Additional attachment(s) added on 3/5/2024: # 1 SOR) (zss). (Entered: 12/19/2001)
  12/19/2001     824 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                     services for Death Penalty Proceedings of WILLIAM KYLE SWEENEY Voucher #: D18753-23, Signed: 12/19/01, Rate:
                     $473.30. (erd) (Entered: 12/19/2001)
  12/20/2001     825 SUPERSEDING INFORMATION filed against MAURICE PROCTOR (5) count(s) 1ss. (hsj) (Entered: 12/27/2001)
  12/20/2001          STATUS HEARING before Judge Thomas P. Jackson as to MAURICE PROCTOR : Oral motion by defendant to
                      proceed to sentencing; granted. Defendant committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered:
                      01/16/2002)
  12/20/2001          STATUS HEARING before Judge Thomas P. Jackson as to MAURICE PROCTOR : Plea not guilty withdrawn as to
                      MAURICE PROCTOR (5) count(s) 1ss. Plea guilty entered by, MAURICE PROCTOR (5) count(s) 1ss. Defendant
                      committed/commitment issued. Reporter: Phyllis Merana (erd) (Entered: 01/23/2002)


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  12/20/2001
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                                    Thomas P. Jackson for MAURICE PROCTOR (5) count(s) 1ss. Defendant sentenced to Sixty
                      (60) months incarceration pursuant to 11E(2)(c); to run concurrent to any other sentence; followed by Four (4) years
                      Supervised Release; special assessment of $100.00 imposed due within first year of Supervised Release. Remaining
                      counts dismissed upon oral motion of the government. Defendant committed/commitment issued. Court Reporter: Phyllis
                      Merana (erd) (Entered: 01/23/2002)
  12/20/2001    828 PLEA AGREEMENT filed as to MAURICE PROCTOR. "Let this be filed by Judge Jackson" (erd) (zss). (Entered:
                    01/23/2002)
  12/20/2001    829 PROFFER OF EVIDENCE by USA as to MAURICE PROCTOR. (erd) (zss). (Entered: 01/23/2002)
  12/20/2001    830 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to MAURICE
                    PROCTOR. (erd) (zss). (Additional attachment(s) added on 3/5/2024: # 1 SOR) (zss). (Entered: 01/23/2002)
  01/03/2002          SCHEDULING NOTICE as to JEROME MARTIN JR. : Presentence/Sentence set for 9:30 2/13/02 for JEROME
                      MARTIN JR. before Judge Thomas P. Jackson . (rew) (Entered: 01/03/2002)
  01/09/2002    826 PROPOSED FINDINGS OF FACTS and by USA as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                    WILLIAM KYLE SWEENEY, SEAN COATES. (hsj) Modified on 01/10/2002 (zss). (Entered: 01/10/2002)
  01/09/2002    827 RESPONSE (OMNIBUS) by USA in opposition to motion for new trial [805-1] by JEROME MARTIN JR., motion for
                    new trial [803-1] by WILLIAM KYLE SWEENEY, motion for new trial [802-1] by SAMUEL CARSON, motion for
                    leave to join in codefendants'motion for new trial. [756-1] by VINCENT HILL. (hsj) Modified on 01/10/2002 (zss).
                    (Entered: 01/10/2002)
  01/15/2002          SCHEDULING NOTICE as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES : Motion hearing set for 1:30 1/29/02 for VINCENT HILL, for JEROME MARTIN JR., for
                      SAMUEL CARSON, for WILLIAM KYLE SWEENEY, for SEAN COATES . before Judge Thomas P. Jackson . (rew)
                      (Entered: 01/15/2002)
  01/15/2002          SCHEDULING NOTICE as to VINCENT HILL : Presentence/Sentence set for 4:00 1/29/02 for VINCENT HILL before
                      Judge Thomas P. Jackson . (rew) (Entered: 01/15/2002)
  01/25/2002    831 REPLY by JEROME MARTIN JR. to response in opposition to motion for new trial [805-1] by JEROME MARTIN JR.
                    (aet) (zss). (Entered: 01/28/2002)
  01/28/2002          SCHEDULING NOTICE as to VINCENT HILL : Sentence set for <date not set> for VINCENT HILL . before Judge
                      Thomas P. Jackson . (rew) (Entered: 01/28/2002)
  01/28/2002    832 MEMORANDUM in Aid of Sentencing filed by USA as to SAMUEL CARSON . (hsj) (zss). (Additional attachment(s)
                    added on 3/21/2024: # 1 Attachment) (zss). (Entered: 01/30/2002)
  01/28/2002    833 FINDINGS OF FACT and Conclusions of Law by USA as to SAMUEL CARSON . (aet) (zss). (Entered: 01/30/2002)
  01/28/2002    834 SENTENCING MEMORANDUM PURSUANT TO RULE 32 by SAMUEL CARSON . (aet) (zss). (Entered:
                    01/30/2002)
  01/28/2002    835 FINDINGS OF FACT and Conclusions of Law as to VINCENT HILL . (aet) (zss). (Entered: 01/30/2002)
  01/28/2002    836 MEMORANDUM in Aid of Sentencing filed by USA as to VINCENT HILL . (aet) (zss). (Entered: 01/30/2002)
  01/29/2002    837 GOVERNMENT'S REVISED FINDINGS OF FACT and Conclusions of Law as to SAMUEL CARSON . (aet) (zss).
                    (Entered: 01/30/2002)
  01/29/2002    838 GOVERNMENT'S REVISED FINDINGS OF FACT and Conclusions of Law as to VINCENT HILL . (aet) (zss).
                    (Entered: 01/30/2002)
  01/29/2002    839 MOTION filed by VINCENT HILL to continue sentencing. (hsj) (zss). (Entered: 02/01/2002)
  01/29/2002    840 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY for Ex Parte request for expert and other
                    services for Death Penalty Proceedings of William K. Sweeney, Voucher # D18753-F, Signed: 1/29/02, Rate: $26,122.31.
                    (erd) (Entered: 02/05/2002)
  01/29/2002    844 ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, SEAN COATES : denying motion for new trial [805-1] as to JEROME MARTIN (2), denying
                    motion for new trial [803-1] as to WILLIAM KYLE SWEENEY (4), denying motion for new trial [802-1] as to
                    SAMUEL CARSON (3); denying motion for new trial as to VINCENT HILL, SEAN COATES. (N) (erd) (zss). (Entered:
                    02/11/2002)
  01/29/2002          SENTENCING by Judge Thomas P. Jackson for VINCENT HILL (1) on counts 1rrs, 2rrs: the deft. is sentenced to Life,
                      said sentence to run consecutively with each other and concurrently to all other counts; followed by 5 years supervised
                      release, to run concurrently to each other and concurrently to all other counts. A special assessment of $100.00 is
                      imposed on each count and is due immediately. A fine of $500,000.00 on count 1rrs is due immediately. On count 3rrs
                      the deft. is sentenced to 20 years to life, to run concurrently to all other counts; followed by 5 years supervised release to
                      run concurrently to counts 1rrs and 2rrs and to all other counts. A special assessment of $100.00 is due immediately. On
                      counts 46rrs, 47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs, 57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, and 63rrs the deft.
                      is sentenced to 60 months, to run concurrently by the counts and concurrently to all other counts; followed by 3 years
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                                        run concurrently                      Filed: 10/01/2024
                                                         by the counts and concurrently to all other counts. APage
                                                                                                              special 122   of 150
                                                                                                                      assessment of
                        $100.00 on each count is due immediately. Remaining counts are dismissed on oral motion of the government. Defendant
                        committed/commitment issued. Court Reporter: Jon Hundley, Miller Reporting Co. (mlp) (Entered: 07/26/2002)
  01/29/2002      891 RECEIPT and Acknowledgment of Presentence Investigation Report by VINCENT HILL . (mlp) (zss). (Entered:
                      07/26/2002)
  01/29/2002      903 NOTICE OF APPEAL filed by VINCENT HILL from Court's oral sentence imposed on 2/13/02 and entered on 8/1/02.
                      Appeal references VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 46rrs, 47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs,
                      57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs. Counsel and defendant(s) notified. Docketing statement: Not received. NO
                      FEE: CJA (erd) (zss). (Entered: 09/30/2002)
  01/31/2002            SCHEDULING NOTICE as to VINCENT HILL : Sentence set for 11:00 2/1/02 for VINCENT HILL . before Judge
                        Thomas P. Jackson . (rew) (Entered: 01/31/2002)
  01/31/2002            SENTENCING by Judge Thomas P. Jackson for SAMUEL CARSON (3) counts 1rrs, 2rrs , 22rrs , 25rrs , 26rrs , 27rrs:
                        the deft. is sentenced to Life on counts 1rrs, 2rrs, 22rrs, 25rrs, 26rrs, and 27rrs; all counts to run concurrently with each
                        other; followed by a term of 5 years supervised release on each count; all counts to run concurrently with each other. A
                        special assessment of $100.00 on each count is due immediately. The defendant shall pay a fine of $500,000.00 on count
                        1rrs, which is due immediately. Restitution in the amount of $9,513.60 to Renee Brown is due immediately. SAMUEL
                        CARSON (3) counts 4rrs, 5rrs , 6rrs , 7rrs , 8rrs: the deft. is sentenced to 20 years to life; said sentence is run
                        consecutively to each other and to counts 1rrs, 2rrs, 22rrs, 25rrs, 26rrs and 27rrs. A special assessment of $100.00 on
                        each count is due immediately. SAMUEL CARSON (3) count 13rrs: the deft. is sentenced to 5 years to life; said sentence
                        is to run consecutively to the sentence imposed on counts 4rrs-8rrs. A special assessment of $100.00 is due immediately.
                        SAMUEL CARSON (3) count 14rrs: the deft. is sentenced to 20 years; said sentence is to run concurrently with the
                        sentence imposed on all other counts; followed by 3 years of supervised release which is to run concurrently with the
                        period of supervised release imposed on all other counts. A special assessment of $100.00 is due immediately. SAMUEL
                        CARSON (3) count 21rrs: the deft. is sentenced to 30 years, to run consecutively to the sentence imposed on counts 4rrs-
                        8rrs and 13rrs. A special assessment of $100.00 is due immediately. SAMUEL CARSON (3) count 29rrs: the deft. is
                        sentenced to 5 years, to run consecutively to counts 4rrs-8rrs, 13rrs and 21rrs. A special assessment of $100.00 is due
                        immediately. SAMUEL CARSON (3) counts 33rrs, 35rrs , 36rrs , 37rrs: the deft. is sentenced to 20 years, to run
                        consecutively to each other and to counts 4rrs-8rrs, 13rrs and 21rrs; followed by 5 years supervised release on each count
                        which shall run concurrently to all counts where supervised release has been imposed. A special assessment of $100.00 is
                        imposed on each count and is due immediately. SAMUEL CARSON (3) count 29rrs: the deft. is sentenced to 5 years, to
                        run consecutively to counts 4rrs-8rrs, 13rrs and 21rrs; followed by 5 years of supervised release, which shall run
                        concurrently with all counts where supervised release has been imposed. A special assessment of $100.00 is due
                        immediately. SAMUEL CARSON (3) counts 40rrs, 44rrs: the deft. is sentenced to 5 years to 15 years on each count
                        which is to run concurrently with each other and to all other counts. A special assessment of $100.00 is imposed on each
                        count and is due immediately. Counts 1, 2, 5, 6, 7, 20, 21, 31, 32, 33, 34, 35, 36, 41, 47, 48, 49, 53, 58-59, 60, 1rs, 2rs,
                        4rs-5rs, 6rs-7rs, 13rs, 16rs, 17rs, 26rs, 27rs, 28rs, 29rs, 30rs, 31rs, 32rs, 33rs-34rs, 35rs-47rs, 48rs-58rs, 52s, 12rrs, 19rrs,
                        20rrs, 23rrs, 24rrs, 32rrs, 34rrs, 39rrs, 43rrs, and 45rrs are dismissed on the oral motion of the government. Defendant
                        committed/commitment issued. Court Reporter: Phyllis Merana (mlp) (Entered: 07/25/2002)
  01/31/2002            PRESENTENCE HEARING held before Judge Thomas P. Jackson as to SAMUEL CARSON: Defendant
                        committed/commitment issued. Reporter: Phyllis Merana (mlp) (Entered: 07/25/2002)
  01/31/2002      889 RECEIPT and Acknowledgment of Presentence Investigation Report by SAMUEL CARSON; attachment (1). (mlp)
                      (zss). (Entered: 07/25/2002)
  01/31/2002      904 NOTICE OF APPEAL filed by SAMUEL CARSON from Court's oral sentence imposed on 2/13/02 and entered on
                      8/1/02. Appeal references SAMUEL CARSON (3) count(s) 1rrs, 2rrs, 4rrs, 5rrs, 6rrs, 7rrs, 8rrs, 12rrs, 13rrs, 14rrs, 21rrs,
                      22rrs, 25rrs, 26rrs, 27rrs, 29rrs, 33rrs, 35rrs, 36rrs, 37rrs, 40rrs, 44rrs. Counsel and defendant(s) notified. Docketing
                      statement: not received. NO FEE: CJA (erd) (zss). (Entered: 09/30/2002)
  02/01/2002      841 MEMORANDUM in Aid of Sentencing filed by USA as to WILLIAM KYLE SWEENEY . (hsj) (zss). (Entered:
                      02/05/2002)
  02/01/2002            PRESENTENCE HEARING before Judge Thomas P. Jackson as to VINCENT HILL : Defendant
                        committed/commitment issued. Reporter: Miller Reporting Co., Shawna Browne (erd) (Entered: 02/22/2002)
  02/01/2002            PRESENTENCE HEARING held before Judge Thomas P. Jackson as to VINCENT HILL. Reporter: Shawna Browne
                        (mlp) (Entered: 07/26/2002)
  02/01/2002            RESENTENCING before Judge Thomas P. Jackson for VINCENT HILL (1) counts 1rrs, 2rrs: the deft. is sentenced to
                        Life on counts 1rrs and 2rrs, to run concurrently to each other; followed by 5 years supervised release, to run
                        concurrently to each other and concurrently to all other counts. A special assessment of $100.00 on each count is due
                        immediately. A fine of $500,000.00 on count 1rrs is due immediately. On count 3rrs, the deft. is sentenced to 20 years to
                        life, to run consecutively to counts 1rrs and 2rrs; followed by 5 years supervised release, to run concurrently to all other
                        counts. A special assessment of $100.00 is due immediately. On counts 46rrs, 47rrs , 48rrs , 49rrs , 50rrs , 51rrs , 52rrs,
                        54rrs and 56rrs-63rrs, the deft. is sentenced to 60 months on counts 46rrs-52rrs, 54rrs and 56rrs-63rrs, to run concurrently
                        to each other and to all other counts; followed by 3 years supervised release on each count, to run concurrently to each
                        other and to all other counts. A special assessment of $100.00 is imposed on each count and is due immediately.
                        Remaining counts are dismissed on an oral motion of the government. Defendant committed/commitment issued.
                        Reporter: Shawna Browne (mlp) (Entered: 07/26/2002)
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             905 NOTICE OF APPEAL filed by VINCENT HILL from Court's oral sentence imposed on 2/13/02 and entered on 8/1/02.
                       Appeal references VINCENT HILL (1) count(s) 1rrs, 2rrs, 3rrs, 46rrs, 47rrs, 48rrs, 49rrs, 50rrs, 51rrs, 52rrs, 54rrs, 56rrs,
                       57rrs, 58rrs, 59rrs, 60rrs, 61rrs, 62rrs, 63rrs. Counsel and defendant(s) notified. Docketing statement: not received. NO
                       FEE: CJA (erd) (zss). (Entered: 09/30/2002)
  02/01/2002     906 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to VINCENT HILL.
                     (erd) (zss). (Additional attachment(s) added on 2/7/2024: # 1 SOR) (zss). (Entered: 09/30/2002)
  02/01/2002     907 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to SAMUEL
                     CARSON. (erd) (zss). (Additional attachment(s) added on 2/7/2024: # 1 SOR) (zss). (Entered: 09/30/2002)
  02/03/2002     913 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to SEAN COATES.
                     (erd) (llk). (Main Document 913 replaced on 2/20/2024) (zss). (Additional attachment(s) added on 2/20/2024: # 1 SOR)
                     (zss). (Entered: 09/30/2002)
  02/04/2002           SCHEDULING NOTICE as to WILLIAM KYLE SWEENEY : Presentence/Sentence set for 9:30 2/5/02 for WILLIAM
                       KYLE SWEENEY before Judge Thomas P. Jackson . (rew) (Entered: 02/04/2002)
  02/05/2002     842 MEMORANDUM in Aid of Sentencing filed by USA as to SEAN COATES.; attachments (aet) (zss). (Entered:
                     02/06/2002)
  02/05/2002           SENTENCING by Judge Thomas P. Jackson for WILLIAM KYLE SWEENEY (4) as to counts 1rrs, 2rrs , 16rrs , 25rrs ,
                       26rrs , 27rrs: the deft. is sentenced to life imprisonment on each of counts 1rrs, 2rrs, 16rrs, 25rrs, 26rrs and 27rrs;
                       sentences to run concurrently to each other. A supervised release period of 5 years is imposed on each count and is to run
                       concurrently by the counts and concurrently to count 11rrs. A Fine of $500,000.00 is imposed on count 1rrs and is due
                       immediately. It shall be paid through the U.S. Bureau of Prisons Inmate Financial Responsibility Program. A special
                       assessment of $100.00 is imposed on each count and is due immediately. Count 11rrs: the deft. is sentenced to 20 years
                       incarceration, to run concurrently with all other counts; followed by a 3 year period of supervised release, to run
                       concurrently with all other counts. A special assessment of $100.00 is imposed and is due immediately. Count 28rrs: the
                       deft. is sentenced to 5 years incarceration, to run consecutively to all other counts; followed by 5 years supervised
                       release, to run concurrently with all other counts. A special assessment of $100.00 is imposed and is due immediately.
                       Counts 30rrs, 35rrs, 36rrs, and 37rrs: the deft. is sentenced to 20 years incarceration on each of counts 30rrs, 35rrs, 36rrs
                       and 37rrs; to run consecutively to each other and to all other counts. A five year period of supervised release is imposed
                       on each count, to run concurrently with all other counts. A special assessment of $100.00 is imposed on each count and is
                       due immediately. Oral motion of government to vacate counts 15rrs and 41rrs, heard and granted. Count 15rrs merges
                       with count 16rrs and count 41rrs merges with count 30rrs. Oral motion of the government to dismiss remaining counts
                       granted. Defendant committed/commitment issued. Court Reporter: William McAllister (mlp) Modified on 07/31/2002
                       (Entered: 07/30/2002)
  02/05/2002           PRESENTENCE HEARING before Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY : Defendant
                       committed/commitment issued. Reporter: William McAllister (mlp) Modified on 07/31/2002 (Entered: 07/30/2002)
  02/05/2002     893 RECEIPT and Acknowledgment of Presentence Investigation Report by WILLIAM KYLE SWEENEY; attachment.
                     (mlp) (zss). (Entered: 07/30/2002)
  02/05/2002     908 NOTICE OF APPEAL filed by WILLIAM KYLE SWEENEY from Court's oral sentence imposed on 2/13/02 and
                     entered on 8/1/02. Appeal references WILLIAM KYLE SWEENEY (4) count(s) 1rrs, 2rrs, 11rrs, 16rrs, 25rrs, 26rrs,
                     27rrs, 28rrs, 30rrs, 35rrs, 36rrs, 37rrs. Counsel and defendant(s) notified. Docketing statement: not received; Attachment
                     Addendum to appeal. NO FEE: CJA (erd) Modified on 09/30/2002 (zss). (Entered: 09/30/2002)
  02/06/2002           SCHEDULING NOTICE as to SEAN COATES : Presentence/Sentence set for 2:00 2/7/02 for SEAN COATES before
                       Judge Thomas P. Jackson . (rew) (Entered: 02/06/2002)
  02/06/2002     843 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON for Ex Parte request for expert and other services for
                     Death Penalty Proceedings of Samuel Carson, Signed: 2/6/02, Rate: $27,825.39. (erd) (Entered: 02/08/2002)
  02/06/2002     849 ORDER by Judge Thomas P. Jackson as to VINCENT HILL authorizing transcript of proceeding held on 2/1/02. Signed:
                     2/6/02. Reporter: Miller Reporting Co., Shawna Brown. (erd) (Entered: 02/22/2002)
  02/06/2002     870 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to WILLIAM KYLE
                     SWEENEY . (jf) (zss). (Additional attachment(s) added on 2/7/2024: # 1 SOR) (zss). (Entered: 05/08/2002)
  02/06/2002     909 TRANSMITTED PRELIMINARY RECORD on appeal [904-1] by SAMUEL CARSON to U.S. Court of Appeals and
                     Counsel, as to SAMUEL CARSON. Docketing Statement not received. (erd) (zss). (Entered: 09/30/2002)
  02/06/2002     910 TRANSMITTED PRELIMINARY RECORD on appeal [905-1] by VINCENT HILL to U.S. Court of Appeals and
                     Counsel, as to VINCENT HILL. Docketing Statement not received. (erd) (zss). (Entered: 09/30/2002)
  02/06/2002     911 TRANSMITTED PRELIMINARY RECORD on appeal [903-1] by VINCENT HILL to U.S. Court of Appeals and
                     Counsel, as to VINCENT HILL. Docketing Statement not received. (erd) (zss). (Entered: 09/30/2002)
  02/06/2002     912 TRANSMITTED PRELIMINARY RECORD on appeal [904-1] by SAMUEL CARSON to U.S. Court of Appeals and
                     Counsel, as to SAMUEL CARSON. Docketing Statement not received. (erd) (zss). (Entered: 09/30/2002)
  02/07/2002           PRESENTENCE HEARING held before Judge Thomas P. Jackson as to SEAN COATES. Reporter: Gordon Slodysko
                       (mlp) (Entered: 08/01/2002)
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        USCA CaseSENTENCING
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                                    Thomas P. Jackson for SEAN COATES (6) counts 1rrs, 2rrs, 25rrs, 26rrs, 27rrs: the deft. is
                      sentenced to Life imprisonment on each of counts 1rrs, 2rrs, 25rrs, 26rrs and 27rrs, to run concurrently with each other;
                      followed by 5 years supervised release on each count, to run concurrently by the counts. A Fine of $500,000.00 is
                      imposed on count 1rrs and is due immediately; to be paid through the U.S. Bureau of Prisons Inmate Financial
                      Responsibility Program. The Imposition of a fine on all counts is waived. A special assessment of $100.00 is imposed on
                      each count and is due immediately. On counts 11rrs and 24rrs: the deft. is sentenced to 240 months on counts 11rrs and
                      24rrs, to run concurrently with each other and all other counts; followed by 3 years supervised release on each count, to
                      run concurrently by the counts and concurrently with the remaining counts. A special assessment of $100.00 is imposed
                      on each count and is due immediately. On count 28rrs: the deft. is sentenced to 60 months imprisonment on count 28rrs
                      to run consecutively to counts 1rrs, 2rrs, 25rrs, 26rrs, and 27rrs; followed by 5 years supervised release to run
                      concurrently with all other counts. A special assessment of $100.00 is imposed and is due immediately. On counts 34rrs,
                      35rrs -37rrs: the deft. is sentenced to 240 months imprisonment on each of counts 34rrs, 35rrs, 36rrs and 37rrs, to run
                      consecutively to each other and to counts 1rrs, 2rrs, 25rrs, 26rrs, 27rrs and 28rrs; followed by 5 years supervised release
                      on each count, to run concurrently by the counts. A special assessment of $100.00 is imposed on each count and is due
                      immediately. Oral motion of the govt. to vacate convictions on counts 23rrs and 45rrs, granted. Counts 23rrs merged with
                      count 24rrs and count 45rrs merged with count 34rrs. Oral motion of the govt. to dismiss the remaining counts granted.
                      Defendant committed/commitment issued. Court Reporter: Susan Tyner (mlp) Modified on 10/11/2023 (zsmc). (Entered:
                      08/01/2002)
  02/11/2002     845 MEMORANDUM in Aid of Sentencing filed by USA as to JEROME MARTIN JR.. (aet) (bj). (Entered: 02/15/2002)
  02/11/2002     914 NOTICE OF APPEAL filed by SEAN COATES from Court's oral sentence imposed on 2/13/02 and entered on 8/1/02.
                     Appeal references SEAN COATES (6) count(s) 1rrs, 2rrs, 11rrs, 24rrs, 25rrs, 26rrs, 27rrs, 34rrs, 28rrs, 35rrs-37rrs.
                     Counsel and defendant(s) notified. Docketing statement: received. NO FEE: CJA (erd) (zss). (Entered: 09/30/2002)
  02/11/2002     915 TRANSMITTED PRELIMINARY RECORD on appeal [914-1] by SEAN COATES to U.S. Court of Appeals and
                     Counsel, as to SEAN COATES. Docketing Statement received. (erd) (zss). (Entered: 09/30/2002)
  02/12/2002          SCHEDULING NOTICE as to JEROME MARTIN JR. : Presentence/Sentence set for 2:00 2/13/02 for JEROME
                      MARTIN JR. before Judge Thomas P. Jackson . (rew) (Entered: 02/12/2002)
  02/12/2002     846 CORRECTION TO MEMORANDUM in Aid of Sentencing filed by USA as to JEROME MARTIN JR.. (hsj) (bj).
                     (Entered: 02/15/2002)
  02/12/2002     924 MEMORANDUM AND ORDER by Judge Thomas P. Jackson as to VINCENT HILL, JEROME MARTIN JR.,
                     SAMUEL CARSON, WILLIAM KYLE SWEENEY : denying motion to conduct post-trial voir dire of trial jurors [777-
                     1] by WILLIAM KYLE SWEENEY (N) (erd) (llk). (Entered: 09/30/2002)
  02/13/2002     848 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven R. Kiersh as CJA counsel
                     for Death Penalty Proceedings. Voucher #: 011019000015 Signed: 2/12/02 (erd) (Entered: 02/22/2002)
  02/13/2002     852 ORDER by Judge Thomas P. Jackson as to VINCENT HILL authorizing transcript of proceeding held on 1/29/02
                     motions hearing and sentencing. Signed: 2/13/02 NPT 1/30/02. Reporter: Miller Reporting Co.,. (erd) (Entered:
                     03/01/2002)
  02/13/2002          PRESENTENCE HEARING held before Judge Thomas P. Jackson as to JEROME MARTIN JR. Reporter: Scott Wallace
                      (mlp) (Entered: 08/01/2002)
  02/13/2002          SENTENCING by Judge Thomas P. Jackson for JEROME MARTIN (2) counts 1rrs, 2rrs: the deft. is sentenced to Life
                      imprisonment on each of counts 1rrs and 2rrs, to run concurrently with each other; followed by 5 years supervised release
                      on each count, to run concurrently by the counts. A Fine of $500,000.00 is imposed on count 1rrs and is due immediately;
                      to be paid through the U.S. Bureau of Prisons Inmate Financial Responsibility Program. Imposition of a fine on all other
                      counts is waived. A special assessment of $100.00 is imposed on each count. On count 8rrs: the deft. is sentenced to 240
                      months to Life imprisonment, to run consecutively to counts 1rrs and 2rrs. A special assessment of $100.00 is imposed.
                      On count 9rrs: the deft. is sentenced to 40 to 120 months imprisonment, to run consecutively to counts 1rrs, 2rrs, and
                      8rrs. A special assessment of $100.00 is imposed. On count 18rrs: the deft. is sentenced to 240 months imprisonment, to
                      run concurrently with all other counts; followed by 5 years supervised release. A special assessment of $100.00 is
                      imposed. On count 31rrs: the deft. is sentenced to 60 months imprisonment, to run consecutively to counts 1rrs, 2rrs, 8rrs
                      and 9rrs; followed by 5 years supervised release. A special assessment of $100.00 is imposed. On counts 49rrs, 53rrs,
                      55rrs, 64rrs: the deft. is sentenced to 60 months imprisonment on each of counts 49rrs, 53rrs, 55rrs and 64rrs, to run
                      concurrently with each other and with all other counts; followed by 3 years supervised release with conditions on each
                      count, to run concurrently by the counts. A special assessment of $100.00 is imposed on each count. Oral motion of the
                      government to vacate the conviction on count 17rrs and merge it with count 18rrs and vacate the conviction on ccount
                      42rrs and merge it with count 31rrs, granted. Remaining counts are dismissed on oral motion of the government.
                      Defendant committed/commitment issued. Court Reporter: Scott Wallace (mlp) (Entered: 08/01/2002)
  02/13/2002     896 RECEIPT and Acknowledgment of Presentence Investigation Report by USA as to JEROME MARTIN JR. (mlp) (zss).
                     (Entered: 08/01/2002)
  02/13/2002     897 RECEIPT and Acknowledgment of Presentence Investigation Report by JEROME MARTIN JR. (mlp) (zss). (Entered:
                     08/01/2002)
  02/13/2002     916 JUDGMENT and Commitment, with Statement of Reasons, issued by Judge Thomas P. Jackson as to JEROME
                     MARTIN JR.. (erd) (zbj). (Entered: 09/30/2002)
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             917 TRANSMITTED PRELIMINARY RECORD on appeal [908-1] by WILLIAM KYLE SWEENEY to U.S. Court of
                      Appeals and Counsel, as to WILLIAM KYLE SWEENEY. Docketing Statement not received. (erd) (Entered:
                      09/30/2002)
  02/21/2002   847 ORDER by Judge Thomas P. Jackson appointing Joanne Hepworth as CJA counsel. Voucher No.: 0476689 Signed:
                   2/21/02 (erd) (Entered: 02/22/2002)
  02/22/2002   850 TRANSMITTED supplemental record on as to VINCENT HILL consisting of: Copy of CJA 24 voucher ordering
                   transcript on appeal. (erd) (Entered: 02/22/2002)
  02/22/2002   918 NOTICE OF APPEAL filed by JEROME MARTIN JR. from Court's oral sentence imposed on 2/13/02 and entered on
                   8/1/02. Appeal references JEROME MARTIN (2) count(s) 2rrs, 8rrs, 9rrs, 18rrs, 31rrs, 49rrs, 53rrs, 55rrs, 64rrs. Counsel
                   and defendant(s) notified. Docketing statement: received. NO FEE: CJA (erd) Modified on 09/30/2002 (zss). (Entered:
                   09/30/2002)
  02/22/2002   921 RECEIPT and Acknowledgment of Copy of CJA 24 voucher ordering transcript on appeal by U. S. Court of Appeals as
                   to VINCENT HILL. USCA No.: 02-3016 (erd) (zss). (Entered: 09/30/2002)
  02/28/2002   919 USCA # 02-3016 assigned for appeal [905-1] by VINCENT HILL (erd) (zss). (Entered: 09/30/2002)
  02/28/2002   920 USCA # 02-3017 assigned for appeal [908-1] by WILLIAM KYLE SWEENEY (erd) (zss). (Entered: 09/30/2002)
  02/28/2002   922 USCA # 02-3018 assigned for appeal [908-1] by WILLIAM KYLE SWEENEY (erd) (zss). (Entered: 09/30/2002)
  02/28/2002   923 USCA # 02-3019 assigned for appeal [918-1] by JEROME MARTIN JR. (erd) (zss). (Entered: 09/30/2002)
  03/01/2002   853 TRANSMITTED supplemental record on as to VINCENT HILL consisting of: Copy of CJA 24 voucher ordering
                   transcript on appeal. (erd) (zss). (Entered: 03/01/2002)
  03/01/2002   854 TRANSCRIPT filed as to VINCENT HILL for date of 2/1/02. Reporter: Shawna Hum Browne, Miller Reporting
                   Company. (hsj) (zss). (Entered: 03/05/2002)
  03/01/2002   855 TRANSCRIPT filed as to VINCENT HILL for date of 2/1/02. Reporter: Shawna Hum Browne, Miller Reporting
                   Company. (COPY) (hsj) Modified on 03/05/2002 (zss). (Entered: 03/05/2002)
  03/01/2002   856 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph Beshouri as CJA counsel for Death
                   Penalty Proceedings. Voucher #: D-17612 Signed: 3/1/02 (erd) (Entered: 03/11/2002)
  03/01/2002   857 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                   3/1/02 (erd) (Entered: 03/11/2002)
  03/11/2002   858 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for date of 1/29/02. Reporter: Miller Reporting Company, Jon Hundley (hsj) (zss).
                   (Entered: 03/13/2002)
  03/12/2002   860 TRANSCRIPT filed as to WILLIAM KYLE SWEENEY for date of 2/5/02. Reporter: William D. McAllister (hsj) (zjpb).
                   (Entered: 03/14/2002)
  03/12/2002   861 TRANSCRIPT filed as to SAMUEL CARSON for date of 1/30/02. Reporter: Phyllis Merana (hsj) (zss). (Entered:
                   03/18/2002)
  03/13/2002   859 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel for Death
                   Penalty Proceedings. Signed: 3/13/02 (erd) (Entered: 03/14/2002)
  04/10/2002   862 ORDER by Judge Thomas P. Jackson as to WILLIAM KYLE SWEENEY appointing Steven Kiersh as CJA counsel for
                   Death Penalty Proceedings. Voucher #: 011019000015 Signed: 4/10/02 (erd) (Entered: 04/25/2002)
  04/18/2002   863 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel.
                   Voucher No.: 0476689 Signed: 4/18/02 (erd) (Entered: 04/25/2002)
  04/18/2002   864 ORDER by Judge Thomas P. Jackson as to SEAN COATES appointing Frederick Jones as CJA counsel for Death
                   Penalty Proceedings. Signed: 4/18/02 (erd) (Entered: 04/25/2002)
  04/18/2002   865 ORDER by Judge Thomas P. Jackson as to SEAN COATES for Ex Parte request for expert and other services for Death
                   Penalty Proceedings of Sean Coates, Signed: 4/18/02, Rate: $3,586.36. (erd) (Entered: 04/25/2002)
  04/18/2002   866 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON appointing Joseph E. Beshouri as CJA counsel for Death
                   Penalty Proceedings. Signed: 4/18/02 (erd) (Entered: 04/25/2002)
  04/23/2002   867 ORDER by Judge Thomas P. Jackson as to SAMUEL CARSON authorizing transcript of proceeding held on Jan. 29, 30,
                   2002. Signed: 4/23/02. Reporter: Phyllis Merana. (erd) (Entered: 04/25/2002)
  04/25/2002   868 TRANSMITTED supplemental record on as to SAMUEL CARSON consisting of: Copy of CJA 24 voucher ordering
                   transcript on appeal. (erd) (Entered: 04/25/2002)
  04/25/2002   871 ORDER by Judge Thomas P. Jackson as to VINCENT HILL appointing Christopher Davis as CJA counsel. Signed:
                   4/25/02 (erd) (Entered: 05/20/2002)


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             869 RECEIPT and Acknowledgment of Copy of CJA 24 Voucher ordering transcript on appeal by U. S. Court of Appeals as
                       to SAMUEL CARSON. USCA No.: 02-3015 (hsj) (zss). (Entered: 05/07/2002)
  05/08/2002     872 ORDER by Judge Thomas P. Jackson as to VINCENT HILL authorizing transcript of proceeding held on 3/24/00, 6/6/00,
                     6/8/00, 6/16/00, 9/26/00 and 9/27/00. Signed: 5/8/02. Reporter: Phyllis Merana. (xx) (Entered: 05/20/2002)
  05/17/2002     874 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 3/24/00.
                     Signed: 5/17/02. Reporter: Phyllis Merana. (erd) (Entered: 06/04/2002)
  05/17/2002     875 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. authorizing transcript of proceeding held on 2/13/02.
                     Signed: 5/17/02. Reporter: Miller Reporting Co., (erd) (Entered: 06/04/2002)
  05/20/2002     873 TRANSMITTED supplemental record on as to VINCENT HILL consisting of: Copy of CJA 24 voucher ordering
                     transcript on appeal. (xx) (zss). (Entered: 05/20/2002)
  05/20/2002     878 RECEIPT and Acknowledgment of Copy of CJA 24 Voucher ordering transcripts on appeal by U. S. Court of Appeals as
                     to VINCENT HILL. USCA No.: 02-3016, 20-3017 (hsj) (zss). (Entered: 06/07/2002)
  06/04/2002     875 TRANSMITTED supplemental record on as to JEROME MARTIN JR. consisting of: Copy of CJA 24 voucher ordering
                     transcript of appeal. (erd) (Entered: 06/04/2002)
  06/04/2002     876 TRANSMITTED supplemental record on as to JEROME MARTIN JR. consisting of: Copies (2) of CJA 24 voucher
                     ordering transcript on appeal. (erd) (Entered: 06/04/2002)
  06/05/2002     877 RECEIPT and Acknowledgment of Copies (2) of CJA 24 Voucher ordering transcripts on appeal by U. S. Court of
                     Appeals as to JEROME MARTIN JR. USCA No.: 02-3019 (hsj) (zss). (Main Document 877 replaced on 2/7/2024) (zss).
                     (Entered: 06/06/2002)
  07/03/2002     879 TRANSCRIPT filed as to WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES for date of 6/16/00.
                     Reporter: Phyllis Merana (hsj) (zss). (Entered: 07/05/2002)
  07/03/2002     880 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                     EDWARDS for date of 3/24/00. Reporter: Phyllis Merana (hsj) (zss). (Entered: 07/05/2002)
  07/11/2002     881 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 11/19/00,
                     11/8/01, 1/11/01, 2/1/01, 2/14/01, 2/26/01, 2/26/01, 2/28/01, 5/1/01, 3/5/01, 3/6/01, 3/20/01, 6/13/01 all p.m. sessions.
                     Signed: 7/11/02. Reporter: Beverly Byrne. (erd) (Entered: 07/16/2002)
  07/11/2002     882 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 11/29/00,
                     1/8/01, 1/10/01, 1/11/01, 2/1/01, 2/14/01, 2/26/01, 2/27/01, 2/28/01, 3/1/01, 3/6/01, 6/13/01, 6/14/01 a.m. sessions.
                     Signed: 7/11/02. Reporter: Phyllis Merana. (erd) (Entered: 07/16/2002)
  07/11/2002     883 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 6/27/01,
                     6/28/01, 7/2/01, 7/17/01, 7/23/01, 7/31/01, 8/2/01, 8/6/01, 8/7/01, 8/8/01, 8/12/01, 8/13/01. Signed: 7/11/02. Reporter:
                     Phyllis Merana. (erd) (Entered: 07/16/2002)
  07/11/2002     884 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 6/27/01,
                     6/28/01 p.m.. Signed: 7/11/02. Reporter: Beverly Byrne. (erd) (Entered: 07/16/2002)
  07/16/2002     885 TRANSMITTED supplemental record on as to SEAN COATES consisting of: Copies (4) of CJA 24 voucher ordering
                     transcript on appeal. (erd) (zss). (Entered: 07/16/2002)
  07/16/2002     886 RECEIPT and Acknowledgment of Copies (4) of CJA 24 Voucher ordering transcript on appeal by U. S. Court of
                     Appeals as to SEAN COATES. USCA No.: 02-3046 (hsj) (zss). (Entered: 07/17/2002)
  07/16/2002     887 ORDER by Judge Thomas P. Jackson as to PAUL FRANKLIN appointing Ralph D. Martin as CJA counsel. Signed:
                     7/16/02 (erd) (Entered: 07/18/2002)
  07/30/2002     894 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 7/2/01, 7/9/01,
                     7/26/01, 8/1/01, 8/6/01, 8/7/01, 8/8/01, 8/9/01, 8/13/01. Signed: 7/30/02. Reporter: Miller Reporting Co.,. (erd) (Entered:
                     07/31/2002)
  07/31/2002     895 TRANSMITTED supplemental record on as to SEAN COATES consisting of: Copy of CJA 24 voucher ordering
                     transcript on appeal. (erd) (zss). (Entered: 07/31/2002)
  07/31/2002     898 RECEIPT and Acknowledgment of Copy of CJA 24 Voucher ordering transcripts on appeal by U. S. Court of Appeals as
                     to SEAN COATES. USCA No.: 02-3046 (hsj) (zss). (Entered: 08/05/2002)
  08/29/2002     899 TRANSCRIPT filed as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES for jury deliberations
                     before Judge Thomas Hogan for date of 8/7/01. Reporter: Thomas C. Bitsko, Miller Reporting Co. (mlp) (zss). (Entered:
                     08/30/2002)
  09/03/2002     900 ORDER by Judge Thomas P. Jackson as to SEAN COATES authorizing transcript of proceeding held on 6/7/02. Signed:
                     9/3/02. Reporter: Susan Tyner. (erd) (Entered: 09/09/2002)
  09/09/2002     901 TRANSMITTED supplemental record on as to SEAN COATES consisting of: Copy of CJA 24 voucher ordering
                     transcript on appeal. (erd) (Entered: 09/09/2002)
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  09/10/2002
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             902 RECEIPT and Acknowledgment of Copy of CJA 24 Voucher Ordering Transcript on Appeal by U. S. Court of Appeals as
                      to SEAN COATES. USCA No.: 02-3046 (hsj) (zss). (Entered: 09/12/2002)
  10/02/2002     925 TRANSMITTED supplemental record on as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, SEAN COATES consisting of: Updated Docket Sheet. (erd) (zss). (Entered: 10/02/2002)
  10/03/2002     926 RECEIPT and Acknowledgment of Updated Docket Sheet by U. S. Court of Appeals as to VINCENT HILL. USCA No.:
                     02-3015 (hsj) (zss). (Entered: 10/04/2002)
  10/10/2002     927 ORDER by Judge Thomas P. Jackson as to JEROME MARTIN JR. appointing Joanne Hepworth as CJA counsel. Signed:
                     10/10/02 (erd) (Entered: 10/11/2002)
  10/21/2002     928 TRANSCRIPT filed as to SEAN COATES for date of 2/7/02. Reporter: Susan Page Tyner (hsj) (zbj). (Entered:
                     10/23/2002)
  03/11/2003     929 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     11/27/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     930 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     11/28/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     931 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     11/30/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     932 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     12/4/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     933 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     12/5/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     934 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     12/11/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     935 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session for jury trial before Judge Jackson for date
                     of 12/12/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     936 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     12/13/00. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     937 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/4/01. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     938 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/9/01. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     939 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/22/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     940 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/23/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     941 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/24/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     942 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/25/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     943 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     1/29/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     944 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
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                          Reporter: Beverly J. Byrne#2077668                 Filed: 10/01/2024
                                                    (mlp) (zjpb). (Entered: 03/12/2003)                    Page 128 of 150
  03/11/2003     945 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/5/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     946 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session for jury trial before Judge Jackson for date
                     of 2/6/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     947 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/7/01. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     948 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/8/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     949 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/12/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     950 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/13/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     951 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     2/15/01. Reporter: Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003     952 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, MAURICE PROCTOR, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of
                     3/5/01. Reporter: Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003     953 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 3/7/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     954 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session for jury trial before Judge Jackson for date of 3/12/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     955 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session for jury trial before Judge Jackson for date of 3/13/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     956 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 3/14/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     957 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 3/15/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     958 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 3/19/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     959 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session for jury trial before Judge Jackson for date of 3/22/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     960 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/2/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     961 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/3/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     962 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/5/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003     963 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                     SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/9/01. Reporter:
                     Beverly J. Byrne (mlp) Modified on 03/12/2003 (zjpb). (Entered: 03/12/2003)
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             964 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/10/01. Reporter:
                      Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003   965 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/11/01. Reporter:
                   Beverly J. Byrne (mlp) Modified on 03/12/2003 (zss). (Entered: 03/12/2003)
  03/11/2003   966 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/17/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   967 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/18/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   968 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/19/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   969 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/23/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   970 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/24/01. Reporter:
                   Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003   971 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/25/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   972 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/23/01. Reporter:
                   Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003   973 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/24/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   974 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/29/01. Reporter:
                   Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003   975 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/4/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   976 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/6/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   977 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/11/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   978 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/14/01. Reporter:
                   Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003   979 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/18/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   980 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session for jury trial before Judge Jackson for date of 6/20/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   981 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/21/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003   982 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                   SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/25/01. Reporter:
                   Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)

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             983 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 6/26/01. Reporter:
                      Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    984 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 4/30/01. Reporter:
                    Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003    985 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/1/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    986 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/2/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    987 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/3/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    988 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/7/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    989 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/8/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    990 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session for jury trial before Judge Jackson for date of 5/14/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    991 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/15/01. Reporter:
                    Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  03/11/2003    992 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/16/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    993 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/17/01. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    994 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/21/03. Reporter:
                    Beverly J. Byrne (mlp) (zss). (Entered: 03/12/2003)
  03/11/2003    995 TRANSCRIPT filed as to VINCENT HILL, JEROME MARTIN JR., SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES for afternoon session of jury trial before Judge Jackson for date of 5/22/01. Reporter:
                    Beverly J. Byrne (mlp) (zjpb). (Entered: 03/12/2003)
  06/17/2003    996 ORDER by Judge Thomas P. Jackson as to DONALD NICHOLS appointing Heather Shaner as CJA counsel. Signed:
                    6/17/03 (erd) (zss). (Entered: 06/18/2003)
  06/17/2003    997 ORDER by Judge Thomas P. Jackson as to DONALD NICHOLS appointing Heather Shaner as CJA counsel. Signed:
                    6/17/03 (erd) (zss). (Entered: 06/18/2003)
  08/19/2003    998 INTERIM ORDER by Judge Thomas P. Jackson as to DONALD NICHOLS appointing Heather Shaner as CJA counsel.
                    Voucher No.: 030719000002 Signed: 8/19/03 (mlp) (Entered: 08/21/2003)
  08/29/2003    999 CERTIFIED COPY of Order filed in USCA, dated 8/28/03, referencing as to VINCENT HILL, JEROME MARTIN JR.,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES denying appellants' motion to allow counsel to
                    review specific sealeld portions of the trial record. USCA # 02-3015 (hsj) (llk). (Entered: 09/02/2003)
  08/12/2004   1000 TRANSCRIPT of Proceedings as to JEROME MARTIN JR. before Judge Thomas Penfield Jackson held on 6/10/04
                    Court Reporter: Scott Wallace. (erd) (zss). (Entered: 08/17/2004)
  08/25/2004   1001 PROBATION MEMORANDUM (status report) as to PAUL FRANKLIN; recommending that the Court proceed with the
                    status hearing as scheduled. "Schedule before a Magistrate Judge." Signed by Judge Thomas Penfield Jackson on
                    8/24/04. (zmlp, ) (zss). (Entered: 09/14/2004)
  09/14/2004   1002 CJA 20 as to PAUL FRANKLIN : Appointment of Attorney Allen Howard Orenberg for PAUL FRANKLIN; Signed by
                    Chief Judge Thomas F. Hogan on 9/14/04 NPT 11/4/03. (erd) (Entered: 09/29/2004)
  04/15/2005   1003 TRANSCRIPT of Proceedings as to VINCENT HILL before Judge Thomas Penfield Jackson held on 1/29/02. Court
                    Reporter: Jon Hundley, Miller Reporting Company. (hsj, ) (zss). (Entered: 04/18/2005)
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                      of Habeas Corpus ad Prosequendum Issued to Frederick County Detention Center signed by Magistrate Judge
                       Deborah A. Robinson on 4/27/05 as to DONALD NICHOLS to appear week of May 16, 2005. (lm ) (Entered:
                       04/28/2005)
  10/14/2005           Set Hearings as to REGINALD DARNELL SWITZER: Status Conference set for 10/31/2005 at 10:00 AM in Courtroom
                       8 before Chief Judge Thomas F. Hogan. (hs,) (Entered: 10/14/2005)
  10/31/2005           Minute Entry for proceedings held before Chief Judge Thomas F. Hogan :Status Conference Re: Conditions of
                       Supervised Release as to REGINALD DARNELL SWITZER held on 10/31/2005. The Court authorizes the USPO to
                       notify the defendant's employer of his prior criminal convictions. (Court Reporter Cathryn Jones.) (hs,) (Entered:
                       10/31/2005)
  11/14/2005           Set Hearings as to DONALD NICHOLS: Sentencing set for 11/16/2005 at 11:30 AM in Courtroom 25A before Chief
                       Judge Thomas F. Hogan. (hs,) (Entered: 11/14/2005)
  11/16/2005           Minute Entry for proceedings held before Chief Judge Thomas F. Hogan :Sentencing as to DONALD NICHOLS held on
                       11/16/05;Court adopts Report and Recommendation of Magistrate Judge John M. Facciola; Court finds that the
                       defendant has violated his supervised release; Supervised Release is revoked; defendant sentenced to the Bureau of
                       Prisons for a term of THIRTY(30) DAYS; no further supervised release imposed; defendant committed; commitment
                       issued. (Court Reporter Cathryn Jones) (Defense Attorney Heather Shaner; US Attorney William J. O'Malley; Prob
                       Officer Shawn Suber) (jeb, ) (Entered: 12/29/2005)
  11/17/2005    1006 JUDGMENT ON REVOCATION of Supervised Release as to DONALD NICHOLS Signed by Chief Judge Thomas F.
                     Hogan on 11/17/05. (jeb, ) (Entered: 12/29/2005)
  07/21/2006    1007 USCA OPINION as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                     SEAN COATES. Argued on 12/12/05 and Decided on 7/21/06. USCA Nos. 02-3015, 02-3016, 02-3017, 02-3018, 02-
                     3019, 02-3046. (hsj, ) (Entered: 07/25/2006)
  11/24/2006    1008 JUDGMENT of USCA (certified copy) affirming the judgment of the District Court as to VINCENT HILL, JEROME
                     MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES re 914 Notice of Appeal - Final
                     Judgment, 908 Notice of Appeal - Final Judgment, 903 Notice of Appeal - Final Judgment, 904 Notice of Appeal - Final
                     Judgment, 905 Notice of Appeal - Final Judgment, 918 Notice of Appeal - Final Judgment. (Attachment: # 1 Opinion)
                     (mlp) (Entered: 11/28/2006)
  03/26/2007    1009 MOTION to Appoint Counsel by WILLIAM KYLE SWEENEY. (Kiersh, Steven) (Entered: 03/26/2007)
  05/18/2007    1010 ORDER; granting 1009 Motion to Appoint Counsel as to WILLIAM KYLE SWEENEY, Signed by Chief Judge Thomas
                     F. Hogan on 5/17/07. (hs,) (Entered: 05/18/2007)
  05/21/2007    1011 NOTICE OF ATTORNEY APPEARANCE: Jenifer Wicks appearing for WILLIAM KYLE SWEENEY (Wicks, Jenifer)
                     (Entered: 05/21/2007)
  12/04/2007    1012 MOTION FOR EX PARTE AND INTERIM PAYMENTS FOR HABEAS COUNSEL by WILLIAM KYLE SWEENEY.
                     (Attachments: # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered: 12/04/2007)
  02/05/2008    1013 Emergency MOTION to Access Court Records by WILLIAM KYLE SWEENEY. (Attachments: # 1 Exhibit 1, # 2 Text
                     of Proposed Order)(Wicks, Jenifer) (Entered: 02/05/2008)
  02/08/2008           Case as to ERIK JONES Reassigned to Chief Judge Thomas F. Hogan. Judge Thomas Penfield Jackson no longer
                       assigned to the case. (jeb, ) (Entered: 05/08/2008)
  02/11/2008    1014 ORDER; granting 1013 Motion to Access as to WILLIAM KYLE SWEENEY (4), Signed by Chief Judge Thomas F.
                     Hogan on 2/11/08. (hs) Modified on 2/11/2008 (mlp) (Entered: 02/11/2008)
  02/13/2008    1015 Emergency MOTION FOR ACCESS TO ENTIRE COURT DOCKET by WILLIAM KYLE SWEENEY. (Attachments:
                     # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered: 02/13/2008)
  02/13/2008           Case as to WILLIAM KYLE SWEENEY Reassigned to Chief Judge Thomas F. Hogan. Judge Thomas Penfield Jackson
                       no longer assigned to the case. (jeb, ) (Entered: 02/13/2008)
  02/14/2008    1018 CJA 24 as to WILLIAM KYLE SWEENEY: Order Authorizing Payment to Court Reporter Phyllis Merana for
                     Transcripts of proceedings held on 10/2/98, 1/12/99, 3/26/99, 5/21/99, 12/16/99, 3/24/00, 6/8/00, 6/16/00 (previously
                     transcribed). Signed by Chief Judge Thomas F. Hogan on 2/14/08. (mlp) (Entered: 02/21/2008)
  02/15/2008    1016 ORDER; granting 1015 Motion For Access to Entire Court Docket and Record as to WILLIAM KYLE SWEENEY,
                     Signed by Chief Judge Thomas F. Hogan on 2/15/08. (hs) (Entered: 02/15/2008)
  02/18/2008    1021 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                     DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by JEROME MARTIN, JR., pro se, with attached
                     affidavit and copy of docket sheet for 1:02-mj-00104-AK-1. (mlp)
                     Civil case 1:08-cv-336 opened. Modified on 2/27/2008 (mlp) (Entered: 02/27/2008)
  02/18/2008    1022 APPLICATION to proceed in forma pauperis without prepayment of fees and affidavit re 1021 MOTION to Vacate under
                     28 U.S.C. 2255 by JEROME MARTIN, JR., pro se. (mlp) Modified on 4/10/2008 (mlp) (Entered: 02/27/2008)


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                        to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                      DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by WILLIAM KYLE SWEENEY. (Wicks, Jenifer)
                      Civil case 1:08-cv-278 opened. (Entered: 02/19/2008)
  02/19/2008          Attorney update in case as to SEAN COATES. Attorney Veronice Annette Holt for SEAN COATES added. (mlp)
                      (Entered: 02/20/2008)
  02/19/2008          Attorney update in case as to WILLIAM KYLE SWEENEY. Attorney Robert D. Okun for UNITED STATES OF
                      AMERICA added. (mlp) (Entered: 02/21/2008)
  02/19/2008   1020 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                    DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by SEAN COATES. (mlp)
                    Civil case 1:08-cv-321 opened. (Entered: 02/25/2008)
  02/25/2008          Case as to SEAN COATES Reassigned to Chief Judge Thomas F. Hogan. Judge Thomas Penfield Jackson no longer
                      assigned to the case. (jeb, ) (Entered: 02/25/2008)
  02/25/2008   1019 MOTION for Extension of Time to File petition pursuant to 28 usc 2255 by SAMUEL CARSON. (Attachments: # 1 Text
                    of Proposed Order)(Sussman, Edward) (Entered: 02/25/2008)
  02/27/2008          Case as to JEROME MARTIN, JR Reassigned to Chief Judge Thomas F. Hogan. Judge Thomas Penfield Jackson no
                      longer assigned to the case. (jeb, ) (Entered: 02/27/2008)
  02/28/2008   1023 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                    DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by SAMUEL CARSON. (hsj, )
                    Civil case 1:08-cv-398 opened. (Entered: 03/04/2008)
  03/17/2008   1024 MOTION permission to join in petitions of co-defendants by SAMUEL CARSON. (Attachments: # 1 Text of Proposed
                    Order)(Sussman, Edward) (Entered: 03/17/2008)
  03/17/2008   1025 MOTION to Appoint Counsel by SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order)(Sussman, Edward)
                    (Entered: 03/17/2008)
  03/27/2008   1026 TRANSCRIPT of Proceedings as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, WILLIAM HILL, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS before Judge Thomas Penfield Jackson held on 12/16/99. Page Numbers: (1-33). Court Reporter:
                    Phyllis Merana. The public may view the document in the Clerk's Office between the hours of 9:00 a.m. and 4:00 p.m.,
                    Monday through Friday. (hsj, ) (zjpb). (Entered: 03/28/2008)
  03/27/2008   1027 TRANSCRIPT of Proceedings as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL,
                    DONALD NICHOLS before Judge Thomas Penfield Jackson held on 10/2/98. Page Numbers: (1-21). Court Reporter:
                    Phyllis Merana. The public may view the document in the Clerk's Office between the hours of 9:00 a.m. and 4:00 p.m.,
                    Monday through Friday. (hsj, ) (zss). (Entered: 03/28/2008)
  05/01/2008   1029 MOTION for Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense 18 USC 3582 by ERIK
                    JONES, pro se. (erd) Modified on 5/9/2008 (mlp) (Entered: 05/08/2008)
  05/07/2008   1028 MOTION to Stay the 28 U.S.C. 2255 Motion re 1021 MOTION to Vacate under 28 U.S.C. 2255 by JEROME MARTIN,
                    JR., pro se. (Sealed Exhibits A and B are lodged under seal) (zmlp) (Entered: 05/08/2008)
  06/11/2008   1030 MOTION to remove Separation Orders by SEAN COATES, pro se. (hsj, ) Modified on 6/18/2008 (mlp) (Entered:
                    06/17/2008)
  07/30/2008   1031 ORDER; denying 1030 Motion To remove Separation Orders as to SEAN COATES (6), Signed by Judge Thomas F.
                    Hogan on 7/28/08. (hs) (Entered: 07/30/2008)
  10/31/2008   1032 CJA 24 as to WILLIAM KYLE SWEENEY: Order Authorizing Payment to Court Reporter Beverly Byrne for transcripts
                    of proceedings held 6/4, 11, 12, 13, 14, 18, 19, 20, 21, 25, 26, 27, 28/01 and 7/2, 3, 5/01. Signed by Judge Thomas F.
                    Hogan on 10/31/08. (mlp) (Entered: 11/04/2008)
  10/31/2008   1033 CJA 24 as to WILLIAM KYLE SWEENEY: Order Authorizing Payment to Court Reporter Phyllis Merana for transcripts
                    of proceedings held 6/4, 11, 12, 13, 14, 18, 19, 20, 21, 25, 26, 27, 28/01 and 7/2, 3, 5/01. Signed by Judge Thomas F.
                    Hogan on 10/31/08. (mlp) (Entered: 11/04/2008)
  11/07/2008   1034 ORDER ; as to JEROME MARTIN, JR, Government's Response to 1028 Defendant's Motion to Stay due by 1/5/2009,
                    Signed by Judge Thomas F. Hogan on 11/6/08. (hs) (Entered: 11/07/2008)
  11/07/2008          PROBATION MINUTE ORDER. Concur with recommendation of the Probation Office as to RAYMOND
                      WASHINGTON. "Take no action at this time." Signed by Chief Judge Royce C. Lamberth on 11/6/08. (lcrcl4, ) (Entered:
                      11/07/2008)
  11/10/2008          Case as to RAYMOND WASHINGTON Reassigned to Chief Judge Royce C. Lamberth. Judge Thomas Penfield Jackson
                      no longer assigned to the case. (jeb, ) (Entered: 11/10/2008)
  11/12/2008   1035 ENTERED IN ERROR.....NOTICE OF ATTORNEY APPEARANCE Carolyn K. Kolben appearing for USA. (Kolben,
                    Carolyn) Modified on 11/13/2008 (mlp) (Entered: 11/12/2008)
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             CaseRESPONSE
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                          by UNITED STATES OF AMERICA as to JEROME MARTIN, JR re 1028 MOTION to Stay the 28 U.S.C.
                      2255 Motion re 1021 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE
                      CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE (Kolben, Carolyn)
                      (Entered: 11/12/2008)
  11/12/2008          Attorney update in case as to JEROME MARTIN, JR. Attorney Carolyn K. Kolben for UNITED STATES OF
                      AMERICA added. (jeb, ) (Entered: 11/12/2008)
  11/13/2008          NOTICE OF ERROR re 1035 Notice of Attorney Appearance - USA; emailed to carolyn.kolben@usdoj.gov, cc'd 7
                      associated attorneys -- The PDF file you docketed contained errors: 1. Please refile document, 2. Image of document is
                      blank. Please refile with an image of the document attached. (mlp, ) (Entered: 11/13/2008)
  11/17/2008   1037 NOTICE OF ATTORNEY APPEARANCE Carolyn K. Kolben appearing for USA. (Kolben, Carolyn) (Entered:
                    11/17/2008)
  12/10/2008          Case as to SAMUEL CARSON Reassigned to Chief Judge Royce C. Lamberth. Judge Thomas Penfield Jackson no
                      longer assigned to the case. (jeb, ) (Entered: 12/10/2008)
  01/02/2009   1038 NOTICE OF ATTORNEY APPEARANCE: Frances M. D'Antuono appearing for JEROME MARTIN, JR (D'Antuono,
                    Frances) (Entered: 01/02/2009)
  04/28/2009          Case as to JEROME MARTIN, JR, WILLIAM KYLE SWEENEY, SEAN COATES Reassigned to Chief Judge Royce C.
                      Lamberth. Judge Thomas F. Hogan no longer assigned to the case. (jeb, ) (Entered: 04/28/2009)
  05/13/2009   1039 ORDER granting 1025 Motion to Appoint Counsel as to SAMUEL CARSON (3). Signed by Chief Judge Royce C.
                    Lamberth on 5/13/09. (rje) (Entered: 05/14/2009)
  03/05/2010   1042 ORDER as to SAMUEL CARSON, Government's Response to 1023 Defendant's MOTION to Vacate under 28 U.S.C.
                    2255 due no later than 30 days from this date. Signed by Chief Judge Royce C. Lamberth on 3/5/2010. (tr) (Entered:
                    03/09/2010)
  03/05/2010   1043 ORDER as to SEAN COATES, Government's Response to 1020 Defendant's MOTION to Vacate under 28 U.S.C. 2255
                    due no later than 30 days from this date. Signed by Chief Judge Royce C. Lamberth on 3/5/2010. (tr) (Entered:
                    03/09/2010)
  03/05/2010   1044 ORDER as to WILLIAM KYLE SWEENEY, Government's Response to 1017 Defendant's MOTION to Vacate under 28
                    U.S.C. 2255 due no later than 30 days from this date. Signed by Chief Judge Royce C. Lamberth on 3/5/2010. (tr)
                    (Entered: 03/09/2010)
  04/05/2010   1045 NOTICE OF ATTORNEY APPEARANCE Mary Ann Snow appearing for USA. (Snow, Mary) (Entered: 04/05/2010)
  04/05/2010   1046 Unopposed MOTION for Extension of Time to File Response/Reply as to 1023 MOTION to Vacate under 28 U.S.C.
                    2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED
                    IN THIS CRIMINAL CASE by UNITED STATES OF AMERICA as to SAMUEL CARSON. (Attachments: # 1 Text of
                    Proposed Order)(Snow, Mary) (Entered: 04/05/2010)
  04/05/2010   1047 NOTICE OF ATTORNEY APPEARANCE Mary Ann Snow appearing for USA. (Snow, Mary) (Entered: 04/05/2010)
  04/05/2010   1048 Unopposed MOTION for Extension of Time to File Response/Reply as to 1020 MOTION to Vacate under 28 U.S.C.
                    2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED
                    IN THIS CRIMINAL CASE by UNITED STATES OF AMERICA as to SEAN COATES. (Attachments: # 1 Text of
                    Proposed Order)(Snow, Mary) (Entered: 04/05/2010)
  04/05/2010   1049 NOTICE OF ATTORNEY APPEARANCE Mary Ann Snow appearing for USA. (Snow, Mary) (Entered: 04/05/2010)
  04/05/2010   1050 Unopposed MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to
                    WILLIAM KYLE SWEENEY. (Attachments: # 1 Text of Proposed Order)(Snow, Mary) (Entered: 04/05/2010)
  04/07/2010          MINUTE ORDER granting 1046 Motion for Extension of Time to File Response/Reply as to SAMUEL CARSON.
                      Signed by Chief Judge Royce C. Lamberth on April 7, 2010. (lcrcl3) (Entered: 04/07/2010)
  04/07/2010          MINUTE ORDER granting 1050 Motion for Extension of Time to File as to WILLIAM KYLE SWEENEY (4). Signed
                      by Chief Judge Royce C. Lamberth on April 7, 2010. (lcrcl3) (Entered: 04/07/2010)
  04/07/2010          MINUTE ORDER granting 1048 Motion for Extension of Time to File Response/Reply as to SEAN COATES (6).
                      Signed by Chief Judge Royce C. Lamberth on April 7, 2010. (lcrcl3) (Entered: 04/07/2010)
  05/21/2010          PROBATION MINUTE ORDER to concur with the recommendation of the Probation Office as to RAYMOND
                      WASHINGTON to "take no action at this time pending resolution of the new criminal charges." Signed by Chief Judge
                      Royce C. Lamberth on May 20, 2010. (lcrcl4) (Entered: 05/21/2010)
  07/02/2010   1052 NOTICE OF SUBSTITUTION OF COUNSEL as to UNITED STATES OF AMERICA. Attorney Chriss, Margaret J.
                    added. Substituting for attorney Robert D. Okun, Anjali Chaturvedi, Kenneth L. Wainstein, and Peter R. Zeidenberg
                    (Chriss, Margaret) (Entered: 07/02/2010)
  07/02/2010   1053 MOTION for Extension of Time to File Response/Reply as to 1020 MOTION to Vacate under 28 U.S.C. 2255. NO
                    DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS
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                  #21-3072     Document
                          CASE by          #2077668
                                  UNITED STATES               Filed:
                                                OF AMERICA as to     10/01/2024
                                                                 SAMUEL             PageKYLE
                                                                        CARSON, WILLIAM  134SWEENEY,
                                                                                             of 150
                      SEAN COATES. (Attachments: # 1 Text of Proposed Order)(Chriss, Margaret) (Entered: 07/02/2010)
  08/13/2010          PROBATION MINUTE ORDER to concur with the recommendation of the Probation Office as to RAYMOND
                      WASHINGTON to "take no action at this time and continue on supervision." Signed by Chief Judge Royce C. Lamberth
                      on August 13, 2010. (lcrcl4) (Entered: 08/13/2010)
  08/15/2010   1055 Ex Parte MOTION approval of interim compensation by SAMUEL CARSON. (Attachments: # 1 Text of Proposed
                    Order)(Sussman, Edward) (Entered: 08/15/2010)
  09/01/2010   1056 REPLY in Support by WILLIAM KYLE SWEENEY re 1053 MOTION for Extension of Time to File Response/Reply as
                    to 1020 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255
                    ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE MOTION for Extension of Time to
                    File Response/Reply as to 1020 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN
                    THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE (Attachments: # 1
                    Text of Proposed Order)(Wicks, Jenifer) (Entered: 09/01/2010)
  09/03/2010   1057 ORDER granting 1053 Motion for Extension of Time to File Response/Reply as to SAMUEL CARSON (3), WILLIAM
                    KYLE SWEENEY (4), SEAN COATES (6). Signed by Chief Judge Royce C. Lamberth on 9/3/10. (rje) (Entered:
                    09/07/2010)
  09/07/2010   1058 MOTION to Withdraw as Attorney by Edward C. Sussman. by SAMUEL CARSON. (Attachments: # 1 Text of Proposed
                    Order)(Sussman, Edward) (Entered: 09/07/2010)
  09/09/2010          Set/Reset Hearings as to SAMUEL CARSON:Status Conference set for 9/15/2010 at 10:45 AM in Courtroom 22A
                      before Chief Judge Royce C. Lamberth. (rje, ) (Entered: 09/09/2010)
  09/09/2010   1059 ORDER granting 1055 Motion for Interim Compensation as to SAMUEL CARSON (3). Signed by Chief Judge Royce
                    C. Lamberth on 9/9/10. (rje, ) (Entered: 09/09/2010)
  09/15/2010          Minute Entry for proceedings held before Chief Judge Royce C. Lamberth: Defendant's presence was waived. Motion
                      Hearing as to SAMUEL CARSON held on 9/15/2010. Motion to Withdraw as Attorney heard, held in abeyance. (Bond
                      Status of Defendant: remains committed); Court Reporter: Theresa Sorensen (Defense Attorney: Edward Sussman; US
                      Attorney: Tony Quinn) (rje) Modified on 9/15/2010 (rje). (Entered: 09/15/2010)
  11/05/2010   1060 NOTICE OF ATTORNEY APPEARANCE: Kira Anne West appearing for SAMUEL CARSON Appearance of Counsel
                    (West, Kira) (Entered: 11/05/2010)
  11/10/2010   1061 NOTICE TO WITHDRAWAL by UNITED STATES OF AMERICA as to VINCENT HILL, JEROME MARTIN, JR,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD
                    DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND
                    WASHINGTON, CLIFTON EDWARDS (Kolben, Carolyn) (Entered: 11/10/2010)
  11/21/2010   1062 Unopposed MOTION for Extension of Time to FILE SUPPLEMENT TO MOTION TO VACATE by WILLIAM KYLE
                    SWEENEY. (Attachments: # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered: 11/21/2010)
  11/22/2010          NOTICE OF ERROR re 1062 Motion for Extension of Time to; emailed to jenifer.wicks@verizon.net, cc'd 9 associated
                      attorneys -- The PDF file you docketed contained errors: 1. Please refile order, the order refers to muliple defendants. File
                      order as a notice of filing. (erd, ) (Entered: 11/22/2010)
  11/22/2010   1063 NOTICE of Filing of Revised Proposed Order by WILLIAM KYLE SWEENEY re 1062 Unopposed MOTION for
                    Extension of Time to FILE SUPPLEMENT TO MOTION TO VACATE (Attachments: # 1 Text of Proposed Order)(Wicks,
                    Jenifer) (Entered: 11/22/2010)
  11/23/2010   1064 ORDER granting 1019 1062 Motion for Extension of Time to File as to SAMUEL CARSON (3),WILLIAM KYLE
                    SWEENEY (4)& SEAN COATES (6) . Signed by Chief Judge Royce C. Lamberth on 11/23/10. (rje, ) . (Entered:
                    11/24/2010)
  02/02/2011   1065 Joint MOTION for Extension of Time to File Supplements to Motions to Vacate, and Order by SAMUEL CARSON,
                    WILLIAM KYLE SWEENEY. (West, Kira) (Entered: 02/02/2011)
  02/03/2011   1066 ORDER granting 1065 Motion for Extension of Time to File Supplements to Motions to VACATE as to SAMUEL
                    CARSON (3), WILLIAM KYLE SWEENEY (4). Signed by Chief Judge Royce C. Lamberth on 2/2/11. (rje, ) (Entered:
                    02/03/2011)
  02/03/2011          Set/Reset Deadlines as to SAMUEL CARSON, WILLIAM KYLE SWEENEY: Defendants' Supplements due by
                      5/30/2011. Government's Responses due by 8/30/2011. (rje, ) (Entered: 02/03/2011)
  04/11/2011   1067 Joint MOTION for Extension of Time to File Supplements to Motions to Vacate (Unopposed) by SAMUEL CARSON,
                    WILLIAM KYLE SWEENEY, SEAN COATES as to SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order
                    Order)(West, Kira) (Entered: 04/11/2011)
  04/18/2011   1068 MOTION Interim Payments for Attorney, Consulting Attorney, Law Clerk and Investigator by SAMUEL CARSON.
                    (Attachments: # 1 Text of Proposed Order Order)(West, Kira) (Entered: 04/18/2011)
  04/20/2011   1069 ORDER denying 1028 Motion to Stay 28 U.S.C. § 2255 Motion as to JEROME MARTIN JR. It is ORDERED that
                    defendant may file any supplements to his § 2255 Motion by no later than November 30, 2011, and that the United States
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                       file its Response to defendants#2077668              Filed: thereto
                                                      § 2255 Motion and supplements 10/01/2024            Page 135
                                                                                           no later than February       of 150
                                                                                                                  28, 2012. Signed by
                       Chief Judge Royce C. Lamberth on April 20, 2011. (lcrcl2) (Entered: 04/20/2011)
  04/20/2011    1070 MOTION to join Samuel Carson's Joint Unopposed Motion for Extension of Time to File Supplements to Motions to
                     Vacate by WILLIAM KYLE SWEENEY. (Attachments: # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered:
                     04/20/2011)
  05/05/2011    1071 ORDER granting 1068 Motion Interim Payments for Attorney, Consulting Attorney, Law Clerk and Investigator as to
                     SAMUEL CARSON (3). Signed by Chief Judge Royce C. Lamberth on 5/5/11. (rje, ) (Entered: 05/09/2011)
  05/27/2011    1072 MOTION for Joinder by SEAN COATES. (Holt, Veronice) (Entered: 05/27/2011)
  05/31/2011    1073 ORDER granting 1067 Motion for Extension of Time to File Supplements to Motions to Vacate (Unopposed) as to SEAN
                     COATES (6). Defendants Supplements due by 11/30/2011 and United States Response due by 2/28/2012. Signed by
                     Chief Judge Royce C. Lamberth on 5/27/11. (rje) (Entered: 05/31/2011)
  05/31/2011    1074 ORDER granting 1070 Motion to File Supplements to Motions to Vacate as to WILLIAM KYLE SWEENEY (4).
                     Defendant Sweeny Supplement due by 11/30/2011 and United States Response due by 2/28/2012. Signed by Chief Judge
                     Royce C. Lamberth on 5/27/11. (rje) (Entered: 05/31/2011)
  05/31/2011    1075 ORDER granting 1072 Motion for Joinder. as to SEAN COATES (6). Defendants Carson and Sweeney Supplements due
                     by 11/30/2011 and United States Response due by 2/28/2012. Signed by Chief Judge Royce C. Lamberth on 5/27/11.
                     (rje) (Entered: 05/31/2011)
  06/21/2011    1076 Consent MOTION For Leave to Withdraw as Counsel and For Appointment of Counsel under the CJA Act by JEROME
                     MARTIN, JR. (Attachments: # 1 Text of Proposed Order)(D'Antuono, Frances) (Entered: 06/21/2011)
  06/27/2011    1077 ORDER granting 1076 Motion For Leave to Withdraw as Counsel and For Appointment of Counsel under the CJA Act as
                     to JEROME MARTIN JR. (2). Signed by Chief Judge Royce C. Lamberth on 6/21/11. (rje, ) Modified on 6/28/2011 (rje,
                     ). (Entered: 06/27/2011)
  11/11/2011    1079 NOTICE of Change of Address by Jenifer Wicks as to WILLIAM KYLE SWEENEY. (Wicks, Jenifer) (Entered:
                     11/11/2011)
  11/27/2011    1080 Consent MOTION for Extension of Time to FILE SUPPLEMENT TO MOTION TO VACATE by SAMUEL CARSON,
                     WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered:
                     11/27/2011)
  12/06/2011    1081 ORDER granting 1080 Motion for Extension of Time to File Supplement to Motion to Vacate as to SAMUEL CARSON
                     (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6). Supplement to Motion to Vacate due by 7/30/2012. United
                     States Response due by 1/30/2013. Signed by Chief Judge Royce C. Lamberth on 12/5/11. (rje) (Entered: 12/06/2011)
  12/06/2011           Set/Reset Deadlines as to SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES: Defendants'
                       Supplement due by 7/30/2012. United States Responses due by 1/30/2013. (rje) (Entered: 12/06/2011)
  12/14/2011    1082 MOTION to Withdraw as Attorney and for Appointment of New Counsel by Jenifer Wicks. by WILLIAM KYLE
                     SWEENEY. (Attachments: # 1 Text of Proposed Order)(Wicks, Jenifer) (Entered: 12/14/2011)
  12/16/2011    1083 ORDER granting 1082 Motion to Withdraw as Attorney and for the Appointment of New Counsel. FURTHER
                     ORDERED that Jenifer Wicks appearance is stricken from this matter and that the matter if is referred to the Federal
                     Public Defender for appointment of new counsel as to WILLIAM KYLE SWEENEY(4). Signed by Chief Judge Royce
                     C. Lamberth on 12/15/11. (rje, ) (Entered: 12/19/2011)
  12/27/2011    1084 MOTION for Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense 18 USC 3582(c)(2) pertaining
                     to the retroactive Amendment 750, parts A and C, which effectively lowers a petitioner's term of imprisonment by ERIK
                     JONES. (mlp) (Entered: 12/30/2011)
  01/25/2012    1085 Case as to ERIK JONES reassigned to Chief Judge Royce C. Lamberth. Judge Thomas F. Hogan no longer assigned to
                     the case. (ds) (Entered: 01/25/2012)
  03/08/2012    1086 NOTICE OF ATTORNEY APPEARANCE: Michael Edward Lawlor appearing for JEROME MARTIN, JR (Lawlor,
                     Michael) (Entered: 03/08/2012)
  03/08/2012    1087 Appearance Pro Bono by Gwendolyn R. Waters on behalf of JEROME MARTIN, JR (Waters, Gwendolyn) (Entered:
                     03/08/2012)
  04/18/2012    1088 MOTION for Discovery by SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order, # 2 Exhibit)(West, Kira)
                     (Entered: 04/18/2012)
  05/03/2012    1089 NOTICE of Proposed Scheduling Order by UNITED STATES OF AMERICA as to SAMUEL CARSON re 1088
                     MOTION for Discovery (Attachments: # 1 Text of Proposed Order Exhibit A)(Chriss, Margaret) (Entered: 05/03/2012)
  05/07/2012    1091 ORDERED that the United States shall file its response to the defendant's Motion for Discovery as to SAMUEL
                     CARSON. United States Response due by 6/18/2012. Signed by Chief Judge Royce C. Lamberth on 5/4/12. (rje)
                     (Entered: 05/10/2012)
  06/14/2012    1093 MOTION to remove separation order by SEAN COATES. (erd) (Entered: 06/19/2012)

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                          by UNITED STATES OF AMERICA as to SAMUEL CARSON re 1088 MOTION for Discovery (Chriss,
                      Margaret) (Entered: 06/18/2012)
  07/12/2012   1094 MOTION for Discovery reply by SAMUEL CARSON. (West, Kira) (Entered: 07/12/2012)
  07/17/2012   1095 ORDER denying 1093 Motion to remove separation order as to SEAN COATES without prejudice to appropriate judicial
                    review following exhaustion of administrative remedies (6). Signed by Chief Judge Royce C. Lamberth on 7/13/12. (rje)
                    (Entered: 07/18/2012)
  07/20/2012   1096 Unopposed MOTION for Extension of Time to file supplement to 2255 by SAMUEL CARSON. (Attachments: # 1 Text
                    of Proposed Order)(West, Kira) (Entered: 07/20/2012)
  07/24/2012   1097 ORDER granting 1096 Motion for Extension of Time as to file supplement to 2255 SAMUEL CARSON (3). Signed by
                    Chief Judge Royce C. Lamberth on 7/23/12. (rje) (Entered: 07/24/2012)
  07/25/2012          Set/Reset Deadlines as to SAMUEL CARSON: Defendant's Supplement to Motion due by 11/30/2012. Responses to
                      Sentencing due by 4/30/2013. (rje) (Entered: 07/25/2012)
  11/15/2012   1101 MOTION for Extension of Time to File Supplements to Motion to Vacate by SAMUEL CARSON. (Attachments: # 1
                    Text of Proposed Order)(West, Kira) (Entered: 11/15/2012)
  11/15/2012   1102 MOTION Status Conference by SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered:
                    11/15/2012)
  12/03/2012   1103 ORDER granting 1101 Motion for Extension of Time to File Supplements to Motion to Vacate as to SAMUEL CARSON
                    (3). Signed by Chief Judge Royce C. Lamberth on 11/30/12. (rje) (Entered: 12/04/2012)
  12/03/2012          Set/Reset Deadlines as to SAMUEL CARSON: Supplements to Motion to Vacate due by 3/30/2013. (rje, ) (Entered:
                      12/04/2012)
  12/03/2012   1104 MOTION (Request) for judicial review by SEAN COATES. (Attachments: # 1 Exhibits)(erd) (Entered: 12/06/2012)
  12/06/2012          NOTICE OF HEARING as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                      COATESStatus Conference set for 12/20/2012 at 10:00 AM in Courtroom 22A before Chief Judge Royce C. Lamberth.
                      (rje) (Entered: 12/06/2012)
  12/07/2012   1105 NOTICE OF ATTORNEY APPEARANCE: Eric Hans Kirchman appearing for WILLIAM KYLE SWEENEY
                    (Kirchman, Eric) (Entered: 12/07/2012)
  12/07/2012          MINUTE ORDER granting 1102 Motion to set a Status Conference as to JEROME MARTIN (2), SAMUEL CARSON
                      (3), WILLIAM K. SWEENEY, and SEAN COATS (6). Status Conference is set for December 20, 2012, at 10 a.m. in
                      Courtroom 22A. Counsel must inform the Court by December 10, 2012, if they do not wish to waive appearance by their
                      clients. Signed by Chief Judge Royce C. Lamberth on December 7, 2012. (lcrcl2) (Entered: 12/07/2012)
  12/12/2012   1106 ORDERED that status conference is hereby Vacated as to SEAN COATES. Signed by Chief Judge Royce C. Lamberth
                    on 12/11/12. (rje) (Entered: 12/12/2012)
  12/13/2012   1107 NOTICE of filing of Line Waiving Mr. Martin's Presence at Status Conference by JEROME MARTIN, JR (Lawlor,
                    Michael) (Entered: 12/13/2012)
  12/18/2012   1108 NOTICE of Filing (Discovery Letters) by UNITED STATES OF AMERICA as to SAMUEL CARSON (Attachments: #
                    1 Exhibit)(Chriss, Margaret) (Entered: 12/18/2012)
  12/19/2012   1109 MOTION for Leave to Appear Pro Hac Vice :Attorney Name- Shana Madigan. :Address- 6205 Massachusetts Ave,
                    Bethesda, MD 20816. Phone No. - 202-270-3989. by WILLIAM KYLE SWEENEY. (Attachments: # 1 Text of Proposed
                    Order)(Kirchman, Eric) (Entered: 12/19/2012)
  12/20/2012          Minute Entry for proceedings held before Chief Judge Royce C. Lamberth:Status Conference as to JEROME MARTIN,
                      JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY held on 12/20/2012. Defendants presence waived.Status
                      Conference set for 5/17/2013 at 09:30 AM in Courtroom 22A before Chief Judge Royce C. Lamberth. Bond Status of
                      Defendant: Defendants remains committed; Court Reporter: Theresa Sorensen Defense Attorney: Michael Lawlor, Kira
                      West, Eric Kirchman, Shana Madigan; US Attorney: Margaret Chriss. (rje, ) (Entered: 12/20/2012)
  12/20/2012   1110 ORDER granting 1109 Motion for Leave for Shana Madigan to Appear Pro Hac Vice as to WILLIAM KYLE
                    SWEENEY (4). Signed by Chief Judge Royce C. Lamberth on 12/20/12. (rje) (Entered: 12/20/2012)
  12/20/2012          Attorney update in case as to WILLIAM KYLE SWEENEY. Attorney Shana Madigan for WILLIAM KYLE SWEENEY
                      added. (rje) (Entered: 12/20/2012)
  03/19/2013   1111 ORDER denying 1084 Motion to Reduce Sentence re Crack Cocaine Offense - 18:3582 as to ERIK JONES (11). Signed
                    by Chief Judge Royce C. Lamberth on 3/19/13. (rje, ) (Entered: 03/19/2013)
  03/27/2013   1114 Unopposed MOTION for Extension of Time to File Supplement to Motions to Vacate by SAMUEL CARSON.
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 03/27/2013)
  05/09/2013   1115 ORDER granting 1114 Motion for Extension of Time to File Supplement to Motions to Vacate as to SAMUEL CARSON
                    (3). New dates to be set at upcoming status. Signed by Chief Judge Royce C. Lamberth on 5/7/13. (rje, ) (Entered:
                    05/09/2013)
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        USCA 1116
  05/09/2013
             CaseMOTION
                  #21-3072        Document #2077668                     Filed: 10/01/2024
                        for Fair Trial by VINCENT HILL. (hsj, ) (Entered: 05/13/2013)
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  05/09/2013   1117 MOTION for Appointment of Counsel/Attorney by VINCENT HILL. (See Docket Entry 1116 to View Document.) (hsj,
                    ) (Entered: 05/13/2013)
  05/16/2013          Case as to VINCENT HILL reassigned to Chief Judge Royce C. Lamberth. Judge Thomas Penfield Jackson no longer
                      assigned to the case. (ds) (Entered: 05/16/2013)
  05/17/2013          ENTERED IN ERROR.....Minute Entry for proceedings held before Chief Judge Royce C. Lamberth:Status Conference
                      as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES held on 5/17/2013.
                      Defendants appearance waived. Hearing re Revocation of Supervised Release set for 7/23/2013 at 10:00 AM in
                      Courtroom 22A before Chief Judge Royce C. Lamberth. Bond Status of Defendant: Defendants remains committed;
                      Court Reporter: Theresa Sorensen Defense Attorney:Grendolyn Waters, Kira West, Eric Kirchman, Shana Madigan,
                      Veronice Holt; US Attorney: Margaret Chriss; Prob Officer: Renee Parenti. (rje) Modified on 7/1/2013 (zhsj, ). (Entered:
                      05/17/2013)
  05/17/2013          NOTICE OF CORRECTED DOCKET ENTRY: as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE
                      SWEENEY, SEAN COATES re Minute Entry for Status Conference on 5/17/2013. Minute entry was entered in error in
                      the wrong case. Clerk's office will re-enter minute entry in the correct case. (hsj, ) (Entered: 07/01/2013)
  06/04/2013          Set/Reset Hearings as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                      COATES:Status Conference reset for 8/29/2013 10:00 AM in Courtroom 22A before Chief Judge Royce C. Lamberth.
                      (mpt, ) (Entered: 06/04/2013)
  06/12/2013   1121 MOTION to Vacate under 28 U.S.C. 2255 for Fair Trial. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255
                    ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by VINCENT HILL. (hsj, )
                    Civil case 1:13-cv-01022-RCL opened. (Entered: 07/05/2013)
  06/17/2013   1118 NOTICE of Filing Regarding Discovery by UNITED STATES OF AMERICA as to SAMUEL CARSON (Attachments:
                    # 1 Exhibit)(Chriss, Margaret) (Entered: 06/17/2013)
  06/19/2013   1119 NOTICE OF ATTORNEY APPEARANCE Angela S. George appearing for USA. (George, Angela) (Entered:
                    06/19/2013)
  07/05/2013   1120 MOTION for Extension of Time to by VINCENT HILL. (hsj, ) (Entered: 07/05/2013)
  08/23/2013          Set/Reset Hearings as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                      COATES:Status Conference reset for 8/29/2013 at 03:00 PM in Courtroom 22A before Judge Royce C. Lamberth. (mpt, )
                      (Entered: 08/23/2013)
  08/29/2013          Minute Entry for proceedings held before Judge Royce C. Lamberth:Status Conference as to JEROME MARTIN, JR (2),
                      SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6) held on 8/29/2013. Defendants
                      Appearance Waived for this Hearing. Defendants Continued on Personal Recognizance. Court Reporter: Bryan Wayne
                      Defense Attorney: Waters (2), West (3), Kirchman/Madigan (4), Holt (6); US Attorney: Margaret Chriss; (mpt, )
                      (Entered: 08/29/2013)
  09/03/2013   1122 ORDER as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, and SEAN COATES,
                    granting defendants' oral motion for an extension of nine months to file the supplements to their pending 2255 motions. It
                    is FURTHER ORDERED that the defendants shall file the supplements to their pending 2255 motions by 5/29/2014.
                    Signed by Judge Royce C. Lamberth on 8/30/2013. (tg, ) (Entered: 09/03/2013)
  09/23/2013   1123 ORDER granting in part and denying in part 1088 Motion for Discovery as to SAMUEL CARSON (3). Signed by Judge
                    Royce C. Lamberth on September 23, 2013. (lcrcl4) (Entered: 09/23/2013)
  09/23/2013   1124 MEMORANDUM OPINION as to SAMUEL CARSON granting in part and denying in part 1088 Motion for Discovery.
                    Signed by Judge Royce C. Lamberth on September 23, 2013. (lcrcl4) (Entered: 09/23/2013)
  10/31/2013   1125 NOTICE of Proposed Order by UNITED STATES OF AMERICA as to SAMUEL CARSON re 1124 Memorandum
                    Opinion (Attachments: # 1 Text of Proposed Order)(Chriss, Margaret) (Entered: 10/31/2013)
  11/05/2013   1126 MEMORANDUM AND ORDER as to VINCENT HILL. (See Image for Details). Signed by Judge Royce C. Lamberth
                    on 11/5/13. (mpt, ) (Entered: 11/07/2013)
  05/28/2014   1127 Consent MOTION for Extension of Time to File Memorandum of Law in Support of Motion to Vacate Sentence by
                    JEROME MARTIN, JR. (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) (Entered: 05/28/2014)
  05/29/2014   1128 ORDER Granting 1127 Motion for Extension of Time to File Memorandum of Law in Support of Motion to Vacate
                    Sentence as to JEROME MARTIN JR. (2), SAMUEL CARSON (3), WILLIAM KYLE (4), SWEENEY & SEAN
                    COATES (6) with 6 months of this Order. Signed by Judge Royce C. Lamberth on 5/28/14. (mpt) (Entered: 05/30/2014)
  10/02/2014   1130 MOTION To Obtain Subpoena for Death Certificate by SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order)
                    (West, Kira) (Entered: 10/02/2014)
  10/02/2014   1131 ORDER Granting 1130 Unopposed Motion for Subpoena to Obtain Death Certificate as to SAMUEL CARSON (3).
                    Signed by Judge Royce C. Lamberth on 10/2/14. (mpt, ) (Entered: 10/02/2014)


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                        MOTION for Reconsideration of Discovery Request by SAMUEL CARSON. (Attachments: # 1 Text of Proposed
                        Order)(West, Kira) (Entered: 10/09/2014)
   10/09/2014    1133 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to SAMUEL CARSON. (This document is
                      SEALED and only available to authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2 Exhibit)(West, Kira)
                      (Entered: 10/09/2014)
   10/14/2014    1134 ORDER as to SAMUEL CARSON re: 1133 GRANTING SEALED MOTION FOR LEAVE TO FILE DOCUMENT
                      UNDER SEAL. (This document is SEALED and only available to authorized persons.). Signed by Judge Royce C.
                      Lamberth on 10/10/14.(zmpt, ) (Entered: 10/16/2014)
   11/25/2014    1135 Consent MOTION for Extension of Time to File Supplemental Memorandum to 2255 by JEROME MARTIN, JR.
                      (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) (Entered: 11/25/2014)
   11/25/2014    1136 Amended MOTION for Extension of Time to File Supplemental Memorandum to 2255 filed by JEROME MARTIN, JR.
                      by JEROME MARTIN, JR. (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) Modified event title on
                      11/26/2014 (znmw, ). (Entered: 11/25/2014)
   11/25/2014    1137 ORDER granting 1135 Unopposed Motion for Extension of Time to File a Memorandum of Law in Support of Motion to
                      Vacate Sentence as to JEROME MARTIN JR. It is ORDERED that the Defendant will file a Memorandum of Law in
                      Support of Motion to Vacate Sentence, pursuant to 28 U.S.C. 2255, within 3 months of this Order. Signed by Judge
                      Royce C. Lamberth on 11/25/2014. (tg ) (Entered: 11/25/2014)
   11/25/2014    1139 LETTER Filed by JEROME MARTIN, JR. Regarding Defendant's Counsel Michael Edward Lawlor Brief. "Let This Be
                      Filed, Copies to Counsel" by Judge Royce C. Lamberth. on 11/25/2014. (hsj, ) (Entered: 11/26/2014)
   11/26/2014    1138 MOTION for Extension of Time to and to join motion for extension by SAMUEL CARSON. (Attachments: # 1 Text of
                      Proposed Order)(West, Kira) (Entered: 11/26/2014)
   11/28/2014    1140 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2
                      Supplement Supplement to Motion to Vacate Sentence Pursuant to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1141 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 1 to Supplement to
                      2255, # 2 Exhibit Exhibit 3 to Supplement to 2255, # 3 Exhibit Exhibit 4 to Supplement to 2255)(Kirchman, Eric)
                      (Entered: 11/28/2014)
   11/28/2014    1142 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 5 to Supplement to
                      2255, # 2 Exhibit Exhibit 7 to Supplement to 2255, # 3 Exhibit Exhibit 8 to Supplement to 2255, # 4 Exhibit Exhibit 9 to
                      Supplement to 2255, # 5 Exhibit Exhibit 10 to Supplement to 2255, # 6 Exhibit Exhibit 11 to Supplement to 2255, # 7
                      Exhibit Exhibit 12 to Supplement to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1143 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 6 to Supplement to
                      2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1144 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 1 to
                      Supplement to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1145 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 2 to
                      Supplement to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1146 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 3 to
                      Supplement to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   11/28/2014    1147 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                      document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 4 to
                      Supplement to 2255)(Kirchman, Eric) (Entered: 11/28/2014)
   12/01/2014    1148 ORDER Granting 1138 Motion for Extension of Time to File Supplement to Motion to Vacate 2255 as to SAMUEL
                      CARSON (3). Any supplement is due no later than February 25, 2015. Signed by Judge Royce C. Lamberth on 11/26/14.
                      (mpt, ) (Entered: 12/03/2014)
   12/01/2014           Set/Reset Deadlines as to SAMUEL CARSON: Supplemental Motion to Vacate due by 2/25/2015. (mpt, ) (Entered:
                        12/03/2014)
   12/01/2014    1149 ORDERED that the Motion to File a Memoarandum of Law in Support of Motion to Vacate Sentence as to WILLIAM
                      KYLE SWEENEY, SEAN COATES is GRANTED. Due no later than February 25, 2015. Signed by Judge Royce C.
                      Lamberth on 11/26/14. (mpt, ) (Entered: 12/03/2014)
   12/17/2014 1150 MOTION To Unseal William K. Sweeney's Supplemental Motionto Vacte Set Aside or Correct Sentence Pursuant to 28
(Page 138 of Total) USC 2255 and the Exhibits Attached Thereto by WILLIAM KYLE SWEENEY. (Attachments: # 1 Text of Proposed
                                                                App 129
        USCA CaseOrder)(Kirchman,
                  #21-3072 Eric)  Document     #2077668
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  01/15/2015   1152 RESPONSE by UNITED STATES OF AMERICA as to WILLIAM KYLE SWEENEY re 1150 MOTION To Unseal
                    William K. Sweeney's Supplemental Motionto Vacte Set Aside or Correct Sentence Pursuant to 28 USC 2255 and the
                    Exhibits Attached Thereto (Chriss, Margaret) (Entered: 01/15/2015)
  01/29/2015   1153 MOTION to join petitioner Sweeney's motion to unseal specific exhibits by SAMUEL CARSON (Attachments: # 1 Text
                    of Proposed Order)(West, Kira) Modified on 1/30/2015 (erd). (Entered: 01/29/2015)
  01/30/2015          NOTICE OF ERROR re 1153 Motion for Joinder; emailed to kiraannewest@gmail.com, cc'd 21 associated attorneys --
                      The PDF file you docketed contained errors: 1. Incorrect event used, 2. Do not refile document. The clerk modified the
                      event to read motion. (erd, ) (Entered: 01/30/2015)
  02/03/2015   1154 NOTICE OF ATTORNEY APPEARANCE Barry Wiegand, III appearing for USA. (Wiegand, Barry) (Entered:
                    02/03/2015)
  02/19/2015   1155 RESPONSE by UNITED STATES OF AMERICA as to WILLIAM KYLE SWEENEY re 1150 MOTION To Unseal
                    William K. Sweeney's Supplemental Motionto Vacte Set Aside or Correct Sentence Pursuant to 28 USC 2255 and the
                    Exhibits Attached Thereto -Supplemental Response (Chriss, Margaret) (Entered: 02/19/2015)
  02/24/2015   1166 SUPPLEMENTAL CLAIMIN RELATION to Original 1020 MOTION to Vacate under 28 U.S.C. 2255 by SEAN
                    COATES. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(mlp) (Entered: 02/26/2015)
  02/25/2015   1156 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Amended Supplemental
                    Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28 USC 2255 and Incorporated Memorandum of facts and
                    Law, # 2 Exhibit Exhibit 1 to Amended Supplmental to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1157 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1158 Consent MOTION for Extension of Time to File Memorandum of Law in Support of Motion to Vacate Sentence by
                    JEROME MARTIN, JR as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                    COATES. (Attachments: # 1 Text of Proposed Order)(Lawlor, Michael) (Entered: 02/25/2015)
  02/25/2015   1159 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 2 to
                    Supplement to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1160 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 3 to
                    Supplement to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1161 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 2 Part 4 to
                    Supplement to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1162 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 3 to Amended
                    Supplement to 2255, # 2 Exhibit Exhibit 4 to Amended Supplmental to 2255, # 3 Exhibit Exhibit 5 to Amended
                    Supplement to 2255, # 4 Exhibit Exhibit 9 to Supplement to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1163 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Exhibit 7 to Amended
                    Supplement, # 2 Exhibit Exhibit 8 to Amended Supplmental to 2255, # 3 Exhibit Exhibit 9 to Amended Supplement to
                    2255, # 4 Exhibit Exhibit 10 to Amended Supplement to 2255, # 5 Exhibit Exhibit 11 to Amended Supplement to 2255, #
                    6 Exhibit Exhibit 12 to AmendedSupplement to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1164 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to WILLIAM KYLE SWEENEY. (This
                    document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit Amended Supplemental
                    Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28 USC 2255 and Incorporated Memorandum of facts and
                    Law, # 2 Exhibit Exhibit 1 to Amended Supplmental to 2255)(Kirchman, Eric) (Entered: 02/25/2015)
  02/25/2015   1165 Unopposed MOTION for Leave to File Amended Supplemental Motion by WILLIAM KYLE SWEENEY. (Attachments:
                    # 1 Text of Proposed Order)(Kirchman, Eric) (Entered: 02/25/2015)
  03/12/2015   1167 SUPPLEMENT to motion re 1158 Consent MOTION for Extension of Time to File Memorandum of Law in Support of
                    Motion to Vacate Sentence by SAMUEL CARSON as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL
                    CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL
                    SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON,
                    CLIFTON EDWARDS. (West, Kira) Modified on 3/12/2015 (erd). Modified on 10/11/2022 (zstd). (Entered: 03/12/2015)
  03/12/2015          NOTICE OF ERROR re 1167 Motion for Miscellaneous Relief; emailed to kiraannewest@gmail.com, cc'd 17 associated
                      attorneys -- The PDF file you docketed contained errors: 1. Incorrect event used, 2. Do not refile document. The clerk
                      modified the event to read supplement to motion (erd, ) (Entered: 03/12/2015)

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                        of Filing (Discovery) by UNITED STATES OF AMERICA as to SAMUEL CARSON (Attachments: # 1
                      Exhibit)(Chriss, Margaret) (Entered: 03/30/2015)
  04/09/2015   1169 SEALED DOCUMENT (leave to file) (This document is SEALED and only available to authorized persons.)
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1170 SEALED MOTION supplemental 2255 as to SAMUEL CARSON. (This document is SEALED and only available to
                    authorized persons.) (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1171 SEALED DOCUMENT (exhibit list) (This document is SEALED and only available to authorized persons.) (West, Kira)
                    (Entered: 04/09/2015)
  04/09/2015   1172 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit, # 2 Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1173 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1174 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1175 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1176 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1177 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1178 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit)(West, Kira) (Entered: 04/09/2015)
  04/09/2015   1179 SEALED DOCUMENT (This document is SEALED and only available to authorized persons.) (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit)(West, Kira) (Entered: 04/09/2015)
  07/23/2015   1180 SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL as to SAMUEL CARSON. (This document is
                    SEALED and only available to authorized persons.) (Attachments: # 1 Text of Proposed Order, # 2 Exhibit, # 3 Exhibit)
                    (West, Kira) (Entered: 07/23/2015)
  06/23/2016   1182 Supplemental MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255
                    ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by JEROME MARTIN, JR. (Lawlor,
                    Michael) (Entered: 06/23/2016)
  06/24/2016   1183 MOTION to Vacate under 28 U.S.C. 2255. supplemental due to Johnson NO DOCUMENTS ARE TO BE FILED IN
                    THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by SAMUEL
                    CARSON. (West, Kira) (Entered: 06/24/2016)
  06/27/2016   1184 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                    DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by SEAN COATES. (Holt, Veronice) (Entered:
                    06/27/2016)
  06/27/2016   1185 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL
                    DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by SEAN COATES. (Attachments: # 1 Supplement)
                    (Holt, Veronice) (Entered: 06/27/2016)
  01/13/2017   1186 First MOTION briefing schedule and/or status conference by SAMUEL CARSON as to VINCENT HILL, JEROME
                    MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES,
                    REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES,
                    RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachments: # 1 Text of Proposed Order)(West, Kira) Modified
                    on 6/20/2017 (zhsj). (Entered: 01/13/2017)
  01/22/2017   1187 NOTICE of pending motion by SAMUEL CARSON re 1124 Memorandum Opinion (West, Kira) (Entered: 01/22/2017)
  04/07/2017   1188 ORDER granting 1186 Motion for a Briefing Schedule. It is hereby ORDERED that Defendants shall file any
                    supplements to their motion to vacate, set aside, or correct his sentence under 28 U.S.C. § 2255 within thirty (30) days
                    from the date of entry of this Order. The United States shall file its response to the defendants' § 2255 motions and
                    supplements thereto within sixty (60) days thereafter as to WILLIAM SWEENEY (4), JEROME MARTIN, JR. (2),
                    SAMUEL CARSON (3), and SEAN COATES (6). Signed by Judge Royce C. Lamberth on 4/6/17. (lsj) (Entered:
                    04/10/2017)
  05/09/2017   1189 First MOTION for Leave to File late motion for continuance by SAMUEL CARSON. (Attachments: # 1 Memorandum
                    in Support, # 2 Text of Proposed Order)(West, Kira) (Entered: 05/09/2017)
  05/31/2017   1190 ORDER as to ERIK JONES (11): The Court requests that the United States Probation Office for the District of Columbia
                    file a recommendation regarding defendant's motion re 1151 within thirty days of this date. Signed by Judge Royce C.
                    Lamberth on 5/31/17. (lsj) (Entered: 05/31/2017)
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  06/12/2017
             CaseENTERED
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                         IN ERROR..... MOTION supplement 2255 re 1188 Order on Motion for Miscellaneous Relief,, by SAMUEL
                      CARSON as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                      MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN,
                      DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachments: # 1 Text of
                      Proposed Order)(West, Kira) Modified on 6/13/2017 (znmw). Modified on 10/11/2022 (zstd). (Entered: 06/12/2017)
  06/13/2017          NOTICE OF ERROR re 1191 Motion for Miscellaneous Relief; emailed to kiraannewest@gmail.com, cc'd 21 associated
                      attorneys -- The PDF file you docketed contained errors: 1. Incorrect event used, 2. Document linked to incorrect
                      defendant(s), 3. Please refile document, 4. ENTERED IN ERROR; Refile as to only defendant CARSON using the event
                      Supplement to Any Document under the Responses and Replies menu. (znmw, ) (Entered: 06/13/2017)
  06/14/2017   1192 SUPPLEMENT by SAMUEL CARSON re 1189 First MOTION for Leave to File late motion for continuance
                    supplement to 2255-Johnson issue (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 06/14/2017)
  06/16/2017   1193 ORDERED that the Defendants' motions for leave to file under seal 1140 , 1156 , 1157 , 1157 , 1159 , 1160 , 1161 , 1162
                    , 1163 , 1164 and 1180 as to Defendants WILLIAM KYLE SWEENEY (4), JEROME MARTIN, JR. (2), SAMUEL
                    CARSON (3), and SEAN COATES (6) are hereby GRANTED. Signed by Judge Royce C. Lamberth on 6/14/17. (lsj)
                    Modified to add text on 6/19/2017 (znmw). (Entered: 06/16/2017)
  06/16/2017   1197 SEALED SUPPLEMENTAL MOTION to Vacate, Set Aside or Correct Sentence as to WILLIAM KYLE SWEENEY.
                    (This document is SEALED and only available to authorized persons.) (znmw) (Entered: 06/19/2017)
  06/16/2017   1198 SEALED AMENDED SUPPLEMENTAL MOTION to Vacate, Set Aside or Correct Sentence as to WILLIAM KYLE
                    SWEENEY.(This document is SEALED and only available to authorized persons.) (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2-Part 1, # 3 Exhibit 2-Part 2, # 4 Exhibit 2-Part 3, # 5 Exhibit 2-Part 4, # 6 Exhibit 3, # 7 Exhibit 4, # 8 Exhibit
                    5, # 9 Exhibit 6, # 10 Exhibit 7, # 11 Exhibit 8, # 12 Exhibit 9, # 13 Exhibit 10, # 14 Exhibit 11, # 15 Exhibit 12)(znmw)
                    (Entered: 06/19/2017)
  06/16/2017   1199 DOCUMENT (Two Exhibits) as to SAMUEL CARSON re 1183 Supplemental MOTION to Vacate under 28 U.S.C.
                    2255. supplemental due to Johnson. (This document is SEALED and only available to authorized persons.)
                    (Attachments: # 1 Exhibit)(znmw) (Entered: 06/19/2017)
  06/19/2017   1194 ORDER granting 1024 Motion to Join the Petitions filed by his Co-Defendants as to SAMUEL CARSON (3) and
                    granting 1185 Motion to Join Defendant Carson's Supplemental Motion and to File Under Seal and to Late File as to
                    SEAN COATES (6). Signed by Judge Royce C. Lamberth on 6/14/17. (lsj) (Entered: 06/19/2017)
  06/19/2017   1195 ORDER denying Motion 1158 for Extension of Time to File, 1165 Motion for Leave to File, and Supplement Motion
                    1167 for Extension of Time to File as to JEROME MARTIN JR. (2), SAMUEL CARSON (3), WILLIAM KYLE
                    SWEENEY (4), and SEAN COATES (6) as moot motions. Signed by Judge Royce C. Lamberth on 6/14/17. (lsj)
                    (Entered: 06/19/2017)
  06/19/2017   1196 ORDER granting 1189 Motion for Leave to File as to SAMUEL CARSON (3); Set/Reset Deadlines as to SAMUEL
                    CARSON. Supplement to Motion to Vacate, Set Aside or Correct Sentence due by 6/14/2017. Signed by Judge Royce C.
                    Lamberth on 6/14/17. (lsj) (Entered: 06/19/2017)
  07/06/2017   1201 NOTICE OF ATTORNEY APPEARANCE Pamela Stever Satterfield appearing for USA. (Satterfield, Pamela) (Entered:
                    07/06/2017)
  07/07/2017   1202 Unopposed MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to
                    JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text
                    of Proposed Order)(Satterfield, Pamela) (Entered: 07/07/2017)
  08/07/2017   1207 ORDER as to JEROME MARTIN, JR. Directing Counsel for Mr. Martin, Michael Edward Lawlor to Meet with Mr.
                    Martin and File a Report of His Meeting with This Court within 10 Days Thereafter. The Government has Stated in its
                    Motion for Extension of Time [ECF No. 120] that Counsel for Mr. Martin has Indicated that He will Need an Additional
                    45 Days in Which to File a Supplemental Pleading. Counsel for Mr. Martin has not, However Filed a Motion for
                    Extension of Time With This Court. Should Counsel for Mr. Martin Seek an Extension of Time, He is Directed to File a
                    Motion on the Record of This Case. Signed by Judge Royce C. Lamberth on 8/7/2017. (Attachments: # 1 Letter
                    Regarding Defendant's Contact with His Counsel) (hsj) (Entered: 08/11/2017)
  08/08/2017   1203 ORDER as to JEROME MARTIN,JR. directing to meet with the Defendant and file a report of his meeting with the
                    Court within 10 days thereafter. It is further ORDERED that if the Defendant's Counsel seeks an extension of time to
                    supplement pleadings, he is directed to file such motion in this case. Signed by Judge Royce C. Lamberth on 8/7/17. (lsj)
                    (Entered: 08/08/2017)
  08/08/2017   1204 ORDER granting Motion 1202 for Extension of Time to File Response/Reply as to JEROME MARTIN JR. (2),
                    SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), and SEAN COATES (6). It is hereby ORDERED that the
                    United States shall file its Responses by 10/10/2017. Signed by Judge Royce C. Lamberth on 8/8/17. (lsj) (Entered:
                    08/08/2017)
  08/09/2017   1205 ORDER as to ERIK JONES (11): For the reasons stated in the accompanying Memorandum Opinion, Mr. Jones' motion
                    1151 to reduce his sentence pursuant to 18 U.S.C. 3582(c)(2) is hereby DENIED. Signed by Judge Royce C. Lamberth
                    on 8/9/17. (nbn) (Entered: 08/10/2017)


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                                   re ORDER 1205 , Denying 1151 Motion to Reduce Sentence- USSC Amendment as to
                      ERIK JONES. Signed by Judge Royce C. Lamberth on 8/9/17. (nbn) (Entered: 08/10/2017)
  10/06/2017   1208 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to VINCENT HILL,
                    JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES,
                    REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES,
                    RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachments: # 1 Text of Proposed Order)(Satterfield, Pamela)
                    Modified on 10/11/2022 (zstd). (Entered: 10/06/2017)
  12/28/2017   1209 ORDER granting 1208 Motion for Extension of Time to File Response/Reply as to JEROME MARTIN JR. Signed by
                    Judge Royce C. Lamberth on 12/28/17. (nbn) (Entered: 01/03/2018)
  12/28/2017   1210 ORDER granting 1208 Motion for Extension of Time to File Response/Reply as to WILLIAM KYLE SWEENEY.
                    Signed by Judge Royce C. Lamberth on 12/28/17. (nbn) (Entered: 01/03/2018)
  12/28/2017   1211 ORDER granting 1208 Motion for Extension of Time to File Response/Reply as to SEAN COATES. Signed by Judge
                    Royce C. Lamberth on 12/28/17. (nbn) (Entered: 01/03/2018)
  12/28/2017   1212 ORDER granting 1208 Motion for Extension of Time to File Response/Reply as to SAMUEL CARSON. Signed by
                    Judge Royce C. Lamberth on 12/28/17. (nbn) (Entered: 01/03/2018)
  01/04/2018   1213 TRANSCRIPT OF 8/29/13 STATUS HEARING in case as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM
                    KYLE SWEENEY, SEAN COATES before Judge Royce C. Lamberth held on August 29, 2013; Page Numbers: 1-6.
                    Date of Issuance: January 4, 2018. Court Reporter: Bryan A. Wayne. Transcripts may be ordered by submitting the
                    Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a public termi nal or
                      purchased from the court reporter referenced above. After 90 days, the transcript may be accessed via PACER. Other
                      transcript formats, (multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one days to file with the court and the
                      court reporter any request to redact personal identifiers from this transcript. If no such requests are filed, the transcript
                      will be made available to the public via PACER without redaction after 90 days. The policy, which includes the five
                      personal identifiers specifically covered, is located on our website at www.dcd.uscourts.gov.

                      Redaction Request due 1/25/2018. Redacted Transcript Deadline set for 2/4/2018. Release of Transcript Restriction set
                      for 4/4/2018.(Wayne, Bryan) (Entered: 01/04/2018)
  01/04/2018   1214 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME MARTIN,
                    JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 01/04/2018)
  01/05/2018   1215 Amended MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME
                    MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of
                    Proposed Order)(Satterfield, Pamela) (Entered: 01/05/2018)
  04/12/2018   1216 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME MARTIN,
                    JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 04/12/2018)
  04/12/2018   1217 MOTION for Extension of Time to File Response to Supplemental Filings by UNITED STATES OF AMERICA as to
                    JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (See Docket Entry 1216
                    to View Document). (hsj) (Entered: 04/13/2018)
  04/26/2018   1218 RESPONSE by WILLIAM KYLE SWEENEY re 1217 MOTION for Extension of Time to File Response/Reply, 1216
                    MOTION for Extension of Time to File Response/Reply (Kirchman, Eric) (Entered: 04/26/2018)
  05/18/2018   1219 TRANSCRIPT OF PROCEEDINGS in case as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE
                    SWEENEY, SEAN COATES before Judge Royce C. Lamberth held on May 17, 2013; Page Numbers: 1-22. Date of
                    Issuance: May 18, 2013. Court Reporter/Transcriber Transcribed by Janice Dickman, Telephone number 202-354-3267,
                    Transcripts may be ordered by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a public terminal or purchased
                      from the court reporter referenced above. After 90 days, the transcript may be accessed via PACER. Other transcript
                      formats, (multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one days to file with the court and the
                      court reporter any request to redact personal identifiers from this transcript. If no such requests are filed, the transcript
                      will be made available to the public via PACER without redaction after 90 days. The policy, which includes the five
                      personal identifiers specifically covered, is located on our website at www.dcd.uscourts.gov.

                      Redaction Request due 6/8/2018. Redacted Transcript Deadline set for 6/18/2018. Release of Transcript Restriction set
                      for 8/16/2018.(Dickman, Janice) (Main Document 1219 replaced on 6/20/2018) (zvt). Modified hearing and issuance
                      date on 6/20/2018 (zvt). (Entered: 05/18/2018)
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                        REPORT by JEROME MARTIN, JR (Lawlor, Michael) (Entered: 06/29/2018)
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  06/29/2018   1221 SUPPLEMENT by WILLIAM KYLE SWEENEY re 1150 MOTION To Unseal William K. Sweeney's Supplemental
                    Motionto Vacte Set Aside or Correct Sentence Pursuant to 28 USC 2255 and the Exhibits Attached Thereto Line
                    Requesting Ruling (Kirchman, Eric) (Entered: 06/29/2018)
  07/24/2018   1222 ORDER as to JEROME MARTIN, JR (2): The parties are directed to appear for a Status Conference set for 8/3/2018 at
                    10:00 AM in Courtroom 15 before Judge Royce C. Lamberth. The Defendant will not be transported and will be
                    provided a copy of the proceedings. Signed by Judge Royce C. Lamberth on 7/20/18. (lsj) (Entered: 07/24/2018)
  08/03/2018          Minute Entry for Status Conference held before Judge Royce C. Lamberth as to JEROME MARTIN, JR (2) on 8/3/2018.
                      Counsel for the Defendant to file a Status Report with the Court following his meeting with his client by 9/7/2018.
                      Further Status Conference set for 10/5/2018 at 10:00 AM in Courtroom 15 before Judge Royce C. Lamberth. The Court
                      further direct Counsel for the Defendant to order a transcript of today's proceedings and forward them to his client.
                      Defendant not present. Court Reporter: Crystal Pilgrim; Defense Attorney: Michael Edward Lawlor; US Attorney:
                      Pamela Stever Satterfield. (lsj) (Entered: 08/03/2018)
  10/04/2018   1223 STATUS REPORT by JEROME MARTIN, JR (Lawlor, Michael) (Entered: 10/04/2018)
  10/05/2018          Minute Entry for Status Conference held before Judge Royce C. Lamberth as to JEROME MARTIN, JR (2) on
                      10/5/2018. Counsel for Defendants Samuel Carson (3) and William Sweeney (4) present. Forthcoming Order. Court
                      Reporter: Scott Wallace; Defense Attorney: Michael Edward Lawlor; US Attorney: Pamela Stever Satterfield. (lsj)
                      (Entered: 10/05/2018)
  10/05/2018   1224 ORDER granting 1150 Motion to Unseal William K. Sweeney's 1140 Supplemental Motion to Vacate, Set Aside or
                    Correct Sentence pursuant to 28 U.S.C. 2255, and the exhibits attached thereto. Signed by Judge Royce C. Lamberth on
                    10/05/2018. (lcrcl3) Modified Event on 10/9/2018 (hsj). (Entered: 10/05/2018)
  10/09/2018   1225 SCHEDULING ORDER as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4),
                    SEAN COATES (6): Defendants' Supplemental § 2255 Motions due by 10/31/2018. Government's Response due by
                    2/28/2019. Defendants' Replies due by 4/29/2019. Signed by Judge Royce C. Lamberth on 10/5/18. (lsj) (Entered:
                    10/09/2018)
  10/22/2018   1226 TRANSCRIPT OF PROCEEDINGS in case as to JEROME MARTIN, JR before Judge Royce C. Lamberth held on
                    08/03/18; Page Numbers: 1-17. Date of Issuance:10/22/18. Court Reporter/Transcriber Crystal M. Pilgrim, Telephone
                    number 202.354.3127, Transcripts may be ordered by submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a public terminal or purchased
                      from the cou rt reporter referenced above. After 90 days, the transcript may be accessed via PACER. Other transcript
                      formats, (multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one days to file with the court and the
                      court reporter any request to redact personal identifiers from this transcript. If no such requests are filed, the transcript
                      will be made available to the public via PACER without redaction after 90 days. The policy, which includes the five
                      personal identifiers specifically covered, is located on our website at www.dcd.uscourts.gov.

                      Redaction Request due 11/12/2018. Redacted Transcript Deadline set for 11/22/2018. Release of Transcript Restriction
                      set for 1/20/2019.(Pilgrim, Crystal) (Entered: 10/22/2018)
  10/28/2018   1227 SUPPLEMENTAL MEMORANDUM prior 2255 re 1167 MOTION supplement motion re 1158 Consent MOTION for
                    Extension of Time to File Memorandum of Law in Support of Motion to Vacate Sentence by SAMUEL CARSON.
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) Modified Event on 10/30/2018 (hsj). (Entered: 10/28/2018)
  10/30/2018   1228 MOTION for Leave to Join 1230 Samuel Carson's Unopposed Supplement to Prior Supplemental Motion to Vacate by
                    SEAN COATES. (Holt, Veronice) Modified Event on 11/1/2018 (hsj). (Entered: 10/30/2018)
  10/31/2018   1229 Supplemental MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255
                    ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE by WILLIAM KYLE SWEENEY.
                    (Kirchman, Eric) (Entered: 10/31/2018)
  10/31/2018   1230 Second MOTION supplement prior 2255's & adopt Martin's motion by SAMUEL CARSON. (Attachments: # 1 Text of
                    Proposed Order)(West, Kira) (Entered: 10/31/2018)
  11/07/2018   1231 Consent MOTION for Extension of Time to File MEMORANDUM IN SUPPORT OF DEFENDANTS MOTION TO
                    VACATE SENTENCE by JEROME MARTIN, JR. (Attachments: # 1 Text of Proposed Order Proposed Order of the
                    Court)(Lawlor, Michael) (Entered: 11/07/2018)
  11/09/2018   1232 ORDER granting 1231 Motion for Extension of Time to File as to JEROME MARTIN JR. (2) Signed by Judge Royce C.
                    Lamberth on 11/09/2018. (lcrcl3) (Entered: 11/09/2018)
  11/09/2018          Set/Reset Deadlines as to JEROME MARTIN, JR (2): Defendant's Memorandum of Law in Support of Motion to Vacate
                      Sentence due by 11/14/2018. (lsj) (Entered: 11/09/2018)
  11/21/2018   1233 SUPPLEMENT re 1182 by JEROME MARTIN, JR Supplement to Motion to Vacate, Set Aside, or Correct Sentence
                    Pursuant to 28 U.S.C. 2255 By Person in Federal Custody (Lawlor, Michael) Modified to add link on 11/27/2018
                    (znmw). (Entered: 11/21/2018)
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                           MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to
                      JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text
                      of Proposed Order)(Satterfield, Pamela) (Entered: 03/13/2019)
  03/25/2019   1235 ORDER granting 1234 Motion for Extension of Time to File Response/Reply as to JEROME MARTIN JR. (2),
                    SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6). Signed by Judge Royce C. Lamberth
                    on 03/25/2019. (lcrcl3) (Entered: 03/25/2019)
  03/26/2019          Set/Reset Deadlines as to JEROME MARTIN, JR, (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4) and
                      SEAN COATES (6): Government's omnibus response due by 6/21/2019 (lsj) (Entered: 03/26/2019)
  06/17/2019   1238 MOTION for Extension of Time to File Response/Reply to Section 2255 Motions and Supplements by UNITED STATES
                    OF AMERICA as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES.
                    (Attachments: # 1 Text of Proposed Order)(Satterfield, Pamela) (Entered: 06/17/2019)
  06/19/2019   1239 ORDER granting 1238 Motion for Extension of Time to File Response/Reply as to JEROME MARTIN JR. (2),
                    SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6). Signed by Judge Royce C. Lamberth
                    on 06/18/2019. (lcrcl3) (Entered: 06/19/2019)
  06/19/2019          Set/Reset Deadlines as to JEROME MARTIN, JR. (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4) and
                      SEAN COATES (6): Government's Response due by 9/19/2019. (lsj) (Entered: 06/19/2019)
  09/18/2019   1240 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME MARTIN,
                    JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 09/18/2019)
  09/19/2019   1241 ORDER granting 1240 Motion for Extension of Time to File Response as to JEROME MARTIN JR. (2), SAMUEL
                    CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6). The United States shall file its omnibus report no
                    later than 11/18/2019. Signed by Judge Royce C. Lamberth on 09/19/2019. (lcrcl3) (Entered: 09/19/2019)
  09/19/2019          Set/Reset Deadlines as to JEROME MARTIN, JR. (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4) and
                      SEAN COATES (6): Responses due by 11/18/2019 (lsj) (Entered: 09/19/2019)
  11/09/2019   1242 MOTION for Discovery by WILLIAM KYLE SWEENEY. (Attachments: # 1 Text of Proposed Order)(Kirchman, Eric)
                    (Entered: 11/09/2019)
  11/09/2019   1243 ENTERED IN ERROR..... MOTION to Access to Case Materials and Law Library by WILLIAM KYLE SWEENEY as
                    to SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order)(Kirchman, Eric) Modified on 11/13/2019 (znmw).
                    (Entered: 11/09/2019)
  11/09/2019   1244 MOTION to Access to Case Materials and Law Library by WILLIAM KYLE SWEENEY. (znmw) (Entered:
                    11/13/2019)
  11/13/2019          NOTICE OF CORRECTED DOCKET ENTRY: as to SAMUEL CARSON, WILLIAM KYLE SWEENEY re 1243
                      MOTION to Access to Case Materials and Law Library was entered in error (linked to incorrect defendant) and was
                      refiled by the Clerk's Office as Docket Entry 1244 . (znmw) (Entered: 11/13/2019)
  11/15/2019   1245 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME MARTIN,
                    JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 11/15/2019)
  11/18/2019   1246 ORDER GRANTING 1245 Motion for Extension of Time to File Response as to JEROME MARTIN JR. (2), SAMUEL
                    CARSON (3), WILLIAM KYLE SWEENEY (4), and SEAN COATES (6). Signed by Judge Royce C. Lamberth on
                    11/18/2019. (lcrcl3) (Entered: 11/18/2019)
  11/19/2019          Set/Reset Deadlines as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4) and
                      SEAN COATES (6): Government's Response due by 1/17/2020 (lsj) (Entered: 11/19/2019)
  01/16/2020   1247 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to JEROME MARTIN,
                    JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 01/16/2020)
  01/17/2020   1248 Memorandum in Opposition by WILLIAM KYLE SWEENEY re 1247 MOTION for Extension of Time to File
                    Response/Reply (Kirchman, Eric) (Entered: 01/17/2020)
  02/24/2020   1249 MOTION to adopt co-defendant motion opposing further extension by SAMUEL CARSON. (Attachments: # 1 Text of
                    Proposed Order)(West, Kira) Modified Event on 2/25/2020 (hsj). (Entered: 02/24/2020)
  03/04/2020   1252 ORDER granting 1247 Motion for Extension of Time to File Response as to JEROME MARTIN JR. (2), SAMUEL
                    CARSON (3), WILLIAM KYLE SWEENEY (4), and SEAN COATES (6). The United States shall file its response no
                    later than 03/18/2020. This date will not be further extended. Signed by Judge Royce C. Lamberth on 03/04/2020.
                    (lcrcl3) (Entered: 03/04/2020)
  03/16/2020   1253 MOTION for Leave to File Opposition Under Seal by UNITED STATES OF AMERICA as to JEROME MARTIN, JR,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (Attachments: # 1 Text of Proposed Order)
                    (Satterfield, Pamela) (Entered: 03/16/2020)
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                               Document      #2077668         Filed: 10/01/2024        Page 145 of 150
                                        by WILLIAM KYLE SWEENEY re 1253 MOTION for Leave to File Opposition Under
                      Seal (Attachments: # 1 Text of Proposed Order)(Kirchman, Eric) (Entered: 03/17/2020)
  03/18/2020   1255 MEMORANDUM IN OPPOSITION filed by UNITED STATES OF AMERICA as to JEROME MARTIN, JR,
                    SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. (This document is SEALED and only available to
                    authorized persons.) (zed, ) (Entered: 03/19/2020)
  03/19/2020   1256 ORDER as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES. Signed by
                    Judge Royce C. Lamberth on 3/19/2020. (lcrcl1) (Entered: 03/19/2020)
  03/19/2020   1257 ORDER TO SHOW CAUSE as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                    COATES. Signed by Judge Royce C. Lamberth on 3/19/2020. (lcrcl1) (Entered: 03/19/2020)
  03/20/2020          Set/Reset Deadlines as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                      COATES: Show Cause Response due by 4/20/2020. (lsj) (Entered: 03/20/2020)
  04/20/2020   1258 MOTION for Extension of Time to File Response/Reply to Court's March 19, 2020 Order by UNITED STATES OF
                    AMERICA as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES.
                    (Attachments: # 1 Text of Proposed Order)(Satterfield, Pamela) (Entered: 04/20/2020)
  04/22/2020   1259 ORDER granting 1258 Motion for Extension of Time to File Response/Reply as to JEROME MARTIN JR. (2),
                    SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6). Signed by Judge Royce C. Lamberth
                    on 4/22/2020. (lcrcl1) (Entered: 04/22/2020)
  04/22/2020          Set/Reset Deadlines as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), and
                      SEAN COATES (6): Omnibus Response due by 5/4/2020. (nbn) (Entered: 04/22/2020)
  05/01/2020   1260 NOTICE to Court Concerning Unsealing of Certain Materials in this Case by UNITED STATES OF AMERICA as to
                    JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN COATES (Attachments: # 1 Text
                    of Proposed Order)(Satterfield, Pamela) (Entered: 05/01/2020)
  05/12/2020   1261 Unopposed MOTION for Extension of Time to File Response/Reply to Government's Opposition by WILLIAM KYLE
                    SWEENEY. (Attachments: # 1 Text of Proposed Order)(Kirchman, Eric) (Entered: 05/12/2020)
  05/13/2020   1262 MOTION for Extension of Time to File Response/Reply to governments response to 2255's. by SAMUEL CARSON.
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 05/13/2020)
  05/15/2020   1263 ENTERED IN ERROR.....Unopposed MOTION for Extension of Time to file answer to show cause order by SAMUEL
                    CARSON as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY,
                    MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN,
                    DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (West, Kira) Modified on
                    5/17/2020 (zhsj). (Entered: 05/15/2020)
  05/15/2020   1264 Order to Unseal Case as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, SEAN
                    COATES. Signed by Judge Royce C. Lamberth on 5/15/20. (lcrcl1) (Entered: 05/15/2020)
  05/15/2020   1265 ORDER granting in part 1262 Motion for Extension of Time to File Response/Reply as to SAMUEL CARSON (3); and
                    1261 Motion for Extension of Time to File Response/Reply as to WILLIAM KYLE SWEENEY (4). Signed by Judge
                    Royce C. Lamberth on 5/15/20. (lcrcl1) (Entered: 05/15/2020)
  05/15/2020   1266 MOTION for Extension of Time to Respond to the Show Cause Order of 3/19/2020, Docket Entry [1257} by SAMUEL
                    CARSON. (zhsj) (Entered: 05/18/2020)
  05/15/2020   1267 RESPONSE TO ORDER TO 1257 SHOW CAUSE ORDER as to SAMUEL CARSON. (See Docket Entry 1266 to View
                    Document.(zhsj) (Entered: 05/18/2020)
  05/15/2020          NOTICE OF CORRECTED DOCKET ENTRY: as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON,
                      WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                      WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                      EDWARDS re 1263 Unopposed MOTION for Extension of Time to file answer to show cause order was entered in error
                      and the clerk's office refiled said pleading due to document being linked to wrong defendant. Docket Entry 1266 is the
                      correct document lined to Defendant Samuel Carson. (zhsj) (Entered: 05/18/2020)
  05/18/2020          Set/Reset Deadlines as to SAMUEL CARSON (3) and WILLIAM KYLE SWEENEY (4): Replies due by 7/14/2020.
                      (lsj) (Entered: 05/18/2020)
  05/19/2020          MINUTE ORDER terminating as moot 1266 Motion for Extension of Time to File as to SAMUEL CARSON (3). Signed
                      by Judge Royce C. Lamberth on 5/19/2020. (lcrcl1) (Entered: 05/19/2020)
  06/08/2020          MINUTE ORDER: Per the 5/15/20 unsealing of this case, the Government's 1253 Motion for Leave to File Under Seal
                      as to JEROME MARTIN JR. (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), SEAN COATES (6) is
                      DENIED. The Government shall file its brief in opposition on the public docket.. Signed by Judge Royce C. Lamberth on
                      6/8/20. (lcrcl1) (Entered: 06/08/2020)
  06/11/2020          Case unsealed as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4), and SEAN
                      COATES (6). (ztnr) (Entered: 06/11/2020)
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                                        by UNITED STATES OF AMERICA as to JEROME MARTIN, JR, SAMUEL CARSON,
                      WILLIAM KYLE SWEENEY, SEAN COATES re 1185 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS
                      ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL
                      CASE, 1184 MOTION to Vacate under 28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255
                      ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE, 1020 MOTION to Vacate under 28
                      U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE
                      FILED IN THIS CRIMINAL CASE (Satterfield, Pamela) (Entered: 06/11/2020)
  06/23/2020   1269 First MOTION for Extension of Time to File Response/Reply supplemental Johson/Davis brief by SAMUEL CARSON.
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) (Entered: 06/23/2020)
  06/24/2020   1270 NOTICE that the motion for extension is unopposed by SAMUEL CARSON (West, Kira) (Entered: 06/24/2020)
  06/25/2020   1271 ORDER granting 1269 Motion for Extension of Time to File Response/Reply as to SAMUEL CARSON (3). Signed by
                    Judge Royce C. Lamberth on 6/25/20. (lcrcl1) (Entered: 06/25/2020)
  07/01/2020   1272 ENTERED IN ERROR.....First MOTION Davis supplemental motion to vacate 924c counts by SAMUEL CARSON as
                    to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM KYLE SWEENEY, MAURICE
                    PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER, WILLIAM HILL, PAUL FRANKLIN, DONALD
                    NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON EDWARDS. (Attachments: # 1 Exhibit, # 2 Exhibit,
                    # 3 Exhibit, # 4 Exhibit)(West, Kira) Modified on 7/6/2020 (zhsj). (Entered: 07/01/2020)
  07/01/2020          NOTICE OF CORRECTED DOCKET ENTRY: as to VINCENT HILL, JEROME MARTIN, JR, SAMUEL CARSON,
                      WILLIAM KYLE SWEENEY, MAURICE PROCTOR, SEAN COATES, REGINALD DARNELL SWITZER,
                      WILLIAM HILL, PAUL FRANKLIN, DONALD NICHOLS, ERIK JONES, RAYMOND WASHINGTON, CLIFTON
                      EDWARDS re 1272 First MOTION Davis supplemental motion to vacate 924c counts was entered in error and the
                      Clerk's Office will refile said pleading. (zhsj) (Entered: 07/06/2020)
  07/01/2020   1273 SUPPLEMENTAL by SAMUEL CARSON re 1183 MOTION to Vacate under 28 U.S.C. 2255 supplemental due to
                    Johnson. (Attachment(s): # 1 Exhibit 1, # 2 Transcript of 7/9/2001, # 3 Exhibit 2, # 4 Verddict Form for Defendant
                    Samuel Carson) Modified on 7/6/2020 to Add Attachments and Exhibits (NO DOCUMENTS ARE TO BE FILED IN
                    THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO BE FILED IN THIS CRIMINAL CASE. (hsj). (Entered:
                    07/06/2020)
  07/09/2020   1274 Supplement to 2nd supplemental 1183 Motion by SAMUEL CARSON. (West, Kira) Modified Text on 7/13/2020 (zhsj).
                    (Entered: 07/09/2020)
  07/13/2020   1275 Second MOTION for Extension of Time to File Response/Reply to Government's Opposition by WILLIAM KYLE
                    SWEENEY. (Attachments: # 1 Text of Proposed Order)(Kirchman, Eric) (Entered: 07/13/2020)
  07/14/2020   1276 ENTERED IN ERROR.....Unopposed MOTION for Extension of Time to File Response/Reply to Government's
                    response to 2255 by SAMUEL CARSON as to JEROME MARTIN, JR, SAMUEL CARSON, SEAN COATES.
                    (Attachments: # 1 Text of Proposed Order)(West, Kira) Modified on 7/15/2020 (znmw). (Entered: 07/14/2020)
  07/14/2020   1277 REPLY TO OPPOSITION to Motion by WILLIAM KYLE SWEENEY re 1229 Supplemental MOTION to Vacate under
                    28 U.S.C. 2255. NO DOCUMENTS ARE TO BE FILED IN THE CIVIL 2255 ACTION. ALL DOCUMENTS ARE TO
                    BE FILED IN THIS CRIMINAL CASE (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3,
                    # 4 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, # 8 Exhibit Exhibit 8, # 9
                    Exhibit Exhibit 9, # 10 Exhibit Exhibit 10)(Kirchman, Eric) (Entered: 07/14/2020)
  07/15/2020          NOTICE OF ERROR re 1276 Motion for Extension of Time to File Response/Reply ; emailed to
                      kiraannewest@gmail.com, cc'd 25 associated attorneys -- The PDF file you docketed contained errors: 1. Document
                      linked to incorrect defendant(s), 2. Please refile document, 3. ENTERED IN ERROR; Refile as to defendant Samuel
                      Carson only. (znmw, ) (Entered: 07/15/2020)
  09/14/2020   1278 REPLY in Support by SAMUEL CARSON re 1253 MOTION for Leave to File Opposition Under Seal (Attachments: # 1
                    Exhibit affidavit of Mr. Carson, # 2 Exhibit Attorney correspondence, # 3 Exhibit Vaughan affidavit)(West, Kira)
                    (Entered: 09/14/2020)
  09/14/2020   1279 MOTION adopt & join Sweeney's #1277 by SAMUEL CARSON. (Attachments: # 1 Text of Proposed Order)(West,
                    Kira) Modified Event on 9/14/2020 (zhsj). (Entered: 09/14/2020)
  10/06/2020   1280 NOTICE of Filing of Affidavits of Jennifer Wicks, Esq., and William K. Sweeney by WILLIAM KYLE SWEENEY re
                    1277 Reply to opposition to Motion,, (Attachments: # 1 Affidavit Affidavit of Jennifer Wicks, # 2 Declaration
                    Declaration of William K. Sweeney)(Kirchman, Eric) (Entered: 10/06/2020)
  07/08/2021   1281 MOTION Asking the Court to Appoint Outside Attorney to Investigate the Fraud on the Court and Prosecutors
                    Misconduct by Former U.S. Attorneys Chaturvedi and Zeidenberg by JEROME MARTIN, JR. "Let This Be Filed" by
                    Judge Royce C. Lamberth on 7/8/2021. (Attachments: # 1 Exhibit A. Government's Motion to Reduce Defendant's
                    Sentence, # 2 Exhibit B. Docket Sheet and Affidavits (2), # 3 Exhibit Affidavit of Alexandra Negin) (zhsj) (Entered:
                    07/09/2021)
  07/08/2021   1282 ORDER denying 1281 Motion Asking the Court to Appoint Outside Attorney to Investigate the Fraud on the Court and
                    Prosecutors Misconduct by Former U.S. Attorneys Chaturvedi and Zeidenberg as to JEROME MARTIN JR. (2). Signed
                    by Judge Royce C. Lamberth on 7/8/2021. (zhsj) (Entered: 07/09/2021)
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                                   as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY
                      (4) and SEAN COATES (6) re Defendants' Motions 1017 , 1020 , 1021 , 1023 , 1170 , 1182 , 1183 , 1184 , 1185 , 1191 ,
                      1197 , 1198 and 1229 .. Signed by Judge Royce C. Lamberth on 10/26/21. (lsj) (Entered: 10/27/2021)
  10/27/2021   1284 ORDER as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY (4) and SEAN
                    COATES (6). SEE ORDER FOR DETAILS. Signed by Judge Royce C. Lamberth on 10/26/21. (lsj) (Entered:
                    10/27/2021)
  11/02/2021   1286 ENTERED IN ERROR.....NOTICE of Appeal by SAMUEL CARSON re 1283 Memorandum Opinion, 1284 Order
                    (West, Kira) Modified on 11/30/2021 (bb). (Entered: 11/02/2021)
  11/02/2021   1287 NOTICE OF APPEAL - Final Judgment by SEAN COATES re 1284 Order. Filing fee $ 505. Fee Status: No Fee Paid.
                    Parties have been notified. (bb) (Entered: 11/04/2021)
  11/02/2021          NOTICE OF CORRECTED DOCKET ENTRY: as to SAMUEL CARSON re 1286 Notice (Other) was entered in error
                      and counsel was instructed to refile said pleading. This was filed using the wrong event. Please refile this using the
                      Notice of Appeal- Final Judgment event. (bb) (Entered: 11/30/2021)
  11/04/2021   1288 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court of Appeals. The fee remains to be
                    paid and another notice will be transmitted when the fee has been paid in the District Court or motion to proceed In
                    Forma Pauperis has been decided as to SEAN COATES re 1287 Notice of Appeal - Final Judgment. (bb) (Entered:
                    11/04/2021)
  11/04/2021   1289 NOTICE OF APPEAL - Final Judgment by WILLIAM KYLE SWEENEY re 1284 Order. Fee Status: No Fee Paid.
                    Parties have been notified. (Kirchman, Eric) (Entered: 11/04/2021)
  11/05/2021   1290 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court of Appeals. The fee was not paid
                    as the defendant is represented by a CJA appointed attorney as to WILLIAM KYLE SWEENEY re 1289 Notice of
                    Appeal - Final Judgment. (bb) (Entered: 11/05/2021)
  11/09/2021          USCA Case Number as to SEAN COATES 21-3072 for 1287 Notice of Appeal - Final Judgment filed by SEAN
                      COATES. (bb) (Entered: 11/09/2021)
  11/09/2021          USCA Case Number as to WILLIAM KYLE SWEENEY 21-3073 for 1289 Notice of Appeal - Final Judgment filed by
                      WILLIAM KYLE SWEENEY. (bb) (Entered: 11/09/2021)
  11/09/2021   1295 ORDER of USCA (certified copy) as to WILLIAM KYLE SWEENEY re 1289 Notice of Appeal - Final Judgment
                    ORDERED that the determination whether a certificate of appealability is warranted in this case be referred to the district
                    court for resolution in the first instance. Further Ordered that this case be held in abeyance pending further orderof the
                    court., USCA Case Number 21-3073. (bb) (Entered: 01/06/2022)
  11/09/2021   1296 ORDER of USCA (certified copy) as to SEAN COATES re 1287 Notice of Appeal - Final Judgment ORDERED that the
                    determination whether a certificate of appealability is warranted in this case be referred to the district court for resolution
                    in the first instance. FURTHER ORDERED that this case be held in abeyance pending further orderof the court. USCA
                    Case Number 21-3072. (bb) (Entered: 01/06/2022)
  11/12/2021   1291 NOTICE OF APPEAL - Final Judgment by JEROME MARTIN, JR Fee Status: No Fee Paid. Parties have been notified.
                    (Lawlor, Michael) (Entered: 11/12/2021)
  11/17/2021   1292 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court of Appeals. The fee was not paid
                    as the defendant is represented by a CJA appointed attorney as to JEROME MARTIN, JR re 1291 Notice of Appeal -
                    Final Judgment. (bb) (Entered: 11/17/2021)
  11/22/2021          USCA Case Number as to JEROME MARTIN, JR 21-3078 for 1291 Notice of Appeal - Final Judgment filed by
                      JEROME MARTIN, JR.. (bb) (Entered: 11/29/2021)
  11/22/2021   1293 ORDER of USCA (certified copy) as to JEROME MARTIN, JR re 1291 Notice of Appeal - Final Judgment, USCA Case
                    Number 21-3078. (bb) (Entered: 11/29/2021)
  12/03/2021   1294 Application to Proceed IFP as to SEAN COATES (bb) (Entered: 12/03/2021)
  03/08/2022   1297 NOTICE OF APPEAL - Final Judgment by SAMUEL CARSON Fee Status: No Fee Paid. Parties have been notified.
                    (West, Kira) (Entered: 03/08/2022)
  03/09/2022   1298 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court of Appeals. The fee was not paid
                    as the defendant is represented by a CJA appointed attorney as to SAMUEL CARSON re 1297 Notice of Appeal - Final
                    Judgment. (zstd) (Entered: 03/09/2022)
  03/16/2022          USCA Case Number as to SAMUEL CARSON 22-3016 for 1297 Notice of Appeal - Final Judgment filed by SAMUEL
                      CARSON. (zstd) (Entered: 03/17/2022)
  03/16/2022   1299 ORDER of USCA (certified copy) as to SAMUEL CARSON re 1297 Notice of Appeal - Final Judgment. The
                    determination whether a certificate of appealability is warranted in this case, that this case be held in abeyance pending
                    further order of the court. USCA Case Number 22-3016. (zstd) (Entered: 03/17/2022)
  04/08/2022   1300 NOTICE OF APPEAL - Final Judgment by SAMUEL CARSON re 1284 Order Denying Defendant's Motion to Vacate
                    and Set Aside Sentence. (This Appeal was Already Filed on 3/8/2022, See Docket Entry 1297 . Fee Status: No Fee Paid,
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                     Counsel. PartiesDocument      #2077668
                                      have been notified.                     Filed: 10/01/2024
                                                          (zhsj) (Entered: 04/08/2022)                                Page 148 of 150
  04/08/2022    1301 Transmission of the Notice of Appeal, Order Appealed, and Docket Sheet to US Court of Appeals. The fee was not paid
                     as the defendant is represented by a CJA appointed attorney as to SAMUEL CARSON re 1300 Notice of Appeal - Final
                     Judgment. (zhsj) (Entered: 04/08/2022)
  04/25/2022    1302 TRANSCRIPT OF 8/29/13 STATUS HEARING in case as to JEROME MARTIN, JR, SAMUEL CARSON, WILLIAM
                     KYLE SWEENEY, SEAN COATES before Judge Royce C. Lamberth held on August 29, 2013; Page Numbers: 1-6.
                     Date of Issuance: 4/25/2022. Court Reporter: Bryan A. Wayne, (202) 354-3186. Transcripts may be ordered by
                     submitting the Transcript Order Form

                      For the first 90 days after this filing date, the transcript may be viewed at the courthouse at a pu blic terminal or
                      purchased from the court reporter referenced above. After 90 days, the transcript may be accessed via PACER. Other
                      transcript formats, (multi-page, condensed, CD or ASCII) may be purchased from the court reporter.

                      NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty-one days to file with the court and the
                      court reporter any request to redact personal identifiers from this transcript. If no such requests are filed, the transcript
                      will be made available to the public via PACER without redaction after 90 days. The policy, which includes the five
                      personal identifiers specifically covered, is located on our website at www.dcd.uscourts.gov.

                      Redaction Request due 5/16/2022. Redacted Transcript Deadline set for 5/26/2022. Release of Transcript Restriction set
                      for 7/24/2022.(Wayne, Bryan) (Entered: 04/25/2022)
  04/28/2022    1303 Supplemental MOTION to Reduce Sentence re 1182 Supplemental MOTION to Vacate under 28 U.S.C. 2255 by
                     JEROME MARTIN, JR. (zstd) Modified to add link (Entered: 05/02/2022)
  05/16/2022    1304 MOTION for Appointment of Counsel by JEROME MARTIN, JR. (zstd) (Entered: 05/18/2022)
  05/20/2022    1308 MOTION to Reduce Sentence by JEROME MARTIN, JR. "Let this be filed as a New Motion to Reduce Sentence. US
                     Attorney shall be served with this by the Clerk and respond in 30 days." Signed by Judge Royce C. Lamberth on
                     5/20/2022. (zstd) Modified fiat on 5/25/2022 (znmw). (Entered: 05/24/2022)
  05/20/2022    1309 MOTION for Modification of Sentence (Compassionate Release) by JEROME MARTIN, JR. "Let this be filed. US
                     Attorney shall be provided copy and shall respond in 30 days." Signed by Judge Royce C. Lamberth on 5/20/2022.
                     (Attachments: # 1 Exhibits)(zstd) Modified fiat on 5/25/2022 (znmw). (Entered: 05/24/2022)
  05/20/2022    1310 SUPPLEMENT by JEROME MARTIN, JR re 1309 MOTION for Compassionate Release "Let this be filed" by Judge
                     Royce C. Lamberth on 5/20/2022. (zstd) (Entered: 05/24/2022)
  05/23/2022    1305 MEMORANDUM OPINION as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM KYLE SWEENEY
                     (4), SEAN COATES (6). Signed by Judge Royce C. Lamberth on 05/23/2022. (lcrcl1) (Entered: 05/23/2022)
  05/23/2022    1306 ORDER denying Certificate of Appealability as to JEROME MARTIN, JR (2), SAMUEL CARSON (3), WILLIAM
                     KYLE SWEENEY (4), SEAN COATES (6). Signed by Judge Royce C. Lamberth on 05/23/2022. (lcrcl1) (Entered:
                     05/23/2022)
  05/23/2022    1307 ORDER granting motion 1294 to proceed in forma pauperis as to SEAN COATES (6). Signed by Judge Royce C.
                     Lamberth on 05/23/2022. (lcrcl1) (Entered: 05/23/2022)
  06/02/2022    1311 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA as to JEROME MARTIN, JR re 1291 Notice of
                     Appeal - Final Judgment.USCA Case Number 21-3078. (zstd) (Entered: 06/02/2022)
  06/02/2022    1312 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA as to SAMUEL CARSON re 1300 Notice of
                     Appeal - Final Judgment, 1297 Notice of Appeal - Final Judgment.USCA Case Number 22-3016. (zstd) (Entered:
                     06/02/2022)
  06/02/2022    1313 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA as to WILLIAM KYLE SWEENEY re 1289
                     Notice of Appeal - Final Judgment.USCA Case Number 21-3073. (zstd) (Entered: 06/02/2022)
  06/02/2022    1314 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA as to SEAN COATES re 1287 Notice of Appeal
                     - Final Judgment.USCA Case Number 21-3072. (zstd) (Entered: 06/02/2022)
  06/02/2022    1315 Transmitted Supplemental Record on Appeal and Docket Sheet to USCA as to SEAN COATES re 1287 Notice of Appeal
                     - Final Judgment.USCA Case Number 21-3072. (zstd) (Entered: 06/02/2022)
  06/03/2022    1316 NOTICE OF ATTORNEY APPEARANCE Ethan Carroll appearing for USA. (Carroll, Ethan) (Entered: 06/03/2022)
  06/03/2022    1317 MOTION for Order to U.S. Probation Office to Analyze the Effects of Amendments 782 and 788 on Defendant's
                     Sentencing Guideline Calculation and Request for Enlargement of Time to File Response by UNITED STATES OF
                     AMERICA as to JEROME MARTIN, JR. (Attachments: # 1 Text of Proposed Order)(Carroll, Ethan) (Entered:
                     06/03/2022)
  06/17/2022    1318 MOTION for Extension of Time to File Response/Reply as to 1309 MOTION for Compassionate Release, 1308
                     MOTION to Reduce Sentence by UNITED STATES OF AMERICA as to JEROME MARTIN, JR. (Attachments: # 1
                     Text of Proposed Order)(Carroll, Ethan) (Entered: 06/17/2022)

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                       granting Motion 1317 for Order to U.S. Probation Office to Analyze the Effects of Amendments 782 and 788 on
                       Defendant's Sentencing Guideline Calculation; denying as moot Motion 1318 for Extension of Time to File
                       Response/Reply as to JEROME MARTIN JR. (2). See Order for details. Signed by Judge Royce C. Lamberth on
                       06/17/22. (lcrcl1) (Entered: 06/17/2022)
  08/15/2022    1321 RESPONSE by UNITED STATES OF AMERICA as to JEROME MARTIN, JR re 1309 MOTION for Compassionate
                     Release (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit,
                     # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit)(Carroll, Ethan) (Entered: 08/15/2022)
  08/15/2022    1322 RESPONSE by UNITED STATES OF AMERICA as to JEROME MARTIN, JR re 1308 MOTION to Reduce Sentence
                     (Carroll, Ethan) (Entered: 08/15/2022)
  12/15/2022    1325 RESPONSE by JEROME MARTIN, JR re 1320 Probation Memorandum. "Let this be filed as opposition to ECF #1320.
                     Royce C. Lamberth, U.S.D.J., 12/15/2022. (Attachments: # 1 Envelope)(zstd) (Entered: 12/20/2022)
  12/15/2022    1326 REPLY by JEROME MARTIN, JR re 1322 Response to motion. "Let this be filed as opposition to ECF #1322. Royce C.
                     Lamberth, U.S.D.J., 12/15/22". (Attachments: # 1 Envelope)(zstd) (Entered: 12/20/2022)
  12/15/2022    1327 RESPONSE by JEROME MARTIN, JR re 1320 Probation Memorandum. "Let this be filed as opposition to ECF #1320.
                     Royce C. Lamberth, U.S.D.J., 12/15/22". (Attachments: # 1 Envelope)(zstd) (Entered: 12/20/2022)
  12/15/2022    1328 REPLY by JEROME MARTIN, JR re 1321 Response to motion. "Let this be filed as opposition to ECF #1321. Royce C.
                     Lamberth, U.S.D.J., 12/15/22". (Attachments: # 1 Envelope)(zstd) (Entered: 12/20/2022)
  12/15/2022    1329 LEAVE TO FILE DENIED- Motion for Reduction of Sentence as to JEROME MARTIN, JR This document is
                     unavailable as the Court denied its filing. "Leave to file DENIED. § 2255 relief already denied in ECF #1283. ECF
                     #1303 & 1308 will address compassionate release claim. Royce C. Lamberth, U.S.D.J., 12/15/22". (zstd) (Entered:
                     12/20/2022)
  12/15/2022    1330 LEAVE TO FILE DENIED- Letter as to JEROME MARTIN, JR This document is unavailable as the Court denied its
                     filing. "Leave to file DENIED as moot as reply to governments motion has been filed. Royce C. Lamberth, U.S.D.J.,
                     12/15/22". (zstd) (Entered: 12/20/2022)
  12/15/2022    1331 LEAVE TO FILE DENIED- Letter as to JEROME MARTIN, JR This document is unavailable as the Court denied its
                     filing. "Leave to file DENIED as moot since he received motion and responded. Royce C. Lamberth, U.S.D.J.,
                     12/15/22". (zstd) (Entered: 12/20/2022)
  12/15/2022    1332 LEAVE TO FILE DENIED- Pro Se to United States Probation Office Recommendations as to JEROME MARTIN, JR
                     This document is unavailable as the Court denied its filing."Leave to file DENIED. Duplicative of prior submitted
                     filings. Royce C. Lamberth, U.S.D.J., 12/15/22". (zstd) (Entered: 12/20/2022)
  04/17/2023    1334 ORDER granting Motion 1304 to Appoint Counsel as to JEROME MARTIN JR. (2). Signed by Judge Royce C.
                     Lamberth on 04/17/2023. (lcrcl1) (Entered: 04/17/2023)
  04/18/2023    1335 NOTICE OF ATTORNEY APPEARANCE: John Longstreth appearing for JEROME MARTIN, JR (Longstreth, John)
                     (Main Document 1335 replaced with PDF on 4/18/2023) (zstd). (Entered: 04/18/2023)
  04/18/2023    1336 NOTICE OF ATTORNEY APPEARANCE: Tre Holloway appearing for JEROME MARTIN, JR (Holloway, Tre) (Main
                     Document 1336 replaced with PDF on 4/18/2023) (zstd). (Entered: 04/18/2023)
  05/31/2023    1337 LEAVE TO FILE DENIED- Fed. Rule 201 (b)(d) Judicial of Adjudicative Facts as to JEROME MARTIN, JR This
                     document is unavailable as the Court denied its filing. "Leave to file DENIED" now that counsel has been appointed for
                     defendnat. However, a copy of this shall be provided to counsel. Signed by Judge Royce C. Lamberth U.S.D.J., on
                     5/31/2023. (zstd) (Entered: 05/31/2023)
  08/21/2023    1338 MOTION pursuant to Rule 36 to Correct a Clerical Error by SEAN COATES. "Let this be filed. U.S. Attorney to respond
                     in 30 days." Royce C. Lamberth U.S.D.J. 8/21/2023. (zstd) (Entered: 08/22/2023)
  09/18/2023    1339 NOTICE of Exhaustion by JEROME MARTIN, JR. (Attachments: # 1 Exhibit A - Request for Administrative Remedy, #
                     2 Exhibit B - Supplement to Request for Administrative Remedy)(Longstreth, John) Modified on 9/19/2023 to remove
                     linkage to all defendants.(ztnr) (Entered: 09/18/2023)
  09/19/2023    1340 NOTICE OF ATTORNEY APPEARANCE John Timothy Scannell, Jr appearing for USA. (Scannell, John) (Entered:
                     09/19/2023)
  09/19/2023    1341 RESPONSE by UNITED STATES OF AMERICA as to SEAN COATES re 1338 MOTION pursuant to Rule 36 to
                     Correct a Clerical Error (Attachments: # 1 Exhibit Sentencing Transcript, # 2 Exhibit Proposed Order)(Scannell, John)
                     (Entered: 09/19/2023)
  10/06/2023    1342 ORDER granting Motion 1338 pursuant to Rule 36 to Correct Clerical Error as to SEAN COATES (6). Signed by Judge
                     Royce C. Lamberth on 10/06/2023. (lcrcl1) (Entered: 10/06/2023)
  02/28/2024    1343 LETTER by SEAN COATES. "Let this be filed" by Royce C. Lamberth U.S.D.J. on 2/28/2024. (zstd) (Entered:
                     02/28/2024)
  02/28/2024    1344 MOTION for Issuance of Order to Show Cause by SEAN COATES. "Let this be filed". U.S. Attorney shall respond
                     within 30 days by Royce C. Lamberth U.S.D.J., on 2/28/2024. (Attachments: # 1 Exhibits, # 2 Envelope)(zstd) (Entered:
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        USCA Case02/28/2024)
                  #21-3072               Document #2077668                         Filed: 10/01/2024         Page 150 of 150
  03/26/2024   1345 Mail Returned as Undeliverable as to SEAN COATES (6): Type of Document Returned: 1342 Order. Resent to New
                    Address: Unknown. (smc) (Entered: 03/26/2024)
  03/29/2024   1346 NOTICE OF ATTORNEY APPEARANCE Julia Renee Cosans appearing for USA. (Cosans, Julia) (Entered:
                    03/29/2024)
  03/29/2024   1347 MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to SEAN COATES.
                    (Cosans, Julia) (Entered: 03/29/2024)
  04/02/2024   1348 ORDER granting Motion 1347 for Extension of Time to File Response/Reply as to SEAN COATES (6). The United
                    States shall file its response no later than 04/19/2024. Signed by Judge Royce C. Lamberth on 04/02/2024. (lcrcl1)
                    (Entered: 04/02/2024)
  04/19/2024   1349 Second MOTION for Extension of Time to File Response/Reply by UNITED STATES OF AMERICA as to SEAN
                    COATES. (Cosans, Julia) (Entered: 04/19/2024)
  04/30/2024   1350 RESPONSE by UNITED STATES OF AMERICA as to SEAN COATES re 1344 MOTION for Order to Show Cause
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Cosans, Julia) (Entered: 04/30/2024)
  05/31/2024   1351 RESPONSE by UNITED STATES OF AMERICA as to SEAN COATES re 1344 MOTION for Order to Show Cause
                    (Attachments: # 1 Errata A)(Cosans, Julia) (Entered: 05/31/2024)
  07/12/2024   1352 LETTER by SEAN COATES (6) 1344 MOTION for Order to Show Cause filed by SEAN COATES. "Let this be filed".
                    US shall respond within 20 days by Royce C. Lamberth U.S.D.J. on 7/12/2024 (Attachments: # 1 Envelope)(zstd)
                    (Entered: 07/15/2024)



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